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                                                CLERK         U.S. DISTRICT COURT
                                          U.S. DISTRICT COURT
  Hon. Samuel L. Biers - Pro Per
  Te-Moak Bar License No. TM21-01
  1188 Court Street #1
  Elko, Nevada 89801


                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF UTAH


 SAMUEL L. BIERS, an individual and              *
 Chief Tribal Judge of the Te-Moak Supreme Court,
                        PLAINTIFF,               *   VERIFIED COMPLAINT

        vs.                                     *    PRELIMINARY
                                                     INJUNCTION
 DENTONS US LLP, a Utah entity, dba Dentons,    *
 Dentons, Durham, Jones, Pinegar P.C.;               DECLARATORY JUDGMENT
 ZIONS BANCORPORATION, N.A. Utah corporation;*
 SALAL CREDIT UNION, a Washington entity;            EQUITABLE DISSOLUTION.
 TONKON TORP LLP, an Oregon entity;             *    RESCISSION. FORFEITURE OF
 SCS ELKO LLC, a Nevada entity;                      ASSETS AND APPOINTMENT OF
 GOVERNOR STEVE SISOLAK, in his official        *    RECEIVER OR ALTERNATIVELY
 capacity;                                           TEMPORARY CONSERVATOR
 STEVE SISOLAK, an individual;                  *
 AARON DARNELL FORD, an individual;
 AARON D. FORD, in his official capacity as the          Case: 2:22−cv−00298
                                                *        Assigned To : Bennett, Jared C.
 Nevada Attorney General;
                                                         Assign. Date : 5/2/2022
 TE-MOAK TRIBE OF WESTERN SHOSHONE              *        Description: Biers v Dentons US LLP
 INDIANS OF NEVADA, a federal corporation;               et al
 NEVADA STATE BANK, a Nevada Business entity*
 (a subsidiary of Zions Bancorporation, N.A.);
 ELKO BAND COLONY ENTERPRISES, a                *
 fictitious entity;
 ADELA MORRISON, an individual;                 *
 ANDREA WOODS, an individual;
 ANGELEA MENDEZ, an individual;                 *

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 ALICE TYBO, an individual;
 BRENT ALAN WAITE, an individual;            *
 BRYAN LUKE BOWKER, in his official and
 Individual capacity;                        *
 CHADWICK CORNTASELL SMITH, an individual;
 DARIAN STANFORD, an individual;             *
 DAVIS GONZALEZ, an individual;
 DAVID DALE CARRERA, an individual;          *
 DUANE GARCIA, SR, an individual;
 ELLIOT NANCE PARRIS, an individual;         *
 GEORGE TALLCHIEF SKIBINE, an individual;
 JEFFERY SCOTT SYPOLT, an individual;        *
 JOSEPH DELAROSA, an individual;
 JOSEPH HOLLEY, an individual;               *
 J. ROSS DOCKSEY, an individual;
 JOSEPH MCDADE, in his individual and        *
 official capacity;
 JUAN AREVALO, an individual;                *
 KEVIN CLOCK, an individual;
 KRISTEN K. GODDARD-HEVENER, an individual; *
 LARRY YEAGER, an individual;
 LESLIE A. BERG-GROVE, an individual;        *
 MARLA L. MCDADE, in her individual
 and official capacity;                      *
 PAUL CONABLE, an individual;
 ROBIN ANN EVANS, an individual;             *
 STEVE DUANE OLSON, an individual;
 STEVEN JOSEPH MCDADE, an individual;        *
 SUZANNA R. SANDOVAL, an individual;
 TAMMY JEAN CARRERA, an individual;          *
 TANYA REYNOLDS, an individual;
 THALIA MARIN, an individual;                *
 VIRGINIA HEATHER SIBBISON, an individual;        CASE NO., _ _ _ _ _ _ __
 WENDALL DEREK HAYES, an individual;         *
 JOHN AND JANE DOES 1-100,                        JURY TRIAL DEMANDED
                        DEFENDANTS.          *
                                 VERIFIED COMPLAINT


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         The Plaintiff, Samuel L. Biers, is an individual the appellate judge for the Te-Moak

  Supreme Court, who brings this action based in law and equity against the Defendants, in

  their individual and official capacities, and alleges the following:

  A.     INTRODUCTION

         The Honorable Samuel L. Biers is not a convicted felon as a matter of fact and law.

  Individuals; federal, state and tribal government officials; private businesses and attorneys

  executed agreements to violate serious criminal laws, and during the process vilified,

  smeared and falsely accused the Plaintiff of being a convicted criminal, to hide their crimes.

         Since February 2021 the Plaintiff, Samuel L. Biers, holds office as the Supreme Court

  Judge for the Te-Moak Tribe of Western Shoshone Indians of Nevada, and prior to that the

  Plaintiff served as the Te-Moak Tribal Administrator. During this time allegations of

  corrupt practices surfaced involving federal, state and tribal government officials.

         Initially, the Tribe's governing authority, the Tribal Council, instructed and directed

  the Plaintiff to report all fraud, waste and corruption discovered during the course of his

  employment, regardless of where the allegations arose. Decades of fraud againstthe

  United States and tribal members occurred with impunity, and when the Plaintiff filed

  reports with federal law enforcement and agency officials, as required by law, the same

  officials enshrined with public trust were shown to be a part of a criminal organization.

         This criminal network permeated the Executive, Legislative and Judicial Branches of

  the federal, state and tribal governments to such an extent that the Plaintiffs reporting was

  then subjected to open, public attacks, the Plaintiff rebuked by these government officials

  as though reporting criminal acts became an abhorrent act.

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         Through a series of agreements and plans, the Plaintiffs privacy, career and

  reputation were publicly assailed by the same groups of individuals who agreed to

  preserve and protect the criminal enterprise that first formed around the misappropriation

  of federal funding to Tribes, with kickbacks and bribes to officials, and then the

  organization blossomed to coalesce around the unlawful sale and distribution of a

  controlled substance, marijuana, as blessed by the Governor of Nevada.

         To ensure the continued receipt of income and revenue from the criminal enterprise

  and avoid prosecution involving these individuals and entities, the Defendants, and others,

  engaged in a pattern of falsification and fabrication oflegislative enactments, the

  fraudulent creation of businesses and legal authority. Defendants moved across multiple

  jurisdictions falsifying and fraudulently manipulating financial data, tax forms and reports,

  to launder money obtained through the criminal enterprises, then transferring money into

  the political campaigns and personal assets of government leaders and officials.

         For any attorney, judge, governor or senator to claim fealty to the laws of the United

  States and a criminal enterprise at the same time runs afoul with each and every oath of

  office taken by the Defendants, and simultaneously insults the hard work and dedication

  the rest of us who follow the law. The continuity of the RICO enterprises identified in this

  Complaint would have ended absent the funding and material support from Governor Steve

  Sisolak; Attorney General Aaron Ford; Dentons; Zions bank; Wells Fargo Bank and SALAL

  and the army of attorneys fighting to sustain a criminal organization.

         Because the sale and distribution of marijuana is unlawful in Utah, Zionsbank, as the

  parent corporation, intentionally uses its subsidiaries, primarily Nevada State Bank, (NSB),

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  to serve as a central hub, clearing house or shell repository, before the electronic

  laundering of unlawful cash proceeds arrives at the main offices for Zionsbank Salt Lake

  City, Utah. By design and purpose, Zionsbank attorney Brent Waite directs and controls

  financial operations at risk ofliability to the shareholders through legal advice, including

  NSB and its employees, agents and representatives.

         Following suite, Tonkon Torp, and its attorneys, create, dissolve and re-form

  multiple business entities they manage that engage in the unlawful sale, production and

  distribution of marijuana throughoutthe Western United States, then route the proceeds

  through SALAL and SCU Holdings into NSB and Zionsbank These transactions are

  observed and approved by state leaders, including Governor Steve Sisolak and Aaron Ford

  in exchange for the transfer of unreported cash contributions to their political campaigns,

  family members or business entities and associates, including the use of crypto currency.

         However unpalatable or surprising these fact appear, this is a rare case, one that

  supports a finding that a true RICO organization operates through corrupt attorneys and

  politicians for their own personal interests and greed, claiming to be sanctioned by the

  courts and bar. We are either a nation oflaws or a nation of men. There is no in between.

         The words, facts and allegations in this Complaint, combined with the supporting

  evidence and proofs, will echo the immortal words of a truly great American:

         [a] thousand phenomena present themselves daily which we cannot
         explain, but where facts are suggested, bearing no analogy with the laws of
         nature as yet known to us, their verity needs proofs proportioned to their
         difficulty. Jefferson, Thomas, Letter to Daniel Salmon. The Thomas Jefferson
         Papers Series 1. General Correspondence 1651-1827. U.S. Library of Congress,
         Image 1084 of 1330(February 15, 1808).


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  B.    PARTIES
        Part I - Citizenship, Residency and Service of Process Information

  1.    Plaintiff, Samuel L. Biers, is an individual, an adult over the age of eighteen, who is a
        resident of the State of Washington, domiciled on federal, tribal lands within the
        United States Territory for the Te-Moak Tribe of the Western Shoshone Indians of
        Nevada, defined as Indian Country, and an official of the Te-Moak Tribe.

  2.    Defendant, Andrea Woods, is an individual, an adult, over the age of eighteen, who is
        an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Wells Band within the United States Territory for the
        Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
        Country. Andrea Woods may be served with legal process at: 1735 Ridgecrest
        Drive; Wells, Nevada 89835, or alternatively by mailing at: P.O. 283; Wells, Nevada
        89835.

  3.   Defendant, Adela E. Morrison, is an individual, an adult, over the age of eighteen,
       who is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
       Shoshone Indians of Nevada - Wells Band within the United States Territory for the
       Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
       Country. Adela Morrison may be served with legal process at: 907 Bar Hill Road;
       Wells, Nevada 89835 and 348 Metropolis Road; Wells, Nevada 89835, or
       alternatively by mailing at a rural United States Postal Serve mailbox address: P.O.
       Box 424; Wells, Nevada 89835. Adela E. Morrison also maintains a place of abode or
       retains or holds an ownership interest in real property located at: 102 Main S.
       Avenue; Twin Falls, Idaho 83301.

  4.   Defendant, Davis Gonzalez, is an individual, an adult, over the age of eighteen, who is
       an enrolled tribal member and resident of the Te-Moak Tribe of the Western
       Shoshone Indians of Nevada - Elko Band within the United States Territory for the
       Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
       Country. Davis Gonzalez may be served with legal process at: 554 Sunset Street;
       Elko, Nevada 89801, or alternatively by mailing: P.O. Box 898; Elko, Nevada 89803.

  5.   Defendant, Alice Tybo, is an individual, an adult, over the age of eighteen, who is an
       enrolled tribal member and resident of the Te-Moak Tribe of the Western Shoshone
       Indians of Nevada - South Fork Band within the United States Territory for the Te-
       Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian Country.
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        Alice Tybo may be served with legal process at: 331 Long Canyon Road; Lee,
        Nevada 89815 or alternatively by mailing at: 20 Lee Unit 3; Lee, Nevada 89815.

  6.    Defendant, Larry Yeager, is an individual, an adult, over the age of eighteen, who is
        an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Elko Band within the United States Territory for the
        Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
        Country. Larry Yeager may be served with legal process at: 1720 Buckskin Drive;
        Elko, Nevada 89801.

  7.    Defendant, Thalia Marin, is an individual, an adult, over the age of eighteen, who is
        an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Elko Band within the United States Territory for the
        Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
        Country. Thalia Marin may be served with legal process at: 175 7 Buckskin Drive;
        Elko, Nevada 89801.

  8.    Defendant, Joseph Holley, is and individual, an adult, over the age of eighteen who is
        an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Battle Mountain Band within the United States
        Territory for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined
        as Indian Country. Joseph Holley may be served with legal process at: 36 Mountain
        View Drive; Battle Mountain, Nevada 89820, or alternatively by mailing at the
        United States Postal Service: P.O. Box 274; Battle Mountain, Nevada 89820.

  9.    Defendant, Suzanna R. Sandoval, is an individual, an adult, over the age of eighteen,
        who is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Elko Band within the United States Territory for the
        Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
        Country. Suzanna Sandoval may be served with legal process at: 2671 Indian View
        Heights Drive, SPC 3; Elko, Nevada 89801 or alternatively at: 17701 Avalon Blvd,
        SPC 342; Carson, California 90746.

  10.   Defendant, Juan Arevalo, is an individual, an adult, over the age of eighteen, who is
        an enrolled tribal member and resident of the Te-Moak Tribe of the Western
        Shoshone Indians of Nevada - Elko Band within the United States Territory for the
        Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian


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         Country. Juan Arevalo may be served legal process at: 3001 Wongobi Street; Elko,
         Nevada 89801.

   11.   Defendant, Marla L. McDade, is an individual, an adult, over the age of eighteen, who
         is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
         Shoshone Indians of Nevada - South Fork Band within the United States Territory
         for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
         Country. Marla McDade may be served with legal process at: 1435 SFIR Lee Road,
         Scattered Site #9; Lee, Nevada 89815 and 400 S. Saliman Road, Apartment L99;
         Carson City, Nevada 89701, or alternatively by mailing at HC 30 Box 250; Lee,
         Nevada 89815.

  12.    Defendant, Steven Joseph McDade, is an individual, an adult, over the age of
         eighteen, who is an enrolled tribal member and resident of the Te-Moak Tribe of the
         Western Shoshone Indians of Nevada - South Fork Band within the United States
         Territory for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined
         as Indian Country. Steven Joseph McDade may be served with legal process at:
         1645 Buckskin Drive; Elko, Nevada 89801; 1435 SFIR Lee Road, Scattered Site #9;
         Lee, Nevada 89815, or 6361 Johnson Avenue; Elko, Nevada 89801 or alternatively
         by mailing at: HC 30 Box 250; Lee, Nevada 89815. Steven Joseph McDade has or
         had an ownership interests in real property located at: 826 Laurelcrest Drive;
         Orlando, Florida 32828.

  13.    Defendant, Tammy Jean Carrera, (aka Tammy Rambeau and Tammy Villareal), is an
         individual, an adult, over the age of eighteen, who is an enrolled tribal member and
         resident of the Te-Moak Tribe of the Western Shoshone Indians of Nevada- Battle
         Mountain Band within the United States Territory for the Te-Moak Tribe of the
         Western Shoshone Indians of Nevada, defined as Indian Country. Tammy J. Carrera
         may be served with legal process at: 29 Mountain View Drive; Battle Mountain,
         Nevada 89820.

  14.    Defendant, Tanya Reynolds, is an individual, an adult, over the age of eighteen, who
         is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
         Shoshone Indians of Nevada - South Fork Band within the United States Territory
         for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
         Country. Tanya Reynolds may be served legal process at: 397 Long Canyon Road;
         Lee, Nevada 89815, or alternatively at 21 Lee Unit 7; Lee, Nevada 89815.


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   15.   Defendant, Joseph McDade, is an individual, an adult, over the age of eighteen, who
         is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
         Shoshone Indians of Nevada - South Fork Band within the United States Territory
         for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
         Country. Joseph McDade may be served legal process at: 544 Long Canyon Road;
         Lee, Nevada 89815, or alternatively by mailing at: 20 Lee Unit 6; Lee, Nevada
         89815.

  16.    Defendant, Duane Garcia, Sr., is an individual, an adult, over the age of eighteen, who
         is an enrolled tribal member and resident of the Te-Moak Tribe of the Western
         Shoshone Indians of Nevada - South Fork Band within the United States Territory
         for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined as Indian
         Country. Duane Garcia, Sr., may be served with legal process at: Cedar Circle Drive
         #2; Lee, Nevada 89815 or 5200 S. Los Altos Parkway; Reno, Nevada 89436, or
         alternatively by mailing at 502 Lee Unit 13; Lee, Nevada 89815 and P.O. Box 1345;
         Elko, Nevada 89803.

  17.    Defendant, David Dale Carrera, is an individual, an adult, over the age of eighteen,
         who is a tribal resident of the Te-Moak Tribe of the Western Shoshone Indians of
         Nevada - Battle Mountain Band within the United States Territory for the Te-Moak
         Tribe of the Western Shoshone Indians of Nevada, defined as Indian Country. David
         Carrera may be served with legal process at: 29 Mountain View Drive; Battle
         Mountain, Nevada 89820, or alternatively by mailing: P.O. Box 321; Battle Mountain,
         Nevada 89820.

  18.    Defendant, Angelea Mendez, is an individual, an adult, over the age of eighteen, who
         is a tribal resident of the Te-Moak Tribe of the Western Shoshone Indians of Nevada
         - Elko Band within the United States Territory for the Te-Moak Tribe of the Western
         Shoshone Indians of Nevada, defined as Indian Country. Angelea Mendez is a tribal
         member of the Fort Hall Bannock Shoshone Tribe and may be served legal process
         at: 1628 Sagebrush; Elko, Nevada 89801 and 12421 Melon Drive; Rancho
         Cucamonga, California 91739, or alternatively by mailing at: 489 Route 6; Pocatello,
         Idaho 83202.

  19.    Defendant, Chadwick Corntassel Smith, is an individual, an adult, over the age of
         eighteen, who is an enrolled tribal member of the Cherokee Tribe within the United
         States Territory for the Cherokee Nation, defined as Indian Country. Chadwick


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         Smith may be served legal process at: 708 East Ward Street; Tahlequah, Oklahoma
         74464 and 22902 S 494 Road; Tahlequah, Oklahoma 7464, or alternatively by
         mailing at: P.O. Box 11324; Palm Desert, California 92255.

   20.   Defendant, Wendall Derek Hayes, is an individual, an adult over the age of eighteen,
         who is a resident of the State of Illinois. Wendall Derek Hayes may be served legal
         process at: 309 West Washington Street, Suite 900; Chicago, Jllinois 60606-3209;
         5800 E Lake Drive, Apartment 513; Lisle, Illinois 60532-4606 or 309 West
         Washington Street, Suite 550; Chicago, Jllinois 60606.

   21.   Defendant, the Te-Moak Tribe of the Western Shoshone Indians of Nevada, is a
         corporate entity, a federally recognized Native American Tribe, (referenced as "Te-
         Moak Tribe" "TMC" or "Tribe"), as stated in the United States Department of Interior,
         Notice. the Assistant Secretary - Indian Affairs, Tara Sweeney published in the
         Federal Register, Vol. 85, No. 20 Oanuary 6, 2020), located within the United States
         Territory for the Te-Moak Tribe of the Western Shoshone Indians of Nevada, defined
         as Indian Country and governed by the Te-Moak Tribal Council. The United States
         Department of Interior recorded the official place of business for the Te-Moak Tribe
         maintains in Indian Country as: 525 Sunset Street; Elko, Nevada 89801.

   22.   Defendant, Robin Ann Evans, is an individual, an adult, over the age of eighteen, who
         is a resident of the State of Arizona. Robin Evans may be served with legal process
         at: 8776 Shea Blvd. Suite 123; Scottsdale, Arizona 85260, or alternatively by mailing
         at: P. 0. Box 1135; Parker, Arizona 85344.

   23.   Defendant, Lesley A. Berg-Grove, ("Leslie Grove"), is an individual, an adult over the
         age of eighteen, who retains or holds dual citizenship with the United States and
         Australia, and is a resident of the State of Nevada. Lesley Grove may be served legal
         process at: 18171 Glen Lakes Court; Reno, Nevada 89508, 2201 Glenn Drive; Carson
         City, Nevada 89703 or 816 Mustang Lane; Gardnerville, Nevada 89410-6812.

   24.   Defendant, Paul Conable, (identified by the Plaintiff through Paul Conable's mother
         Barbara Conable at4427 North Willis Blvd; Portland), is an individual, an adult, over
         the age of eighteen, who is a resident of the State of Oregon. Paul Conable may be
         served legal process at: 4920 NE 32nd PL; Portland, Oregon 97211; 35 MSW
         Whitaker SW Street; Portland, Oregon 97201; 888 SW Fifth Avenue; Portland,



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         Oregon 97204 and 3225 NE 43 rd Avenue; Portland, Oregon 97213 (Andover
         Productions, Inc.).

  25.    Defendant, Jeffery Scott Sypolt, ("Sypolt"), is an individual, an adult, over the age of
         eighteen, who is a resident of the State of Illinois. Sypolt may be served with legal
         process at: 7903 Bayview Road; Wonder Lake, Illinois 60097 and 196 Ashley Way;
         Bloomingdale, Illinois 60108 or 1900 Fairfax Road; St. Charles, Illinois 60174 and
         358 Cardinal Drive; Bloomingdale, Illinois 60108.

  26.    Defendant, Darian A. Stanford, is an individual, an adult, over the age of eighteen,
         who is a resident of the State of Oregon. Darian Stanford may be served with legal
         process at: 15530 NW Oakhills Drive; Beaverton, Oregon 97006 and 6937 North
         Fiske Avenue; Portland, Oregon 97203.

  2 7.   Defendant, Steven Duane Olson, ("Steve Olson" aka Sol Son), is an individual, an
         adult, over the age of eighteen, who is a resident of the State of Oregon. Steve Olson
         may be served with legal process at: 23586 NW Saint Helens Road, Apartment 2;
         Portland, Oregon 97231 or 31375 East Hayden Lake Road; Hayden, Idaho 83850
         and 2202 NE 25 th Avenue; Portland, Oregon 97231, or alternatively by mailing at:
         P.O. Box 13125; Portland, Oregon 97213.

  28.    Defendant, George Tallchief Skibine, is an individual and a partner at Dentons US
         LLP, an adult, over the age of eighteen, who is a resident of the State of Maryland.
         George T. Skibine may be served with legal process at: 1348 Constitution NE
         Avenue; Washington D.C. 20002, 1104 La Grande Road; Silver Springs, Maryland
         20903 and 424 Mississippi Avenue; Silver Springs, Maryland 20910, or alternatively
         by mailing at: 9823 Pacific Heights Blvd. Suite H; San Diego, California 92121.

  29.    Defendant, Virginia Heather Sibbison, (aka V. Heather Sibbison aka Heather
         Sibbison), is an individual and a partner at Dentons US LLP, an adult, over the age of
         eighteen, who is a resident of the State of Virginia. Sibbison may be served with legal
         process at: 2913 Bryan Street; Alexandria, Virginia 22302, or alternatively by
         mailing at: P.O. Box 100, #8; South Westerlo, New York 12083.

  30.    Defendant, J. Ross Docksey, is an individual and a partner at Dentons US LLP, an
         adult, over the age of eighteen, who is a resident of the State of Illinois. J. Ross



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        Docksey may be served with legal process at: 4 753 Wellington Drive; Long Grove,
        Illinois 60047, and 4753 RFD; Long Grove, Illinois 60047.

  31.   Defendant, Kevin Clock, is an individual, an adult, over the age of eighteen, who is a
        resident of the State of Oregon. Kevin Clock may be served with legal process at:
        1100 Dumont Blvd. #C-148; Las Vegas, Nevada 89169 and 1167 North Main Street;
        Ashland, Oregon.

  32.   Defendant, Elliot Nance Parris, (aka "Eli"), is an individual, an adult, over the age of
        eighteen, who is a resident of the State of Oregon. Elliot N. Parris may be served
        with legal process at: 2689 S. Andros Way; Meridian, Idaho 83642 and 7517
        Heather Knoll Circle; Las Vegas, Nevada 89129. Elliot N. Parris is identified in
        government records as the Managing Member for SCS Elko LLC with a street
        address of: 1100 Dumont Blvd. #C-148; Las Vegas, Nevada 89169.

  33.   Defendant, Joseph Delarosa, is an individual, an adult, over the age of eighteen, who
        is a resident of the State of Oregon. Joseph Delarosa may be served with legal
        process at: 1926 Sargent Avenue; Klamath Falls, Oregon 97601 and 4616 Spartan
        Way; North Las Vegas 89032.

  34.   Defendant, Governor Steve Sisolak, is a government official for the State of Nevada.
        Governor Steve Sisolak may be served with legal process, pursuant to law, to the
        Nevada Secretary of State at: 101 N. Carson Street, Suite 3; Carson City, Nevada
        89701. Governor Steve Sisolak acted at all times relevant to this action under color
        and authority of and in violation of state law, to wit, contracts, statutes, ordinances,
        regulations, rules, customs and usages, in violation of federal law by enforcing and
        upholding state commercial marijuana laws in clear contravention with federal
        criminal prohibitions against commercial marijuana. See U.S. Const. Art. VI.

  35.   Defendant, Steve Sisolak, is an individual, an adult, over the age of eighteen, who is a
        resident of the State of Nevada. Steve Sisolak may be served with legal process at:
        11031 Sanctuary Cove Court; Las Vegas, Nevada 89135 and 500 South Grand
        Central Parkway; Las Vegas, Nevada 89155 and 8337 Bella Famiglia Avenue; Las
        Vegas, Nevada 89178 and 359 E. Robindale Road; Las Vegas, Nevada 89123.

  36.   Defendant, Attorney General Aaron Ford, is a government official for the State of
        Nevada. Attorney General Aaron Ford may be served with legal process, pursuant to


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  41.   Defendant, SCS Elko LLC, (hereafter "SCS"), (acronym for Sovereign Cannabis
        Solutions), is identified and listed with the State of Nevada as a domestic limited
        liability company formed on May 8, 2019, (Nevada Business Identity No.
        NV20191350741), and government records state that SCS's street address is: 7517
        Heather Knoll Circle; Las Vegas, Nevada 89129 with one (1) sole manager-member:
        Elliot "Eli" Parris. SCS may be served with legal process through its registered agent
        Eli Parris at: 1100 Dumont Blvd. #C-148; Las Vegas, Nevada 89169.

  42.   Defendant, Dentons US LLP, DBA Dentons Durham Jones Pinegar P.C., ("Dentons"), is
        a Utah business entity that operates out of its principal place of business in Utah at:
        111 South Main Street, Suite 2400; Salt Lake City, Utah 84111. Dentons also
        operates and conducts business involving interstate commerce from: 233 Wacker
        Drive, Suite 5900; Chicago, Illinois; and 1900 K Street NW; Washington, D.C. 20006.
        Dentons may be served with legal process through its registered agent DDJP
        Corporate Services at: 111 South State Street, Suite 2400; Salt Lake City, Utah
        84111.

  43.   Defendant, Zions Bancorporation, National Association, is a Utah Corporation,
        (Entity Number 9603596-0143), with its principal place of business located at: ONE
        SOUTH MAIN STREET, 2nd Floor; Salt Lake City, Utah 84133; and Zionsbank is the
        parent corporation for Nevada State Bank; California Bank and Trust; The
        Commerce Bank of Oregon; The Commerce Bank of Washington and Cash Access,
        Inc. (referenced herein as "Zionsbank"). Zionsbank may be served with legal
        process on its Utah registered agent Corporation Service Company at: 15 West
        South Temple, Suite 600; Salt Lake City, Utah 84101.

  44.   Nevada State Bank, (NV20101844335), (herein referenced as "NSB"), merged with
        Utah's Zionsbank in 2010 and acts as Zionsbank's alter ego herein with the parent
        maintains its principle place of business located at: One South Main Street, 2nd
        Floor; Salt Lake City, Utah 84133, with NSB operating locations throughout the State
        of Nevada where deposits, withdrawals and transfers identified in this complaint
        are directed electronically to Zions bank in Salt Lake City, Utah, and the NSB
        registered agent in Nevada is identified as: Corporation Service Company, George
        Massih, located at: 112 North Curry Street; Carson City, Nevada 89703. The
        Corporate Officers identified by the State of Nevada are: Deborah Smith,
        (Secretary), Dallas Haun, (President), Terry Shirey, (Treasurer) at: 750 E. Warm



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        law, to the Nevada Secretary of State at: 101 N. Carson Street, Suite 3; Carson City,
        Nevada 89701. Attorney General Aaron Ford acted at all times relevant to this
        action under color and authority of state law, to wit, under color of statutes,
        ordinances, regulations, rules, customs and usages, in violation of federal law by
        enforcing and upholding state commercial marijuana laws in clear contravention
        with federal criminal prohibitions against commercial marijuana. See U.S. Const.
        Art. VI.

  37.   Defendant, Aaron Darnell Ford, is an individual, an adult, over the age of eighteen,
        who is a resident of the State of Nevada. Aaron Ford maybe served with legal
        process at: 3915 Pasilla Avenue; Las Vegas, Nevada 89118 and 1348 Saltern Drive;
        Carson City, Nevada 89706 and 500 South Grand Central Parkway; Las Vegas,
        Nevada 89155 and 2603 Creekwood Drive; Cedar Hill, Texas 75104 and 1474
        Creekwood Drive; Cedar Hill, Texas 75104 and 5235 Gillette Avenue; Hilliard, Ohio
        43026 and 1401 Fm 208; College Station, Texas 77840; and 401 Lincoln Avenue;
        College Station, Texas 77840.

  38.   Defendant, Kristen K. Goddard-Hevener, is an individual, an adult, over the age of
        eighteen, who is a resident of the State of Nevada. Kristen Hevener may be served
        with legal process at: 624 Rock Island Drive; Dayton, Nevada 89403. Kristen
        Hevener acted under color and authority of and in violation of state law, to wit,
        under color of statutes, ordinances, regulations, rules, customs and usages as a State
        of Nevada employee.

  39.   Defendant, Brent Alan Waite, is an individual, an adult, over the age of eighteen, who
        is a resident of the State of Colorado. Brent Waite may be served with legal process
        at: 6427 S. Acoma Street; Littleton, Colorado 80120-3410 and 353 Meadow Lark
        Tri; Gunnison, Colorado 81230 and 1227 E. Shadow Gate Circle; Sandy, Utah 84094,
        or alternatively by mailing at: P.O. Box 30709; Salt Lake City, Utah 84130-0709.

  40.   Defendant, Bryan Luke Bowker, is an individual, an adult, over the age of eighteen,
        who is a resident of the State of Arizona. Bryan Bowker may be served with legal
        process at: 2524 E Linda Circle; Phoenix, Arizona 85050 and 12444 NE Knott
        Street; Portland, Oregon 97230 and 3000 SE 148th Avenue; Portland, Oregon 97236
        and 10006 N. Ivanhoe Street; Portland, Oregon 97203.




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         Springs Road; Las Vegas, Nevada 89119; and Jeremy Aguero, (Director), 6385 S.
         Rainbow Blvd. Suite 105; Las Vegas, Nevada 89118.

  45.    Defendant, Tonkon Torp LLP, (herein "TT"), is an Oregon Business entity originally
         created for the purpose to "Practice of Law" as stated in government records, (No.
         XX-XXXXXXX) (October 29, 1997), with its principal place of business at: 888 SW
         Fifth Avenue; Portland, Oregon 97204. Tonkon Torp LLP may be served with legal
         process on Kurt W. Ruttum or Sherrill A. Corbett at 888 SW 5th Avenue, Suite 1600;
         Portland, Oregon 97204.

  46.    Defendants John and Jane Does 1-100 are individuals and entities known to exist
         however until the record is fully developed their true identities and involvement
         related to this action remain incomplete, through the use of discovery this
         information will become a part of the complaint through an amendment, if
         permissible by law, and until such time this Complaint references their involvement
         as "unnamed."

  4 7.    Defendant Elko Band Colony Enterprises, ("EBCE"), is a fictitious tribal business
         entity without a physical location that uses the address on federal Territory, within
         Indian Country, at: 1745 Silver Eagle Road; Elko, Nevada 89801 and the NCE
         Defendants use and submit the IRS EIN issued to Elko Band Colony for ECBE.

  48.    SALAL Credit Union is a business entity in the State of Washington registered under
         the Unified Business Identifier ("UBI") No. 601133761. SALAL was first
         incorporated on December 10, 1948, and SALAL identified its Board of Governors to
         the State of Washington on December 18, 2020 as: Russell Rosenthal; Bob
         Schweigert; Skott Pope, (aka Troy Skott Welden, Troy Skott Pope Jr. and Skott
         Pope); and Randy Cloes with the corporation's principal place of business identified
         as: 9706 4 th Avenue NE; Seattle, Washington 98115. Exhibit III-D(l). SALAL Credit
         Union is also known as SCU Holdings LLC, a Washington business incorporated
         November 14, 2016, UBI No. 604058533, listing the physical address: 9706 4th
         Avenue NE; Suite 400; Seattle, Washington 98115, and both SALAL Credit Union and
         SCU Holdings LLC maintain and use the same mailing address: P.O. Box 75029;
         Seattle, Washington 98175. The State of Washington identifies KTC Service
         Corporation as the Registered Agent, located at: 701 5th Avenue, Suite 3300; Seattle,
         Washington 98104, and lists Russ Rosenthal, Skott Pope and Randy Cloes as the
         Board of Governors.


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        Part II• Additional Factual Information Regarding The Parties

  49.   Davis Gonzalez implemented or used addresses, accounts and contact information
        related to his daughter, Barbelyn L. Tom, in Boise, Idaho; his son Mitch Gonzalez in
        Miami, Florida; his daughter Corrina Gonzalez in Elko, Nevada; his brother Raymond
        Gonzalez and Raymond's child Rosanna Recindez, and multiple United States Postal
        Service mailboxes, including P.O. Box 898; Elko, Nevada 89803, to hide by trick or
        deception Davis Gonzalez' residence, location and unlawful financial transactions
        from the public. Davis Gonzalez claimed to the Plaintiff that Gonzalez has about 13
        different credit cards issued in his name, some that are drawn in his adult children's
        names, (a possible 49 total), to hide his income and expenditures from tax liability.

  SO.   Thalia Marin held or retains an ownership interest in a business, Marin Roofing, LLC
        (Business JD: NV20131614145), located at 4914th Street; Elko, Nevada 89801 with
        her deceased husband's relative, Xavier T. Marin, who also holds an interest in real
        property that Thalia Marin invests in. Thalia Marin held an ownership interest in a
        home previously titled in Merlin Gonzalez' name that was purchased, in whole or in
        part, with cash proceeds from the sale and distribution of a controlled substance at
        Newe Cannabis, to wit: Merlin Gonzalez purchased the home from Xavier, with a
        loan that used cannabis proceeds obtained from Davis Gonzalez.

  51.   Adela Morrison is the sister to Yolanda McDade, Joseph McDade's wife, and Yolanda
        McDade, Adela Morrison and Defendant Andrea Woods are sisters. Defendant
        Morrison serves as the Te-Moak Housing Authority, ("TMHA"), Chairwoman.

  52.   Joseph McDade is also an employee of the United States, the BIA Superintendent of
        the Eastern Nevada Agency and who is self-employed as a Native American rancher
        and married to Yolanda McDade. Together Joseph McDade and Yolanda McDade
        manage a large cattle operation and have been cited and found liable for trespass by
        the United States involving grazing rights.

  53.   Robin Evans held or retains an ownership interest in real property located at 9494
        E. Redfield Road; Scottsdale, Arizona 85260; 8776 Shea Blvd, #B3A12; Scottsdale,
        Arizona 85260; 30 Virginia Drive; Monroe, Michigan 48161 and 310 Leland Pl;
        Lansing, Michigan 48917; 745 Arrowood Lane; Oak Park, California 91377.




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  54.   Robin Ann Evans maintains an analog landline telephone number through
        Michigan's Ameritech (517) 323-4147, and a digital cellular telephone number
        issued by or through New Cingular Wireless PCS LLC (480) 459-6201 located in
        Scottsdale, Arizona. Robin Ann Evans' cell phone number is listed on the
        government contractor website Nevadabids.us and that website states that Evans'
        cellular telephone number is the telephone number for the official listing as "The
        Wells Band Council" with the stated address of: 1755 Mountainview Drive; Wells,
        Nevada 89835 where this is the official address identified as the Te-Moak Tribe's
        constituent Wells Band Council, and the same Robin Ann Evans' cellular phone
        number is listed as the number for RAM Homes LLC located at: 8776 Shea Blvd.
        Suite 123; Scottsdale, Arizona 85260.

  55.   Tammy J. Carrera held or retains an ownership interest in real property located at:
        423 Antelope Drive; Battle Mountain, Nevada 89820; 115 Illipah Lane; Battle
        Mountain, Nevada 89820; 140 E 3rd Street; Battle Mountain, Nevada 89820 and 17
        Villa Real Lane; Yerington, Nevada 8944 7. Tammy J. Carrera identified herself as the
        Master Court Clerk for the Te-Moak Administrative Offices of the Court and is the
        wife of David Dale Carrera.

  56.   Duane Garcia, Sr., held or retains a joint ownership interest in real property with
        Alice Tybo, located on federal, tribal lands at: 203 Bench Road; Lee, Nevada 89815;
        and Duane Garcia, Sr., uses or used a United States Postal Service mailbox: P.O. Box
        1345; Elko, Nevada 89803, with his wife, Melva Garcia, (sister to Alice Tybo and
        Tanya Reynolds), to hide, by trick and deception, assets using his children and
        grandchildren's names: Michael Garcia, located at: 1004 Idaho Street; Belgrade,
        Montana 59714 along with a United States Postal Service mailbox address P.O. Box
        1125; Belgrade, Montana 59714; and also Duane Garcia, Jr., at 8261 Birch Water
        Lane; West Jordan, Utah 84081.

  57.   David Dale Carrera held or retains an interest in real property located at: 1569
        1600 E; Battle Mountain, Nevada 89820; 640 Maple Court; Battle Mountain, Nevada
        89820; 67 E 5th Street; Battle Mountain, Nevada 89820, and in January 2022 the
        Plaintiff identified a recent deposit or balance of an amount over "$250,000.00" at
        Wells Fargo Bank in the name of David Dale Carrera.

  58.   Paul Conable is an Oregon licensed attorney who works for Tonkon Torp; SCS Elko
        and Newe Cannabis, as well as controlled substance agreements involving Pyramid


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        Lake Paiute Tribe, the Reno Sparks Indiari Colony, Winnemucca Indian Colony of
        Nevada and the Fort McDermitt Paiute-Shoshone Tribe. Fort McDermitt issued a
        Press Release with the University of Nevada-Reno announcing a cooperative use
        grant program to help grow tribal enterprises, the program Robin Evans presented
        to the Te-Moak Council on or about November 23, 2020. Paul Conable traveled
        across interstate highways, bridges, roads and on airlines to personally appear and
        has appeared on federal, tribal lands and conducted business for or on behalf of
        Newe Cannabis, SCS Elko LLC, EBC and EBCE, and other cannabis businesses.

  59.   The Te-Moak Tribe was first organized under the Constitution and By-Laws of the
        Te-Moak Bands of Western Shoshone Indians of Nevada on May 31, 1938, (approved
        by Assistant Secretary William Zimmerman August 24, 1938), and then pursuant to
        the Corporate Charter of the Te-Moak Bands of Western Shoshone Indians of the
        State of Nevada, a federal corporation chartered under the Act of June 18, 1934, (48
        Stat.1934), (as amended 49 Stat. 378 on June 15, 1935), as approved by the United
        States Secretary of the Interior, Assistant Secretary Oscar L. Chapman,(ratified on
        December 12, 1938), that granted the Te-Moak Tribe the right, power and authority
        "[t]o sue and be sued in courts of competent jurisdiction within the United States"
        limited to a "judgment, lien or attachment. .. [on] income or chattels specially
        pledged or assigned," under the perpetual succession of the federal incorporation.

  60.   Leslie Berg-Grove is co-owner of Integrity Business Solutions and Consulting with
        her husband, Aaron M. Grove, this business entity is a shell business, a tool or
        instrument that allows individuals or subsidiaries of the NCE to commit predicate
        acts, while committing predicate acts itself through Leslie Grove. Leslie Grove was
        hired in 2019 as the CFO Contractor for Elko Band Council, listing an address of 816
        Mustang Lane; Gardnerville, Nevada 89410-6812, while simultaneously working for
        Elko Band Colony Enterprises, SCS Elko LLC, Tonkon Torp LLC and Newe Cannabis.

  61.   Leslie Grove used or uses the email addresses Lesleygrove@hotmail.com and
        lgrove@integrit;ybsc.com to communicate with other Defendants to help transfer or
        deposit income and revenue obtained or derived from the sale and distribution of a
        controlled substance, marijuana, at Newe Cannabis, into Groves' personal and
        business bank accounts, funds or other intangibles, including Outback Equestrian
        Center LLC, with other unnamed parties, to hide, change or alter the character of the
        money, revenue or income without full, complete or accurate disclosure to financial
        institutions.


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      62.   Lesley Grove operates the business affairs of Integrity Business Solutions and
            Consulting, ("IBSC"), with a continuing pattern of racketeering activity that provided
            and provides material assistance to Davis Gonzalez; Juan Arevalo; Thalia Marin;
            Robin Evans; Kevin Clock; Elliot Parris; Paul Conable; Darian Stanford and Steve
            Olson to construct Elko Band Colony Enterprises and/ or Newe Cannabis by holding
            her firm out as a GAAP accredited accounting firm when it lacks any GAAP
            accreditation, and on November 30, 2021 IBSC offered to perform a forensic audit
            on Elko Band programs and accounts for a $10,000.00 fee to determine the
            existence of any fraudulent transfers and expenditures related to the NCE.

      63.   Defendant, Tanya Reynolds, continues to operate, manage and transact business,
            including financial transactions under the name Western Shoshone Descendants of
            Ruby Valley, ("WSDRV"), as a tribal business entity formerly recognized by the State
            of Nevada as a limited liability company listed by the state under the name ETK
            Enterprise, LLC, until June 30, 2016, (No. E0292302013-7), that identified Tanya
            Reynolds as the sole manager/owner with a fictitious address stated as being at the
            United States Postal Service issued tribal business mailbox address: 21 Lee B-7 Spg;
            Lee, Nevada 89815. The business entity status for WSDRV and ETK was revoked by
            Nevada in 2016 and the fictitious address is a variation of Tanya Reynold's physical
            address on federal tribal land: 21 Lee Unit B-7; Lee, Nevada 89815.

      64.   Darian Stanford is a former Department of Defense contractor attorney. Darian
            Stanford is an Oregon licensed attorney who works for Tonkon Torp; SCS Elko LLC;
            Cascade Strategic Investments, ("CS!"), Sovereign Cannabis Investments, ("SCI"),
            Nuwu Cannabis and Newe Cannabis, by creating and managing controlled substance
            agreements involving the Te-Moak Tribe; Pyramid Lake Paiute Tribe; the Reno
            Sparks Indian Colony; Winnemucca Indian Colony of Nevada and the Fort
            McDermitt Paiute-Shoshone Tribe when the business entities are in fact false shell
            entities ofTonkon Torp. Darian Stanford filed court documents claiming to
            represent Elko Band Council and Elko Band Colony Enterprises and made public
            statements that Darian Stanford was the attorney of record for Elko Band Council,
            ("EBC"), when EBC and Gonzalez repeatedly stated in public that Stanford did not
            represent EBC.1




  1
   Elko Band Council and Elko Band Colony are synonymous here as the Elko Band Colony only acts pursuant to the
  Elko Band Council, the governing body politic.

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  65.   Steve Olson held or retains an ownership interest in real property located at: 2202
        NE 25 th Avenue; Portland, Oregon 97231; 31375 East Hayden Lake Road; Hayden,
        Idaho 83850; 31245 E Hayden Lake Road; Hayden, Idaho 83835. Steven D. Olson is
        an Oregon licensed attorney who shares a mutual United States Postal Service
        mailbox with his wife Colleen Marie Olson: P.O. Box 13125; Portland, Oregon 97213
        and uses his wife's email address to conduct business communications and
        messaging: colleen@gmail.com and colleen@netzero.net.

  66.   Steven D. Olson is the business agent for The Historic Portland Public Market
        Foundation and BAO Adventures LLC, which identify the same business address as
        Tonkon Torp LLC: 888 SW Fifth Avenue; Portland, Oregon 97204 and 1600 Pioneer
        Tower; Portland, Oregon 97204. Steven D. Olson, aka Sol Son, maintains business
        associations with Barbara J. Jones; David D. Unzicker; Janet I. Gabrio; Wendy R.
        Dixon' Larry D. Dixon and Shannon Leigh Tomaszewski.

  67.   Steve D. Olson is an Oregon licensed attorney at Tonkon Torp LLC. Steve D. Olson
        traveled on interstate highways, bridges, roads and on airlines to personally appear
        and has appeared on federal, tribal lands and conducted business for or on behalf of
        Newe Cannabis, SCS, and Elko Band Colony Enterprises, and Steve Olson conducted
        business for or on behalf of CS!; SCI; Newe Cannabis; SCS and EBCE, as well as
        assisting or providing assistance with controlled substance business agreements
        involving Pyramid Lake Paiute Tribe, the Reno Sparks Indian Colony, Winnemucca
        Indian Colony of Nevada and the Fort McDermitt Paiute-Shoshone Tribe.

  68.   SCS and CS! are fraudulent shell, instruments and 'prize' or 'tool' business entities of
        Tonkon Torp, and CS! is the alter ego business predecessor of SCS, which Cascade,
        Tonkon Torp, ("TT"), and TT Administrative Services (Registered Agent for Tonkon
        Torp) maintain the same business address: 888 SW Fifth Avenue; Portland, Oregon
        97204, where the entities employ attorneys, agents and managers for or on behalf of
        Cascade, TT Administrative and Tonkon Torp. Ref. Exhibits III-C(9) and (10).
        Defendant SCS is a manager member-owned business entity, its predecessor was
        called CS!, both of which are fraudulent shells, instruments or 'prize' business
        entities associated in fact and are operated by or owned by TT, Darian Stanford, Paul
        Conable or Steve Olson, with Kevin Clock and Elliot Parris pseudo or puppet
        managers on paper alone without true discretionary authority absent TT, Stanford,
        Olson or Conable's authorization to act.



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  69.   Dentons held, and continues to hold, itself out to the public as "a global legal practice
        providing client services worldwide," and "the world's largest law firm," with "207
        offices... [in] 82 countries" where Dentons maintains "44 US locations" from which
        three (3) locations provided legal services to the Te-Moak Tribe, (Sypolt, Skibine,
        Sibbison and Docksey): 1) 111 South Main Street, Suite 2400; Salt Lake City, Utah
        84111; 2) 233 Wacker Drive, Suite 5900; Chicago, Illinois; and 3) 1900 K Street NW;
        Washington, D.C. 20006 (Denton's Native American Law and Policy team).

  70.   From April 2020 through September 1, 2021 Sypolt worked for, at or with Dentons
        in Salt Lake City, Utah; Chicago, Illinois; Washington, D.C., and beginning in
        September 2020 Sypolt frequently conducted business through the Dentons' Salt
        Lake City, Utah Office located at: 111 South Main Street, Suite 2400; Salt Lake City,
        Utah 84111 as well as an undisclosed office/location in Park City, Utah.

  71.   Brent Waite is a Utah licensed attorney and for all relevant times to this action
        represented or provided legal services to Zionsbank while managing or controlling
        the business operations of Nevada State Bank, as Zionsbank's alter ego with Nicole
        Lewis, and others, through legal services, advice and representation.

  72.   Defendant Sypolt is an Illinois licensed attorney and is married to Kiki Whitehead,
        (employed as a Professional Gambler). Sypolt held or retain an interest in: Fox
        Valley Towing Corporation-President (1701 E. Woodfield Road, Suite 1101;
        Schamburg, Jllinois 60173); Grundy Personal Fitness Incorporated - Agent (730
        Persimmons Drive; St. Charles, Jllinois 6017 4); Merchant Capital Incorporation -
        Agent (730 Persimmons Drive; St. Charles, Illinois 60174); and RALEE International
        Trading Incorporated - President (10155 NW 91h Street Circle, Apt. 401; Miami,
        Florida 33171). Sypolt and Kiki Whitehead (Stamatiou), jointly held or retain an
        interest in real property located at: 1436 Spyglass Court; Itasca, Illinois 60143; 196
        Ashley Way; Bloomingdale, Jllinois 60108 (reported August 2020); 1900 Fairfax
        Road; St. Charles, Illinois 60174 (reported January 2020); 358 Cardinal Drive;
        Bloomingdale, Illinois 60108 (reported July 2021); 787 E. Independence Drive;
        Palatine, Illinois 60074; 100 W. Randolph Street; Chicago, Illinois 60601; 5215 N.
        Moody Avenue; Chicago Illinois. Defendant Sypolt used or uses a wireless cell phone
        to communicate and transmit electronic data related to the Te-Moak Tribe from to
        and across the Lucent Technologies data switch in Salt Lake City, Utah and the
        cellular number, (312) 402-6688, Sypolt used, was issued by New Cingular Wireless
        PCS LLC, and is associated with his a family member: Brenda Joyce Sypolt.


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  89.   This lawsuit involves the diversity of citizenship between the parties and the amount
        in controversy exceeds $75,000.00, exclusive of costs and interest, pursuant to 28
        U.S.C. §1332(a)(1), and the suit is also between citizens of different states, a citizen or
        subject of a foreign state, Leslie Berg-Grove, and the amount in controversy exceeds
        $75,000.00, exclusive of costs and interest, pursuant to 28 U.S.C. §1332(a) (3).
  90.   Under 28 U.S.C. §1367 the Court has supplemental jurisdiction over the Plaintiffs
        ancillary claims, infra, because they are so closely-related to, or interwoven with, the
        pendant-anchor claims under the Court's original jurisdiction that they form part of
        the same case or controversy under Article 3 of the United States Constitution.
  91.   The Court has original jurisdiction because the lawsuit arises under, involves or
        relates to allegations, facts and events involving and related to the United States
        Postal Service, particularly 18 U.S.C. §1341.(Mail Fraud), infra incorporated by
        reference here, and joined with 5 U.S.C. §2302(2)(Whistleblower Protection) and 41
        U.S.C. §4714(c)(un1awfe1 reprisal for filing 0/G Complaints).
  92.   The Court has original jurisdiction over this lawsuit because the suit arises under 15
        U.S.C. §1 and 7. (Sherman Act applies against Defendant's tortious interference in the
        Plaintiffs employment, business and contracts, and against Defendants who
        conspired to tortuously interfere with NDA agreements and other unlawful restraints
        on trade); and 15 U.S.C. §12-14. 18-19. 25-26. (Clayton Act applied against
        Defendants tortious interference in the Plaintiffs employment, business and
        contracts through the unlawful restraint of trade by way of NDA Agreements, serving
        or conducting the business of multiple business entities to restrain trade and
        competition, to fix prices, receive compensation to fix prices, suppress competition,
        bribery, extortion, threats, market manipulation schemes and retaliation against the
        Plaintiff).




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  73.    Defendant, George T. Skibine, held or retains an interest in real property located at:
         1104 La Grande Road; Silver Springs, Maryland 20903 and 424 Mississippi Avenue;
         Silver Springs, Maryland 20910. George T. Skibine served as the United States
         Department of Interior Assistant Secretary- Indian Affairs, (acting), in 2008 and
         2009. George T. Skibine used or uses a United States Postal Facility address and an
         address for Triden Security Group at: 9823 Pacific Heights Blvd. Suite H; San Diego,
         California 92121, and a cell phone number (706) 294-6094 issued out of Atlanta,
         Georgia by Powertel Atlanta Licenses Inc.

  7 4.   Defendant Sib bison held or retains an ownership interest in real property located
         at: 54 Hunterstown Road; Germantown, New York 12526; 1330 Bayliss Drive;
         Alexandria, Virginia 12526; 902 Arcadian Drive; Cheyenne, Wyoming 82007 and
         7337 Kehne Road; Frederick, Maryland 21702. Defendant Sibbison is associated
         with a United States Postal Service mailbox address at: P.O. Box 100, #8; South
         Westerlo, New York 12083. Defendant Sib bison is an attorney and who holds or
         owns an interest in Dentons as a partner, where she serves as the Chair of the firm's
         Native American Law and Policy Practice. Defendant Sib bison is a paid lobbyist in
         Washington D.C. for several Native American Tribes, and who has been employed as
         United States Department of Justice - Counsel to the Assistant Attorney General for
         Environmental and Natural Resources at the; United States Department of Interior
         Office of Water Rights - Director; Counsel to the United States Department of
         Interior Deputy Secretary; Special Assistant to the Secretary of the United States
         Department of Interior.

  75.    Defendant J. Ross Docksey is an attorney and partner at Dentons. Defendant J. Ross
         Docksey held or retains an interest in Rytec Corporation, held or retains an interest
         in Dentons and held or retains an interest in an agricultural farm located at: 4753
         RFD; Long Grove, Illinois 60047.

  76.    Defendant Chadwick Smith held or retains an ownership interest in real property
         located at: Tahlequah, Oklahoma 74464; 22959 S. 494 Road; Tahlequah, Oklahoma
         74464; 24082 County Road 556; Colcord, Oklahoma 74338; 8324 Hillwood Drive;
         Tulsa, Oklahoma 74131; and Defendant Smith held or retains an interest, along with
         his wife, Bobbie Gail Smith, in real property located at: 322 NW 3 rd Street; Antlers,
         Oklahoma 74523 and 1340 E. 61 st Street; Tulsa, Oklahoma 74136.




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  77.   Defendant Chadwick Smith, a.k.a. Chadwick F. Smith; Chadwick N. Smith; Chadwick
        C. Smith; Chadwick Bobbie Smith and Chad Smith, used or uses the mailing address
        of: P.O. Box 11324; Palm Desert, California 92255 with the telephone number of:
        (918) 453-1707 on legal filings, which is a number assigned to his daughter, Kaith A.
        Smith, a.k.a. Kaith Anaweg Nedsin and Kai th Smith, that was shown as
        'disconnected' in public records when Plaintiff prepared this Complaint.

  78.   In August 2020 Sypolt, Skibine and/or Dentons hired and paid Defendant Smith to
        represent the Te-Moak Tribe to fight against the SCE-EBCE Cannabis operations on
        tribal lands, without disclosing a prior relationship existed between Smith, Sypolt,
        Skibine, Dentons and SCS/TT in a written, dated format to the entire Te-Moak Tribal
        Council at anytime between August 2020 and March 19, 2021.

  79.   Defendant Kevin Clock held or retains an interest in real property located at: 12729
        SE Kelly Street; Portland, Oregon and 10138 SE 96th Avenue; Happy Valley, Oregon
        97086.

  80.   Defendant Elliot N. Parris held or retains an interest in real property located at:
        11835 SW Koski Drive; Portland, Oregon 97914 and 219 SW 9th Avenue; Ontario,
        Oregon. Defendant Parris identified his address to the State of Nevada Secretary of
        State as: 7517 Heather Knoll Circle; Las Vegas, Nevada 89129. Defendant Parris
        used or maintains a United States Postal Service mailbox address at: P.O. Box 32;
        Ontario, Oregon 97914.

  81.   Defendant Bryan Bowker, ("Bowker"), held or retains, individually or jointly with
        his wife Carolyn Shafer-Bowker, an interest in real property located at: 12444 NE
        Knott Street; Portland, Oregon 97230; 3000 SE 148th Avenue; Portland, Oregon
        97236 and 10006 N. Ivanhoe Street; Portland, Oregon 97203, and Defendant
        Bowker is employed with the United States Bureau oflndian Affairs as the Western
        Regional Director in Phoenix, Arizona where in an employment context Bowker
        supervises his wife's brother Glen Ivan Shafer as Shafer oversees the Bureau's
        contracts and grants to the Te-Moak Tribe.

  82.   RAE Solutions LLP was a Nevada business entity formed in 2008, Nevada Business
        Identification Number NV20081673770, until its status was permanently revoked
        by the state in 2010. RAE Solutions LLC was managed by its sole officer/owner,
        Defendant Robin Ann Evans, and continues to use a mailbox address at: 8776 Shea


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        Blvd. Suite 123; Scottsdale, Arizona 85260, while conducting business across
        multiple states, involving interstate commerce, particularly Utah, providing contract
        and federal grant services to multiple tribal governments and entities.

  83.   Defendant Steve Sisolak held or retains an ownership interest in real property
        located at: 500 South Grand Central Parkway; Las Vegas, Nevada 89155; 8337 Bella
        Famiglia Avenue; Las Vegas, Nevada 89178 and 359 E. Robindale Road; Las Vegas,
        Nevada 89123. Defendant Sisolak, individually or jointly with his wife Kathy Ong as
        well as his ex-wife Lori Sisolak, held or retains an interest in: Katlyns Dream; The
        Mortgage Finance Group LLC; United Alliances LLC; Desert Treasures Properties
        LLC; Desert Treasures Investments LLC; Consumer Credit Assistance LLC; Las Vegas
        Boulevard South.

  84.   Defendant Aaron Ford held or retains an ownership interest in real property located
        at: 1348 Saltern Drive; Carson City, Nevada 89706; 500 South Grand Central
        Parkway; Las Vegas, Nevada 89155. Defendant Ford held or retains an ownership
        interests, individually or jointly with his wife, Berna Rhodes Ford, in real property
        located at: 2603 Creekwood Drive; Cedar Hill, Texas 75104; 1474 Creekwood Drive;
        Cedar Hill, Texas 75104 and 5235 Gillette Avenue; Hilliard, Ohio 43026; 1401 Fm
        208; College Station, Texas 77840; and 401 Lincoln Avenue; College Station, Texas
        77840. Defendant Ford used a personal email address to conduct government
        business: aarondford@frontiernet.net. and Aaron D. Ford shares a cellphone
        telephone number listed out of Texas with his wife and other family members
        identified as: (972) 533-9921, issued through New Cingular Wireless PCS LLC.
        Defendant Ford is employed as the Attorney General for the State of Nevada who
        reports directly to the Governor, Steve Sisolak, and who is the supervisor over Kyle
        George, First Assistant Attorney General for Nevada.

  85.   Defendant Marla McDade used or continues to use the United States Postal Service
        mailbox: HC 30 Box 250; Lee, Nevada 89815, and maintains a place of abode located
        at: 400 South Saliman Road, Apt. L99; Carson City, Nevada 89701. Marla L. McDade
        is also known as Marla Williams and is employed as the State of Nevada Deputy
        Director Health and Human Services with responsibility over the state's cannabis
        program through her subordinate agency the Division of Public and Behavioral
        Health, ("DPBH"). DPBH receives applications for state cannabis licenses, then
        conducts a 90 day review and either issues a certificate or denies the application.
        Marla McDade is a former Deputy Administrator (February 2010 thru June 2014),


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        former Bureau Chief, Oune 2008 thru February 2010), and former Health Program
        Manager, Ouly 2004 thru June 2008), at the State of Nevada Division of Public and
        Behavioral Health in the State of Nevada. Marla McDade also received pay as a
        lobbyist and Senior Director for Strategies 360, (from February 2017 through
        January 2022), a State of Washington business entity that advocates for marijuana
        legislation. Marla L. McDade Williams is the supervisor over Kirsten Hevener,
        Business Process Analyst II, (July 2012 to present), at the Nevada Department of
        Health and Human Services.

  86.   Defendant Kristen Hevener uses a personal email address: khevenerl@yahoo.com.
        and the telephone number (775) 241-0310, issued by Nevada Bell Telephone
        Company, and the cell phone (775) 230-3609 issued by New Cingular Wireless PCS
        LLC, to conduct government business, including the transmission of information,
        data and communications related to the allegations identified in this Complaint.

  B.    IURISDICTION

  87.   The Court has jurisdiction over this lawsuit because the suit arises under the United
        States Constitution. Amend. 1 and 14; Article 1. sec. 10. cl. 5: Article 2. section 2;
        Article 4. sec. 2. cl. 1 and Article 6: 5 U.S.C. §2302(2) (Whistleblower Protection); 29
        U.S.C. §201 et seq. and 41 U.S.C. §4714(c)(un1awfe1 reprisal for filing OIG Complaints).
  88.   The Court has jurisdiction over the lawsuit because a substantial part of this action
        arises under or is brought pursuant to 28 U.S.C. §§1331 and 1337 and allegations
        supporting violations of the RICO statutes: 18 U.S.C. §§1961(1)(A) and (B). (4) and
        .(fil, 18 U.S.C. § 1962(a). (c) and (d) and 1964(a) and (c). involving 18 U.S.C.
        §1341(Mail Fraud); 18 U.S.C. §1343(Wire Fraud); 18 U.S.C. §1344(Bank Fraud,
        including False Entry under 18 U.S.C. §§1005 and 1006); 18 U.S.C. §l 956(Money
        Laundering, including violations o/18 U.S.C. §1957 Engaging in Unlawful Money
        Transactions and violations of the Travel Act 18 U.S.C. §1952); and 18 U.S.C.
        §§ 150 3 (Obstruction), 1510(Obstruction of Criminal Investigation), 1512 (Witness,
        Victim or Informant Tampering) and l5l2(Reta/iation against Witness, Victim or
        Informant); 42 U.S.C. §§1981. 1982. 1983. 1985. 1986 and 1988: and 28 U.S.C. §1367.




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  C.    VENUE

  93.   There are two (2) sources of venue that resound in this Court:
           a. A substantial part of the events giving rise to the action occurred in this
               district, where, from within the State of Utah, a criminal organization planned,
               and agreed to conduct its operations to create, amass and distribute wealth
               originating or derived from the unlawful sale and distribution of a controlled
              substance, marijuana, and from fraudulent misappropriations of federal grant
              funds:
                    1) The Te-Moak Tribe conducted and managed its financial management
                        services and programs through Hinton-Burdick, CPA, in St George
                       Utah, where a substantial amount of financial evidence related to this
                       lawsuit is located. 28 U.S.C. §1391(a)(2).
                    2) The Te-Moak Tribe and Elko Band Council conducted and managed its
                       financial transactions directly and indirectly through Zions bank in
                       Salt Lake City, Utah where a substantial amount of financial evidence
                       related to this lawsuit is located. 28 U.S.C. §1391(a)(2).
                    3) A substantial portion of the electronic transmissions and
                       communications identified in this lawsuit, whether email, internet
                       and telephonic, were routed through the Lucent Technologies, Inc.,
                       POP 100 Gigabyte data switch in Salt Lake City, Utah. 28 U.S.C.
                       §1391(a)(2).
                    4) A substantial portion of the communications identified or involved in
                       this action were received, sent to, transferred and deliver through the
                       United States Postal Service Regional Processing and Distribution
                       Facility, partly to retaliate against the Plaintiff then an employee of a
                       federal government grantee, who filed complaints with the OIG and
                       Solicitor General in Salt Lake City, Utah. 5 U.S.C. §2302(2) and 41
                       U.S.C. §4714(c). See 28 U.S.C. §1391(a)(2): and


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                    5) Defendants Sypolt, Holley and Reynolds contacted, communicated
                        and negotiated, as a joint team through Sypolt and Dentons, with
                        Darian Stanford; Paul Conable; Steve Olson; Governor Steve Sisolak
                        and Attorney General Aaron Ford from and within the State of Utah,
                        creating and entering agreements described in this Complaint that
                        included retaliation, malicious prosecution and deprivation of the
                        Plaintiffs constitutional rights, as part of the NCE plan or scheme.
           b. Defendant Dentons maintains a principal place of business in Utah at: 111 S.
               Main Street, Suite 2400; Salt Lake City, Utah 84111. Zionsbank maintains a
               principal place of business at: ONE SOUTH MAIN STREET; Salt Lake City, Utah
               84133. Defendant Waite maintains a place of abode in the State of Utah and a
               substantial amount of evidence related to Defendant Waite's conduct, acts and
               omissions is located and Defendant Waites conduct occurred in the State of
               Utah. See 28 U.S.C. §1391(a)(3).
  D.    FACTS AND ALLEGATIONS

  94.   On August 26, 1982 John W. Fritz, United States Department of Interior Deputy
        Assistant Secretary ---Indian Affairs, stated in an official government record "with
        the authority granted to the Secretary of the Interior by the Act of June 18, 1934 (48
        Stat. 984), as amended, and delegated to [Fritz] by 209 DM 8.3 ... hereby approve
        th[e] Constitution of the Te-Moak Tribe of Western Shoshone Indians of Nevada ..
        .providing that nothing in this approval shall be construed as authorizing any
        action under this document that would be contrary to Federal law," and that
        the approved version of the Te-Moak Constitution provides that "the exercise of
        [Tribal Council] powers shall not conflict with Federal Law," and "[c]onsistent
        with this Constitution, Federal and Tribal Jaw, the Band Councils shall have the
        power to ... [c]onduct business... [m]anage local enterprises, own and operate
        businesses" provided that "[n] o action of any Band Council shall be inconsistent
        with Federal law, this Constitution, or ordinances and resolutions of the Tribe."
        Constitution of the Te-Moak Tribe. Article 4. section 3 and section 12.12(a). 12(b)
        and 12(c)(emphasis added). Any violation of federal law by any Te-Moak official
        should constitute a waiver of sovereign immunity, resulting in personal liability.



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  95.   For the relevant periods related to matters in this lawsuit the Plaintiff, Samuel L.
        Biers, is not and was not a convicted felon as a matter oflaw and fact.

  96.   As the Te-Moak Tribal Administrator, the Plaintiff retained and held the authority to
        assign tasks and duties to each and every Te-Moak employee, subject to Te-Moak
        Tribal Council official action, direction, policy and existing law.

  97.   The Te-Moak Tribe of Western Shoshone Indians of Nevada operates by way and
        through the Tribal Council, (hereinafter "TMC"), which is the Tribe's Executive and
        Legislative Branches of government. The TMC announced on June 30, 1975 all State
        of Nevada laws were inapplicable on Te-Moak tribal lands, (P.L. 280), and that the
        Tribe will "retrocede back to Federal jurisdiction," and on June 29, 1975 the TMC
        enacted legislation that states the minimum rate of pay for the Chief Tribal Judge
        shall be "GS-13(1)." Exhibit 11-C(lO): ~- Te-Moak Const.. Art. 4. Section 20(c)(this
        type of Resolution is permanent as it relates to "particular individuals or officials"].

  98.   According to the United States Office of Personnel Management Salary Table 2021
        for the District of Las Vegas, a GS-13(1) wage rate for the year 2021 was set at
        "$93,518.00" per year and for the year of 2022 the GS-13(1) wage rate was set at
        "$96,038.00" per year.

  99.   Te-Moak law states that: Ordinances, Proposed Ordinances, Resolutions and
        Motions are the only lawful legislative decrees of the Te-Moak Tribal Council,
        termed "Legislative Actions," and that the exercise of any power by the Te-Moak
        Tribal Council "shall not conflict with Federal Law or terms ofth[e] Constitution."
        See Te-Moak Constitution. Article 4. sec. 3. sec.3(n) and sec. 20(a)-(d).

  100. On or about May 20, 2004 the Te-Moak Tribal Council held a Special Meeting after
       that body politic obtained information that the U.S. Bureau of Indian Affairs Eastern
       Nevada Agency "personnel, and its officers," were taking or receiving "kickbacks
       from judicial funds" earmarked or allocated to the Te-Moak Tribe, and the Te-Moak
       Tribal Council officially requested that the United States General Accounting Office;
       U.S. Department oflnterior Office of Inspector General; U.S. Department of Justice
       and the "Nevada Congressional delegation" begin investigating the BIA WRO and
       BIA ENA "contracting practices" along with an internal audit to "account for federal
       funds." Te-Moak Resolution 04-TM-35.



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  101. As grantee-recipient managers of federal funds obtained and awarded for tribal
       programs, (for the period October 2018 thru October 2021), Joseph Holley; Alice
       Tybo; Duane Garcia, Sr.; David Carrera; Davis Gonzalez; Andrea Woods; Thalia
       Marin; Juan Arevalo, and others, were responsible to guarantee that an "affirmative
       action plan" existed for all Te-Moak employees and to guarantee the protection of
       federal civil rights for all employees, officers, personnel and staff of the Tribe under
       that plan, including, but not limited to, preserving the confidentiality of personnel
       records "[i]n accordance with Federal Regulations ..." Te-Moak Personnel Policies
       and Procedures Manual. Part IV at 6("insure[J equal opportunity in recruitment and
       selection ... disciplinary action and all other related personnel procedures and
       practices in accordance with the Indian Self-Determination and Education Assistance
       Act, P. L. 93-638... Section 7, the Civil Rights Act; amended by P.L. 92-621, Section
       703"); Exhibit I-A(3): Part XV(B)(2) at 27 (1993); _!l,g. 42 U.S.C. §2000e et seq.

  102. Te-Moak law states that a sealed record shall not constitute criminal history and a
       sealed record shall not be considered during the employment and pre-employment
       process. See Exhibit I-A(3): Part V(A)(l) at 6. The Te-Moak Personnel Policy states
       that the Tribal Council is required to "provide" employees with group hospital
       insurance, travel accident insurance, accidental death and dismemberment
       insurance, in addition to workers compensation and "Credit Union Savings"
       payments. Exhibit I-A(3): Part VII(H)(l)-(3) at 10. The Te-Moak Tribe failed or
       refused to provide required insurance to the Plaintiff apart from workers
       compensation insurance.

  103. Te-Moak law states that all employees, staff and personnel who are "subject to
       disciplinary action," are afforded the right to "file a grievance," defined as "a written
       complaint" setting forth the claims, delivered to the supervisor, who in turn must
       issue a "decision ... within five (5) working days," and any failure to timely resolve
       the grievance triggers the appeals process. In the appeals process an aggrieved
       employee requests TMC review of any decision and every employee shall be
       afforded "due process" which shall mean "notice of the charge or complaint or
       proposed action and an opportunity to be heard ..." Exhibit I-A(3) at 18-19, Part
       X(A)-(C)(3). After the Te-Moak Tribal Council issues its final decision in any
       disciplinary action Te-Moak tribal law states that "the only recourse is the court."
       Exhibit I-A(3) at 22, Part X(E)(13).




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  104. On April 5, 2017 at a civil jury trial in the United States District Court for the Middle
       District of North Carolina, North Carolina Administrative Office of the Courts'
       employee, Tuwana Capers, testified under oath, (as the person who processed the
       Plaintiffs employment documents as a North Carolina magistrate judge), that she
       inserted a false or erroneous birth date regarding the Plaintiff onto hiring
       documents, proving the Plaintiffs prior statements that the Plaintiff did not falsify a
       birth date on the employment records with the State of North Carolina, and there
       exists no decision or order from any court of law that the Plaintiff falsified
       information related to his birth date on employment documents with the State of
       North Carolina. Ref. Transcript. Vol. 3, p.12, Ln. 9-14; p.18, Ln.9-24 and p.25 Ln. 1-3
       (Biers v. Cline. Case No. 1:12CV375)(April 5, 2017). The Plaintiff did not falsify his
       date of birth on employment records with the State of North Carolina, and all
       removal proceedings in North Carolina were dismissed in favor of Plaintiff. Ref.
       Exhibit 1-B(l): Order Dismissing Removal (11-CVS-2972); Order to Dismiss
       Removal (11-CVS02941); Order Sealing Personnel Records.

  105. On October 16, 2017 the United States Solicitor General for the Department of
       Interior, Christopher Andres Rueda, (located in Salt Lake City, Utah), issued a formal
       written opinion that states:

               [u]nless a tribal constitution states otherwise... [absent
               a delegation of authority or amendment to the Tribe's
               constitution] it is our position that no single individual,
               Councilmember or other officer currently holds the
               authority to negotiate with the United States or to bind
               the Tribe.. .it is the BIA's position that the Tribal Council as
               a whole retains this authority until it is official delegated...
               Exhibit I-B(5)(b): Update Report at 1, No. A15AV00203,
               (U.S. Office of Hearings and Appeals)(Case No. JSDA 2017-01).

  106. On or about December 17, 2018 Elko Band Council created a subcommittee that
       produced a government report stating that a total of 119 Elko Band members out of
       total of 1606 Elko Band members voted in 2018, and the final vote supported the
       approval oflegislation related to "Medical Purposes Only" regulation of marijuana
       by EBC with "91" votes. Elko Cannabis Poll (December 17, 2018). In 2018 the Te-
       Moak Tribe of Western Shoshone Indians of Nevada consisted of about 2459
       enrolled members and the Tribe did not conduct a vote on this issue.


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  107. On or about January 18, 2019 United States Attorney for the District of Nevada,
       Nicholas Trutanich, prepared, drafted and authorized the submission of an official
       government record to the Te-Moak Tribe formally declaring a partnership between
       the United States and the Te-Moak Tribe, whereby the United States agreed to
       "increase prosecutorial resources ... ultimately putting the most violent criminals in
       prison." Since 2019 United States prosecutorial resources for the Te-Moak Tribe
       decreased to a point of being almost non-existent.

  108. Beginning on or about June 16, 2019 Marla McDade published and republished false
       statements regarding the Plaintiff to government officials, across the internet and to
       members of the community that the Plaintiff is a convicted felon, and further
       publicly stated that the Plaintiff was removed from his position as a magistrate
       judge because the Plaintiff lied on his employment application. Marla McDade then
       published and republished this same information to Joseph McDade and Steve
       McDade who in turn republished this information online and then distributed the
       same information to the Court of Indian Offenses, where the Plaintiff was practicing
       law, and to multiple tribes in Nevada.

  109. Kristen Hevenerwas promoted and paid by the State of Nevada to sign and submit a
       false affidavit avowing that documents, records and information held under court
       seal were subject to release by Hevener, then a receptionist, without a court order,
       when the State of Nevada agency who employed Hevener acknowledged an order
       sealing those records existed years earlier. Two weeks prior to the execution of the
       false affidavit by Hevener, the State of Nevada drafted correspondence stating it will
       ensure application of the court seal, that the seal existed and all records were erased
       pursuant to the court seal and Nevada law. After producing, signing and
       transmitting the false affidavit, Kristen Hevener received a lateral promotion to a
       division of the Nevada Department of Health and Human Services where her annual
       pay rate doubled from her prior position as a receptionist. Marla McDade became
       Hevener's supervisor.

  110. For all relevant times Kristen Hevener willfully, intentionally or recklessly
       continued to publish and republish her false affidavit, without retraction, disavowal
       or denial, and Kristen Hevener was assisted by Marla McDade, Steve Sisolak; Aaron
       Ford; Steve McDade; Joseph Holley; Joseph McDade; Tanya Reynolds, and others, to
       publish and republish her false affidavit on the internet and the Plaintiffs protected


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        personal information, by email and via FedEx and the United States Postal Service
        without retraction, disavowal or denial with the intent or purpose to violate or
        attempt to violate N.R.S. §205.463. a felony act.

  111. After obtaining Kristen Hevener's agreement to republish the Hevener false
       affidavit, on or about June 16, 2019 Marla McDade republished the Hevener false
       affidavit containing the Plaintiff's protected information via the internet, email and
       other electronic means, throughout the United States, and thereafter Marla McDade
       published additional false information regarding the Plaintiff to Te-Moak Tribal
       members, government officials and leaders, and then contacted Plaintiff's former
       employer, the State of North Carolina, without legal authority or the permission
       from the Plaintiff seeking and obtaining private, confidential personnel information
       with the intent or purpose to violate or attempt to violate N.R.S. §205.463. a felony
       act in the State of Nevada. Ref. Exhibit 1-B(Orders Dismissing, and Sealing Records).

  112. From June 2019 through October 2019 Marla McDade stated to Joseph McDade and
       Steve McDade that Marla McDade confirmed with North Carolina government
       officials that the Plaintiff was "fired" and "removed" from office as a North Carolina
       Magistrate judge because the Plaintiff "lied on his employment application" by
       inserting a false birth date. Id; see Exhibit III-D(7): McDade Defamation Facebook
       Post Qanuary 1, 2020)("artic/e written in the Durham NC paper is not an accusation
       of any kind. It's fact. I personally know a family member who called the sitting NC
       magistrate and that magistrate verified everything in that article"; Lorrie Carpenter:
       "well when [Biers] dies we can thank the [Te-Moak Tribe]'J.

  113. On or about January 1, 20202 Steve McDade stated that the family member who
       provided the information regarding the Plaintiff referenced on Steve McDade's
       Facebook online post was his sister Marla McDade, and that at the time Marla
       McDade republished the statements regarding the Plaintiff and contacted North
       Carolina, Marla McDade was not a State of Nevada employee, yet she stated and
       claimed to government officials with the State of North Carolina, the United States
       and the Te-Moak Tribe that she represented the State of Nevada in order to obtain
       private, confidential personnel information related to the Plaintiff from an unnamed
       employee, agent or representative of the State of North Carolina with the intent or
       purpose to violate or attempt to violate N.R.S. §205.463. During this same time
       period Marla McDade worked for a Cannabis firm out of the State of Washington and
       she received funds that were derived or originated from the unlawful sale and


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             distribution of a controlled substance, marijuana, to pay or reimburse Marla
             McDade for tbe time, services and costs associated with obtaining the confidential,
             private and privileged information regarding the Plaintiff in Nevada and North
             Carolina.

      114. At no point in time was the Plaintiff 'recalled or removed' as a magistrate judge in
           North Carolina as all removal actions were dismissed against the Plaintiff by tbe
           State of North Carolina in 2011. As a magistrate judge the Plaintiff refused to take a
           bribe, refused to fix court cases and the Plaintiff reported criminal conduct
           associated with other magistrate judges, and as a result Tuwana Capers, and others,
           hid, falsified and misrepresented information and documents regarding the Plaintiff,
           leading up to the assignment of two (2) federal judges on the Plaintiffs civil case,
           when the State of North Carolina was a Defendant and at the same time the same
           two (2) federal judges received compensation as employees of the State of North
           Carolina without recusal or disqualification and without informing the parties. Ref.
           Biers v. Cline, Case No.17-1619,(4th Cir. April 3, 2018). 2

      115. Alice Tybo stated that Alice Tybo uses the addresses for her daughter, Francisca
           Equihua Moore, (1292 Franklin Lane; Gardnerville, Nevada 89460), and son Tommy
           Tybo, as well as the bank account and business address for the business entity
           identified as Western Shoshone Descendants of Ruby Valley, (not a legally organized
           or licensed entity), that is managed by her sister, Tanya Reynolds. Alice Tybo
           publicly stated on or about January 10, 2022 that Alice Tybo needed to transfer
           large sums of money from her personal accounts at Elko Federal Credit Union and
           Zionsbank/NSB to her children and grandchildren, using WSCRV access to avoid
           detection pursuant to a BIA CFR Court order commanding Tybo to produce all
           financial records on or about January 17, 2022.

      116. As official records show and as alleged by Sypolt, Bryan Bowker worked under the
           federal authority and for George T. Skibine, (hereafter referenced as "Skibine") and
           V. Heather Sib bison, (hereafter referenced as "Sibbison"), and Bowker also
           performed services for Dentons as a consultant or independent contractor.

      117. In early 2019 the Newe Cannabis Enterprise, (hereafter referenced as "NCE"), began
           pursuant to written and verbal agreements, (Agreement 1 "Al"), between EBC; SCS;
           Davis Gonzalez; Juan Arevalo; Thalia Marin; Robin Evans, RAE Solutions LLC; Leslie

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      Independent Action based on Fraud on the Court, Document 35.

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        Grove, IBSC; Elliot Parris, Kevin Clock, and Paul Conable, Darian Stanford, Steve
        Olson at Tonkon Torp, for the stated purpose to generate income and revenue from
        the sale and distribution of a controlled substance, marijuana, on federal, tribal land
        after creating and modifying various business documents and organizational
        structures to use or implement EBCE as a shell, instrument or tool to capture the
        EBC and eventually the TMC as prizes of the NCE, whereafter the attorney members
        of the NCE agreed to create a criminal justice system that employed NCE individuals.
        The NCE agreements, plans or schemes included terms requiring multiple secondary
        or ancillary agreements to provide or obtain financial services, legal services,
        investment services and logistical services from other individuals and entities, and
        as a result the NCE sought to limit or restrain trade through the execution of non-
        disclosure and non-competition contracts and agreements, including the use of the
        attorney-client privilege to hide or prevent disclosure or unlawful activities related
        to the NCE and subsequent, related business transactions and dealings, under threat
        oflawsuit, inter a/ia.

  118. Paul Conable, Steve Olson, Kevin Clock and Darian Stanford, along with Marla
       McDade, Davis Gonzalez, Robin Evans-RAE and Leslie Grove-IBSC negotiated and
       entered into an agreement with Governor Steve Sisolak and Aaron Ford, the
       Compact agreement, ("AZ"), authorizing the individuals and entities associated with
       the NCE to act under color and authority of state law and engage in conduct related
       to the sale and distribution of a controlled substance, marijuana, on federal, tribal
       land with a promise of immunity from prosecution from Sisolak and Ford, and in
       return the NCE Defendants agreed to allocate proceeds, income and revenue among
       and between this group under the false justification that a significant portion of all
       such income, revenue and proceeds would be spent on Native American education,
       employment and opportunities at Elko Band, as though Elko Band constituted and
       represented a federally recognized tribe when it did not have that recognition.

  119. Acting under color and authority of state law, custom or usage on federal, tribal
       Territory, as shown by the enactment of the Compact agreement, (AZ), EBC- Davis
       Gonzalez; Juan Arevalo; Thalia Marin; SCS-Kevin Clock, Darian Stanford and Joe
       Delarosa; Robin Evans, RAE Solutions LLC; Leslie Grove, IBSC formed the fictitious
       business management tool or instrument arm of the NCE: Newe Cannabis
       Commission, ("NCC")(members Suzanna Sandoval, Thalia Marin,Joseph Delarosa,
       Ernie Aldredge), and by joint agreement, (NCC Bylaws "A3"), then captured EBCE as
       a prize of the NCE to serve as a fictitious tribal business entity where the parties


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        agreed to use, hide, destroy or obscure information contained in financial records,
        transactions and documents for and on behalf of the NCE Defendants as though the
        NCE constituted a lawful and legitimate tribal business behind the fas;ade of ECBE
        and EBC Defendant members.

  120. Tonkon Torp attorneys Conable, Olson and Stanford agreed with Davis Gonzalez;
       Juan Arevalo; Thalia Marin; Kevin Clock; Elliot Parris; Darian Stanford; Joe Delarosa;
       Robin Evans, RAE Solutions LLC; Leslie Grove, IBSC; Suzanna Sandoval, ("A4"), to
       use SCS and EBCE as instruments to continue the NCE and enter into agreements
       with Greenbits; Dutchie.com; Headset Cannabis Intelligence; Empyreal Logistics;
       GardaWorld; Zionsbank; NSB; SALAL,(including a software system Positive Pay); H &
       R Block-Delcor, Inc., and Wells Fargo Bank, (direct transactions via an ATM Machine
       physically located within 1555 Shoshone Circle that was connected directly to the bank
       via the internet), where the individual officers, attorneys, employees and managers
       for SCS, EBCE, IBSC, RAE and Tonkon Torp then disguised or hid the true source and
       characteristics of the cash proceeds, income and revenue obtained from the sale and
       distribution of a controlled substance, marijuana, from financial institutions and
       transferred, deposited and withdrew those funds between the Parties related to A4
       and among TT, SCS and ECBE.

  121. In furtherance of the conspiracy to support the NCE and its goals and agreements,
       infra and supra, SCS, EBCE and NCC created, published or generated documents and
       reports, (available daily, weekly, monthly, quarterly and annually), via Lucent
       Technologies POP 100 Gigabyte data switch in Salt Lake City Utah using services and
       computer software licensed from and associated with a Washington State business
       entity: Headset Cannabis Intelligence and Green bits that contained and stated the
       figures, data, numbers, information and mathematical conclusions related to the
       unlawful sale and distribution of a controlled substance, marijuana, at the NCE retail
       store Newe Cannabis. See Exhibits II-B(6)-(9).

  122. Newe Cannabis is the retail sales and distribution entity for the NCE that is located
       on federal tribal Territory at 1555 Shoshone Circle; Elko, Nevada 89801.

  123. In October 2021 NCC, acting n behalf of the NCE, hired Parson, Behle & Latimer, a
       Utah Law firm, assigning Jason S. Nichols as the lead attorney, and paid that law firm
       with revenue, income or cash proceeds received, derived or obtained from the sale
       and distribution of a controlled substance, marijuana, at the NCE retail store Newe


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        Cannabis, to help protect and disguise the financial transactions generated at the
        NCE, NCC and ECBE by claiming the proceeds and income were sourced from
        legitimate, lawful federal grant funds and sales at the EBC Smoke Shop.

  124. Defendant SALAL is a state of Washington Credit Union, doing business as SCU
       Holdings, (hereafter referenced as "SALAL") advertises its business as a "Cannabis"
       financial institution that business is an association-in-fact to the NCE here as a
       victim and perpetrator, where the board members run the business affairs with a
       pattern ofracketeering activity: 18 U.S.C. 2314-2315. mail fraud, wire fraud and
       financial institution fraud, infra, as a bank across state lines free of applicable
       banking laws.

  125. On March 15, 2022 the Plaintiff contacted SALAL at the telephone number (206)
       298-9354, and communicated with SALAL's business services "Virtual Account"
       agent "David," who stated during that SALAL "recorded" call that:
          a. "every cannabis business" seeking to use SALAL must complete and satisfy
              the "Application Process for Cannabis, which is like a normal business
              account except we have additional cannabis restrictions;"
          b. "SALAL has been accepting cannabis accounts for over 8 years;"
          c. "SALAL has strict compliance with Washington cannabis licensing
              requirements, although we do allow footprint accounts from cannabis
              businesses in California and Oregon;"
          d. "SALAL is not under normal federal bank guidelines and cannabis businesses
              must meet SALAL requirements;
          e. "SALAL is a state credit union that uses 'My COOP' accounts where tellers
              access shared branch information with other credit unions, not cross account
              access with other banks because its cannabis. If you have a personal or other
              business account with SALAL that is not cannabis, then we can allow cross
              account access to other banks;"
          f. "SALAL allows cannabis account holders to send money by wire and ACH out
              of SALAL to other bank and accounts because we are not regulated by federal
              banking rules;" and
          g. "send your specific questions to our email business sales agent at business
              services, all one word, at salalcu.org."

  126. Juan Arevalo; Thalia Marin; Robin Evans, RAE Solutions LLC; Leslie Grove, IBSC; Joe
       Delarosa; Davis Gonzalez; Darian Stanford; Paul Conable; Steve Olson; Kevin Clock;


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        Elliot Parris, and others, on behalf and for SCS and EBCE, further agreed, pursuant to
        A4, to assist in the completion and inclusion of data and information necessary to
        open a SALAL Commercial Business Account(s), (in the name of EBCE), that included
        federal tax forms and those IRS tax forms failed to identify the true owner of the
        account as NCE, SCS and TT or the source of funds as the proceeds, revenue or
        income derived or originated from the unlawful sale and distribution of a controlled
        substance, marijuana, at the NCE on federal, tribal Territory outside of the State of
        Washington. Pursuant to A4 these same Defendant individuals and entities
        intentionally falsified, by act and omission, complete and accurate facts stating in
        the SALAL Business Application and financial records or forms on record with
        SALAL that the funds, proceeds, revenue or income transferred or deposited into
        SALAL were legally or lawful funds that originated or were derived from lawful
        tribal business without disclosing the funds originated from the unlawful sale of a
        controlled substance, marijuana, outside of Washington when in violation offederal
        and Te-Moak law, and SALAL opened accounts for EBCE, SCS, IBSC and TT. The
        same group of Defendant individuals and entities, with the aid and assistance of
        SALAL, willfully entered into or assisted in the completion and inclusion of data
        necessary to open and maintain a SALAL Cannabis Business Account(s ), where said
        account or accounts were opened, based on the completion and submission of a
        SALAL Cannabis Business Application admitting that the proceeds or income
        transferred into the SALAL Cannabis Business Account or accounts, originated or
        were derived from the sale and distribution of a controlled substance, marijuana, at
        the NCE on federal, tribal Territory outside the State of Washington in violation of
        federal and Te-Moak law. These same named Defendants, with others, used SALAL
        to transfer, deposit and withdraw funds, income and revenue into and out of SALAL
        using ACH, instruments and wire transfers.

  127. EBCE, SCS, IBSC and TT held or retain financial records, assets or accounts at SALAL
       that relate to, originated or were derived from the NCE, and the records state that
       Davis Gonzalez is the authorized account holder for EBCE at SALAL, with Adriana
       Hernandez listed as an authorized check signer for EBCE on the SALAL account.

  128. SALAL and SCU Holdings knowingly accepted cash proceeds that originated or were
       derived from the sale and distribution of a controlled substance, marijuana, at the
       NCE and were delivered to SALAL by Empyreal Logistics and GardaWorld Armored
       Transportation, after traveling across, through or on federal, tribal lands in Nevada,
       via Utah, Idaho, Oregon, California and Washington from December 2020 through


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        April 2022, and then the cash proceeds were deposited into the accounts belonging
        to or associated with: EBCE; SCS; IBSC; TT; Davis Gonzalez; Darian Stanford; Paul
        Conable; Steve Olson; Kevin Clock; Elliot Parris, and others. See Exhibit II-B(13).

  129. On November 23, 2020 by way and through Resolution 20-TM-129 the Te-Moak
       Tribe created and established a Tribal Court System, delegating tribal constitutional
       authority to the Judicial Branch, and then on February 3, 2021 by way and through
       Te-Moak Resolution 21-TM-29 the TMC delegated tribal constitutional Judicial
       Branch authority to the Plaintiff as the Te-Moak Supreme Court Judge, removing the
       Tribal Council as the sole and exclusive governmental authority for the Te-Moak
       Tribe of Western Shoshone Indians of Nevada as a matter oflaw and fact, thereafter
       creating two (2) independent branches of tribal government for the Te-Moak Tribe.

  130. For the period of November 23, 2020 through November 24, 2020 Sypolt sent or
       transmitted, from Sypolt's Dentons' assigned email address, email messages
       containing six (6) versions of Resolution 20-TM-129 that Sypolt drafted or authored,
       and then a final version submitted for signature by Joseph Holley. Resolution 20-
       TM-129 shows knowledge of Te-Moak Constitutional authority related to the
       processes and procedures for the appointment and removal of judges.

  131. From April 2, 2020 forward Joseph Holley; Alice Tybo; Duane Garcia, Sr; David
       Carrera; Andrea Woods; Larry Yeager; Davis Gonzalez and Thalia Marin stated in
       multiple government records and documents, related to the termination of the
       Plaintiff as the Te-Moak Tribal Administrator, that as a group they failed to give any
       prior termination notice or any notice to appear to the Plaintiff, and that they
       refused or failed to afford the Plaintiff any due process rights as required by federal
       and tribal law related to Plaintiffs termination as the Tribal Administrator.

  132. On or about March 29, 2021 Sypolt, (as the representative ofDen tons acting on the
       advice ofSkibine and pursuant to an earlier agreement, (AS), to eliminate the Plaintiff
       as a potential witness to an ongoing federal investigation involving Sypolt, Skibine and
       Dentons), publicly advised and stated to Joseph Holley; Alice Tybo; Duane Garcia, Sr;
       David Carrera; Andrea Woods; Larry Yeager; Robert Brady; Davis Gonzalez and
       Thalia Marin that no due process requirements applied to the Plaintiff related to the
       termination of the Plaintiff because the Plaintiff is "white" and a "felon" who
       previously "lied on an application for employment as a little judge in North
       Carolina."


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  133. During 2008-2009 Skibine served as the United States Department oflnterior
       Assistant Secretary- Indian Affairs, (acting), and Bryan Bowker, ALJ Heffernan and
       Joseph McDade formerly worked for and officially served under Skibine as United
       States agents, employees or representatives. Skibine, Sypolt and/or Dentons paid,
       employed or employs Chadwick Smith, directly or indirectly, as a consultant or
       attorney for the Te-Moak Tribe and/or Dentons, when for the period of July 2020
       and March 15, 2021, Dentons, Skibine and Sibbison failed or refused to identify or
       provide any actual written notice, statement, declaration, information or material
       related to any potential conflict of interest or any actual conflict of interest involving
       Skibine, Sib bison or Chadwick Smith and their legal relationship with SCS; EBCE;
       Bryan Bowker; Alan Heffernan; Mediator Kelly Latimer; Solicitor Reudas; Joseph
       McDade or other government officials, agents and representatives involved in
       A15AV00203 U.S. Department of Interior Office of Hearings and Appeals Case No.
       ISDA 2017-01, nor to the Te-Moak Tribe or the Plaintiff as the Te-Moak Tribal
       Administrator and Supreme Court Judge involving any matter.

  134. During the period July 2020 through December 2021 Skibine provided advice,
       support and information, directly and indirectly, to Sypolt; SALAL; NSB-Nicole
       Lewis; Zionsbank; SCS; EBCE; Chadwick Smith; Dentons; Sibbison; Paul Conable;
       Darian Stanford; Steve Olson; Kevin Clock; Elliot Parris; Steve Sisolak; Aaron Ford;
       Joseph McDade; Bryan Bowker; Joseph Holley; Alice Tybo; Duane Garcia, Sr.; David
       Carrera; Juan Arevalo; Davis Gonzalez, and other unnamed individuals, where these
       same individuals and entities agreed, ("A5"), jointly and individually, to use federal
       funds, and cash proceeds, income or revenue derived or originated from the
       unlawful sale and distribution of a controlled substance, marijuana, at the NCE, to
       deprive the Plaintiff his constitutional rights; to destroy or injure the Plaintiffs
       professional reputation with false and defamatory statements, infra; to obstruct and
       interfere with the Plaintiffs right to testify as a witness and victim involving fraud
       and theft of federal funds by the same individuals to federal officers, agents and
       judges; to cause individuals to threaten the life and safety of the Plaintiff and
       Plaintiffs family; to interfere with the Plaintiffs familial associations; to interfere
       with and cause the termination of the Plaintiffs position as the Te-Moak Tribal
       Administrator; to interfere, obstruct and attempt to unlawfully remove or recall the
       Plaintiff as the Te-Moak Supreme Court Judge, where these same individuals and
       entities falsified documents, misrepresented facts and law related to the submission
       of financial records and documents regarding the actual characteristic, source or
       legal status of the income originating at or derived from the NCE retail store Newe


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        Cannabis, pursuant to an agreement, plan or scheme, (Al, A2, A3 or A4), to engage
        in the commercial sale and distribution of a controlled substance, marijuana, with
        the intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201.
        18 U.S.C. §1341(Mail Fraud); 18 U.S.C. §1343(Wire Fraud); 18 U.S.C.
        §1344(Financial Institution Fraud); 18 U.S.C. §1952(Travel Act); 18 U.S.C.
        §1956(Money Laundering); 18 U.S.C. §1957(Engaged in Unlawful Monetary
        Transactions); 18 U.S.C. § 1960 et seq. and the Te-Moak Constitution. Article 4.
        sections 3. 12 and 14. who then jointly and individually carried into effect or
        executed a plan to interfere or interrupt Tribal government operations managed
        and administered by the Plaintiff as a means to continue the commercial sale and
        distribution of a controlled substance related to the NCE, resulting in transfers and
        deposits of NCE revenue or income into Zionsbank/NSB; SALAL; Wells Fargo Bank;
        Great Basin Bank; Avantax Wealth Management, and other unnamed financial
        institutions and firms, infra.

  135. In or about January 2019 the formation and creation ofNCE was and remains an
       association, partnership, union and group of individuals associated-in-fact,
       (although NCE is not a legal business entity), for a continuous purpose originally
       created and established to sell and distribute a controlled substance, marijuana, (on
       federal land held and managed in trust for the Te-Moak Tribe contrary to and against
       then existing federal, state and tribal laws), as a means to generate income or
       revenue to benefit associations-in-fact that engaged in alternating open-ended to a
       closed-ended pattern of racketeering activity use a shadow criminal justice system
       they created that further supported the continuation of the NCE, where the
       associations-in-fact, (as perpetrator, victim, prize or instrument), consisted and
       consists of the following:
           a. Elko Band Colony Enterprises and Newe Cannabis Commission;
           b. Davis Gonzalez; Juan Arevalo; Thalia Marin; Ladonna Leyva and Larry
              Yeager;
           c. Darian Stanford; Paul Conable and Steve Olson;
           d. RAE Solutions and Robin Evans;
           e. Leslie Grove and Integrity Business Solutions & Consulting;
           f. SCS; Kevin Clock, Elliot Parris and Joseph Delarosa and Adriana Hernandez;
           g. Steve Sisolak, Aaron Ford and Marla McDade;
           h. Jeffery Scott Sypolt; George Skibine and Chadwick Smith;
           i. Wendall Hayes, Morgan Currey and Tammy Carrera;



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            j.   Joseph Holley; Alice Tybo; Andrea Woods; Duane Garcia, Sr.; David Carrera;
                 Paula Garcia; Davis Gonzalez; Juan Arevalo; Suzanna Sandoval; Tanya
                 Reynolds, WSDRV and ETK Enterprise LLC, and Angelea Mendez;
            k.   Bryan Bowker and Joseph McDade;
            I.   TMHA, Raymond Gonzalez and Adela Morrison-Avantax;
            m.   Elko County Democratic Central Committee;
            n.   Zionsbank-NSB, Brent Waite and Nicole Lewis;
            o.   H & R Block-Delcor, Inc., Edward Jones & Assoc. and SALAL;
            p.   Empyreal Logistics, Headset Cannabis Intelligence, Greenbits, Duchie.com
                 and GardaWorld Armored.

  136. Elko Band Colony Enterprises, (hereafter "EBCE"), is a fictitious business entity
       without any real or actual licenses, permits or bona fide articles of incorporation or
       legitimate bylaws. EBCE is the offspring alter ego of Elko Band Authority.

  137. Elko Band Council and EBCE hired and employed Tim Randolph as the in-house
       EBCE-SCS Finance Officer and the liaise with IBSC, the U.S. Treasury,
       Zionsbank/NSB, SALAL, H & R Block-Delcor Inc.; Edward Jones & Associates; RAE
       Solutions and Wells Fargo Bank for matters related to the financial operations,
       business and management of the NCE. Tim Randolph resides or maintains a place of
       abode at 1003 Silverman Way; Las Vegas, Nevada 89106.

  138. Tim Randolph stated that Randolph identified false and fraudulent information
       contained in the financial documents prepared for, delivered or sent to the U.S.
       Treasury, federal grantors and to Zionsbank, Wells Fargo Bank and SALAL as
       prepared, authorized, approved, delivered or sent by Leslie Grove; Davis Gonzalez;
       Robin Evans; Darian Stanford; Paul Conable; Kevin Clock; Elliot Parris consisting of
       SF-425; IRS Form 941, W-2 and W-4 Forms related to EBC, EBCE and NCE, and on
       discovery Randolph then demanded an accurate and complete accounting of records
       and actual receipts for claims of tax payments to the federal and state government,
       as well as workers compensation, unemployment and insurance payments related
       to the NCE. Paul Conable and Kevin Clock stated that under the non-disclosure
       agreement Randolph was prohibited from reviewing or obtaining copies of any
       record or document to support the tax and income claims made by SCS, TT and
       EBCE as it related to the cash, revenue and income that NCE-EBCE received or
       transferred that was derived or originated from the sale and distribution of a
       controlled substance, marijuana, involving the NCE. Tim Randolph resigned.


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  139. Beginning in or about February 2019 Davis Gonzalez; Juan Arevalo; Thalia Marin;
       Larry Yeager; LaDonna Leyva - Elko Band Council; Leslie Grove -IBSC, (Elko Band
       Council's "[c]ontract CFO"); Robin Evans and RAE Solutions LLC infiltrated the
       business structure of EBCE and commandeered EBCE to operate on Te-Moak Tribal
       Lands, as a ghost tribal business tool, instrument or shell business of the NCE,
       pursuant to agreements, (Al and A2), with Sisolak and Ford; SCS-CSl agents,
       managers and representatives Kevin Clock, Joseph Delarosa, Veronica Huerta and
       Elliot Parris; and TT's attorneys Paul Conable, Steve Olson and Darian Stanford who
       agreed by way and through A1-A4 to draft, enact and publish written documents
       and records consisting of compacts, non-disclosure agreements, policies and by-
       laws to sell and distribute a controlled substance, marijuana, at the NCE, and with
       the associations-in-fact, EBCE agreed to maintain, manage and control funds, money,
       transactions, bank accounts, trusts, chattel and intangible holdings or interests that
       are intentionally withheld from the legislative procedures and authority of the TMC
       and the federal government when the Te-Moak Constitution states that copies of all
       "official" records and documents of the Bands must be given to the "Tribal Council
       and to the [U.S. Dept. Interior, BIA-ENA] Superintendent." Te-Moak Constitution.
       Article 4. section 19(0: see also Article 10. section 4 ("Approval ofSecretary of the
        Interior Necessary. All leases, permits, assignments or contracts of any kind pertaining
        to Tribal land or Tribal real property are subject to the approval of the Secretary of
        the Interior, or his[/her] authorized representative"). The Plaintiff, as then Tribal
        Administrator, was required to receive and Jog all official records and documents.

  140. The NCE, (through its associations-in-fact), delivered, transferred and paid Joseph
       McDade and Bryan Bowker, directly or indirectly, with investment opportunities:
       official or political favors; promotions; prosecution immunity; free legal advice; or
       cash proceeds or income derived from the unlawful sale of a controlled substance,
       marijuana, as a bribe, gratuity or gift to obtain tacit and covert approval for the
       furtherance of the NCE, without notifying the U. S. Secretary of the Interior.

  141. On May 2, 2019 SCS President Kevin Clock, EBC and EBCE Chairman Davis Gonzalez,
       (as the "Parties" identified in a written document entitled "Recreational Cannabis joint
       Venture Agreement," (hereinafter 'Joint Venture Agreement" or ''.A6'1), formed,
       created and established a formal "cannabis business featuring a recreational
       cannabis dispensary [a retail store] and/ or cannabis cultivation, cannabis
       processing, and related business ("the Business")," identifying the principal place of
       business as "1555 Shoshone Circle, Elko, Nevada," an address located on federal


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        land held in trust within the U.S. Territory of the Te-Moak Tribe, where A6 states the
        "Joint Venture shall commence on the date the first cannabis product is sold," under
        the laws "set forth in the Te-Moak Tribe of Western Shoshone... ordinances..
        .[where] SCS shall use its best efforts to construct and open the facilities ... [and
        because of] Federal tax reasons, or other reasons, the form of this agreement may
        change from time to time... SCS will finance or arrange for third-party financing for
        the development and construction of the facilities used in the Business ... [and]
        amounts necessary to operate the Business." Exhibit I-A(4) (A6) at 1-2 (May 2,
        2019). Agents, attorneys and representatives of SCS and EBC entered A6 with the
        intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201 and
        the Te-Moak Constitution. Article 4. Id.

  142. The Te-Moak Constitution. Article 4. section 12 states that the exercise of"[a]ll
       Powers of the Band Council," (EBC), must remain consistent and follow the Te-Moak
       "Constitution, Federal and Tribal law," and at the time of entering A6 "EBCE" was
       not "a formally established Tribal Authority" permitting or allowing the sale and
       distribution of a controlled substance, marijuana, where EBC. SCS and Governor
       Sisolak failed to gain or obtain the prior "approval of the [United States] Secretary of
       the Interior." Id at 1; see also Te-Moak Constitution. Article 10. section 4; U· 21
       U.S.C. §841. 26 U.S.C. §7201.

  143. The "Joint Venture Agreement," or A6, states that "[i]t is understood between the
       Parties that sales tax or excise tax greater than or equal to those charged by the
       State of Nevada will be applied to sales of the Business. Tax revenue shall be
       deemed to be part of the Gross Revenue...the Joint Venture is owned by each Joint
       Venturer, respectively, as follows: SCS 50% ECBE 50% ... Management of the Joint
       Venture shall be conducted by the head officers/appointed representatives of SCS
       ("Manager") as follows: Kevin Clock shall represent the interest, authority, and
       decision making ofSCS. The acting Chairperson [Davis Gonzalez] for ECBE shall
       represent EBCE for purposes of consultation, notices, interest, authority and
       decision making... SCS owners, officers and/or representatives will not receive
       compensation or Salary from the Joint Venture before distribution of net profits,"
       and when that agreement was entered into by SCS, Clock, EBCE and Gonzalez they
       intended to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201 and the Te-
       Moak Constitution. Article 4. Ibid at 2. Defendants Conable, Olson, Stanford, Clock
       and Parris received compensation as the 'partner's share' before distribution. Id.



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  144. Under the terms of A6, the named Defendants converted tax proceeds, obtained
       under false pretenses from the unlawful sale of a controlled substance, into "Gross
       Revenue," and transmitted a portion to Nevada Department of Taxation to launder
       under the permanent tax exemption for the Tribe, and divided, distributed and
       transferred the Gross Revenue via ACH, wire and USPS among the named
       Defendants. Exhibit I-A(4)(A6) at 2; ~- Exhibit II-A(6)

  145. On May 2, 2019, seven (7) days before SCS filed its organizational documents with
       the Nevada Secretary of State, the Joint Venture Agreement A6 was signed by Davis
       Gonzalez, (as ECBE Chairman and as Elko Band Colony Chairman); and Kevin Clock
       (President SCS Elko LLC), where A6 states the conditions, obligations and duties for
       Books and Records; Insurance; Hiring; Legal Title and Transfers of Interest related
       to the NCE and when A6 was entered into by SCS, Clock, EBCE and Gonzalez they
       intended to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201 and the Te-
       Moak Constitution. Article 4. Id at 3-6 and 10.

  146. On June 4, 2019 SCS sanctioned, approved and put forth a presentation for the
       purpose of violating 21 U.S.C. §841. 26 U.S.C. §7201 and the Te-Moak Constitution at
       a meeting held before for the TMC to persuade that governing body politic to
       legalize and authorize the sale and distribution of marijuana on tribal lands by the
       NCE without allowing the TMC to review or examine any A2-A4, and without SCS
       disclosing the existence of, any and all agreements, plans, policies and schemes
       involving EBCE; SCS; TT; Paul Conable; Steve Olson; Kevin Clock; Elliot Parris and
       Darian Stanford to sell and distribute marijuana, as shown in Articles of
       Incorporation of the Newe Cannabis Commission: Policy For the Regulation and
       Taxation of Recreational Marijuana and A6. Ref. Exhibit II-A(6).

  147. On June 5, 2019 the TMC voted 3-4-0 to defeat the EBC request to legalize the
       commercial sale and distribution of marijuana related to the NCE, with Chairman
       Joseph Holley casting the tie breaking vote and defeating the measure on the stated
       basis of the Te-Moak Constitution prohibiting Band Council official action that
       violates "Federal Law" as stated in the Te-Moak Constitution. Article 4. section 12.
       Darian Stanford, Paul Conable, Steve Olson, Kevin Clock and Elliot Parris agreed to
       submit and submitted a written protest related to Juan Arevalo that stated the
       denial "was [ ] disappointing... [when] inexplicably, Juan Arevalo left the room
       minutes before the vote," and "[b ]ecause Uuan Arevalo] failed to vote," the measure
       died. Exhibit II-A(3) SCS Cannabis Business Letter.


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   148. On August 7, 2019 the TMC, with Vice Chairman Juan Arevalo officiating, enacted
        legislation authorizing the commercial sale and distribution of marijuana on federal,
        tribal land in violation of 21 U.S.C. §841 and the Te-Moak Constitution. Article 4.
        section 3(stating that the "Tribal Council shall exercise ...such powers not in conflict
        with Federal Law"), without obtaining the necessary prior approval of the United
        States Secretary of the Interior as required by the Tribe's Charter and Constitution.

   149. On August 7, 2019 after Juan Arevalo received an initial $20,000.00 cash bribe, gift
        or 'gratuity" approved by EBCE; SCS; Darian Stanford; Paul Conable; Davis Gonzalez;
        Steve Olson and Kevin Clock with the actual delivery of the cash to Arevalo by Kevin
        Clock, where EBCE; SCS; Darian Stanford; Paul Conable; Davis Gonzalez; Steve Olson
        and Kevin Clock, who also agreed to pay Juan Arevalo an additional $25.000.00 on
        Arevalo's showing of continued support for the NCE by voting in favor of all future
        Newe Cannabis related issues at EBC and TMC, and Juan Arevalo cast the deciding
        vote to break a tie, (3-2-0), resulting in the enactment of legislation approving the
        sale and distribution ofa controlled substance, marijuana, in violation of21 U.S.C.
        §841 and Te-Moak Constitution Article 4. sections 3. 12 and 14.

   150. During the period January 2019 through April 2020 Defendants Sisolak, Marla
        McDade and Ford communicated with Darian Stanford; Paul Conable; Davis
        Gonzalez; Steve Olson and Kevin Clock to negotiate the terms that the NCE will
        operate under, including the amount of campaign donations ECDCC, Sisolak and
        Ford will receive from the NCE in exchange for Nevada maintaining the Compact.

   151. Darian Stanford, Paul Conable and Kevin Clock agreed to draft and submit a written
        statement to the Elko Band Council, dated June 19, 2019, that stated "SCS... [wrote]
        the Compact for the Elko Band with the State of Nevada." Exhibit II-A(3).

   152. On June 19, 2019 Paul Conable traveled from Oregon to the Te-Moak Territory and
        hand-delivered a document entitled the "Advancement of Cannabis Business" to EBC
        that states the NCE's "purpose... [is] to operate a cannabis dispensary and/or
        cultivation, production and related cannabis businesses '(collectively, the
        'Business')" referencing the previously executed A6 "Agreement" between SCS and
        EBCE, (May 2, 2019), with the intent or purpose to violate or attempt to violate 21
        U.S.C. §841 and the Te-Moak Constitution. Article 4, section 3. 4 and 12. Exhibit II-
        A(3).



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   153. The SCS Letter states that the SCS and TT attorneys "worked diligently to advance
        the Business," (the NCE), affecting interstate commerce, by traveling across roads,
        bridges and highways "engaging with third parties ... [by way of an agreement, and]
        SCS ... [wrote] the Compact for the Elko Band with the State of Nevada," costing the
        "Business" significant "time, money and energy" toward the "investment." Exhibit
        II-A(3).

   154. During the relevant period of time related to this lawsuit, Paul Conable, Darian
        Stanford and Steve Olson managed, controlled and directed all major decisions for
        SCS, SCI and CS!, for the NCE on behalf of TT where SCS, SCI and CS! are alter ego
        business entities of TT.

   155. On or about August 1, 2019 EBCE submitted an unsigned document drafted,
        authored, edited, approved, published or produced by Paul Conable; Marla McDade;
        Aaron Ford; Steve Sisolak; Steve Olson; Thalia Marin; Davis Gonzalez; Larry Yeager;
        Juan Arevalo; Suzanna Sandoval and Darian Stanford entitled "Policy For the
        Regulation and Taxation of Recreational Marijuana." (hereafter "Taxation Policy"),
        with the intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C.
        §7201 and Te-Moak Constitution Article 4. sections 3. 12.and 14. and that document
        states that the NCE retained the authority to conduct business pursuant to "Article
        4, Section 12 of the Constitution of the Te-Moak Tribe," acting through the "Elko
        Band Tribal Council [with] the authority to adopt resolutions, form contracts,
        engage in business, and exercise other delegated power," with the knowledge that
        the NCE and Taxation Policy violates the "federal Controlled Substances Act, 21
        U.S.C. § 801 et seq., [that] classifies Marijuana as a Schedule I drug and
        prohibits any possession or use of Marijuana except in the course of federally
        approved research projects. The Controlled Substances Act makes it unlawful
        under federal law for any person to cultivate, manufacture, distribute,
        disperse or possess with intent to manufacture, distribute or disperse
        Marijuana," and that document also states that by agreement the parties delegated
        the "authority to manage the Band's Marijuana business(es) to the Newe Cannabis
        Commission (the "Commission")," with orders and instructions that the Commission
        "report...to the Elko Band Council on the status of the Band's Marijuana
        Business(es)." Taxation Policy. at 1-2(emphasis added). In application, the NCC
        reported to SCS, TT and EBC separately to avoid public disclosure with the intent
        and purpose to violate federal and tribal laws.



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   156. The Taxation Policy states that "[t]he cultivation and sale of Marijuana ... businesses
        will be taxed and the revenue will be dedicated to education, economic
        opportunity, and the enforcement of the regulations in these regulations," where
        "[a]ll Marijuana businesses on Elko Band Tribal Lands shall be owned by the Band .
        . .Marijuana sold on any Tribal Lands will be appropriately tested and labeled."
        Taxation Policy at 2(emphasis added).

   157. Over the course of two years (2020-2022) the NCE generated about $20 million
        dollars from the sale and distribution of a controlled substance at Newe Cannabis,
        and EBC received just under 10% of the net profits, ($1,980,000), excluding any
        accounting related to the 'partner's share,' and TMC received about 5% of the EBC
        10% gross reported receipts under a non-existent tax rate when A6 required an
        even 50-50 division of profits between SCS and EBC. All other revenue or income,
        and cash, from the NCE was fraudulently transferred and distributed without an
        accounting by TMC; TT; SCS or EBCE. The Te-Moak Charter bound Elko Band
        Council and required a distribution of one equal share to each tribal member.

  158. The Taxation Policy states that a legal exemption exists for the sale, distribution,
       disbursement and possession of Marijuana on Te-Moak Territory unless "Tribal law"
       provides otherwise, and that any related Marijuana "contract" or agreement "under
       these regulations," will remain "enforceable" regardless if any "actions or conduct"
       related to the NCE are "prohibited by federal law." Id. at 6-9. The Taxation Policy
       attempts to legislate criminal conduct without adhering to the Tribe's lawful
       legislative process and procedures that are necessary to enact an ordinance. Te-
       Moak Constitution. Article 4. sections 19 and 20 et seq.

   159. The Taxation Policy states and identifies the applicable procedures for an
        "Inventory control system;" "Seed-to-Sale Inventory Program;" "Reporting ofloss or
        theft of Marijuana;" "Security [protocols];" "Storage and sale of usable Marijuana,
        Concentrated Marijuana and related products;" "Packaging;" "Labeling;" "Labeling
        requirements for usable Marijuana sold at retail;" "Testing [of Marijuana to include] .
        . ."all ingredients and all major food allergens as identified in 21 U.S.C. §§343;"
        "Requirements for operation of Marijuana Establishment;" "Requirements and
        restrictions concerning the sale and advertising of Marijuana Products;" "Other
        rules for Marijuana Establishments, [including] Employ Tribal Police [to provide
        security to the NCE and the money it generates];" and "Taxes," with the intent and
        purpose to violate or attempt to violate 15 U.S.C. §§1. 2 and 13(a). (d) and (e): 18


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         U.S.C. §§1341. 1343. 1952. 1956 and 1957: 21 U.S.C. §841. 26 U.S.C. §7201 and the
         Te-Moak Constitution, Article 4. sections 3. 12 and 14. Exhibit II-A(6) at 10-27; see
         also Exhibit II-A(9): Newe Cannabis -Dutchie.com Packaging.

   160. The Taxation Policy states that Newe Cannabis must install and include a "video
        camera at each point-of-sale location ... [with storage of] video recordings from the
        video cameras for at least 21 calendar days," and requires "[t]he Band" to "use an
        electronic verification system and inventory control system that will track
        Marijuana Products from seed to sale." Exhibit II-A(6)

   161. Throughout March and April 2020 a video camera system was installed and
        serviced by White Cloud Communications, pursuant to the Taxation Policy, and that
        installation was paid for with $39,000.00 in cash received, derived or originating
        from the sale and distribution of a controlled substance, marijuana, at the NCE retail
        store, where the individual cameras were placed or installed over each point-of-sale
        location inside the physical structure of Newe Cannabis, and electronic signals and
        recorded images generated from each camera were broadcast and transmitted over
        the WCC installed internet system using Lucent Technologies POP 100 Gigabyte data
        switch in Salt Lake City, Utah to computers and cellular phones located at the
        business of TT in Portland Oregon; the home/office/cellphone ofDarian Stanford in
        Oregon; the home/office/cellphone of Paul Conable in Oregon; the home/office/
        cellphone of Elliot Parris in Idaho; the home/office/cellphone of Kevin Clock in
        Oregon; the home/cellphone of Joseph Delarosa in Las Vegas, Nevada; the
        computers in the office of Davis Gonzalez at Elko Band Council and the home of
        Davis Gonzalez located on federal, tribal lands with the intent or purpose to violate
        or attempt to violate 18 U.S.C. §§1341. 1344 and 1343.

   162. The Taxation Policy states that Newe Cannabis must "[u]se a Seed-to-Sale Inventory
        Program ... to provide accurate inventory accounting" with the intent or purpose to
        violate 21 U.S.C. §841: 18 U.S.C. §§1341. 1344 and 1343. Exhibit II-A(6) at 14.

   163. Darian Stanford; Paul Conable; Steve Olson; Kevin Clock; Joseph Delarosa; Elliot
        Parris; Davis Gonzalez; Juan Arevalo; Thalia Marin; Ladonna Leyva and Larry Yeager
        agreed to use, purchase and install Greenbits and Headset Cannabis Intelligence
        software on each sales computer located inside the physical structure of Newe
        Cannabis where electronically recorded sales and distribution data or information
        was then transmitted over the internet, via Lucent Technologies POP 100 Gigabyte


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         data switch in Salt Lake City, Utah to computers and mobile cellular phones located
         at the business of TT in Portland Oregon; the home of Darian Stanford in Oregon; the
         home of Paul Conable in Oregon; the home of Elliot Parris in Idaho; the home of
         Kevin Clock in Oregon; the home of Joseph Delarosa in Las Vegas, Nevada; the
         computers in the office of Davis Gonzalez at Elko Band Council and the home of
         Davis Gonzalez located on federal, tribal lands, paid for with cash received, derived
         or originated from the sale and distribution of a controlled substance, marijuana, at
         theNCE.

   164. The Taxation Policy states that "[Elko] Band shall impose a Tribal tax that is equal to
        at least 100 percent of the State tax on all sales of Marijuana Products on Tribal
        lands" with the intent and purpose to violate 21 U.S.C. §841. 26 U.S.C. §7201 and the
        Te-Moak Constitution. Article 4. sections 3. 12 and 14. The Nevada State
        Department of Taxation set the applicable marijuana tax rate at: Wholesale 15%
        and Retail 10%, and for the period January 2019 through the present the Te-Moak
        Tribe failed and refused to duly enact legislation setting, creating or establishing a
        tax on a controlled substance, to wit: marijuana. See NRS 372A.290(1)-(2).

   165. On or about August 10, 2019 Robin Evans, RAE Solutions LLC; Leslie Grove, IBSC;
        Darian Stanford; Paul Conable; Juan Arevalo; Larry Yeager; Thalia Marin; Davis
        Gonzalez; Elliot Parris; Joseph Delarosa; SCS Elko and Kevin Clock jointly agreed to
        author, edit and approve a final copy of a document entitled "Articles of
        Incorporation of the Newe Cannabis Commission ('NCC')," formally A3, with the
        intent or purpose to violate or attempt to violate 21 U.S.C. §841; 18 U.S.C. §§1341.
        1344 and 1343; 26 U.S.C. §7201 and the Te-Moak Constitution. Article 4. sections 3.
        12 and 14. See A3 ("NCC Bylaws").

   166. On or about August 13, 2019 the EBC approved and enacted the agreed upon A3
        that states "[t]he NCC is organized for the following purposes: (1) to engage in the
        business of cannabis; (2) to engage in any other business which can, in the
        opinion of the NCC, be advantageously carried on in connection with the
        foregoing business; and (3) to oversee and do such things as are incidental to the
        foregoing or necessary/desirable," with the intent or purpose to violate or attempt
        to violate 21 U.S.C. §841; 18 U.S.C. §§1341. 1344 and 1343; 26 U.S.C. §7201 and the
        Te-Moak Constitution. Article 4. sections 3. 12 and 14. A3 at l(emphasis added).




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   167. Pursuant to A4, Paul Conable, Darian Stanford, Kevin Clock, Steve Olson, Davis
        Gonzalez, Juan Arevalo, Thalia Marin and Larry Yeager agreed to transmit, and
        transmitted, on behalf the NCE, copies of the A3 documents to Defendants SALAL;
        Zionsbank; NSB; Sisolak and Ford with the intent or purpose to violate or attempt to
        violate 21 U.S.C. §841; 18 U.S.C. §§1341. 1344 and 1343: and 26 U.S.C. §7201.

   168. On or about September 4, 2019 Robin Evans, RAE Solutions LLC; Leslie Grove and
        IBSC; Darian Stanford; Thalia Marin; Juan Arevalo; Larry Yeager; Ladonna Leyva;
        Davis Gonzalez; Elliot Parris and Kevin Clock jointed authored, edited and approved
        a final copy of a document entitled "NEWE Cannabis Commission Cash Flow. Safe
        Access and Funds Withdrawal Procedures" pursuant to "Elko Band Council's Policy
        and Procedures for chronicling quarterly cash profits and tracking cash from the
        NEWE Cannabis Dispensary to the NEWE Cannabis Commission to the Elko Band
        Council Finance Department." See Exhibit II-A(5) at l("Purpose"),(hereafter "Cash
        and Safe Policy'').

   169. On January 23, 2020 Governor Steve Sisolak and Davis Gonzalez signed a Cannabis
        Compact Agreement, A2, drafted by TT attorneys Paul Conable, Darian Stanford and
        Steve Olson pursuant to NRS 223.250 where that state law only authorizes the
        Governor to enter into such an agreement "with tribal governments in this State,"
        defined as "a federally recognized American Indian Tribe pursuant to 25 C.F.R.
        §§83.1 to 83.13" when at that time Elko Band failed to meet the legal definition of a
        "Tribe" because federal recognition only applies to the actual Tribe identified and
        included in the U.S. Department of Interior's Federally Recognized Indian Tribe List
        of 1994 published within the Federal Register, not Elko Band. Ref. Exhibit I-A:
        Notice, Federal Register, vol. 85, No. 20 (signed January 6, 2020-T. Sweeney)(Te-
        Moak Tribe of Western Shoshone Indians of Nevada); c.f. A2 at 2 (January 23,
        2020) ('"Tribe,' as defined {by NRS 223.250} means the Elko Colony of the Te-Moak
        Tribe of Western Shoshone Indians of Nevada"). Defendants Sisolak and Gonzalez, by
        way and through Conable, Stanford, Olson and TT, intentionally altered or changed
        the definition of a Tribe in A2 to allow EBC and Nevada to enter the agreement
        without the knowledge and approval of the TMC, Te-Moak Tribe and the U.S.
        Secretary of the Interior, as required by federal and tribal law. See Exhibit II-
        A(3) ("[SCS wrote] the Compact"); g,g. Exhibit II-A(6).

   170. The A2 states that Nevada "recognizes and respects the laws and authority of the"
        Te-Moak Tribe and that "the federal Controlled Substances Act continues to


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         designate marijuana as a Schedule I substance. AZ at 3. Under the Te-Moak
         Constitution, EBC lacks the authority to enact Tribal Jaw; Gonzalez was not and is
         not the Tribal Chairman; Sisolak, Ford, Conable, Olson, Stanford and Clock knew or
         should have known that Te-Moak Law prohibited the NCE.

   171. Pursuant to A2, Defendants Davis Gonzalez; Aaron Ford; Steve Sisolak; Paul
        Conable; Darian Stanford and Steve Olson willfully intended to violate federal and
        tribal law according to the 1982 Constitution of the Te-Moak Tribe. Article 4. section
        J(all Tribal Council exercise of powers "shall not conflict with Federal Law"),
        section l2(Band Councils shall not exercise powers inconsistent with "this
         Constitution, Federal and Tribal law," including the management of "local
         enterprises," "businesses, charter local associations and corporations," and
         "contracts"), and section 14 ("[n]o action of any Band Council shall be inconsistent
         with Federal Law, this Constitution, or ordinances and resolutions of the
         Tribe") (emphasis added). See also A2 at 3-5 ("acknowledge that pursuant to
         federal law, 21 U.S.C. § 812, marijuana is a Schedule I controlled substance and
         that this Agreement does not protect the sales or regulation of marijuana in Indian
         Country from federal law ... .")(emphasis added).

   172. The A2 states that "sales of all cannabis products by the Tribe [Elko Band] and any
        Tribal Enterprise [NCE] must be conducted in accordance with the Tribal Cannabis
        Policy and the internal policies and controls of the Tribe or Tribal Enterprise. The
        Tribal Cannabis Policy, as it exists on the date of this Agreement, is attached as
        Exhibit A," and at that time the Te-Moak Tribe failed to enact any such policy. A2 at
         S(referencing Elko Band Tribal Council Policy for the Regulation and Taxation of
         Recreational Marijuana included as ExhibitA)Oanuary 23, 2020).

   173. The A2 states that Governor Steve Sisolak and Davis Gonzalez will conduct "regular
        and open communication[s]" under the terms of A2, where that agreement
        identifies Davis Gonzalez as the "Tribal Chairman," and not the Elko Band Chairman,
        directing notices to the "Senior Staff Attorney Tribal Legal Department," where it is
        known that EBC Jacks a "Tribal Legal Department," and it was also known in the
        community that Julie Cavanaugh-Bill resigned as the Elko Band attorney of record
        in January 2019 and that Wes Williams, Jr. began his employment as the Elko Band
        attorney of record in July 2020. During the period February 2019 to July 2020
        Darian Stanford continued to claim he was the EBC attorney of record for all
        cannabis issues and communicated with Sisolak and Ford in furtherance of the NCE.


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   174. On June 12, 2020 Governor Steve Sisolak and AG Aaron Ford authorized, prepared,
        drafted or published a written communication sent via "U.S. Mail and Electronic
        Mail" to Defendant David Carrera entitled "Elko Band Cannabis Compact," that
        addressed Carrera's claim that Davis Gonzalez falsified information contained in the
        Compact, (Elko Band is not the Te-Moak Tribe and Davis Gonzalez was not authorized
        to sign as the Chairman for the Tribe because at the time Davis Gonzalez performed
        these actions Gonzalez did not hold a seat on the Te-Moak Tribal Council), and that
        document states:
            a. "I am in receipt of our email dated May 28, 2020;"
            b. "On January 23, 2020, Governor Steve Sisolak signed a Cannabis Agreement
                between Elko Band Colony;"
            c. "The State of Nevada relied in part on Te-Moak ... Resolution No. 17-TM-06
                [authorizing medical marijuana only with a future] 'option to take advantage
                of recreational [cannabis];"'
            d. "The January 23, 2020 [Cannabis] Compact ...is strictly between the State of
                Nevada, and the Elko Band Colony;" Exhibit I-A(2).
            e. "[i]t appears that this agreement [Cannabis Compact] is not inconsistent or
                incompatible with the [Tribe's] Constitution;"
            f. "...the document [Te-Moak Ordinance 19-0RD-TM-01 as repealed, revoked,
                rescinded May 11, 2020 by the TMC] you attached to your email is dated May
                11, 2020 ...was not considered prior to entering into the January 23, 2020
                Compact with Elko Band Colony." See Exhibit II-A(7); e..,g. Exhibit I-C(9).

   175. On June 12, 2020 Defendant Sisolak and Ford knew or should have known that no
        Te-Moak law existed to allow the lawful execution of A2, and that the A2 was
        falsified by Defendants Davis Gonzalez, Darian Stanford; Paul Conable and Steve
        Olson. lg; ref. Exhibit II-A(3)("[SCS wrote] the Compact").

   176. Only the Te-Moak Tribe of Western Shoshone Indians of Nevada was authorized on
        January 23, 2020 to enter into a lawful contract or agreement with the State of
        Nevada, subject to the approval of the U.S. Secretary of Interior, not Elko Band. See.
        Te-Moak Constitution, Article 4, section 10; ref. Exhibit I-A: Notice("the Tribe's
        previously listed or former name is included in parenthesis after the correct current
        Tribal name... [and only the corrected name is] federally recognized. . .Dated January
        6, 2020 Tara Sweeney, Assistant Secretary--Indian Affairs") and Notice at 5465("Te-
        Moak Tribe of Western Shoshone Indians ofNevada (Four constituent bands: Battle
        Mountain Band; Elko Band; South Fork Band and Wells Band)")(emphasis added).


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   177. The Cash and Safe Policy states that the "Quarterly Profits Count Procedures"
        require delivery of"S0 o/o ... of profits from the Newe Cannabis Dispensary
        operations" to "Elko Band Council" that includes a verification system and signature
        requirement for "the Quarterly Cash Statement indicating the total amount of cash
        received and deposited into the NEWE Cannabis Commission safe;" and pursuant to
        the "Cash Handling and Safe Access Procedures" Davis Gonzalez, Kevin Clock and an
        NCC representative, Uoseph Delarosa as the SCS representative on NCC or
        alternatively Thalia Marin), are individually required to retain "one-third (1/3)" of
        the combination for the safe containing the cash, income and revenue from the sale
        and distribution of a controlled substance, marijuana, related to the NCE. For the
        relevant times related to this action the safe combination was retained by more than
        the three (3) Defendants identified in the Cash and Safe Policy. Exhibit 11-A(S).

   178. The Cash and Safe Policy states that Davis Gonzalez, Kevin Clock and the one (1)
        NCC representative will "remain present during the cash counting procedure and
        whenever cash is being removed or returned... utilizing an electronic digital
        counterfeit detector/counter," who shall then "sign the original safe access log sheet
        acknowledging the correct recorded amount of all transaction [s] .. .i.e. amount of
        currency, coins, banknotes, etc" and that "[o]ne (1) authorized representative of
        Elko Band Council and NEWE Cannabis Commission shall physically accompany
        [transported] funds" with a copy of the EBC "withdrawal requisition form" that is
        maintained by the NCC "chairman and treasurer for record keeping." Id.

   179. For all relevant times that the Cash and Safe Policy existed and applied to the NCE,
        the retail store manager for SCS, Conor Ramsey, retained access to the safe at Newe
        Cannabis pursuant to secret agreement with Paul Conable, Steve Olson, Davis
        Gonzalez, Darian Stanford and Kevin Clock, whereby immediately before each
        Quarterly Count or as directed, Ramsey, Clock or Parris removed an undisclosed
        amount from the total cash received without recordation or involvement by NCC,
        EBCE or EBC, referenced as the 'partner's share,' and that amount was then divided
        among Davis Gonzalez; Paul Conable; Darian Stanford; Kevin Clock and Steve Olson
        before any accounting figures or numbers are provided as required by the Cash and
        Safe Policy "Quarterly Profits Count Procedures." Exhibit 11-A(S).

   180.   On November 24, 2020 EBC employee, Susan Zuzueta, and SCS/Tonkon/Elko Band
          Council employee Veronica Huerta, completed and inserted data and information

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         contained in EBC purchase requisition documents necessary to purchase one (1)
          Riboa BCS-160 Bank Grade Money Counter for "$1843.21," using the internet to
         transact business electronically through EB C's Amazon account, ("Amazon.com
         order number: 113-5816828-1426656"), via Lucent Technologies POP 100 Gigabyte
         data switch in Salt Lake City, Utah and this transaction was paid for with funds held
         or associated with NCC Program 10 that were transferred or deposited into
         Zions bank and Nevada State Bank from the NCE and held in EEC-General Fund,
         using a credit card ending in "[*]925." Exhibit II-B(4): Elko Band Council Purchase
         Order(November 24, 2020); g_,g. Exhibit Il-B(3): EBC Expanded General
         LedgerOanuary 4, 2020); ref. April 14. 2021 Video: Darian Stanford, Sypolt and
         Joseph Holley counting $30,000 in cash from the unlawful sale of a controlled
         substance(Darian Stanford referenced the Counting Machine used at Newe to detect
         forged currency, i.e. 'bank grade} NCC-Program 10 is one of several Program
         Budget Accounts associated or related to the NCE and EBC, and these Program
         Accounts launder, alter or change the character of funds and money from an illegal
         status, (unlawful proceeds derived from or originated from the sale and distribution of
         a controlled substance at Newe Cannabis), through a series of transactions at EBC;
         Edward Jones & Associates; Wells Fargo Bank; Zionsbank/NSB and SALAL, as well
         as other unnamed financial institutions and business entities, without the NCE, EBC,
         EBCE, NCC or SCS providing full disclosure as to that process to all of the financial
         institutions prior to depositing or transferring funds or money into the Band's
         General Fund at Zionsbank/NSB. Id.

   181. The online purchase of one (1) Riboa BCS-160 Bank Grade Money Counter was
        purchased pursuant to EBC, SCS and the NCE A2 and A4 agreement, plan or scheme
        and in accordance with the Cash and Safe Policy stated approval process shall "..
        .utiliz[e] an electronic digital counterfeit detector/counter... [and NCC] shall
        procure a counterfeit currency detector/counter unit as described above with funds
        from the account. .. [this] counterfeit detector/counter unit shall not be identical to
        those operated by NEWE Cannabis Dispensary." Id; g.g. Exhibit Il-A(5) at 1-2.

   182. Cash and Safe Policy states the "Withdrawal of Funds Submission Deadline" section
        that the EBC "administrator," Susan Zuzueta, (Angelea Mendez's sister and former
        subordinate of Joseph McDade), was designated the sole "requestor for NCC safe
        funds" and that policy further states that the "Safe Access Date" is set as the "second
        Thursday of each month" to access the NCC "safe for withdrawal of funds." Id.



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   183. In December 2019 Davis Gonzalez; Larry Yeager; Thalia Marin; Juan Arevalo; Paul
        Conable; Steve Olson; Darian Stanford; Suzanna Sandoval; Leslie Berg; Tim
        Randolph; Elliot Parris and Kevin Clock conspired and agreed to grant enrolled Te-
        Moak tribal members a 25% discount off the sale and purchase price of a controlled
        substance at Newe Cannabis, and all Te-Moak tribal members affiliated with the
        Elko Band were granted an additional 25% discount off the sale and purchase price
        of a controlled substance, marijuana, at Newe Cannabis, subject to submission ofTe-
        Moak Tribal Enrollment information that Newe Cannabis employees and staff cross-
        reference in a computer database, at the time of sale, that electronically records and
        stores the data and information at the retail store for the NCE with the intent or
        purpose to violate or attempt to violate 15 U.S.C. §§1. 2 and 13(a). (d) and (e): ~-
        Te-Moak Ordinance 15-0RD-TM-02. Art. 7(1)-(2)(all enrollment records are
         confidential and release of information only "in writing").

   184. EBCE; Davis Gonzalez; Robin Evans, RAE Solutions; Leslie Grove, IBSC; Larry Yeager;
        Thalia Marin; Ladonna Leyva; Juan Arevalo; SCS; Paul Conable; Steve Olson; Darian
        Stanford; Kevin Clock; Joseph Delarosa; Elliot Parris and NCC agreed to pay and use
        Empyreal Logistics to track and transport cash from the NCE, and thereafter EBCE,
        Gonzalez, SCS, Clock and Stanford, on behalf of the NCE and pursuant to A1-A4, paid
        and authorized the use of Empyreal Logistics to track and transport cash from the
        unlawful sales of a controlled substance at Newe Cannabis, (where Empyreal
         received approximately $100,000.00 for each quarterly delivery of cash derived or
         originating from the sale and distribution of a controlled substance, marijuana, each
         quarter of the year), along with cash from ECBE that originated from prior sales of a
         controlled substance mixed with misappropriated federal funds, periodically using
         GardaWorld Armored Transportation, to SALAL in Seattle, Washington and to other
         financial institutions on behalf of TT and SCS in Portland Oregon with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841; 18 U.S.C. §§1341. 1344 and
         1343: 26 U.S.C. §7201: 18 U.S.C. § 1960 et seq. Ref. Exhibit II-B(13).

   185. From January 2021 through March 2021, and again from January 2021 through
        March 2022, Robin Evans, RAE Solutions; Leslie Grove, IBSC; Adriana Hernandez;
        Suzanna Sandoval and Susan Zuzueta conspired and agreed to complete, insert data,
        fill-out and issue, and did complete, insert data, fill-out and issue United States
        Internal Revenue Service Wage and Tax Reporting Statements, Form W-2 or IRS
        Form 1099, for Erica Jim; Conor Ramsey; Nocona Smales-Hassett; Leslie Berg-Grove,
        and the other "40 employees" Newe Cannabis reported it employed, when each W-2


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         or 1099, as filed and submitted to the IRS, contained or included materially
         misleading, fraudulent and false financial reporting information, specifically stating
         that the employer is either EBCE, RAE Solutions and/or IBSC when the actual
         employer is SCS, TT and Newe Cannabis, and each W-2 or 1099 includes fraudulent,
         false and misleading information, including the use of EBC EIN by SCS without
         official approval by EBC. The IRS tax and wage documents included false amounts
         for the taxes withheld, collected or deducted from the employee's annual wages that
         failed to include all tips, wages and income, and Defendants failed to accurately
         report to the United States the total amount derived, obtained, collected or paid to:
         SCS; Darian Stanford; Paul Conable; Steve Olson; Davis Gonzalez; Kevin Clock; Elliot
         Parris; Conor Ramsey; Robin Evans and RAE Solutions; Leslie Grove and IBSC;
         Adriana Hernandez; Suzanna Sandoval; Juan Arevalo; Thalia Marin, and others,
         where the amount of income collected and reported by Green bits and Headset
         Cannabis Intelligence, fails to match the actual amount derived, generated or
         received from the actual sales of a controlled substance at Newe Cannabis or the
         actual amount derived, generated or received from the actual sales of a controlled
         substance at Newe Cannabis as reported to SALAL, Zionsbank and NSB as reflected
         in deposit and transfer information, after each Quarterly Count, or as reported to the
         United States, particularly the 'partner's share' is omitted with the intent or purpose
         to violate or attempt to violate 26 U.S.C. §7201. 18 U.S.C. §§1341. 1343. 1952. 1956
         and 1957.

   186. On or about September 24, 2019 Davis Gonzalez; Robin Evans, RAE Solutions; Leslie
        Grove, IBSC; Larry Yeager; Thalia Marin; Ladonna Leyva; Juan Arevalo; Paul
        Conable; Steve Olson; Darian Stanford; Kevin Clock; Joseph Delarosa; Elliot Parris,
        and others, pursuant to Al, AZ, A4 and A6 conspired and agreed to sign, submit and
        file financial records and documents with financial institutions, containing false or
        materially misleading information, and then signed, submitted and filed the same
        financial documents and records with SALAL, (Davis Gonzalez was assigned as the
         sole authorized representative on the SALAL Business Account and granting Adriana
         Hernandez, Robin Evans, Suzanna Sandoval, Susan Zuzueta, Thalia Marin and Leslie
         Grove access to EBCE SALAL account information), knowing that when these financial
         records and documents were used to open a SALAL business account in the name
         EBCE, the NCE Defendants intentionally failed to inform, state or declare to SALAL,
         Empyreal Logistics or GardaWorld that the funds transferred, delivered or received
         at SALAL from EBCE constituted the cash, revenue, proceeds or income derived,
         received or originated from the unlawful sale and distribution of a controlled


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         substance, marijuana, at the NCE on federal, tribal land and transported from
         outside of Washington to a location within Washington with the intent or purpose to
         violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343: 18 U.S.C.
         §1344: 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 et seq. and
         the Te-Moak Constitution. Article 4. sections 3. 12 and 14. See Exhibit III-D(2):
         SALAL-Marin Email; itg. Exhibit II-B(13); also. Exhibit II-B(14).

   187. On or about January 28, 2020 Davis Gonzalez; Robin Evans, RAE Solutions; Leslie
        Grove, IBSC; Larry Yeager; Thalia Marin; Ladonna Leyva; Juan Arevalo; Paul
        Conable; Steve Olson; Darian Stanford; Kevin Clock; Joseph Delarosa; Elliot Parris,
        and others, pursuant to Al, A2, A4 and A6 conspired and agreed to sign, submit and
        file financial records and documents with financial institutions, and then signed,
        submitted and filed financial documents and records with SALAL, (assigning Davis
        Gonzalez as the sole authorized representative on the SALAL Business Account and
        granting Adriana Hernandez, Robin Evans, Thalia Marin and Leslie Grove access to
        EBCE SALAL account information), knowing that the financial documents and
        records submitted, signed and filed, (including the SALAL Cannabis Business Account
        Application), to open and obtain access to various financial institutions through
        SALAL and use the ACH, (Automated Clearing House-an electronic network for
        financial transactions in the United States), and wire transfer services at SALAL, in
         the name of EBCE, that included copies of A3; A6; SCS Cannabis Letter and the A2
         Compact. identifying the source and characteristics of the cash, proceeds, revenue or
         income associated with SALAL account in the name of EBCE, as being derived,
         received or originating from the sale and distribution of a controlled substance,
         marijuana, on federal, tribal lands outside the State of Washington deposited and
         transferred to SALAL, located within the State of Washington, with the intent or
         purpose to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341(Mail Fraud); 18
         U.S.C. §1343(Wire Fraud); 18 U.S.C. §1344(Financial Institution Fraud); 18 U.S.C.
         §1952(Travel Act); 18 U.S.C. §1956(Money Laundering); 18 U.S.C. §1957(Engaged in
         Unlawful Monetary Transactions); 18 U.S.C. § 1960 et seq. and the Te-Moak
         Constitution. Article 4. sections 3.12 and 14. See Exhibit III-D(2): e.g. Exhibit II-
         B(13) and ruJ..

   188. EBCE, byway and through Al-A4 and A6 with SCS; Davis Gonzalez; Larry Yeager;
        Thalia Marin; Juan Arevalo; Paul Conable; Steve Olson; Darian Stanford; Kevin Clock
        and Elliot Parris operated, managed and directed the NCE "Business" as an
        unlicensed money transmitting business by transporting, delivering and


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         transmitting cash, revenue, income or proceeds that were derived or originating
         from the sale and distribution of a controlled substance, marijuana, at the retail
         store Newe Cannabis, shown by way and through A2; A3; Taxation Policy: Empyreal
         Deposit and Bag Slip: Green bits Sales Reports: A6; SCS Cannabis Letter and the Cash
         and Safe Policy to transfer, transmit, route, deliver or process the same money, cash
         or funds, directly or indirectly, through H & R Block/Delcor from May 2020 until
         January 2021 and from April 2020 until March 2022 to Wells Fargo Bank,
         Zionsbank, NSB and SALAL, and from December 2020 until March 2022 through the
         EBCE paid services by Empyreal Logistics and GardaWorld Armored
         Transportation, by wire, check, draft, facsimile or courier with the intent and
         purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §1956(Money
         Laundering); 18 U.S.C. §1957: 18 U.S.C. § 1960 et seg. See Exhibit II-A(5) and (6):
         g,g. Exhibit II-B(13): Exhibit 111-D(2): also. Exhibit II-B(14).

   189. On September 15, 2019 Steve McDade, pursuant to an agreement with Marla
        McDade and Joseph McDade, ("A7"), transmitted, published or communicated to
        Elko County Commissioner Delmo Andreozzi statements regarding the Plaintiff,
        claiming that on September 11, 2019 the Plaintiff "cut a fence" adjacent to a highway
        allowing cows to escape, resulting in damage to a Nevada Highway Patrol vehicle
        and a private vehicle. Steve McDade sought the Commissioner's assistance to
        pursue criminal charges against the Plaintiff as part of the A7 plan or scheme with
        Marla McDade and Joseph McDade to discriminate against the Plaintiff as a non-
        Native American, with a goal or purpose to cause the Plaintiffs physical removal
        from federal, tribal land. A local ranch worker admitted to law enforcement that he
        repaired the fence earlier in the day after a group of cows broke the fence in the
        same spot. Steve McDade, Marla McDade and Joseph McDade were not physically
        present at the location at the time of the accident and lacked any personal
        knowledge related to the fence cutting or accident with the cows on the highway on
        September 11, 2019 sufficient to make any statement regarding the Plaintiff or the
        Plaintiffs whereabouts that day.

   190. On September 17, 2019 Thalia Marin engaged in communications with John Garrard,
        Elko County Democratic Central Committee-Diversity Chair, ("ECDCC"), on behalf of
        the NCE and at the direction of Defendants Davis Gonzalez; Darian Stanford; Paul
        Conable; Steve Sisolak and Aaron Ford, to arrange and secure future "fundraising"
        for the ECDCC and individual candidates, including John 'Doc' Garrard, paid with


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         unreported cash proceeds, income or revenue derived, received or originated from
         the sale and distribution of a controlled substance, marijuana, at the NCE with the
         intent and purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201.
         18 U.S.C. §1341(Mail Fraud); 18 U.S.C. §1343(Wire Fraud); 18 U.S.C.
         §1344(Financial Institution Fraud); 18 U.S.C. §1952(Travel Act); 18 U.S.C.
         §1956(Money Laundering); 18 U.S.C. §1957(Engaged in Unlawful Monetary
         Transactions); 18 U.S.C. § 1960 et seq. and the Te-Moak Constitution. Article 4.
         sections 3. 12 and 14.

   191. On September 17, 2019 Elko County Commissioner Delmo Andreozzi, (acting on the
        belief that Steve McDade was being truthful and without knowledge of the prior A7
        between Marla,Joseph and Steve McDade), relayed information obtained from Steve
        McDade to Elko County Sheriff Aitor Narvaiza regarding the Plaintiff and the fence
        cutting event on September 11, 2019. Steve McDade stated that he intended to use
        Andreozzi as a conduit and family friend for the purpose of eliminating the
        Plaintiffs right to practice law in a federal court action that Steve McDade and his
        girlfriend were losing to the Plaintiff's client, to wit: the Plaintiff committed a
        criminal act Plaintiff cut a fence allowing cattle to enter a highway resulting in
        damage to private motor vehicles and a state highway patrol vehicle on Friday
        September 11, 2019. On September 11, 2019 the Plaintiff, a former career
        firefighter, was honoring those who were lost on 9 /11.

   192. The Plaintiff did not cut, disassemble or touch any fence on September 11, 2019.

   193. On September 24, 2019 the Elko County District Attorney produced its findings on
        the fence cutting allegations levied by Steve McDade, exculpating the Plaintiff.

   194. On September 25, 2019 Steve McDade, in possession of defamatory information
        regarding the Plaintiff obtained from Marla McDade and Joseph McDade, and
        pursuant to A7, submitted that material ex parte to the judge officiating in a case
        involving the Plaintiff claiming the Plaintiff is a "felon," and that the McDades, with
        others, investigated the private life of the Plaintiff and falsely claimed to the Court
        that the Plaintiff was "forced to resign from a Magistrate position in North Carolina
        for allegedly falsifying employment documents by giving the wrong birth date.
        Rather than defending his stance... he chose to step down ..." In a written response
        the BIA CFR federal court vindicated the Plaintiff and dismissed the claims by
        McDade for the second time.


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   195. On September 25, 2019 Steve McDade filed and obtained an ex pa rte temporary
        injunction against the Plaintiff based on false and perjured statements, claiming that
        a valid Notice of Claim the Plaintiff mailed one time to a potentially liable third party
        constituted irreparable harm by harassment, and then the federal court dissolved
        the TRO on challenge by the Plaintiff for a lack of merit.

   196. On October 2, 2019 at the instruction, direction or advice of Joseph McDade and
        Marla McDade, and pursuant to A7, Steve McDade published and republished false
        information regarding the Plaintiff that Marla McDade unlawfully obtained and
        distributed regarding the Plaintiff at a public meeting held on federal, tribal land in
        Wells Nevada where Steve McDade, at the instruction of Joseph McDade, presented
        false evidence about the Plaintiff, and personal confidential information regarding
        the Plaintiff, to demand the exclusion of the Plaintiff from Te-Moak federal lands
        because the Plaintiff is "white" and a "felon." Exhibit III-A(l)(September 11, 2019).
        Steve McDade, Marla McDade and Joseph McDade released and distributed private,
        nonpublic information regarding the Plaintiff with the intent or purpose to violate
        or attempt to violate N.R.S. §205.463. a felony act, inter a/ia.

   197. On or about October 2, 2019 Steve McDade filed a complaint against the Plaintiff,
        pursuant to A7, with the Nevada State Bar Association claiming that the Plaintiff was
        practicing law without a license in the State of Nevada, when Steve McDade knew or
        should have known that the Plaintiff was admitted to practice before the BIA Court
        of Indian Offenses in accordance with the Te-Moak Tribe and CFR jurisdiction and
        that the Plaintiff was not unlawfully practicing law within the jurisdiction of Nevada.

   198. On October 8, 2019 the State Bar of Nevada, (OBC19-1257), summarily dismissed
        Steve McDade's complaint for lack of merit officially stating that the "Office of Bar
        Counsel and the disciplinary boards of the State Bar are not substitutes for the court
        systems."

   199. On October 28, 2019 Steve McDade submitted a handwritten, sworn statement to
        the Elko County Sheriff Aitor Narvaiza, pursuant to A7, falsely avowing that the
        Plaintiff made a false "perjured" statement as an officer of the federal court. Steve
        McDade knew or should have known that Sheriff Narvaiza lacked any jurisdiction
        over the BIA CFR court proceedings. Steve McDade personally appeared before the
        Sheriff on October 28, 2019 and insisted that Sheriff Narvaiza forcibly remove the
        Plaintiff from federal, tribal land because the Plaintiff is "white" demanding a
        written letter from Narvaiza to present to the federal court to use against the


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          Plaintiff. Sheriff Narvaiza met with the Plaintiff on or about October 29, 2019 and
          provided the Plaintiff with a copy ofMcDade's sworn statement and verbally
          verified the statements made by McDade, indicating that the Sheriff refused to write
          a Jetter for Steve McDade.

   200. In November 2019 the Te-Moak Tribal Council authorized and approved the
        publication of the Te-Moak Tribal Administrator Job Announcement that states
        "[r]eferences are mandatory to check previous employment and working habits" as
        a necessary condition to perform "all other duties as directed by the Tribal Council
        and the Tribal Chairperson... [where the incumbent will] direct the daily
        operations of tribal government..." Exhibit III-B(S).

   201. On November 1, 2019 the Plaintiff submitted a completed employment application
        to the Te-Moak Tribe for the Tribal Administrator position. That document stated
        that the Plaintiff had no criminal record and the Plaintiff affixed his signature
        granting a release to the Tribe for six-months to investigate the Plaintiffs character
        and background information, and as stated on the Application Form after that time
        period the Plaintiff's "application will be destroyed."

   202. On December 12, 2019 the Te-Moak Tribal Council held selection interviews for the
        Te-Moak Tribal Administrator position with two candidates: Suzanna Sandoval and
        the Plaintiff. Immediately after the interview with the Plaintiff, Joseph Holley signed
        and drafted an "offer" of employment to the Plaintiff, the Plaintiff accepted, and the
        Plaintiff was hired as the Te-Moak "Tribal Administrator" with the responsibility to
        report directly to the Tribal Council regarding the management and administration
        of federal grant programs and funds for the Tribe, as directed by the Tribal Council
        and pursuant to federal and tribal Jaw. See Exhibit III-B(6). Juan Arevalo and Larry
        Yeager cast the only two (2) votes against hiring the Plaintiff, (7-2-0). Both objected
        to hiring the Plaintiff since the Plaintiff is "white" and "not a member of the Tribe,"
        and on February 13, 2020 Juan Arevalo verbally confirmed to the Plaintiff that he
        and Yeager made these statements at the interview, preferring Suzanna Sandoval.

   203.    Joseph Holley; Alice Tybo; Andrea Woods; Juan Arevalo; Duane Garcia, Sr.; and
          Davis Gonzalez, with other unnamed individuals, refused or failed to provide
          insurance to the Plaintiff in violation offederal and tribal law solely on the basis of
          the Plaintiffs racial classification as a non-Native American, while Native American
          employees received insurance benefits. Te-Moak Personnel Policies and Procedures
          Manual. Part VII(H)(1)-(3) at 10; ~- 42 U.S.C. §20003 et seq.


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   204. On December 12, 2019 within hours after the Plaintiffs interview for the Tribal
        Administrator position, (conducted and held during a meeting closed to the public on
        December 12, 2019 where Steve McDade was not present), Steve McDade signed a
        hand-written letter that Steve McDade hand-delivered to the Te-Moak Tribal Office,
        (time stamped received 2:28 p.m. by Te-Moak Tribe), where the language in that
        document stated to the Plaintiffs new employer that the Plaintiff is "a felon, non-
        native drug dealer." Exhibit III-A(2). Steve McDade, pursuant to A7, published and
        republished this document on the internet, via email and social media postings, and
        delivered it to individuals and government officers associated with the Plaintiff.

   205. On or about December 5, 2019 Robin Evans, RAE Solutions; Leslie Grove and IBSC;
        SCS; Suzanna Sandoval; Juan Arevalo; Paul Conable; Kevin Clock and Darian
        Stanford co-authored, edited and drafted a document submitted to NCC and EBC
        seeking approval to publish an employment advertisement on the internet involving
        interstate commerce seeking candidates for employment positions related to the
        NCE with the intent or purpose to violate or attempt to violate 21 U.S.C. §841; 26
        U.S.C. §7201; 18 U.S.C. §§1341. 1343. 1952. 1956 and 1957; 18 U.S.C. § 1960 et seq.
        and the Te-Moak Constitution Article 4. sections 3. 12 and 14. See Exhibit II-A(8).

   206. On or about December 17, 2019 EBC approved a document advertising an offer of
        future employment with the NCE, as submitted to EBC on or about December 5,
        2019 by Robin Evans, RAE Solutions; Leslie Grove and IBSC; SCS; Suzanna Sandoval;
        Paul Conable; Juan Arevalo; Kevin Clock and Darian Stanford, and thereafter the EBC
        authorized the publication of this advertisement for employment via the internet,
        email and United States Postal Service, with Davis Gonzalez and Juan Arevalo
        signing the final approved version which was then included as part of the text and
        language on the website for the retail store Newe Cannabis with the intent or
        purpose to violate or attempt to violate 21 U.S.C. §841; 26 U.S.C. §7201: 18 U.S.C.
        §§1341. 1343. 1952. 1956 and 1957: 18 U.S.C. § 1960 et seq. and the Te-Moak
        Constitution Article 4. sections 3. 12 and 14. See Exhibit II-A(8).

   207. EBC approved and authorized the payment, costs and fees related to the approved
        publication oflanguage on an online website that states "on January 23, 2020 ..
        .Governor Steve Sisolak and Elko Chairman Davis Gonzalez signed the Cannabis
        Agreement. .. [and]Elko Band ...followed applicable law in every step of this
        economic endeavor and has worked closely with the Nevada Legislature, Governor
        Sisolak, Nevada Attorney General Aaron Ford, the Nevada Department of Taxation ..
        .[and] contracted with professionals to ensure that NeWe (sic) Cannabis is a first
        rate operation that meticulously adheres to all safety and security regulations,"
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         when Sisolak, Arevalo, Gonzalez and Ford knew or should have known that the
         Compact was entered, agreed and executed with the intent or purpose to violate or
         attempt to violate 21 U.S.C. §841: 15 U.S.C. §§1. 2.13 and 15: 18 U.S.C. §§1341. 1343.
         1952. 1956 and 1957: 18 U.S.C. § 1960 et seq.. and the Te-Moak Constitution Article
         4. sections 3. 4 and 12.

   208. The NCE website states that on "April 18, 2020 ... 'Elko Band' open[ed] Newe
        Cannabis... drive-through only'' and that by offering "Online Orders... Cash Only .. 7
        days a week," Defendants Sisolak, Ford, Gonzalez and Arevalo intended to violate or
        attempt to violate 21 U.S.C. §841: 15 U.S.C. §§1. 2 and 13(a). (d) and (e): 18 U.S.C.
        §§1341. 1343. 1952. 1956 and 1957: 18 U.S.C. § 1960 et seq. and the Te-Moak
        Constitution Article 4. sections 3. 4 and 12.

   209. On or about January 2, 2020 Den tons published and disseminated its standardized
        "Terms of Business." Exhibit III-C(l): Dentons Terms of Business. In July, August
        and December of 2021 Sypolt delivered to the Plaintiff a copy of Dentons Terms of
        Business attached to multiple versions of Dentons Engagement Agreements wherein
        the Terms state "[e]ffective representation requires open and honest
        communication," that will remain necessary to avoid violating any "[a]nti-money
        laundering, anti-bribery, anti-terrorism and similar laws," and that Dentons "will
        handle personal data you send us about you, your employees, agents, contractors or
        other individuals in accordance with data protection and privacy standards
        equivalent to or higher than those required by law." ibid(Dentons will "not
        tolerate bribery or corruption")(emphasis added).

   210. On or about December 23, 2019 the TMC directed the Plaintiff, as the Tribal
        Administrator, to follow the law and report any events, facts or allegations of fraud,
        theft and criminal conduct known to the Plaintiff. Plaintiff began filing reports
        containing allegations of fraud, theft and criminal conduct involving tribal programs
        that received federal funds to federal law enforcement agents and officers as
        directed by the Tribal Council. Throughout 2020 and into 2021 the Plaintiff updated
        the members of the Tribal Council on the status of these reports.

   211. On January 8, 2020 Davis Gonzales organized, directed or assisted others in a
        community uprising at the Te-Moak Tribal Council Meeting, held on federal, tribal
        land, a meeting paid for and funded with federal funds, (including the wages and
         salary Davis Gonzalez received while planning, organizing and directing others in this
         endeavor), where the object or goal of the uprising was to cause the termination of
         the Plaintiff as the Tribal Administrator due to the Plaintiffs race, color, culture or

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         ethnicity, under threat, force and violence, whereby Davis Gonzalez, Steve McDade
         and Joseph McDade distributed to the public information that the Plaintiff is an ex-
         felon. At this meeting chairs were thrown, tribal members were screaming and
         yelling threats of violence against the Plaintiff, all witnessed by Governor Sisolak's
         Science and Technology Director, Jo Jo Meyers. BIA law enforcement officers were
         dispatched to the meeting because of the violence and threats. Davis Gonzalez
         received information and documents obtained from Marla McDade, Steve McDade
         and Joseph McDade containing false statements regarding the Plaintiff. Joseph
         McDade and Davis Gonzalez republished and disseminated private confidential
         information regarding the Plaintiff to the public and the Councils with Davis
         Gonzalez claiming to the Plaintiff and Joseph Holley that the documents and
         statements were "true" because "Joe McDade verified it." Chairman Joseph Holley
         ended the public meeting prematurely due to the threats aimed at the Plaintiff.
         Steve McDade, Marla McDade, Davis Gonzalez and Joseph McDade released and
         distributed this private, nonpublic information regarding the Plaintiff with the
         intent or purpose to violate or attempt to violate N.R.S. §205.463, a felony act.

   212. On January 8, 2020 Chairman Joseph Holley ordered the Plaintiff to submit to a post-
        employment comprehensive background investigation, including a full drug panel
        screening, and ordering the Plaintiff to take paid leave from employment until
        completed, without authorization from the Council or tribal law. The Te-Moak Tribe
        lacked adequate funding and authorization to pay for the background investigation
        and drug screening at the time, so the Plaintiff paid $2 77 .35 for his fingerprint cards,
        taken at Elko Sheriff Department, an expedited FBI Background Report, 7 panel drug
        screen and associated costs and fees from his personal funds. See Exhibit III-B(2)
        and (4). The Te-Moak Council failed or refused to reimburse the Plaintiff for this
        expenditure as well as the Plaintiffs payment of over $400 into the general fund to
        cover the costs for emergency heart medicine for a Te-Moak law enforcement officer
        and staff member, Ruben Ramirez, because the Te-Moak Tribal Council refused to
        obtain health insurance for non-Native employees, a classification that fit both
        Ramirez and the Plaintiff.

   213. On January 9, 2020 the Plaintiff drafted and sent correspondence to United States
        Attorney Nicholas Trutanich regarding certain facts and allegations of fraud, theft
        and criminal conduct involving tribal programs supported with federal funds at the
        Te-Moak Administration.

   214. On January 17, 2020 the Plaintiff provided the results of the FBI Background Report
        and Drug Screen Toxicology Report regarding the Plaintiff to the Te-Moak Tribal
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         Council showing: No controlled substances or prescription medication; no negative
         findings, no arrests and no convictions, with copies of these findings delivered to
         each and every member of the Te-Moak Tribal Council, who are also members of the
         four (4) Band Councils, and an unredacted copy placed into the Plaintiffs personnel
         file as required by tribal law and policy. See Exhibits 11-E(l)-(3).

   215. On January 17, 2020 Joseph Holley signed and issued a letter to the Te-Moak Tribe
        exonerating the Plaintiff against the false conviction for a "felony" claims against the
        Plaintiff after accepting the FBI Background Report, Drug Screen and a 2011 version
        of Nevada's Criminal History Report as satisfying all requirements of tribal law.
        Exhibit III-8(1): Holley Exoneration Letter; g,g. Exhibit III-B(2)-(3).

   216. In the January 17, 2020 exoneration letter Joseph Holley states that the "false
        accusations regarding [Plaintiffs] character," as published and republished by
        Joseph McDade, Steve McDade, Davis Gonzales, and others, seeking the termination
        of the Plaintiff from employment with the Tribe when the Plaintiff was a "qualified
        non-native person," are considered false "statements...about [the Plaintiffs]
        criminal history." Id(citing and quoting Exhibit I-A(3): Te-Moak Personnel Manual).

   217. Joseph Holley instructed and ordered Celia Gonzalez, a Te-Moak Finance Director, to
        place a true and correct copy of the FBI Background Report, Drug Screen and
        Holley's January 17, 2020 Letter into the Plaintiffs permanent personnel file as
        required by tribal law and policy. Id. Plaintiff confirmed by physical examination
        that the official documents were located in the Plaintiffs personnel file at the Te-
        Moak Offices located at 525 Sunset Street; Elko, Nevada 89801 on January 17, 2020.

   218. On February 11, 2020 Davis Gonzalez personally appeared at the Te-Moak Offices
        and verbally assailed the Plaintiff stating "Man, I want to talk to you about what
        you're doin to cannabis. No matter what you say Elko Band is going to keep moving
        forward with cannabis. You know what, you're a son of a bitch, mind your own
        damn business. Who the fuck do you think you are callin the Governor and Kyle
        George? Man, I know everything you're doin. You're just like Steve McDade. You
        don't know shit."

   219. On February 14, 2020 the Plaintiff received a telephone call from an individual who
        identified herself as "Robin Evans and I have a company that works for the tribe,
        RAE Solutions." During this conversation Ms. Evans stated that she agreed to pay
        "cash" for the Sex Offender Registration and Notification Act - Adam Walsh,
        (federal), "SO RNA Grant Writer's fee." Plaintiff stated to Evans that the process did

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         not allow cash payments and Evans offered to pay "the entire fee by check" if
         Plaintiff would "authorize the payment." The Plaintiff explained to Evans that this
         decision remained with the Tribal Council and it was not the Plaintiffs decision to
         make. The Plaintiff provided Evans with the contact information for the Chairman
         and the Grant Writer, Sharon Turner.

   220. On February 18, 2020 the Plaintiff, Ruben Ramirez and Joseph Holley attended a Sex
        Offender Notification Act, ("SO RNA"), training seminar in Reno, Nevada. During a
        break at that seminar in Reno, Joseph Holley and the Plaintiff approached Assistant
        United States Attorney Sue Fahami and discussed the operation of a marijuana
        business on federal, tribal land in violation of 21 U.S.C. §841. 26 U.S.C. §7201. 18
        U.S.C. § 1960 et seq. and the Te-Moak Constitution. AUSA Fahami spoke directly to
        the Plaintiff stating that her office instructed the FBI, DEA and BIA to take no action
        against the unlawful operation to avoid, in her words, "a race war," because Nevada
        allowed "non-Native Americans to operate similar facilities." The Plaintiff and
        Holley both informed AUSA Fahami that in the Tribe's case "the tribe's constitution
        doesn't allow violations of federal law," and the Plaintiff referenced the fact that the
        non-Native American dispensaries that Fahami brought up were following state and
        federal law. Fahami instructed the Plaintiff and Holley to contact USA Trutanich.

   221. On or about February 19, 2020 Juan Arevalo reported that "Leslie Berg [Grove]," and
        "Robin Evans" executed an agreement with EBC to use a portion of funds held at
        Edward Jones & Associates, (at that time consisting of about $1,200,000.00 in ful[J, to
        secure financing for NCE costs, and that SCS; Darian Stanford; Davis Gonzalez; Thalia
        Marin; Kevin Clock and "Eli" Parris demanded that all transactions involving the
        accounts at Edward Jones were to remain hidden from the Te-Moak Tribal Council,
        the public and specifically the Plaintiff as the Tribal Administrator. Ref. A6 at 1-2
        (May 2, 2019)("SCS will finance or arrange for third-party financing for the
         development and construction of the facilities used in the Business...{and] amounts
         necessary to operate the Business"). Plaintiff explained to Arevalo that under the
         Tribe's Constitution this money was at risk because the Bands have no authority to
         maintain, invest or expend tribal assets and that any amount retained without TM C
         could be in jeopardy.

   222. On or about February 19, 2020 Davis Gonzalez stated at a public meeting that the
        Plaintiff signed and sent a letter to the Nevada Department of Taxation demanding
        the elimination of Newe Cannabis as a legal tribal business.



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   223. When the Plaintiff learned of Gonzalez' false declarations uttered on February 19,
        2020, the Plaintiff sent an email refuting and challenging Gonzalez' false claims, that
        also included a statement that Gonzalez or someone acting for Gonzalez forged the
        Plaintiffs signature, and the Plaintiff sent or delivered a copy of this email to all the
        members of the TMC that day.

   224. On February 20, 2020 Robin Evans personally appeared at the Plaintiffs place of
        employment to meet with Joseph Holley. Robin Evans sat down at the table, facing
        Joseph Holley, to the right of the Plaintiff, and Evans immediately began to make
        statements regarding the Plaintiff that "Sharon Turner" informed Davis Gonzalez
        and Robin Evans that the Plaintiff was "single-handedly ruining the SO RNA Program
        and he is jeopardizing the Grant, and if you [Chairman] don't do something about
        Mr. Biers' attacks on Cannabis he is going to ruin all of the enterprises that we've
        built at Elko Band. I talked to Sharon Turner and she said to me that Mr. Biers has
        caused the whole SO RNA Grant to be in jeopardy and the Tribe probably won't get
        any federal funds." At this time the Plaintiff had no knowledge of any enterprise at
        or built by Elko Band or involving RAE.

   225. On February 20, 2020 after listening to Robin Evan's statements to Joseph Holley,
        the Plaintiff introduced himself to Robin Evans, who until then never met the
        Plaintiff in person. The Plaintiff immediately turned the conference room telephone
        on speaker and called Sharon Turner, introducing those in attendance to Mrs.
        Turner and repeating Ms. Evans' previous statements, asking "Sharon, did you
        inform Ms. Evans or Mr. Gonzalez that I interfered with or caused the Adam Walsh
        Grant to be in jeopardy, potentially ruining the entire SO RNA Program?" Mrs.
        Turner stated "No. In fact Chairman Holley I would like you to know that without
        Sam there would be no Grant and the Tribe's SO RNA Program would not exist,
        Ruben Ramirez would not have a job. I never said anything to the contrary to Ms.
        Evans, so I don't know where this is coming from."

   226. On or about February 24, 2020 Steve McDade transmitted a text message over the
        internet to Elko County Commissioner Delmo Andreozzi stating "I just filed charges
        against biers per the state bar." Steve McDade filed his complaint on October 2,
        2019, not February 24, 2020 and Steve McDade filed a request for reconsideration
        with that same agency on or about December 16, 2019. In a written statement, the
        State Bar of Nevada, (OBCl 9-1257), again summarily dismissed Steve McDade's
        request for reconsideration of McDade's earlier complaint against the Plaintiff
        stating "we will not proceed to investigate."


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   227. On or about March 2, 2020 Thalia Marin telephoned the Plaintiff at his place of
        employment yelling belligerently that the Plaintiff and Chairman Holley were trying
        to get a higher tax rate off the sale of" cannabis to stop Newe Cannabis from
        opening" unless EBC agreed to a tax rate favorable to Te-Moak. The Plaintiff
        repeatedly stated to Thalia Marin that her statements were "not true because the
        constitution bars the sale and distribution of marijuana on tribal lands, so a tax
        would also be illegal." Marin stated in reply "bullshit Sam! I know Joe wants more
        than 5%, we agreed on 2% then he wanted 5% now I know you both are trying to
        get 7%. That's not fair, this is Elko Band's money, not Te-Moak's, and I'm going to
        stop you both." Plaintiff replied "I have nothing to do with Cannabis or its tax rate,
        my job is to receive, log and record official tribal documents, including agreements.
        I do not have a vote on Council." At this time the Plaintiff lacked any knowledge
        beforehand of any tax rate or tax negotiations related to the NCE and TMC.

   228. On or about March 3, 2020 Davis Gonzalez telephoned the Plaintiff, while the
        Plaintiff was working as the Tribal Administrator, and asked for a "cease fire"
        involving the Plaintiffs requests for documents related to the proposed Cannabis
        dispensary. Gonzalez offered to end the Band employees' resistance to Plaintiffs
        constitutional requests for copies of official documents, end the false accusations of
        wrongdoing against that the Plaintiff as the Administrator, and provide the Plaintiff
        with copies of the AZ Compact and all of the related agreements and contracts.
        Plaintiff agreed to stop requesting copies of the Cannabis documents if Gonzalez
        delivered the official documents, unless "Council orders me otherwise."

   229. On March 4, 2020 Davis Gonzalez personally appeared at the TMC meeting, and
        hand-delivered a copy of the AZ Compact to the Plaintiff, except that copy of the
        document lacked one (1) page, the page containing the Law Enforcement Terms and
        Conditions. Plaintiff provided copies of the AZ Compact to the TMC and BIA.

   230. On March 4, 2020 the TMC authorized the Plaintiff to expend federal funds
        necessary to purchase a license from Bamboo HR LLC for its timekeeping software
        at Te-Moak Office to track and record personnel time for payment of wages, salaries
        and benefits involving federal funds. Bamboo HR is a business entity located at: 335
        South 560 West; Lindon, Utah 84042. Plaintiff required all the staff to fully engage
        and use Bamboo HR software time reporting on or before July 1, 2020, and the Te-
        Moak Tribe continued to use Bamboo HR Software until July 2021. Bamboo HR LLC
        retains copies of time-keeping records showing the fraudulent records for
        Defendant Reynolds and other TMC staff cross referenced against RICO income.


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   231. On or about March 26, 2020 EBC held a meeting where Davis Gonzalez produced a
        letter claiming the Plaintiff authored, drafted and signed that letter as the Te-Moak
        Administrator, which was addressed to and sent to the Nevada Department of
        Taxation. Gonzalez then produced said letter and passed it around to the other
        members of the EBC to prove the Plaintiff signed the document. The Plaintiff did not
        send a letter to the Nevada Department of Taxation; the Plaintiff sent a request for
        copies of A2 to Governor Sisolak and Kyle George, General Counsel to Governor
        Sisolak, at the instruction of TMC Chairman Joseph Holley and TMC. Sisolak, George
        and Ford refused or failed to respond to the Plaintiffs official requests based on
        Gonzalez' agreement with Sisolak and Ford to ignore the Plaintiff and the Te-Moak
        Tribal Council's requests for information and A2. Ref. A2 at 3(Nevada "recognizes
        and respects the laws and authority of the" Te-Moak Tribe).

   232. On March 27, 2020 Thalia Marin sent or transmitted a text message to the Plaintiff,
        via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah stating
        that Marin wanted a copy of the letter to Nevada Department of Taxation that Davis
        Gonzalez first claimed on February 19, 2020 and again on March 26, 2020 that
        Plaintiff authored, after both Gonzalez and Marin earlier claimed to possess a copy
        containing the forged signature. Plaintiff again challenged the truthfulness of
        Marin's assertion, and Marin requested that the Plaintiff transmit a copy of the
        Sisolak request to email addresses Marin uses to conduct and hide sensitive
        communications: nativeoutlet@yahoo.com. councilmember5@elkoband.org and
        marin.thalia@yahoo.com. Plaintiff sent Marin a copy of the actual correspondence
        sent to Governor Sisolak.

   233. Juan Arevalo stated to the Plaintiff that during the period of April 2020 through
        December 2020 EBCE; SCS; Darian Stanford; Paul Conable; Steve Olson; Elliot Parris;
        Kevin Clock; Davis Gonzalez; and Thalia Marin entered into an agreement ("A8"),
        with Aaron Ford and Governor Sisolak to transfer or deposit unreported cash
        proceeds derived or originating from the unlawful sale and distribution of a
        controlled substance, marijuana, at the retail store - Newe Cannabis, to the Nevada
        Department of Taxation, pursuant to NRS 372A.290(1)-(2). whereafter that agency
        would later refund amounts paid by EBCE, (on behalf of the NCE), back to EBC in a
        check pursuant to a permanent tax exemption granted by the State of Nevada, and
        distributed among EBCE; SCS; Darian Stanford; Paul Conable; Steve Olson; Elliot
        Parris; Kevin Clock; Davis Gonzalez; Thalia Marin; Aaron Ford; Steve Sisolak and
        other unnamed individuals, who entered into A8 with the intent or purpose to
        violate federal, state and tribal law and at a time when all of the individuals to A8

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         knew or should have known that the Tribe and its Bands were granted a
         "permanent" exemption pursuant to Nevada Department of Taxation Permanent
         Exemption to the Te-Moak Tribe (May 1, 1997); Nevada Department of Taxation
         Permanent Exemption to the Te-Moak Tribe (August 1, 2003); Nevada Attorney
         General Opinion No. 2011-09 and Nevada Attorney General Opinion 89-2.

   234. On or about April 6, 2020 NSB stated the Tribal Council must provide Zionsbank
        with written authorization "by Resolution" from the Te-Moak Tribal Council that to
        grant the Plaintiff access to Te-Moak Tribal bank information and records.

   235. From March 2 through September 29, 2020 Davis Gonzalez, acting at the direction,
        authority or advice of Sisolak, Ford, Conable or Stanford, repeatedly communicated
        with Ashley Dewey and Nicole Lewis at NSB demanding that Zionsbank and NSB
        deny the Plaintiff, as the Tribal Administrator, access to Tribal bank accounts to
        prevent discovery by the Plaintiff and the Te-Moak Tribal Council of money
        laundering, bank fraud and wire fraud activities involving Davis Gonzalez; SCS;
        EBCE; Paul Conable; Steve Olson; Kevin Clock; Thalia Marin; Juan Arevalo, and
        others, at Zions bank related to the NCE.

   236. On or about April 6, 2020 the Plaintiff telephoned NSB and requested the necessary
        forms that the TMC must complete and sign to grant the Plaintiff access to the
        Tribe's account information at Zionsbank.

   237. On April 9, 2020 the Plaintiff and Joseph Holley met to complete the required
        Zionsbank/NSB documentation to grant the Plaintiff access to the Tribe's accounts
        at Zionsbank/NSB, and the Plaintiff delivered the completed, signed documentation
        to Ms. Stanton at Zionsbank/NSB on April 9, 2020.

   238. On or about April 9, 2020 Juan Arevalo stated to the Plaintiff that Zionsbank/NSB
        Ashley Dewey personally assists "Leslie Berg and Robin [Evans] with all of Davis'
        banking, so it doesn't surprise me they're blocking you."

   239. On April 10, 2020 Zionsbank-NSB Stanton stated to the Plaintiff that additional,
        necessary documentation must be completed by the TMC, because, according to
        Stanton, Davis Gonzalez telephoned Zionsbank/NSB that the Plaintiff and Council
        failed to execute the necessary tribal authorization and permission documents.

   240. On or about April 13, 2020 Steve McDade personally appeared at the Plaintiffs place
        of business verbally threatening staff member Sharla Dick, and the Plaintiff ushered
        Mr. McDade outside stating "you are not going to scream, yell and threaten the staff

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         Steve, you have been kicked out of South Fork Council, barred from attending Te-
         Moak Council meetings and now I have you at the Admin pulling this. You do realize
         that I am the only person giving you an audience, and that I am at least submitting
         your requests to Council, right?" Steve McDade resumed calling the Plaintiff
         derogatory names before stating that McDade had "called the BIA cops."

   241. On or about April 13, 2020 BIA law enforcement responded to the Te-Moak Offices
        just as Steve McDade was verbally engaged, screaming at Joseph Holley across the
        parking lot, calling Joseph Holley a stream of vulgar names as Holley sat in his
        vehicle. The Plaintiff informed the BIA officer that Steve McDade is now trespassed
        from the administration building for threats, disorderly conduct and abuse, and to
        give McDade notice of the trespass.

   242. On or about April 13, 2020 Joseph McDade ordered the BIA officer to not file a
        report on the matter to protect his nephew Steve McDade from arrest and
        prosecution in a federal court, when the senior McDade lacked legal authority over
        BIA-OJS officers.

   243. On or about April 17, 2020 the Tribal Council enacted Resolution 20-TM-30
        authorizing the Plaintiff to have access to obtain all Zionsbank/NSB account
        information for the Tribe. The Plaintiff telephoned Zionsbank/NSB later that day
        and confirmed receipt of the executed Zions bank documents with Danielle Lupercio,
        who stated she needed to "fill out the signature card" and then after the Chairman
        and Vice Chairman signed the signature cards the process would be "complete."

   244. On or about April 18, 2020 the NCE retail store, Newe Cannabis, opened for business
        selling a controlled substance, marijuana, (without the constitutionally required
        approval of the Te-Moak Tribal Council and the United States Secretary of the
        Interior), on federal, tribal land managed and funded with federal funds, with drive-
        thru sales and distribution of marijuana only, as advertised on an online website,
        (newecannabis.com), that permitted the ordering and pre-purchase of controlled
        substances over the internet automatically routed through another online service:
        dutchie.com, pursuant to A1-A4 and A6 with and between SALAL; Zions bank; Wells
        Fargo Bank; NCC; SCS; EBCE; Steve Sisolak; Aaron Ford; Davis Gonzalez; Juan
        Arevalo; Thalia Marin; Paul Conable; Larry Yeager; Darian Stanford; Kevin Clock;
        Joseph Delarosa; Steve Olson and Elliot Parris with the intent or purpose to violate
        or attempt to violate 21 U.S.C. §841; 15 U.S.C. §§1. 2 and 13(a). (d) and (e): 18 U.S.C.
        §§1341. 1343. 1952. 1956 and 1957; 26 U.S.C. §7201. 18 U.S.C. § 1960 et seq. and
        the Te-Moak Constitution. Article 4. sections 3.4 and 12. See Exhibit II-A(9).

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   245. Dutchie.com is a business entity located in Bend, Oregon that openly advertises and
        states that it operates as an e-commerce platform that processes $14B cannabis
        sales annually, involving over 5000 marijuana dispensaries. By way and through
        agreements Duchie partnered with and accepted investment funds from SCS, CS! or
        TT, directly or indirectly, and a dutchie.com subsidiary, Greenbits, provides and
        licenses cannabis sales software to the NCE as authorized and approved for
        purchase and installation by and pursuant to A1-A4 and A6 involving SCS; NCC;
        EBCE; Davis Gonzalez; Paul Conable; Robin Evans, RAE Solutions; Leslie Grove, IBSC;
        Thalia Marin; Juan Arevalo; Larry Yeager; Darian Stanford; Kevin Clock; Joseph
        Delarosa; Elliot Parris with the intent or purpose to violate or attempt to violate 21
        U.S.C. §841; 15 U.S.C. §§1. 2 and 13(a). (d) and (e); 18 U.S.C. §§1341.1343.1952.
        1956 and 1957; 26 U.S.C. §7201: 18 U.S.C. § 1960 et seg. and the Te-Moak
        Constitution. Article 4. sections 3. 4 and 12. See also. Exhibit II-A(9).

   246. From January 2019 through March 2021 SCS; NCC; EBCE; Davis Gonzalez; Paul
        Conable; Thalia Marin; Larry Yeager; Juan Arevalo; Darian Stanford; Kevin Clock;
        Joseph Delarosa; Elliot Parris and others, agreed to refuse to produce or publish
        official documents and agreements involving the unlawful sale and distribution of a
        controlled substance on federal, tribal land to the TMC, the Tribal Administrator and
        the U.S. Secretary of the Interior for approval, showing the income, sales and
        revenue as reported by Greenbits and Dutchie.com related to the sale and
        distribution of a controlled substance, marijuana, at the NCE pursuant to the advice,
        direction and A2 and AS with Steve Sisolak and Aaron Ford as means to preserve
        the continued application of the A2 and its intended economic results, and to
        prevent the denial of operations at Newe Cannabis by TMC and detection by law
        enforcement, and thereby allowing the continued use of Greenbits and Dutchie.com
        services to assist in the sale and distribution of marijuana at Newe Cannabis
        producing revenue and income for the same named individuals and entities. See 15
        U.S.C. §§1. 2 and 13 and 14.

   24 7. On April 21, 2020 Zionsbank/NSB agent Lupercio stated the Te-Moak account
         access signature cards were ready for Joseph Holley and Juan Arevalo "to sign" as
         the last step to grant the Plaintiff access to all information related to or associated
         with the Tribe's accounts held at Zionsbank/NSB.

   248. On April 24, 2020 Zionsbank/NSB Dewey stated that Zions bank now needed all of
        the Te-Moak Council member's signatures before Zionsbank allowed the Chairman
        and Vice Chairman to transfer any Te-Moak funds between accounts. All signatures
        were provided along with the necessary documentation.
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   249. On May 6, 2020 Darian Stanford drafted a legal document entitled the Declaration of
        Thalia Marin. and both Marin and Stanford then signed that document on May 6,
        2020 with the intent or purpose to violate or attempt to violate 18 U.S.C. §§1503
        (Obstruction by corrupt endeavor to injure or influence any party or witness in a
        federal court) and 1512 (corrupt()' persuades or attempts to persuade another to
        influence testimony). See Exhibit III-A(3)(United States Court oflndian Offenses,
        Case No. CIV-20-WR03)(May 6, 2020).

   250. Thalia Marin's written avowal in the Declaration states that "[o]n April 18, 2020 the
        Elko Band opened Newe Cannabis on tribal land... presently limited to ... drive-
        through only. Newe Cannabis presently employs approximately twenty-five
        persons," where the NCE, Marin and Stanford knew at the time that the NCE existed
        and operated with the intent or purpose of violating or attempting to violate 21
        U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. § 1960 et seq. and the Te-Moak Constitution.
        Article 4. sections 3. 4. and 12. Id. Darian Stanford signed an attached Certificate of
        Service to Marin's Declaration and transmitted an electronic copy via the internet
        using an email address, darianstanford@gmail.com from Beaverton, Oregon sent via
        the Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah to the
        federal court in Elko, Nevada with the intent to violate or attempt to violate 21 U.S.C.
        §841; 18 U.S.C. §§1343.1503 and 1512; 18 U.S.C. §§ 1952.1956 and 1957; 26 U.S.C.
        §7201; and the Te-Moak Constitution. Article 4. sections 3. 4 and 12. Id.

   251. Darian Stanford repeatedly stated in BIA CFR court filings that Darian Stanford was
        the attorney of record for EBC when EBC Chairman Davis Gonzalez repeatedly
        asserted on the record to the TMC that Stanford did not represent EBC. Stanford
        continued this practice with the intent to violate or attempt to violate 18 U.S.C.
        §§1503 (Obstruction by corrupt endeavor to injure or influence any party or witness
        in a federal court) and 1512(corrupt(y persuades or attempts to persuade another to
        influence testimony); 15 U.S.C. §§1. 2 and 13(a and (0 and 18 U.S.C. § 1960 et seq.

   252. On May 7, 2020 Thalia Marin, (after receiving the Te-Moak Agenda item- Narcotics
        Ordinance), sent a text message to the Plaintiff, at the direction, advice or
        instruction of, with or from Davis Gonzalez; Juan Arevalo; Darian Stanford; Kevin
        Clock, and other unnamed individuals, pursuant to the A1-A6 agreements, plan or
        schemes, via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
        Utah, that states "who put cannabis back on [the Te-Moak Tribal Council] agenda ..
        .I'm asking as Newe Cannabis Commission member.. .I just look at this as Temoak
        admin [Plaintiff] n Temoak Chair are [doJing things just to get into Elko Band
        business," that was sent in furtherance of A1-A6 for the continued commercial sale
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         and distribution of a controlled substance, marijuana, at the NCE with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841: 18 U.S.C. §§1503 and 1512:
         26 U.S.C. §7201: 18 U.S.C. § 1960 et seq. and the Te-Moak Constitution. Article 4.
         sections 3. 4. and 12. to interfere or interrupt Tribal government operations and to
         invent, create or publish false or artificial reasons or justifications to obtain the
         termination of the Plaintiffs employment with the Tribe, and prevent disclosure of
         criminal conduct related to the NCE to SALAL: Wells Fargo Bank: VISA: MasterCard:
         Zionsbank/NSB as shown by the use of the names, DUNS and financial data and
         information for or related to EBCE, SCS and EBC, and not the NCE.

   253. On May 9, 2020 Alice Tybo sent a text message to the Plaintiff, via Lucent
        Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah stating "Elko
        Band using cares act funding to provide security for their cannabis... I'm not going
        to have federal charges brought against me or our council [a]nd not have protection
        of sovereign immunity. Elko Band is going to face huge liability issues if one of their
        security people injure or is injured by one of the people they are confronting. This is
        insane!!" SCS employee Derick Gibson, (Adriana Hernandez' paramour), was hired
        and employed as the NCE security guard until it was reported to Tybo on or about
        May 9. 2020 that Gibson abused his authority by pulling over and detaining motor
        vehicles, making traffic stops and attempting to gain access into the NCIC system to
        investigate tribal members. BIA law enforcement intervened and the NCE mobile
        security program terminated, Mr. Gibson continues to work inside the NCE retail
        store as security.

   254. On May 9, 2020 the Te-Moak Tribal Council "repealed, rescinded and revoked" Te-
        Moak Ordinance 19-0RD-TM-01. (Narcotics Ordinance), and all prior versions, and
        Joseph Holley signed that official action with lawful effect on May 11, 2020.

   255. On or about May 19, 2020 at an EBC Meeting Thalia Marin publicly stated that the
        Plaintiff is a "white devil" to members of the Te-Moak Tribe and EBC while acting
        under AS and the advice, authority, instruction or direction of Davis Gonzalez: SCS:
        EBCE: Steve Sisolak: Aaron Ford: ECDCC: Paul Conable: Steve Olson: Juan Arevalo:
        Darian Stanford; Kevin Clock, and others, to preserve and protect the continuation
        of A2, A4 and A6 agreements, plans or schemes involving these same individuals
        and entities to engage in the sale and distribution of a controlled substance,
        marijuana, involving the NCE with the intent or purpose of violating or attempting
        to violate 21 U.S.C. §841: 18 U.S.C. §§1343. 1503 and 1512: 26 U.S.C. §7201. 18 U.S.C.
        § 1960 et seq. and the Te-Moak Constitution. Article 4. sections 3. 4.and 12 by
        carrying into effect or execution a plan to interfere or interrupt Tribal government
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         operations and to invent, create or publish false or artificial reasons or justifications
         to obtain the termination of the Plaintiffs employment with the Tribe to permit the
         same individuals and entities to continue the unlawful commercial sale and
         distribution of a controlled substances.

   256. On May 20, 2020 TMC Member Jill Temoke resigned from her office on the TMC, and
        EBC accepted that resignation by way of Elko Band Council Resolution 2020-EBC-
        21, replacing Jill Temoke with Davis Gonzalez on the Te-Moak Tribal Council.

   257. On May 26, 2020 Davis Gonzalez and Juan Arevalo signed a document on EBC
        letterhead, (color or authority ofstate law - A2), that states EBC "intends to
        continue" with the sale and distribution of "recreational cannabis ... for its members"
        under A2 and that the NCE "is thriving and shall continue to do so," pursuant to the
        A1-A6 agreements, plans or schemes with and involving SCS; EBCE; Steve Sisolak;
        Aaron Ford; Paul Conable; Steve Olson; Larry Yeager; Thalia Marin; Darian Stanford;
        Kevin Clock, and others, on behalf of the NCE, in exchange for unreported cash
        payments that were derived, received or originated from the sale and distribution of
        a controlled substance, marijuana, that began April 18, 2020, with the intent or
        purpose of violating or attempting to violate 21 U.S.C. §841; 26 U.S.C. §7201; 18
        U.S.C. §§1343. 1503 and 1512; 18 U.S.C. § 1960 et seq. and the Te-Moak
        Constitution. Article 4. sections 3, 4. and 12 who carried into effect a plan or
        executed the terms of an agreement, plan or scheme to interfere, injure or interrupt
        Tribal government operations and invent, create or publish false or artificial reasons
        or justifications to obtain the termination of the Plaintiffs employment with the
        Tribe to permit the same individuals and entities to continue the unlawful
        commercial sale and distribution of a controlled substances at the NCE, with the
        intent or purpose to violate or attempt to violate 18 U.S.C. §§1341. 1343. 1344. 1503
        and 1512: 15 U.S.C. §§1. 2 and 14.

   258. On or about May 26, 2020 Davis Gonzalez stated that the revocation, rescission and
        repealment of Te-Moak Ordinance 19-ORD-TM-01 by the TMC was invalid because
        "Newe [Cannabis] is on Tribal Land and it's owned by Elko Band and individual
        [tribal] members can't own anything to do with Newe," when this statement is in
        direct opposition to the Tribe's legislative processes, and the Tribe's Charter holding
        that each tribal member owns one equal share. Ref. Te-Moak Constitution. Article 4:
        United States Department of the Interior. Office of Indian Affairs. Corporate Charter
        of the Te-Moak Bands of Western Shoshone Indians of the State of Nevada
        (December 12, 1938)(the Te-Moak Tribe is "hereby chartered as a body politic and
        corporation of the United States ... as a Federal corporation, [with] perpetual
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         succession . . .all such leases, permits or contracts ['covering the land or interests in the
         land now or hereafter1 must be approved by the Secretary of the Interior... [this
         charter grants an] equal [ownership] share [to] each member in the assets of the
         Tribe"). Davis Gonzalez unlawfully removed tribal members' ownership rights by
         entering A6 and granting an outside, non-tribal entity, SCS, 50% ownership, while
         EBCE and SCS operated to convert the vast majority of money obtained from NCE
         into personal assets, bribes and gifts to Sisolak; Ford; Gonzalez; Conable; Olson;
         Stanford; Arevalo; Marin; Sandoval; Yeager; Clock; Parris and others.

   259. On or about May 27, 2020 Adela Morrison ordered the Te-Moak Housing Authority,
        (hereafter "TMHA"), Executive Director Lillian Thomas to deliver U.S. Housing and
        Urban Development financial documents to the Plaintiff, and when the TMHA
        Director delivered financial documents to the Plaintiff, it appeared that the packet of
        documents included copies of two (2) sets of accounting books, one reported to the
        federal government and the Tribe, the other a set of financial accounting records
        maintained and kept internally at TMHA, only the records also included an end of
        quarter March 31, 2020 account statement from 1st Global Capital Corporation
        identifying a balance of about $1,100,000.00 in the fund, a fund that only the
        Executive Director, Raymond Gonzalez and Chairwoman Morrison had access or
        permission to access at the time, and on May 27, 2020 Adela Morrison, Lillian
        Thomas and Raymond Gonzalez knew or should have known that 1st Global Capital
        Corporation was purchased by Avantax Wealth Management in 2018. Avantax
        physical address is: 3200 Olympus Blvd., Ste. 100; Dallas Texas 75019. Ref. Exhibit
        11-B(l)(a).

   260. On or about May 28, 2020 Lillian Thomas personally appeared at the Plaintiffs place
        of employment demanding the Plaintiffs signature on government documents, and
        when the Plaintiff refused, Thomas yelled "fine, I'll just sign your name for you." The
        Plaintiff then informed Ms. Thomas to notify her supervisor that threatening to
        forge official signatures on federal forms is a serious offense. Lillian Thomas left the
        building and a few minutes later the Plaintiff walked to the TMHA building where
        the Plaintiff observed Thomas state to her staff "so I told him, 'fine, I'll just sign your
         name."'

   261. On May 28, 2020 Zionsbank/NSB Lupercio stated that Zionsbank/NSB never
        received the required authorization form for the Plaintiff to access information, and
        Zionsbank/NSB denied access. The Plaintiff again transmitted the completed form
        to Zionsbank/NSB, via email, and again Lupercio claimed receipt and stated it will
        take "24-48 hours" to process.
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   262. From January 1, 2020 through June 5, 2020 Davis Gonzalez paid the Te-Moak
        Finance Clerk, Celia Gonzales, who was also Davis Gonzalez' concubine, with
        unlawful cash proceeds originating from the sale and distribution of a controlled
        substance at Newe Cannabis, under an agreement where Celia Gonzales provided
        Davis Gonzalez with information regarding the Plaintiffs work product, tasks,
        contacts and personal life, and if possible, to cause or create disruptions and
        interference in the Te-Moak Administration so Davis Gonzalez could seek Plaintiffs
        termination for employment with the Tribe, as part of AS.

   263. On or about June 9, 2020 the Plaintiff observed Celia Gonzales holding an
        unscheduled, closed-door meeting with Davis Gonzalez in the Te-Moak Finance
        Office. In response to the Plaintiffs questions on June 9, 2020, Celia Gonzales stated
        that the senior Gonzalez and Ms. Gonzales were former paramours and that Mr.
        Gonzalez paid Ms. Gonzales cash from Newe Cannabis to provide information
        regarding the Plaintiff and Te-Moak Council to cause disruption and interference
        with the Plaintiffs employment.

   264. On or about June 10, 2020 a state grantor informed the Plaintiff it identified fraud in
        a state grant program at Te-Moak, involving Celia Gonzales, to wit: Celia Gonzales
        authorized, with Alfreda Walker, the expenditure of Indian Health Services-Diabetes
        grant funds, (federal), to pay the wages, salary and benefits for a Te-Moak state
        grant recipient employee, when Gonzales informed the Plaintiff the payments
        originated out of the !HS because the employees work was performed under !HS,
        and Celia Gonzales concealed and falsified this information to federal and state
        grantors, the Plaintiff and TMC. Gonzales failed to communicate that a state grant
        recipient employee failed to submit monthly reports for over a year, while Gonzales
        transferred and paid this employee from federal funds out of an unrelated program.
        The state grant employee resigned on or about June 16, 2020.

   265. Celia Gonzales elected to resign on or about June 26, 2020 after the Plaintiff offered
        and attempted to develop a solution that included a plan to provide education,
        training and repayment.

   266. On or about June 1, 2020 Davis Gonzalez and Veronica Huerta, (a former sex worker
        at a Nevada Brothel then employed by SCS as a liaison/consultant and at HBC as the
        Assistant Administrator), agreed to entrap the Plaintiff in a sex discrimination claim
        in exchange for Huerta's continued employment, wages and benefits, including a
        cash commission and cryptocurrency Dogecoin, from the NCE and EBC, as part of
        AS. Ms. Huerta introduced SCS; Darian Stanford; Paul Conable; Steve Olson; Elliot

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         Parris and Kevin Clock to EBC and Robin Evans to establish a tribal cannabis
         business, and Huerta sought to entrap the Plaintiff in a sexual discrimination claim
         pursuant to AS agreement, plan or scheme with Davis Gonzalez; EBCE; Steve
         Sisolak; Aaron Ford; Paul Conable; Thalia Marin; Steve Olson; Juan Arevalo; Darian
         Stanford; Kevin Clock, and others, to preserve and protect the ongoing commercial
         sale and distribution of a controlled substance, marijuana, at the NCE, with the
         intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18
         u.s.c. §1341; 18 u.s.c. §1343; 18 u.s.c. §1344; 18 u.s.c. §1952; 18 u.s.c. §1956; 18
         U.S.C. §1957; 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4. sections 3. 12
         and 14 by carrying into effect or executing a plan to interfere or interrupt Tribal
         government operations and publish false or artificial reasons or justifications to
         obtain the termination of the Plaintiffs employment with the Tribe and permit the
         same individuals and entities to continue receiving cash, income or revenue from
         the sale and distribution of a controlled substance, marijuana, at the NCE retail store
         Newe Cannabis.

   267. On June 2, 2020 Zionsbank/NSB Lupercio stated that Zionsbank/NSB sent the
        Plaintiff the wrong authorization form to access information, (the former contained
        the EIN for EBC accounts), so Lupercio demanded that the Plaintiff complete and
        sign the form again, now adding an additional 24-48 hours to process the
        documents. Davis Gonzalez continued to communicate with Zionsbank/NSB
        demanding that Zions bank deny access to the Plaintiff, pursuant to the A1-A6
        agreements, plans or scheme with SCS; EBCE; Steve Sisolak; Aaron Ford; Paul
        Conable; Steve Olson; Juan Arevalo; Darian Stanford; Kevin Clock, and others, to
        continue the commercial sale and distribution of a controlled substance, marijuana,
        with the intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C.
        §7201. 31 U.S.C. §5318(h). 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4.
        sections 3. 4 and 12 who executed a plan to interfere or interrupt Tribal government
        operations and create, invent or publish false or artificial reasons or justifications to
        obtain or result in the termination of the Plaintiffs employment with the Tribe and
        obstruct an ongoing investigation involving the sale and distribution of a controlled
        substances, marijuana, involving the NCE to violate or attempt to violate 18 U.S.C.
        §§1503. 1510. 1512-13.

   268. On June 3, 2020 the Plaintiff and USA Trutanich held a teleconference related to the
        sale and distribution of a controlled substance at the NCE retail store Newe
        Cannabis. Mr. Trutanich reiterated a clarified version of the policy that AUSA
        Fahami stated to the Plaintiff earlier in February 2020 that federal law enforcement

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         will take no action against the business to avoid claims of racial discrimination.
         Plaintiff was instructed to send a copy of the revoked, repealed and rescinded
         Narcotics Ordinance of May 9, 2020. The Plaintiff forwarded a copy of the repealed
         Narcotics Ordinance to USA Trutanich.

   269. On June 3, 2020 the Te-Moak Tribal Council officially welcomed Davis Gonzalez as a
        new member on the Te-Moak Tribal Council, replacing Jill Temoke, by way and
        through Te-Moak Resolution 20-TM-45. and on June 3, 2020 the Te-Moak Tribal
        Council increased the Plaintiffs hourly wage at $30.00 per hour and denying the
        Plaintiffs request for insurance as required by Te-Moak policy and law.

   270. On June 4, 2020 Alice Tybo sent or transmitted a text message to the Plaintiff that
        stated "[h] ope that things are ok with you this morning. Please know that the
        'majority' of the council has your back and we really appreciate all that you do for us
        and the community. I have said numerous times that you are the best administrator
        Te-Moak ever had. Alice."

   271. From April 18, 2020 until approximately December 13, 2020 Paul Conable; Darian
        Stanford; Davis Gonzalez; Juan Arevalo; Larry Yeager; Kevin Clock; Thalia Marin and
        other unnamed individuals, pursuant to Al-A4 and A6, conspired and agreed to
        transfer, deposit or deliver cash, income, revenue or proceeds from the sale and
        distribution of a controlled substance, marijuana, at the NCE retail store Newe
        Cannabis, in a cumulative amount exceeding $1,000,000.00 as a deposit into H & R
        Block's Accounting Support and Bill Paying Services, (operated or managed by way
        and through Delcor, Inc., ("TLC"), located in Elko with the same manager/ owner as
        the local Elko H & R Block (Deborah Lindsey with Leray and Patsy Reese)), after Paul
        Conable stated to the EBC on or about February 25. 2020 that "this H & R Block
        doesn't care where the cash comes from," with the intent or purpose to violate or
        attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201. 18 U.S.C. §1341: 18 U.S.C. §1343:
        18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960
        and the Te-Moak Constitution. Article 4. sections 3. 12 and 14. and pursuant to Al-
        A4 and A6, Darian Stanford; Davis Gonzalez; Juan Arevalo; Larry Yeager; Kevin
        Clock; Suzanna Sandoval; Thalia Marin; Robin Evans, RAE Solutions; Leslie Grove,
        IBSC; Adriana Hernandez, and other unnamed individuals, conspired and agreed to
        falsify or misrepresent information contained in financial records submitted to H &
        R Block-Delcor to disguise or omit the actual characteristic, source or legal status of
        the funds, income or revenue as being derived from or originating at the NCE, not
        EBCE as declared and stated in those financial documents and records. Pursuant to
        the Al-A4 agreements, H & R Block-Delcor completed, filed and prepared
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         accounting support and payroll services on behalf of the NCE in the name of EBCE
         for the period April 18 through December 30, 2020 and provided documents to
         Robin Evans, RAE Solutions; Leslie Grove-IBSC; SCS and EBCE.

   272. Between April 18, 2020 and December 31, 2020 Steve Sisolak; Aaron Ford; SCS;
        EBCE; Juan Arevalo; Robin Evans, RAE; Leslie Grove, IBSC; Suzanna Sandoval;
        Darian Stanford; Paul Conable; Darian Stanford; Davis Gonzalez; Thalia Marin; Kevin
        Clock and Elliot Parris agreed pursuant to A1-A6 to misrepresent facts and
        information and who failed to inform or provide the actual status, source or
        characteristics of the cash deposited and paid to H & R Block-Delcor and hid that
        information from H & R Block-Delcor to avoid prosecution, civil liability and
        rejection of the transactions by H & R Block-Delcor, as otherwise required by
        applicable federal law, pursuant to an agreement, plan or scheme, involving these
        same individuals to further carried into effect a plan or executed the terms of an
        agreement, plan or scheme to interfere, injure or interrupt Tribal government
        operations and invent, create or publish false or artificial reasons or justifications to
        obtain the termination of the Plaintiffs employment with the Tribe to permit the
        same individuals and entities to continue the unlawful commercial sale and
        distribution of a controlled substances at the NCE, with the intent or purpose to
        violate or attempt to violate 18 U.S.C. §§1341.1343. 1344.1503 and 1512.

   273. On or about June 3, 2020 White Cloud LLC President Joe Shelton and White Cloud
        representative David Skinner stated to the Plaintiff that EBC authorized the
        installation of internet services for the NCE atthe retail store - Newe Cannabis,
        (connected to Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
        Utah), allowing the Cannabis business to transact business over the internet, video
        and telephone, and that Davis Gonzalez ordered his staff to pay White Cloud with
        $39,000.00 in cash derived or originating from the sale and distribution of
        marijuana at Newe Cannabis, and Davis Gonzalez falsified, misrepresented or
        refused to inform or admit in financial records and documents the actual
        characteristic, source or legal status of the funds or to officially report this payment
        amount to the NCE entity NCC. White Cloud received $39,000.00 in cash directly
        from Veronica Huerta, at EBC, that originated from the sale of a controlled substance
        at the NCE retail store-Newe Cannabis, with that payment amount previously
        earmarked by EBCE and NCE for the purchase of hardware, equipment, telephone
        and internet services connected to two (2) separate physical locations at EBC
        Administration building and the NCE retail store building, with the intent or
        purpose to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343;

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         18 u.s.c. §1344: 18 u.s.c. §1952: 18 u.s.c. §1956: 18 u.s.c. §1957; 18 u.s.c. § 1960
         and the Te-Moak Constitution. Article 4. sections 3. 12 and 14. The $39,000.00 in
         cash received by White Cloud was transferred, hand-delivered and deposited into an
         account at Zionsbank/NSB and at the time of deposit Zionsbank/NSB Ashley Dewey
         knew or should have known that the cash was derived or originated from the sale
         and distribution of a controlled substance where the cash was delivered in a plastic
         shopping bag and smelled of marijuana according to the bank teller who took
         possession of the cash prior to transfer and deposit.

   2 74. There is no indication, record or document in the financial records associated with
         the NCE the Plaintiff examined that revealed, disclosed or shows the $39,000.00
         cash payment to White Cloud. Davis Gonzalez fraudulently transferred, withdrew or
         removed, or caused the same, a cash amount of $39,000.00 for payment to White
         Cloud, by concealment, before the required Quarterly Count in July 2020 pursuant to
         A1-A4 and A6 with SCS; EBCE; Paul Conable; Steve Sisolak; Aaron Ford; Steve Olson;
         Juan Arevalo; Larry Yeager; Thalia Marin; Darian Stanford; Kevin Clock, and others,
         who conspired and agreed to engage in the commercial sale and distribution of a
         controlled substance with the intent or purpose to violate or attempt to violate 21
         u.s.c. §841. 26 u.s.c. §7201. 18 u.s.c. §1341; 18 u.s.c. §1343: 18 u.s.c. §1344: 18
         U.S.C. §1952: 18 U.S.C. §1956; 18 U.S.C. §1957: 18 U.S.C. § 1960 et seq. and the Te-
         Moak Constitution, Article 4. sections 3. 12 and 14.

   275. On or about June 30, 2020, Juan Arevalo displayed a picture on a cellular phone to
        the Plaintiff showing a stack of money that Juan Arevalo declared represented
        $1,250,000.00 (USO) cash as "Elka's share" of the total revenue, income or proceeds
        that resulted from the sale and distribution of a controlled substance, marijuana,
        pursuant to A1-A4 and A6 NCE agreements, plans or schemes at "Newe Cannabis
        since we opened" for the period April 17 thru July 1, 2020.

   276. On July 8, 2020 the NCE produced a written report pursuant to the A1-A4 andA6
        agreements, plans or schemes with or between SCS: EBCE; Robin Evans, RAE
        Solutions; Leslie Grove, IBSC; Paul Conable; Steve Sisolak; Aaron Ford; Steve Olson;
        Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry Yeager; Darian Stanford; Kevin
        Clock, and others, regarding the sale and distribution of a controlled substance,
        marijuana, at the NCE retail store-Newe Cannabis, that states after the unreported
        pre-count 'partner's share' was divided and subtracted from the reported gross
        income amount, the claimed net income for the second quarter 2020, (spanning
        April 18, 2020 through June, 30, 2020), totaled an even "$1,000,000.00," where the
        "EBCE" half-share amounted to "$500,000.00" and the "SCS" half-share amounted to

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         "$500,000.00" pursuant to the Joint Venture Agreement("SCS 50% ECBE 50%") and
         distributed accordingly with the intent or purpose to violate or attempt to violate 21
         U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341: 18 U.S.C. §1343; 18 U.S.C. §1344: 18
         U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and the Te-Moak
         Constitution. Article 4. sections 3. 12 and 14 when NCC stated, claimed or reported
         to EBC Chairman Davis Gonzalez that the actual gross revenue or income from the
         sale and distribution of a controlled substance, marijuana, at the NCE retail store-
         Newe Cannabis for the second quarter 2020 was "over 2 million bucks" and Juan
         Arevalo stated, claimed or reported that the total gross income or revenue for the
         same quarter 2020 was $2,500,000. Ref. Exhibit II-B(2): Cannabis Distribution Log.

   277. Plaintiff first met Sypolt on or about July 9, 2020 after the Plaintiff, with Joseph
        Holley, Duane Garcia, Sr; David Carrera; Alice Tybo and Andrea Woods drove along
        Interstate 80 into Wendover, Utah for a meeting scheduled and arranged by
        Dentons and Sypolt. During this meeting the Plaintiff relayed the information Juan
        Arevalo provided that the NCE retail store Newe Cannabis generated $2.5 million
        during the first quarter 2020 operations.

   278. At the July 9, 2020 Sypolt introduced a potential investor for a future Battle
        Mountain Tribal Casino, and another lawyer Terry "Cameron" McEwen who stated
        that the three (3) individuals traveled first to Salt Lake City after flying from
        Alabama and Illinois, where they met at the "new Dentons' Office" in Utah. Den tons
        and the Te-Moak Tribe paid or reimbursed Sypolt and McEwen for the travel costs
        and expenses to Utah and Nevada. From the Dentons Utah Office, Sypolt formed the
        initial agreement with Holley and Tybo, via telephone, to defraud the Tribe and the
        United States, with the first mention of eliminating the Plaintiff as a Te-Moak
        employee.

   279. During the meeting on or about July 9, 2020 Sypolt introduced himself as an
        attorney with Dentons, "the world's largest law firm," and then "Cameron McEwen"
        as the newest attorney "with Dentons, he's a very skilled attorney and Dentons is
        proud to have him on board with the firm."

   280. On July 9, 2020 Sypolt stated that Cameron McEwen "will be working with [Sypolt]
        and who will appear at every monthly Council meeting to represent the Tribe, and
        this will show people that Dentons is a powerhouse firm representing the Tribe." At
        no time of point during the July 9, 2020 meeting did Sypolt or McEwen disclose to
        the Plaintiff that a prior contractual relationship existed between Dentons and
        McEwen. See Exhibit III-C(3)(a) at Header pg. 2.

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   281. On or about July 9, 2020 Cameron McEwen and the Plaintiff exchanged brief
        background information when McEwen provided the Plaintiff detailed privileged
        information belonging to the Tribe by stating the legal approach and strategies that
        Dentons was going to advance and apply to the Tribe's factual and legal position in
        the ongoing legal dispute involving the NCE on behalf of the Te-Moak Tribe.
        McEwen stated to the Plaintiff that Sypolt "briefed" McEwen on these matters.
        During the return trip to Te-Moak Territory, the Plaintiff informed the TMC "I would
        never be involved with an attorney as unethical as Sypolt."

   282. On July 13, 2020 NSB Lupercio communicated with the Plaintiff stating that Vice
        President Ashley Dewey instructed Lupercio to deny the Plaintiff access to the
        Tribe's account information, based on information Dewey received from Davis
        Gonzalez, who was acting pursuant to Al-A6 and AS agreement, plan or scheme
        with SCS; EBCE; Zions bank; Paul Conable; Steve Sisolak; Aaron Ford; Steve Olson;
        Juan Arevalo; Larry Yeager; Thalia Marin; Darian Stanford; Kevin Clock, and others,
        to engage in the commercial sale and distribution of a controlled substance,
        marijuana, with the intent or purpose to violate or attempt to violate 21 U.S.C. §841.
        26 U.S.C. §7201.18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C. §1344; 18 U.S.C. §1952;
        18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and the Te-Moak Constitution.
        Article 4. sections 3. 12 and 14 and who, pursuant to the A2, A4, AS and A6
        agreement, executed a plan to interfere or interrupt Tribal government operations
        the Plaintiff administered for the Te-Moak Tribe and continue the commercial sale
        and distribution of a controlled substances at the NCE retail store Newe Cannabis,
        including transfers and deposits of the cannabis cash into Zions bank and NSB by
        failing to inform or admit in financial records and documents the actual
        characteristics, source or legal status of the funds derived or originating from the
        sale and distribution of a controlled substance at Newe Cannabis.

   283. On or about July 13, 2020 NSB Ashley Dewey stated to the Plaintiff that Resolution
        20-TM-30 "did not give you access" and that Zions bank "revoked" the Plaintiffs
        access rights. Plaintiff submitted a written complaint to Zions bank and NSB quoting
        the exact language contained in Resolution 20-TM-30: "the Te-Moak Tribal Council .
        . .authorizes the Te-Moak Tribal Administrator, Samuel L. Biers ... to have access to
        any information on all Nevada State Bank Te-Moak Accounts." Zions bank and NSB
        agents continued to communicate with Davis Gonzalez, Brent Waite, Darian
        Stanford and Paul Conable who jointly agreed to deny the Plaintiff the right to access
        information contained in the Tribe's Zions bank and NSB accounts, pursuant to Al-
        A6 and AS agreement, plan or scheme with or between SCS; Zionsbank; EBCE;

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         Robin Evans; Suzanna Sandoval; Leslie Grove; Larry Yeager; Steve Sisolak; Aaron
         Ford; Steve Olson; Juan Arevalo; Thalia Marin; Kevin Clock, and others, who
         conspired and agreed to falsify or misrepresent facts and information contained in
         financial records and documents related to the actual characteristic, source or legal
         status of the funds, specifically that the funds originated or were derived from the
         sale and distribution of a controlled substance at Newe Cannabis and then
         deposited, transferred or held at Zionsbank and NSB pursuant to A4 agreement,
         plan or scheme, involving the NCE to engage in the commercial sale and distribution
         of a controlled substance with the intent or purpose to violate 21 U.S.C. §841. 26
         U.S.C. §7201. 18 U.S.C. §1341: 18 U.S.C. §1343: 18 U.S.C. §1344: 18 U.S.C. §1952: 18
         U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and the Te-Moak Constitution. Article
         4. sections 3. 12 and 14. who then jointly and individually agreed to carry into effect
         a plan to interfere or interrupt Tribal government operations managed and
         administered by the Plaintiff and continue the sale and distribution of a controlled
         substance, including regular transfers and deposits of the NCE cash, directly and
         indirectly, into Zionsbank and NSB as part of AS.

   284. On or about July 17, 2020, by way of majority vote of the Te-Moak Tribal Council,
        the Te-Moak Tribe hired Dentons, with Sypolt identified as the point of contact
        attorney. Ref. Resolution 20-TM-60: !;l,g. Exhibit Resolution 20-TM-73(pay Dentons
        $127,000.00 to perform legal services: 1) draft amended version of Te-Moak
        Constitution; 2) Revise Apportionment Ordinance; 3) Memorandum of Points and
        Authorities RE: Nevada Revised Statute, NRS 41.430)(August 5, 2020)).

   285. On or about July 14, 2020 the draft Dentons Agreement with the Tribe states on the
        top of page 2, where the client's name is manually inserted in a Den tons electronic
        computer filing system, "Mr. Terry McEwen," and is dated "April 28, 2020." Exhibit
        III-C(3)(a). Terry McEwen is Terry Cameron McEwen who was introduced to the
        Plaintiff and the Te-Moak Tribe on or about July 9, 2020 in Wendover as "Cameron
        McEwen," and at no point in time did Sypolt, McEwen, Docksey, Skibine, Sib bison or
        Dentons disclose the prior contractual relationship or legal relationship between
        Dentons, Sypolt and Terry Cameron McEwen.

   286. On or about July 21, 2020 Joseph Holley ordered the Plaintiff to deliver a copy of the
        existing Te-Moak Apportionment Ordinance to Sypolt. That day the Plaintiff sent an
        electronic copy of the Apportionment Ordinance to Sypolt at his Dentons' email and
        as Sypolt directed also to his personal email at scottsypolt@rocketmail.com.



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   287. On July 22, 2020 NSB Vice President Northern Nevada Tammy Meyers
        communicated with the Plaintiff and stated that NSB received the correct
        authorization forms from the Te-Moak Tribe enabling the Plaintiff to gain access to
        the Tribe's account information (accounts ending in {*}953; {*}961; {*}945; {*}001;
        {*}222 and {*}546), and Chairman Holley and Vice Chairman Arevalo executed and
        signed the Zionsbank-NSB authorizations and permission forms on July 23, 2020
        pursuant to Te-Moak Resolution 20-TM-3 0.

   288. On July 23, 2020 the Plaintiff signed and delivered a demand to TMHA, pursuant to
        the TM C's order and directive, commanding Adela Morrison, Raymond Gonzalez,
        Lillian Thomas, and other TMHA board members, to "[i]dentify each and every
        account, fund and interest in any account, fund, corporation, partnership or trust,
        including any domestic, tribal or foreign bank and/or financial institution created,
        managed or controlled by the Te-Moak Housing Authority or that any of its Board
        Members, employees, representatives, agents or managers that have signatory
        authority or any related control;" and "[i]dentify the record owner of title to each
        and every account, fund or interest in any account, fund, corporation, partnership or
        trust" on or before August 1, 2020.

   289. On July 31, 2020 the Plaintiff received a date stamped letter from Lillian Thomas,
        TMHA Executive Director, that stated on "July 27, 2020 Adela Morrison" received
        the Plaintiffs July 23, 2020 demand for production of financial records and
        information as mandated by the TMC.

   290. In August 2020 EBCE and EBC maintained and managed the distribution of funds
        contained in accounts at Edward Jones &Associates, (balance totaling approximately
        $1,300,000.00), and for each prior month EBCE and EBC deposited on average
        approximately $20,000.00 in cash received from the Elko Band Smoke Shop into an
        Edward Jones account. The Edward Jones & Associates account or accounts are not
        publicly disclosed or disclosed to the TMC and operate as a 'slush' fund in
        conjunction with the TMHA accounts, both similar in form and purpose to hide and
        launder misappropriated federal funds and NCE income or revenue from the public.
        One source of fraudulently obtained funds transferred into EJA surfaced through an
        IHS lease agreement for land, when Davis Gonzalez knew that all rights to federal
        trust land fall within the exclusive jurisdiction of the TM C, subject to approval by the
        U.S. Secretary of Interior, and that EBC lacked authority to enter a long-term lease
        for land. On May 1, 2012 Gonzalez, on behalf of EBC as the "owner," and entered
        into a ten (10) year lease with the U.S. Department of Health and Human Services
        for the right to use the land, and EBC received "$16,543.90" each month without

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         disclosing the lease or funds EBC received to the TMC, and without obtaining the
         approval of the TMC or the U.S. Secretary of Interior. Ref. United States Lease No.
         XXX-XX-XXXX.

   291. After the Quarterly Profit Count for the third quarter 2020, pursuant to the AZ, A4
        and A6 agreements, plans and schemes, Robin Evans; Suzanna Sandoval; Leslie
        Grove; Larry Yeager; Davis Gonzalez; Steve Sisolak; Aaron Ford; Steve Olson; Juan
        Arevalo; Thalia Marin; Kevin Clock, and others, conspired and agreed to use EBCE,
        TT, SCS and IBSC to divert, distribute or transfer a portion of the quarterly profit
        total revenue or income derived, received or originating from the unlawful sale and
        distribution of a controlled substance involving the NCE, and commingled the funds
        with the monthly cash deposits from the Elko Smoke Shop that are deposited,
        transferred and delivered to Edward Jones & Associates; Wells Fargo Bank; NSB;
        Great Basin Bank and Zionsbank, and other financial institutions, to conceal the
        character, source and identity of the cash as originating, received or derived from
        the sale and distribution of a controlled substance, marijuana, involving the NCE,
        with the intent to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18
        U.S.C. §1341; 18 U.S.C. §1343: 18 U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956; 18
        U.S.C. §1957: 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4. sections 3. 12
        and 14.

   292. From January 2019 through December 2020 Darian Stanford; Steve Sisolak; Aaron
        Ford; Larry Yeager; Juan Arevalo; Thalia Marin; Steve Olson; Robin Evans; Kevin
        Clock; Paul Conable; Davis Gonzalez; Leslie Grove, and others, conspired and agreed
        to use EBC, ECDCC, TT, RAE, IBSC and SCS to exercise management or operational
        control over EBCE and the NCE by way and through: Bribery; Threats; Witness
        Tampering: Retaliation; Extortion; and Fraud to continue the wholesale and retail
        purchases, distribution and sale of a controlled substance, marijuana: transportation
        of money, funds and a controlled substance, marijuana, across multiple jurisdictions,
        along. on and across highways, bridges and interstates; making and authorizing
        expenditures and investments of the proceeds, revenue and income resulting or
        derived from or related to the unlawful sale and distribution of a controlled
        substance, marijuana; granting and denying legislation, authorizations and
        rendering employment decisions; establishing rules, goals and policy and providing
        legal decisions and advice, including the planning and funding of the unlawful, joint
        campaign to destroy the Plaintiffs character and professional reputation with the
        intent and purpose to violate or attempt to violate the Plaintiffs civil liberties and
        constitutional rights: Speech, Employment, Security and Privacy, inter alia, with the

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         intent or purpose to violate or attempt to violate 15 U.S.C. §§1. 2 and 13(a). (d)-(0:
         18 U.S.C. §§1341. 1343. 1952. 1956 and 1957; 18 U.S.C. §§1344. 1503 and 1512: 18
         U.S.C. § 1960 et seq.: and 29 U.S.C. §201 et seq.

   293. On August 10, 2020 the TMC held a Special Public Meeting with Adela Morrison,
        Raymond Gonzalez, and other TMHA Board members, to address claims of fraud and
        misappropriation of tribal assets and federal funding at TMHA due to inaccurate,
        incomplete and missing documents, as well as the Plaintiff identifying hidden
        accounts and significant funds held at 1st Global Capital Corporation that were never
        disclosed to the Tribal Council or the Tribe. Ref. Exhibit 11-B(l)(a).

   294. Historically, there are two (2) primary programs administered through federal
        grant awards at TMHA: Low Rent and Mutual Aid Housing. One (1) ongoing
        fraudulent scheme or plan at TMHA requires some employees and staff to
        intentionally cause the delay in processing Low Rent and Mutual Aid payments for
        at-risk tribal individuals who are disfavored, (as determined by the tribal family in
        control of the administration at the time), and then assess an additional fee or cost to
        the payment, falsely labeled or determined as being late.

   295. Another fraudulent scheme occurs during a process where TMHA obtains a 25 year
        HUD grant/loan for the purchase of a home, usually a modular home, and TMHA
        then administers a Joan to a tribal member for the title to that home, where after the
        end of the 25 year period, the home is owned outright by that tribal member.
        TMHA, (again dependent on whether a tribal member or their family is deemed
        disfavored or not), intentionally employs delay tactics to force non-payment and/or
        default, and TMHA then assesses fees and costs on the defaulting tribal member
        until TMHA reassumes the mortgage and home. TMHA then 'resells' the home
        under a new 25 year mortgage to a new tribal member, irrespective of the amount
        previously received and paid under HUD's original 25 year grant amount. TMHA
        arbitrarily and often oppressively resells the loan multiple times after the original
        amount under the HUD grant/loan is repaid at the original 25 year mark. Most of
        the additional, predatory fees and costs from this fraudulent process are then
        deposited into the Avantax/Global account for the personal benefit or interests of
        Raymond Gonzalez, Davis Gonzalez and Adela Morrison, and this process existed in
        this manner for years without full disclosure to the TMC or the Tribe.

   296. A third fraudulent scheme at TMHA involves the payment of stipends to the Board of
        Commissioners, as the governing authority for the TMHA. Since 1976 the TMHA
        Ordinance prohibited TMHA Board members from taking or receiving any meeting

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         stipend except travel expense reimbursement. In December 2019 alone TMHA
         expended over $8,000 in federal funds for TMHA Board meeting stipends that are
         not travel expense reimbursements.

   297. Under the Gonzalez family administration, (1981-2021 ), the TMHA continued to
        take and receive extensive attendance based stipends consisting of HUD funds
        earmarked for impoverished or at-risk tribal members. During the period 2020-
        2021 TMHA annual budgets revealed TMHA expended up to 70% on administrative
        costs from the total annual budget amounts. In contrast, the administrative costs
        associated with the CARES Act program, as administered by the Plaintiff for the
        Tribe during 2020-2021 equaled about 4% of the total budget.

   298. Between March 1, 2021 and December 31, 2021 the TMHA unlawfully and
        arbitrarily and unlawfully enacted an amendment to the TMHA Ordinance allowing
        the expenditure of stipends, and continued the fraudulent payments thereunder.

   299. Raymond Gonzalez was the TMHA Chairman or board member for about 20 years.
        The actual and complete TMHA records were either withheld from the annual audit
        or altered to hide the actual transactions involved at TMHA from the annual audit
        performed by Midwest Professionals, PLLC, in Gaylord Michigan.

   300. On or about September 11, 2020 the Plaintiff received copies of certain TMHA
        records where the data showed that for the period 2010-2017 an amount of
        approximately $1,250,000.00 was listed as the average annual balance on the TMHA
        Statement at 1st Global Capital Corporation, with very little year-to-year change. See
        Exhibit 11-B(l). In the records contained in TMHA's second set of books, (its internal
        unpublished accounting report), the data shows that for July 1, 2020 through July 30,
        2021 the balance amount for TMHA 1st Global account was $2,572,622.19, where
        TMHA is legislated to operate as a not-for-profit entity. Id. This information is
        included in the TMHA Avantax Wealth Management that uses the same 1st Global
        account number EBP-11347. Id. This account balance more than doubled in size
        either through the use of fraudulent reporting and misappropriation of federal
        funds and the fraudulent transfers or deposits of money involving the NCE Newe
        Cannabis funds or both. Id.

   301. Davis Gonzalez, instructed, directed and ordered Adela Morrison and Raymond
        Gonzalez to transfer and deposit funds, income or revenue that originated or were
        derived from the sale and distribution of a controlled substance, marijuana, at the
        NCE retail store - Newe Cannabis, through a series of financial transactions

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         involving SALAL; Wells Fargo Bank; Great Basin Bank; Bank of Baroda (India);
         Capital One Bank; PNC Bank (closest physical access point listed is in Utah); State
         Bank of India, and numerous credit cards, into and from 1st Global Capital
         Corporation, (Account Number EBP-1134 7), and Avantax Wealth Management in
         Dallas, Texas, (with TM HA fraudulently listed as an Unincorporated Association when
         the Te-Moak Charter determines it is a federal corporate entity), pursuant to the A1-
         A4, A6 and A8 agreements, plans and schemes with SCS; EBCE; Steve Olson; Aaron
         Ford; Steve Sisolak; Paul Conable; Darian Stanford; Juan Arevalo; Thalia Marin;
         Kevin Clock, and others, who agreed to falsify and misrepresent information in
         financial records and documents regarding the actual characteristic, source or legal
         status of funds transferred or deposited, directly or indirectly, to financial
         institutions pursuant to an agreement, plan or scheme, involving these same
         individuals and entities, and further engage in the sale and distribution of a
         controlled substance with the intent or purpose to violate or attempt to violate 21
         U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343: 18 U.S.C. §1344: 18
         U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and the Te-Moak
         Constitution. Article 4. sections 3. 12 and 14 and the Defendants, jointly and
         individually, then executed the terms of AS agreement, plan or scheme to interfere,
         injure or interrupt Te-Moak Tribal government operations and invent, create or
         publish false statements and artificial justifications to obtain the termination of the
         Plaintiffs employment and permit the Defendants the NCE and fraudulent activity at
         TMHA, in exchange for payments or benefits from transfers and deposits of funds
         into TMHA Avantax Wealth Management, Account Number EBP-1134 7. Id.

   302. After the expiration of Raymond Gonzalez' term of office on the TMHA Board, (Te-
        Moak Resolution 19-TM-10 finish four year term "that began August 15, 2017"),
        Raymond Gonzalez continued and continues to co-manage the Avantax Wealth
        Management funds and accounts with Adela Morrison on behalf of Davis Gonzalez.

   303. On March 1, 2022 the Plaintiff communicated with Avantax and the broker agent
        stated only two (2) individuals are listed with Avantax with exclusive "Trading
        Authority" rights and access permission for TMHA Account No. EBP-11347: "Adela
        Morrison and Raymond Gonzalez." TMHA Investment Policy grants the Executive
        Director the exclusive right to monitor the account and only TMHA personnel are
        authorized "to make investment transactions." Exhibit 11-B(l)(b): TMHA Investment
        Policy. section 4 (pursuant to Resolution 90-TMHA-28{the TMHA "Chairman and
        Executive Director" are solely authorized "to make investment transactions")).



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   304. Raymond Gonzalez' TMHA term of office expired and terminated on August 16,
        2021 and all authority previously associated with Raymond Gonzalez as a TMHA
        Board member terminated on August 16, 2021. Raymond Gonzalez agreed to
        continue the policy and practice of falsifying or misrepresenting facts or information
        related to the financial records and documents, including the actual characteristic,
        source or legal status of the funds deposited or transferred into and from Avantax
        Account Number EBP-1134 7, pursuant to A1-A6 and AS agreements, plans and
        schemes with SCS; EBCE; Joseph McDade; Davis Gonzalez; Scott Sypolt; Steve Olson;
        Paul Conable; Darian Stanford; Juan Arevalo; Larry Yeager; Thalia Marin; Kevin
        Clock, and others, and after August 16, 2021 Raymond Gonzalez' continued to
        control, approve or authorize investment transactions, with Adela Morrison, by
        transferring or depositing, directly or indirectly, funds, income, revenue or cash
        proceeds derived or originating from TMHA fraud and from the unlawful sale and
        distribution of a controlled substance, marijuana, from the NCE retail store Newe
        Cannabis, with the intent or purpose to violate or attempt to violate 21 U.S.C. §841;
        26 u.s.c. §7201; 18 u.s.c. §1341; 18 u.s.c. §1343; 18 u.s.c. §1344; 18 u.s.c. §1952;
        18 U.S.C. §1956; 18 U.S.C. §1957; 15 U.S.C. §§1. 2 and 13(a). (d) and (e): 18 U.S.C. §
        1960 et seq. and the Te-Moak Constitution, Article 4. sections 3. 12 and 14.

  305. In 1990 the United States Department of Housing and Urban Development-Office
       of Indian Programs, ("OIP"), conducted a financial audit ofTMHA and OIP
       determined that, (as stated in TMHA Resolution 90-TMHA-27), TMHA "operating
       policies" were severely "outdated or inadequate," because TMHA continued to
       conduct business for-profit, at the expense of tribal members, and continued or
       allowed the transfer and expenditure of federal funds into personal accounts
       without legal authority, when the TMHA's "primary purpose is to provide safe and
       sanitary housing for all tribal members." Exhibit 11-B(l)(b).

  306. TMHA Investment Policy, section 5 states that TMHA "shall require [Avantax] to
       continuously and fully (100%) secure all deposits in excess of the $100,000.00
       insured amount. .. [and TMHA] shall maintain evidence of collateralization." Id.
       Adela Morrison failed to maintain or publish evidence of collateralization to cover
       the $2.5 million dollar investment fund at Avantax, or Adela Morrison and Davis
       Gonzalez provided collateralization using the Tribe's title to homes or similar
       encumbrance, creating risk or liability for the Tribe to protect the personal benefits
       and interests of Gonzalez and Morrison, without notice or approval from TMC or
       tribal members.


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   307. On August 10, 2020 at a public TMC Meeting, Adela Morrison personally appeared
        with other Board Members to provide answers regarding the TMHA hidden slush
        fund at 1 st Global Capital/Avantax; TMHA Board receiving exorbitant, unlawful non-
        travel stipends for years; TMHA Executive Director maintaining two (2) sets of
        accounting books and the failure of Adela Morrison to provide documentation that
        the TMC previously ordered her office to provide. Ref. Exhibit 11-B(l). At this
        meeting Morrison became agitated and yelled at the Plaintiff accusing the Plaintiff of
        being "unprofessional," casting blame and responsibility onto the Plaintiff for Adela
        Morrison's TMHA failures and requesting that the Council discipline the Plaintiff,
        basing her falsehoods on the Plaintiffs culture, race or ethnicity stating "you're not a
        tribal member," whereafter Davis Gonzalez entered his comments on the record,
        agreeing with everything "Adela just said about Sam."

   308. On August 11, 2020 the TMC issued a Cashier's Check (No. 922298), drawn on
        "Zions banccorporation" subsidiary NSB, in the name of Dentons US LLP for an
        amount of "$127,000.00" on behalf of the Te-Moak Tribe pursuant to Te-Moak
        Resolution 20-TM-73.

   309. On August 12, 2020 the TMC held a Special Public Meeting with Tammy Meyers and
        Ashley Dewey who appeared representing NSB and Zionsbank to discuss the
        continued deprivation of the Plaintiffs employment rights and continued
        interference by Zionsbank in continuing to deny the Plaintiff full access to any and
        all of the Te-Moak Tribe's account information after the Council issued Resolution
        20-TM-30 on April 11, 2020, where both the Chairman and Vice Chairman fully
        executed every form and document Zions bank required, as mandated and required
        by Brent Waite and Zions bank in Salt Lake City, Utah. Zions bank, Dewey and Waite
        knew or should have known that the policy or practice denying the Plaintiff access
        prevented discovery by the Plaintiff to obstruct or interfere with the Plaintiffs
        rights, duties and obligations as the Tribal Administrator, showing Zions bank
        involvement in the AZ, A4, AS and A6 agreement, plan or scheme with SCS; EBCE;
        Steve Sisolak; Aaron Ford; Joseph McDade; Davis Gonzalez; Scott Sypolt; Steve
        Olson; Paul Conable; Larry Yeager; Skibine; Darian Stanford; Juan Arevalo; Thalia
        Marin; Kevin Clock.

   310. On or about August 12, 2020 the TMC cautioned Meyers and Dewey that further
        interference with the Plaintiffs access would result in the closure of all Tribal
        accounts, and then Dewey stated that Zions bank legal department in Salt Lake City


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         Utah must grant access to the Plaintiff, not NSB, at which point TMC member Alice
         Tybo directly stated that the TMC already granted authorization to the Plaintiff and
         if Zions bank and NSB failed or refused to immediately honor that decision TMC
         would vote to close the accounts and transfer funds to another financial institution.

   311. During the period January 2019 through December 2020 Skibine; Sypolt; Davis
        Gonzalez; Steve Sisolak; Aaron Ford; Thalia Marin; Darian Stanford and/or Paul
        Conable communicated, directly or indirectly on behalf of the NCE, with Zionsbank
        and Brent Waite in Salt Lake City, Utah to obstruct, frustrate or deny the Plaintiffs
        access to Te-Moak account information at Zions bank and NSB, and pursuant to Al-
        A6 and A8 agreement, scheme or plan with Skibine; Scott Sypolt; Davis Gonzalez;
        Steve Sisolak; Aaron Ford; Thalia Marin; Darian Stanford; Steve Olson; Paul Conable,
        and others, wherefrom Zions bank, Brent Waite and Dewey agreed to frustrate,
        obstruct or deny the Plaintiffs access to permit the continuation of the NCE,
        including the receipt, transfer and exchange of income, revenue and cash proceeds
        from and to the parties to the Al-A4, A6 and A8 agreements and the involvement of
        NSB and Zions bank with the sale and distribution of a controlled substance,
        marijuana, by the NCE at the retail store Newe Cannabis with the intent or purpose
        to violate or attempt to violate 21 U.S.C. §841: 26 U.S.C. §7201: 18 U.S.C. §1341; 18
        U.S.C. §1343; 18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §1956; 18 U.S.C. §1957: 31
        U.S.C. §5138(h): 18 U.S.C. § 1960 and the Te-Moak Constitution, Article 4. sections 3.
        4 and 12 and Defendants jointly and individually agreed to falsify or misrepresent
        facts, records and information contained in financial records and documents related
        to SCS; EBCE and Newe Cannabis, at NSB and Zionsbank, regarding the actual
        characteristic, source or legal status of the proceeds derived or originating from the
        sale and distribution of a controlled substance, marijuana, at Newe Cannabis while
        transferring, withdrawing or depositing these funds into and from various financial
        institutions through Zions bank and NSB, as part of the AS plan to retaliate against
        the Plaintiff for reporting the ongoing criminal conduct related to the NCE to federal
        law enforcement and to prevent disclosure and access to the Plaintiff and discovery
        ofZionsbank/NSB involvement with the NCE and its commingling and use of
        various financial accounts containing misappropriated federal funds associated with
        EBC, EBCE and Davis Gonzalez, and others.

   312. On or about August 19, 2020 Sypolt requested that the Plaintiff "exchange contact
        information with Cameron [McEwen] so that you can work together to get the
        Apportionment Ordinance done."


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   313. On or about August 19, 2020 the Plaintiff sent a text message to Sypolt, an attorney
        with Dentons, via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake
        City, Utah, that states "[y]ou have my permission to forward to Cameron [McEwen]
        tmkadmin@elko-nv.com" in response to Sypolt's earlier request.

   314. On or about August 19, 2020 Plaintiff contacted McEwen by telephone, and McEwen
        stated that he was an "Assistant Attorney General for the State of Alabama," in the
        funeral division, and McEwen was an attorney who "teaches ethics," before stating
        that "Dentons has not hired me, they have not given me an offer to hire me and I
        haven't even had an interview with Dentons yet. It would be highly unethical for me
        to provide the Tribe legal advice and I don't know why Mr. Sypolt put me in this
        position." Plaintiff provided the newly unearthed McEwen information to Holley,
        Garcia, Tybo, Woods and Carrera to supplement the information regarding Sypolt
        and McEwen that the Plaintiff provided during the return ride from Wendover.

   315. On or about August 26, 2020 the newly hired Te-Moak CARES Act Director Jennifer
        Knight was ambushed with false information regarding Knight on her second day at
        work that circulated throughout the Te-Moak office as published and created by
        Alfreda Walker, Marci Villegas and Tanya Reynolds who stated that they wanted to
        force Director Jennifer Knight to resign. Reynolds and Walker were concerned that
        Knight's thoroughness and aptitude would reveal Reynolds' and Walker's fraudulent
        practices related to the CARES Act programs at Te-Moak.

   316. On or about August 27, 2020 Leslie Aguilar, along with another individual, received
        a CARES Act check, signed by the TMC, when both were non-Tribal members-
        ineligible to receive a CARES payment, and a subsequent internal investigation
        revealed that Te-Moak staff members Alfreda Walker, Marci Villegas and Tanya
        Reynolds gained unauthorized access to the Te-Moak finance computer system,
        (during a time when Leslie Aguilar was not working), and inserted the names of
        Leslie Aguilar and the other non-tribal member into the computer system to print a
        check for payment after the Plaintiff approved a check list that failed to contain the
        names of these individuals and before that list went to Hinton Burdick for
        processing. Leslie Aguilar resigned on or about August 19, 2020.

   317. On or about August 27, 2020 Sypolt and the Plaintiff held a brief teleconference
        regarding the information the Plaintiff received regarding Terry Cameron McEwen,
        and Sypolt stated "I was not part of the hiring process so I had no way of knowing"
        the status of McEwen at Dentons. Sypolt drafted and sent the information.

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   318. On or about August 28, 2020 the Plaintiff assigned Tanya Reynolds and Alfreda
        Walker the task of reviewing and ensuring compliance with the Te-Moak Council,
        directives required for distribution of the CARES Act checks to tribal members
        pursuant to the U.S. Treasury guidelines, law and policy.

   319. On or about August 28, 2020 Holley instructed the Plaintiff to send a copy of "all the
        Apportionment documents" to Sypolt so that Sypolt could "prepare and submit a
        revised Ordinance to the Council." Plaintiff informed Holley that Plaintiff already
        sent this material on August 16, 2020 to both of Sypolt's email addresses, and the
        Plaintiff resent the same material to Sypolt again. During a subsequent
        teleconference with Sypolt that day, the Plaintiff relayed to Sypolt the TMC direction
        for Dentons to edit and redraft a letter of engagement to include legal
        representation by Dentons to close the NCE retail store Newe Cannabis.

   320. On August 29, 2020 the Plaintiff held a teleconference with Sypolt regarding the July
        draft Dentons' Engagement Agreement. See. Exhibit III-C(3)(a): Dentons and Te-
        Moak Engagement (file 115187332\V-l)(July 22, 2020). The TMC stated that the
        amendment to Dentons' representation must include closure of Newe Cannabis and
        related issues, and a final draft of that agreement must be delivered to the Plaintiffs
        office no later than August 31, 2020 to ensure timely submission to the TMC for
        publication in the September 2, 2020 Council Meeting Agenda packet.

   321. On August 31, 2020 Adela Morrison delivered copies ofTMHA financial records to
        the Plaintiff for distribution to the Te-Moak Tribal Council set for discussion at the
        September 2, 2020 Te-Moak Council Meeting.

   322. On or about September 1, 2020 Plaintiff received an email from Sypolt containing a
        draft copy of the Apportionment Ordinance and Engagement Agreement that
        included representation by Dentons related to the NCE retail store Newe Cannabis.
        See Exhibits II-F(2)(a)-(b). Sypolt telephoned Plaintiff to discuss the Apportionment
        Ordinance revisions and except for the last two emphasized paragraphs, the draft
        Sypolt submitted was exactly the same document that the Plaintiff wrote, with
        Sypolt claiming that the emphasized paragraphs were written by "Cameron"
        McEwen. Plaintiff explained that the emphasized paragraphs probably violated the
        Tribe's constitution. Sypolt removed that language and then presented the product
        to the Council, subsequently enacted as Te-Moak Law, from which Sypolt submitted
        an invoice for services claiming to have drafted and performed all the work on the
        Apportionment Ordinance. See. Exhibit III-C(4)(c)(4:20 p.m. version).


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   323. On or about September 7, 2020 Joseph McDade ordered Claudette Ramos to
        interfere with the Plaintiffs work at Te-Moak by arbitrarily altering the
        requirements related to TMHA real property regulations, as part of AS and A7.

   324. Claudette Ramos was employed at the BIA subordinate to Joseph McDade, where
        Ms. Ramos was employed at the GS-5 level based on the knowledge, skills and
        abilities listed in her federal forms and application. Ramos resigned from the BIA in
        2018-2019 and transferred to the BLM, where after a few months the Field Manager
        was going to terminate her for incompetency. Joseph McDade agreed to rehire
        Ramos at the BIA. Ramos resigned from the BLM, and Joseph McDade rehired her at
        GS-12 in late 2019 early 2020 where with the only real change in her employment
        background consisted of several month's experience at BLM.

   325. On or about September 2, 2020 the Plaintiff held a teleconference with Davis
        Gonzalez regarding the NCE after Gonzalez stated he wanted to present a bill to Te-
        Moak for payment and to get the repealed Narcotics Ordinance back on the Agenda.
        Gonzalez stated that the TMC action in repealing the Ordinance was
        unconstitutional and the Plaintiff replied that the TMC determined that matter was
        final unless a new Ordinance was presented to the Council. Gonzalez then stated
        that he wasn't "worried, the Governor is behind us, so we will just let it play out in
        the courts." When the Plaintiff next asked Gonzalez if Darian Stanford was Elko
        Band's attorney, Gonzalez became upset and said "that guy is not Elko Band's
        attorney, he doesn't work for us, he works for Cannabis."

   326. In September 2020 David Carrera stated to the Plaintiff that Carrera fired his wife,
        Tammy Carrera, from an employment position at Battle Mountain Band because she
        disclosed to tribal members that Carrera transferred federal grant money to a
        financial entity located in the State of Washington, (WJC), and that Carrera received
        kick-backs from that action. Plaintiff informed Carrera that he should hire an
        attorney and that the Plaintiffs role as the Tribal Administrator precluded
        involvement unless the Council directed the Plaintiff.

   327. For the period March 2021 through December 2021 the United States Bureau of
        Indian Affairs, Environmental Protection Agency and Department of Health and
        Human Services approved and transmitted federal funds, that were accepted by
        David Carrera and Joseph Holley, who then routed the funds from the federal
        government's electronic payment system, "Automated Standard Application for
        Payment," (ASAP), into and through Wells Fargo Bank, where David Dale Carrera
        and Joseph Holley transferred or deposited income, revenue or cash proceeds that

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         were derived, received or originated from the sale and distribution of a controlled
         substance, marijuana, by the NCE at the retail store Newe Cannabis, along with
         fraudulently obtained federal funds, as electronic transfers or deposits via ACH
         involving SALAL, then routed to Wade Cicrich at WJC Financials, 15413 E Valleyway
         Avenue, Building C, Suite 400; Spokane Valley, Washington 99037, where WJC
         processed the funds for redistribution and tendered payments to David Dale
         Carrera, Joseph Holley, Chadwick Smith, Scott Sypolt and Wendall Hayes, with
         secondary payments to WJC, Joseph Holley and David Carrera.

   328. On September 3, 2020 the Plaintiff carried out the direction of the TMC and
        informed U.S. BIA Court personnel, Sophia Torres and Felisa Wright, that Dentons
        represented the Te-Moak Tribe and that Sypolt was the assigned attorney.

   329. On or about September 6, 2020 the Plaintiff received information from Steve
        McDade that a private investor, "Todd C," was "one of the silent partners ... and he
        specifically said Davis is going to resort to extortion" intended to extort favorable
        votes from Duane Garcia Sr. and Alice Tybo as members on the TMC in favor of the
        NCE "to keep that store [Newe Cannabis] open" under threat ofreleasing private,
        damaging information regarding Alice Tybo and Duane Garcia Sr. See 18 U.S.C.
        §1512(intimidate, threaten or corruptly persuade or attempt to do so to influence,
        delay or evade legal process) and 18 U.S.C. §1961(1)(A)(any threat to extort); _g_,g.
        N.R.S. §205.463 (prohibits any release of this private, nonpublic information).

   330. On or about September 8, 2020 Sypolt and Holley stated to the Plaintiff that Sypolt
        was working with SCS attorney Darian Stanford to draft a settlement agreement for
        the Cannabis lawsuit. Tim et al. v. Elko Band Council et al. Sypolt stated that the
        proposed settlement agreement will "benefit everyone in the Tribe."

   331. On or about September 9, 2020 Holley directed the Plaintiff to provide Sypolt with a
        summary of all the funding amounts known to be in the possession or under the
        control or custody of EBC. Plaintiff sent Sypolt a text message stating "EB Council
        member showed me a picture with 1.25 million cash as EB 50% share of Cannabis
        revenue from April 17 to Julyl."

   332. On or about September 15, 2020 the Plaintiff sent to Sypolt a copy of the Plaintiffs
        background investigation report from the U.S. Federal Bureau of Investigations, at
        the direction of Joseph Holley, and that report stated "a search of the Fingerprints
        provided by this individual has revealed no prior arrest data at the FBI." See Exhibit
        III-B(2). Sypolt acknowledged delivery and receipt of this email and document.

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   333. On or about September 17, 2020 the Plaintiff started receiving specific telephone
        death threats on his personal cellular phone and on the business/office phone at the
        Te-Moak Tribal Administration Offices.

   334. On September 20, 2020 Sypolt and Chadwick Smith signed and submitted legal
        documents, (in opposition to a court action filed by Te-Moak tribal members who
        sought to close retail store -Newe Cannabis), in the BIA Court of Indian Appeals
        located in Andarko, Oklahoma (listing an Arizona Bar No. 34756 and Oklahoma Bar
        No. 8312), who stated an affiliation with Dentons as the "Attorneys for Te-Moak
        Tribal Council," when the Arizona Bar Association listed Chadwick Smith's license to
        practice as "[i]nactive... [t]his lawyer is currently unavailable to provide legal
        services. This lawyer has chosen to be transferred to inactive status, and may not
        practice law in Arizona." Ref. Objection to Motion For Reconsideration at 1, (Jim et
        al. v. Elko Band Council and Te-Moak Tribal Council), (Case No. APP-21-003).

   335. Sypolt, Chadwick Smith and Dentons failed to provide any written notice or
        statement to the TMC or the Plaintiff that in July, August or September 2020
        Chadwick Smith received compensation for legal services to represent the Te-Moak
        Tribe or that Chadwick Smith provided legal services and legal representation to or
        on behalf of the Te-Moak Tribe, and the billing statements Sypolt submitted to the
        Plaintiff and the Tribal Council fail to show an entry for Chadwick Smith. Chadwick
        Smith received compensation from Dentons, Skibine or Sypolt, on behalf of the Te-
        Moak Tribe and Dentons, at the same time Chadwick Smith received compensation
        or funds derived or originated from the sale and distribution of a controlled
        substance, marijuana, at the NCE retail store Newe Cannabis, as authorized by SCS;
        Darian Stanford; Davis Gonzalez; Paul Conable; Kevin Clock; Steve Olson and Elliot
        Parris. The Plaintiff first received notice of Chadwick Smith's filings in the BIA CFR
        Court in January 2022.

   336. With the approval, knowledge or agreement of Dentons, Skibine, Sibbison and
        Sypolt, Chadwick Smith signed and submitted legal documents in the BIA CFR Court
        via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah that
        associated Chadwick Smith, and Sypolt as co-counsel, with the law firm Den tons US
        LLP. See Notice of Lack ofiurisdiction. Jim et al. v. Elko Band Council et al,
        (December 1, 2020)(Chadwick Smith as "Attorney for the Tribal Council");~-
        Notice of Appeal at 4, Jim et al. v. Elko Band Council et al and Te-Moak Tribal
        Council, (Case No. ClV-20-WR03)(December 3, 2020). In December 2020 the Te-
        Moak Tribe's legal counsel of record was Dentons, not Chadwick Smith, and at no
        time between December 17, 2019 and March 18, 2021 did the TMC issue any
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         Ordinance, Resolution or Motion that directly employed Chadwick Smith as the
         "Attorney for the Tribal Council."

   337. On September 21, 2020 Plaintiff received a voice message from the US Treasury OIG
        regarding the Plaintiffs earlier inquiry related to the CARES Act. During a
        subsequent call the Plaintiff communicated with US Treasury OIG Agent Eric Hyland,
        and Hyland confirmed that several tribal members filed complaints alleging fraud in
        the administration of the CARES Act funding at Te-Moak The Plaintiff informed OIG
        Hyland of an awareness of the reports and that while no system is perfect, Plaintiff
        had no direct evidence of the claimed fraud at that time and that the Tribe
        implemented control measures such as having Reynolds oversee the approved
        eligibility lists prior to HB and TMC approval and submission for check printing.

   338. On or about September 22, 2020 Joseph Holley stated that he set a meeting for
        September 24 th in Wells, Nevada and that Defendant Holley would refer to this
        meeting as a 'gathering' to avoid legal implications of holding an official TMC
        Meeting without notice. The Plaintiff stated to Holley that the Plaintiff had other
        tasks to perform and didn't want to be associated with Sypolt or the cannabis case.
        Defendant Holley ordered the Plaintiff to attend to "let [Holley] know if Scott starts
        lying or gets shady about Cannabis without me knowing."

   339. On or about September 24, 2020 at the Holley arranged 'gathering' Sypolt
        introduced Darian Stanford, (who was sitting directly next to Sypolt and in-between
        Juan Arevalo and Sypolt), as the "Cannabis attorney for Elko Band and Cascade
        Investments," when Tybo quickly stated that Stanford "is not the attorney for Te-
        Moak and will never be the attorney for Te-Moak" Sypolt then stated that Sypolt
        and Stanford were "working together closely" on the cannabis court case, (a case
        where Elko Band and Te-Moak were in opposition), and that Sypolt and Stanford had
        already completed "extensive work on the cannabis issue together." Next, Sypolt
        openly questioned Council members Holley, Arevalo, Tybo and Woods until they
        disclosed, without any caution by Sypolt, strategic legal and factual information
        relevant to the court case against Elko Band and Newe Cannabis to Stanford,
        including statements that the TMC intended to close the dispensary and nullify Elko
        Band Council's 638 law enforcement contract, effectively breaking the attorney-
        client privilege. Sypolt agreed to submit a written contract between EBC and TMC
        regarding the NCE after Vice Chairman Arevalo and the Plaintiff corrected Sypolt's
        false assertion that a tribal resolution is considered a contract because under Te-
        Moak law "a resolution like this is of temporary effect." From September 24, 2020
        until March 18, 2021 Sypolt failed to produce any written contract between Elko

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          Band and Te-Moak related to the NCE as discussed at the 'gathering' in Wells on
          September 24, 2020, instead Sypolt and Stanford offered 2020-EBC-48 as a
          substitute for a written contract.

    340. On or about September 28, 2020 the death threats against the Plaintiff continued by
         telephone and text messages, now containing pictures of dismembered body parts.
         See Exhibit Picture (September 29, 2021).

   341. Former NCE employee, Nocona Smales-Hassett, received compensation, income or
        remuneration, pursuant to A1, A2, A4 and AS agreement, plan or scheme between
        Skibine; Sypolt; Elliot Parris; Juan Arevalo; Larry Yeager; SCS; Darian Stanford;
        Kevin Clock; Davis Gonzales; Thalia Marin, where between September 1 and October
        1, 2020 Hassett gained unlawful and impermissible entry into Plaintiffs social
        media account, and altered, deleted, edited content and distributed private
        information to the Plaintiffs then fiance' while Hassett falsely claimed to Yeager and
        other Council members that the Plaintiff openly disparaged and disrespected TMC
        members. See Exhibit III-A(4): Declaration of Larry Yeager.

   342. Plaintiff reported death threats to BIA Law Enforcement Chief Morris, and Plaintiff
        sent an email to Sypolt identifying NCE/SCS as the source of the threats and events
        of September 28, 2020 after Plaintiff confronted Smales who stated that SCS wanted
        to get rid of the Plaintiff. Sypolt instructed the Plaintiff to start carrying "a pistol"
        and that Sypolt would speak to "the owners and Darian," about the threats and
        Smales' involvement. Hassett was later terminated for issues related to cocaine use
        while selling and distributing marijuana at the retail store Newe Cannabis.

   343. Sypolt delivered a draft Dentons Engagement Agreement dated October 1, 2020 to
        the Plaintiff that failed to include a material term to provide representation on
        behalf of the Te-Moak Tribe related to the NCE cannabis issues involving the BIA-
        CFR CIO case. Exhibit III-C(3)(b)(file 115835914\V-1 and US_Active\116028876\V-
        10). This Agreement's Scope of Representation failed to match any of the three (3)
        versions of the Dentons-Sypolt billing statements of actual work performed, as
        submitted on December 10, 2020. See Exhibits III-C(4)(a)-(c): Dentons Billing
        Statement (2:40 p.m. version, 4:16 p.m. version and 4:20 p.m. version).

   344. On or about October 5, 2020 the Plaintiff, Joseph Holley and Sypolt held a joint
        teleconference to address Sypolt's failure to understand Alice Tybo's objection to
        the continuation of the NCE under the Tribe's Constitution where it states that all
        official action by the Council "shall not conflict with Federal law." Te-Moak


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          Constitution. Article 2: see also. Article 4. sections 3 and 14 and Article 15. The
          Plaintiff directed Sypolt to Article 4 and Sypolt stated that provision did not "apply
          to the current case with Elko Band, and this constitution is trash. I've re-written the
          entire constitution and we will fix this." The Plaintiff never received any copy of a
          re-written draft or copy of the Constitution and at multiple TMC meetings Alice
          Tybo, David Carrera and Duane Garcia referenced Sypolt's claim and requested
          copies of the draft amendments to the Te-Moak Constitution and no copy was ever
          produced or published to the Plaintiff as the Tribal Administrator or to the TMC at
          any meeting between the period July 2020 through March 2021.

    345. On October 5, 2020 the Plaintiff traveled to NSB and met with Ashley Dewey
         regarding the continued denial of access to Tribal accounts for the Tribe's CPA firm
         Hinton-Burdick Dewey informed the Plaintiff that Plaintiffs access requests for
         Hinton Burdick remained at Zionsbank with Brent Waite at the legal department in
         Salt Lake City, Utah awaiting a decision and direction from Waite and Zionsbank.
         Plaintiff received information from NSB showing multiple, previously unknown
         accounts and funds at Zions bank and NSB assigned to the Te-Moak Tribe, while NSB
         continued to withhold information on other accounts at Zionsbank and NSB.

    346. On or about October 12, 2020 Erica Jim, an employee at the NCE retail store Newe
         Cannabis reported to SCS and federal law enforcement that she received a telephone
         call from someone claiming to be an agent at the Nevada Cannabis Compliance
         Board who instructed Jim to remove all of the cash in each sales register, except
         $200.00 to remain in each register, and then surrender the total amount removed,
         (approximately $12,000.00), to a state agent by leaving it in a trash can after
         converting the cash to gift cards that Erica Jim purchased from Walmart. Conor
         Ramsey gave a statement to federal law enforcement that the money stolen was
         derived or originated from the sale of marijuana by the NCE at the retail store -
         Newe Cannabis. AUSA Fahami refused or failed to prosecute or investigate.

    347. On October 14, 2020 EBC enacted 2020-EBC-48 as a proposed settlement
         agreement to the ongoing cannabis court case that states and provides:

             a. TMC will use cash, income or "revenues" derived or originating from the sale
                and distribution of a controlled substance, marijuana, at the NCE retail store
                -Newe "to establish an independent judicial system, independent law
                enforcement, and strong lobbying and government relations teams nationally
                and in Nevada;"


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             b. EBC agrees to permit Sypolt and Stanford "to draft revisions to the Te-Moak
                Constitution ... [r]emoving or revising language referencing federal law;"

             c. "[C]reating a 'Bank Account Commission' that is comprised of Sypolt,
                Stanford, Holley, Hinton-Burdick and Leslie Grove-IBSC; and

              d. "this resolution shall remain in effect for the duration of Elko Band's Compact
                 with the State of Nevada." See A2; also. 2021-EBC-03 (rescinding 2020-EBC-
                 48 because it violated "the Te-Moak Constitution")Oanuary 11, 2021).

    348. On October 14, 2020 the NCE produced a written report, Newe Cannabis
         Distribution Log. pursuant to the AZ, A4 and A6 agreement, plan or scheme
         between SCS; EBCE; Robin Evans; Leslie Grove; Paul Conable; Steve Sisolak; Aaron
         Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry Yeager; Darian
         Stanford; Kevin Clock, and others, that states, (once the undisclosed pre-count
         'partner's share' is divided, subtracted and deducted from the gross income amount),
         the claimed net income for the third quarter 2020, (spanning July 1, 2020 through
         September 30, 2020), totaled an even "$1,500,000.00" with the "EBCE" half-share
         equaling "$750,000.00" and the "SCS" half-share equaling "$750,000.00," as required
         by A6 ("SCS 50% ECBE 50%"). See Exhibit II-B(2). The numbers, figures and
         amounts in the October 14, 2020 report fail to match the numbers, figures and
         amounts Kevin Clock reported to Davis Gonzalez that was derived, received,
         recorded or originating from the sale and distribution of a controlled substance,
         marijuana, involving the NCE for this same period of time, which Clock stated to
         Gonzalez that the SCS 50% equaled "1 million seven hundred thousand."

    349. On October 27, 2020 the Plaintiff met with Juan Arevalo who stated to the Plaintiff
         that the BIA CFR Court records show that Sypolt failed to file a timely Answer for
         TMC in the Cannabis lawsuit after service of process. Plaintiff informed Holley and
         Sypolt, with Sypolt stating "Harlan doesn't know what she's talking about because I
         filed an answer." Plaintiff contacted the BIA Court and Felisa Wright stated that no
         Answer was filed on behalf of the Te-Moak Tribe, just a motion to extend time.

    350. On October 27, 2020 White Cloud President Joe Shelton stated that his staff
         identified a 20MB data bandwidth line spliced off the Tribe's internet line,
         redirecting, cloning or copying all communications to an unknown server in
         Arizona. The Plaintiff instructed White Cloud, whose staff were rebuilding the
         internet and telephone systems to "cut the line." Plaintiff learned that Bryan



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          Bowker is in Phoenix Arizona and who possesses specialized training in computer
          sciences related to this type of activity.

    351. On or about October 29, 2020 Joseph Holley directed the Plaintiff to "write" Sypolt
         and express the Council's concern that Sypolt was failing to accomplish the
         contractual obligations related to the Tribe's Constitution; Billing; the Cannabis
         court case; the Cannabis Compact Agreement and TMC disapproval with Elko Band
         Resolution 2020-EBC-48. The Plaintiff wrote Sypolt outlining these concerns and
         Sypolt stated that he would address these concerns "with Council, not with you."

    352. On October 31, 2021 Alice Tybo sent or transmitted a text message to the Plaintiff
         that stated "Sam you are such a good person!!!"

    353. On or about November 3, 2020 Sypolt filed an Answer to a civil action as his first
         responsive filing in the BIA-CIO Court wherein Sypolt failed to assert a challenge to
         the court's jurisdiction based on sovereign immunity or venue..

    354. On November 11, 2020 Veronica Huerta, (who at the same time was an SCS, EBC,
         EBCE and TT representative, agent or employee), transmitted or sent an email to the
         Plaintiff, as the Tribal Administrator, on behalf of EBC seeking reimbursement from
         TMC for a debt to Elko County Dispatch. See Exhibit II-B(5). This email included
         billing statements from Elko County seeking payment of a debt from EBC totaling
         $20,937.50. Id. The Plaintiff presented the request and documents to Joseph Holley
         who refused to place the matter on the TMC Agenda stating "I don't know what
         money at Elko Band is cannabis or not, so tell her no, denied."

    355. On November 15, 2020 Joseph Holley sent or transmitted a text message to the
         Plaintiff via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
         Utah that stating Holley authorized expending and then expended $100,000.00 in
         CARES Act federal funds by transferring $14,000.00 to Battle Mountain Band's
         "heating assistance" program recipients and "[$]86,000 was distributed to BM
         voters."

    356. On or about November 18, 2020 while in Salt Lake City, Utah Tanya Reynolds,
         Joseph Holley and Sypolt agreed to enter and execute material terms contained in or
         a part of an A2, A4 and AS agreement, plan or scheme with Steve Sisolak; Aaron
         Ford; Bryan Bowker; Joseph McDade; Davis Gonzalez; Chadwick Smith; Darian
         Stanford; Skibine; Paul Conable; Kevin Clock, (and later according to Carrera
         implicated U.S. Senator Catherine Cortez Masto assisting in the performance), who
         agreed to falsify or forge information and documents, including the Plaintiffs

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         signature; to release confidential, private information about the Plaintiff into the
          public to discredit and either terminate or force the resignation of the Plaintiff from
         his employment with the Tribe; to obtain a new A2 from Governor Steve Sisolak for
         the Te-Moak Tribe and obtain criminal immunity for the NCE from Aaron Ford; to
         transfer land from Te-Moak to Elko Band and assist Elko Band receive rapid federal
         recognition as its own tribe; to obtain immunity from criminal prosecution and
         protection from arrest by federal law enforcement from the United States Attorney's
         office in Reno; to obtain false statements from Te-Moak staff and tribal members to
         obtain the Plaintiffs resignation or termination as the Te-Moak Tribal
         Administrator; to organize, build and fund the Te-Moak tribal court system with
         NCE funds; to use revenue, income or cash proceeds from the NCE to deposit,
         transfer or provide untraceable cash donations to Sisolak, Masto, Ford, Garrand,
         routed through or to ECDCC, who agreed to support the NCE involving SCS;
         Stanford; EBCE; Sypolt; Holley; Conable; Carrera; Clock; Davis Gonzalez, and others;
         to create and use tribal government systems to launder the cash proceeds from the
         NCE using various financial institutions, credit cards and federal grant program
         funds and then assess a fraudulent and non-existent tax rate on the unlawful sale
         and distribution of a controlled substance, marijuana, at the NCE, with Holley,
         Stanford and Sypolt collecting the tax revenue for personal use with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201, 18 U.S.C.
         §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952; 18 U.S.C. §1956: 18 U.S.C.
         §1957: 31 U.S.C. §5138(h): 18 U.S.C. § 1960 and the Te-Moak Constitution, Article 4.
         sections 3. 4 and 12.

   357. On or about November 18, 2020 the Plaintiff stated to Sypolt that Tanya Reynolds'
        belligerent text and telephone calls to the Plaintiff constituted insubordination, and
        apart from her being on leave the Plaintiff would terminate Reynolds. Sypolt stated
        to the Plaintiff that Sypolt was on "great terms with Tanya, I talk to her every day.
        Let me speak to her and smooth this out." On or about November 18, 2020 Joseph
        Holley stated to David Carrera that "Scott and Tanya told me that Sam has to go and
        we need to act fast or he's going to screw everything up."

   358. On November 18, 2021 the Plaintiff communicated with R. McKay Hall at Hinton-
        Burdick and requested an urgent teleconference with his team regarding CARES Act
        issues related to Alfreda Walker and Tanya Reynolds, specifically it appeared that
        Reynold and Walker were not following the policies in place to control and mitigate
        fraud or that satisfy the U.S. Treasury Guidelines for CARES Act distributions.
        During the teleconference with the Hinton Burdick Team, the Plaintiff disclosed that

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          it appeared Tanya Reynolds, Alfreda Walker and Clarinda Oppenhein, possibly
          others, were editing the list of qualified applicants for CARES Act funding after the
          Plaintiff approved the list by removing all related documents and computer
          information filed at Te-Moak related to tribal members Reynolds, Walker or
          Oppenhein disliked. This appeared in some cases to be true because some tribal
          members provided copies ofreceipt stamped documents they submitted when the
          computer log lacked any information; and that Tanya Reynolds, Alfreda Walker and
          Clarinda Oppenhein included the names of tribal members they favored and who
          failed to timely submit documentation and information to qualify for CARES Act
          funding, without the Plaintiff knowledge or approval, with the intent or purpose to
          blame the Plaintiff, Hinton-Burdick and Jesse Meyers to retaliate for Meyers and the
          Plaintiff identifying fraud or misappropriation of federal funds by Tanya Reynolds,
          in the EPA Program, and notifying Reynolds' EPA Grant Manager and TMC of
          Reynolds' misconduct, as part of AS.

    359. On November 20, 2020 Alice Tybo publicly stated at a TMC Meeting that "Darian
         Stanford is not the attorney for the Te-Moak Tribe," when Sypolt and Darian
         Stanford were present to address the Council regarding the BIA CFR Cannabis court
         case. For the second time TMC drafted a resolution that Sypolt and Stanford jointly
         authored and presented regarding the sale and distribution of a controlled
         substance, purporting to answer 2020-EBC-48. The second proposed resolution
         was again rejected for failure to follow bask formatting requirements.

    360. On November 20, 2020 Alice Tybo stated in a text message during the TMC meeting
         stating "Scott had all day yesterday to reformat the resolution," and failed again.

    361. On November 20, 2020 Eide Bailly, (CPA accounting firm hired by TMHA), produced
         and submitted a Financial Management Analysis Report that states the TMHA Board
         of Commissioners "elected to omit substantially all of the disclosures required by
         accounting principles generally accepted in the United States of America," without
         identifying the Avantax account, and then states TMHA earned "$1,141,216[.00]" in
         FY 2020 from the net cash proceeds and equivalents and from that amount TMHA
         received "$686,002[.00]" as its "Net Cash" as a not-for-profit entity after only
         receiving "$243,279[.00]" for the entire prior year. Defendants Davis Gonzalez and
         Adela Morrison deposited and transferred cash proceeds from the NCE into TMHA
         to hide, prevent disclosure or launder the characteristics of the cash.

    362. On or about November 23, 2020 Joseph Holley stated to the Plaintiff and TMC that a
         serious health condition left him without any income, vacation and sick leave

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          remaining with his employer, Marigold Mine, and that Holley agreed to work a 40
          hour work week at Te-Moak if the TMC agreed to pay Holley a wage. The Plaintiff
          advocated for this position based on the assertions of Holley, and the TMC agreed
          and set his wage at $750 for each 40 hour work week Holley worked, for a
          maximum of six (6) months, to be paid out of federal program funds.

    363. On November 23, 2020 the TMC delegated Te-Moak Constitutional authority and
         created the Te-Moak Judicial Branch of government by Resolution 20-TM-129.
         Sypolt stated that "Chadwick Smith" would be helping Sypolt "draft the law and
         order code." Plaintiff asked Sypolt "why, the Tribe hired the world's largest law firm
         and paid you, plus the Tribe already has a law and order code?" Sypolt expressed a
         lack of knowledge and replied "I didn't know there was a law and order code, when
         was that enacted?" The Plaintiff responded "it was approved by the United States in
         1989." This was the first instance the Plaintiff heard the name Chadwick Smith.

    364. On or about November 23, 2020 the Plaintiff informed TMC, at a public Meeting, that
         Plaintiff's office identified several anomalies in the CARES Act Programs, where it
         appeared Te-Moak Personnel altered documents and computer information to
         enable otherwise ineligible individuals to obtain funds and some eligible members
         were denied funds. Without disclosing the names of those involved, (Tanya
         Reynolds, Alfreda Walker and Clarinda Oppenhein ), the Plaintiff explained to TMC
         that staff members were including names of those they favored during elections
         onto a list, after approval and before submission, without the Plaintiff's knowledge
         or permission, when those individual's names were deemed ineligible, and it
         appeared staff were deleting the names of some tribal members who were
         disfavored during elections, who were otherwise eligible, by these staff members.
         At that time the number of individuals involved totaled about 42 or $42,000.00, with
         dozens more that lacked sufficient evidence or information to ascertain whether
         they were eligible or not due to the deletions of files and data.

    365. On November 24, 2020 the Te-Moak Tribal Council gave formal notice to the United
         States Bureau of Indian Affairs that the TMC delegated tribal constitutional
         authority by creating and establishing the Te-Moak Tribal Court System.

    366. About November 24, 2020 Holley entered a hospital in Utah for heart surgery.

    367. On December 1, 2020 Sypolt filed a "Notice of Lack of Jurisdiction" that was nearly
         identical to a document filed by Darian Stanford, as stated by the BIA-CIO judge who
         remarked the two attorney's individual submissions were virtual mirror images of

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         each other and both filings included a copy of Te-Moak Resolution 20-TM-129
         claiming to remove subject matter jurisdiction from the BIA for all Te-Moak civil
         court cases.

   368. On or about December 1, 2020 Aaron Ford authored, prepared, drafted or
        authorized the preparation and submission, publication and mailing of a written
        communication, from the campaign of Aaron Ford For Attorney General to Elko
        Band Colony Chairman Davis Gonzalez, thanking Davis Gonzalez for the "Te-Moak
        Tribe of Western Shoshone's generous contribution .. .[promising] to help protect
        Nevadan families from harm, scams, and injustice ... [under Ford's] top three
        priorities. . .constitutional & civil rights, consumer protections, and criminal justice .
        . . ." Exhibit JJ-C(4): Aaron Ford Receipt Letter (December 1, 2020)(emphasis
        added). Davis Gonzalez bragged to the Plaintiff that Davis Gonzalez gave Aaron Ford
        "50 grand" from Newe to "keep supporting our cannabis program." The Te-Moak
        Tribe and its Bands did not authorize or provide any campaign contribution to
        Aaron Ford from federal program funds.

   369. On or about December 2, 2020 the Plaintiff and Sypolt discussed the Te-Moak court
        case involving the NCE when the topic changed to Tanya Reynolds' need for a raise,
        which Sypolt claimed originated from Holley, Reynolds' paramour. Plaintiff
        informed Sypolt that due to Reynolds' abusive text messaging while she was staying
        in Salt Lake City she may not have a job. Sypolt stated he has "a tight leash on Tanya,
        we're really good friends." Sypolt then stated that Dentons had Utah Governor
        Spencer Cox, Nevada Governor Steve Sisolak, Nevada Attorney General Aaron Ford
        and John Assuaga on Dentons' payroll as lobbyists and consultants, stating "I will
        reach out to them and they will help in any way we need with this court system."

   370. On December 2, 2020 the TMC enacted Resolution 20-TM-132 stating that Te-Moak
        adopted the Te-Moak Records and Information Retention Policy. incorporating the
        Privacy Act. (5 U.S.C. §552 et seq.); 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and
        §200.338. inter alia, and supplementing the Tribe's Confidential Information Policy
        & Procedures (enacted by Resolution 03-TM-13) that states" [pJersonal Information
        shall be exempt from disclosure to protect important confidential information of the
        tribal members/employees - except by written authorization from the individual
        concerned."

   371. On December 3, 2020 the Plaintiff responded to a question regarding Section O of
        the Foreign Corrupt Practices Act, 15 U.S.C. §§78dd-1 et seq.. from Defendant Alice
        Tybo stating that "the FCPA has five elements ..."

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    372. On December 4, 2020 Sypolt sent the Plaintiff an email stating that Joseph Holley
         lacked any knowledge regarding the U.S. Department of Interior Office of Hearings
         and Appeals Mediation Case. U.S. Dept. of Interior Office of Hearings and Appeals,
         ALJ Heffernan officiated with Mediator Latimer and Solicitor General Reudas
         conducting proceedings with the Te-Moak Tribe since 2017. Ref. Docket No. ISDA
         2017-01.

    373. On December 7, 2020 Sypolt failed to appear or defend the Te-Moak Tribe before
         the BIA CFR Court at a scheduled trial, and on December 11, 2020 a Default
         Judgment issued against TMC and the court issued a fine against Sypolt personally in
         the amount of"$2,993.58." Order Granting Default. (Case No. CIV-20-WR03).
         Plaintiff received a copy of this Order from Felisa Wright and immediately relayed a
         copy to each member of TMC. Sypolt telephoned the Plaintiff and ordered Plaintiff
         to "stop sending court orders to the Council, only send them to [Sypolt] and [he] will
         decide what court documents go to the Council."

    374. On December 10, 2020 Sypolttransmitted three (3) versions ofSypolt's Dentons
         billing statements, (2:40 p.m., 4:16 p.m. and 4:20 p.m.), for claimed services
         performed while representing the Te-Moak Tribe, and every submitted version
         failed to contain a specific indication for the total time expended on each issue, topic
         or subject identified therein. See, Exhibits 11-F(4) (a)-(c).

    375. Four (4) separate draft versions of Dentons and Te-Moak Engagement Contracts
         were presented to the Plaintiff. See Exhibits II-F(3)(a)-(d). Of the four (4)
         agreements there are only three (3) different file identifies from Dentons
         (115187332\V-1; 115280113\V-1; 115835914\V-1), and all four (4) include a
         second page header with identifiers not related to the document presented. Id. The
         First Quly 22, 2020 for $200,000.00) includes "Mr. Terry McEwen April 28, 2020;"
         the Second. (October 1, 2020 for $600,000.00), states "Joseph Holley August 10,
         2020;" the Third. (December 11, 2020 for $300,000.00), states "Joseph Holley
         August 10, 2020;" and the Fourth. (December 11, 2020 for $200,000.00 CARES),
         states "Joseph Holley August 10, 2020," where all four (4) contain a typewritten
         name for Dentons "By: J. Ross Docksey, Partner." Id.

    376. On December 10, 2020 the Plaintiff received an email from Sypolt and Dentons
         containing the 4:20 p.m. version of Dentons-Sypolt billing statement that included
         the following statements for September and October 2020:




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            a. "Call from Elko Attorney Darian Stanford to discuss Cannabis Law suit
               pending before the Te-Moak CFR Court;"

            b. "Review Entire Cannabis Lawsuit Court File (100 pages); Review of
               Pleadings; Review of Related Statutes and Related Case Law;"

            c. "Review of Legal Steps taken by Elko Band to Implement Cannabis
               Dispensary; Review of Resolutions and Ordinances; Review Consensus Poll
               taken with Elko Tribal Residents;"

            d. "Review of Federal Case Law on Legality of Elko Dispensary; Review of Case
               Law on Medical Cannabis versus Recreational Cannabis; Review of State Law
               on Cannabis and Pending Federal Law on Legalization of Cannabis; Review of
               State Laws that allow Sale of Medical and Recreational Cannabis in their
               respective States Despite Federal ban on Sale of Cannabis; Review of Federal
               Policy of 'Don't Ask, Don't Tell, Non-Enforcement of Prosecuting Cannabis
               Medical and Recreational Sales in States; Review of Federally Recognized
               Tribes Selling Cannabis Despite Federal Ban; Review of the Constitutions of
               those Federally Recognized Tribes to Allow for the sale of Medical and
               Recreational Cannabis;"

            e. "Multiple Phone Calls from Darian Stanford (Cannabis Attorney for Elko
               Band) on possible Settlement terms of Cannabis Lawsuit;"

            f.   "Discussions with Te-Moak Chairman, Te-Moak Tribal Administrator and
                 Members of the Te-Moak Council on possible Settlement of Cannabis
                 Lawsuit; Discussion of desired Terms including but not limited to
                 Apportionment Agreement, Tax, 5 Buildings in Lower Elko Colony;"

            g. "Discussion with Darian Stanford pertaining to the Te-Moak Constitution
               Conflict regarding the Elko Band Cannabis Dispensary;"

            h. "Discussion of Legal Relationship between Elko Band and the Cannabis
               Company that established the Elko dispensary;"

            i.   "Discussion of the Legality of the State of Nevada Cannabis Compact with
                 Elko Band;"

            j.   "Legal Conversation regarding Sovereign Cannabis Solutions [SCS];"




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              k. "Read and Research Federal Case Law on Article Eight of the 1982 Te-Moak
                 Constitution pertaining to the Tribal Judicial Branch of Government ..
                 .Federal Case Law on the Final Interpreters of the Tribal Constitution and on
                 Tribal Laws, Ordinances and Resolutions; Federal Case Law on Terms of
                 Judicial Office; Federal Case Law on Tribal Judges; Required Qualifications,
                 Compensation... Federal Case Law on the Legal Process to Recall Tribal
                 Judges; Removal of Judicial Officers;"

             I.   "Read and research Federal Case Law on Article 9 of the 1982 Te-Moak
                  Constitution...Federal Case Law Against Taking Property Without Just
                  Compensation... Equal Protection ... [and] Due Process of Law;"

             m. "Necessary Legal approval of the Secretary of the Interior for All Leases,
                Permits, Assignments and/or contracts on Tribal Lands;"

             n. "Review of Te-Moak Law and Order Code; Matching Federal Case Law
                Requirements to Each Article within the Te-Moak Law and Order Code..
                .Study the Legal Elements necessary to Create the Te-Moak Tribal Court of
                Original Jurisdiction and Te-Moak Tribal Court of Appellate Supreme Court
                Jurisdiction; Match Legal Requirements in the 1982 Te-Moak Tribe of
                Western Shoshone Indian[s] of Nevada Constitution ... Research Structure of
                Courts and possible selections of Tribal judges, Tribal Clerk, Tribal Bailiff,
                Tribal Prosecutor, Tribal Public Defender ... $127,000.00."Exhibit 111-C(4)(c).

    377. On December 10, 2020 the Plaintiff received an email from Sypolt and Dentons
         containing the 4:16 p.m. version of Dentons-Sypolt billing statement that is an
         almost mirror image of the subsequent 4:20 p.m. version seeking "$127,000.00" and
         the 4:16 p.m. version includes the exact language, topics, subjects, references and
         items as the 4:20 version. only the 4:16 version assesses a fee of "$200,000.00" for
         the same services rendered billed to the Te-Moak Tribe by Sypolt for the same
         period of time. Exhibit III-C(4)(b)(-(c). The "$200,000.00" payment was sought by
         Dentons and Sypolt pursuant to the CARES Act justification memoranda to support
         the payment from the Te-Moak Tribe through federal funds administered through
         the CARES Act Programs at Te-Moak. All three versions of the billing invoices lack
         legitimate or actual CARES Act work by Sypolt or Dentons for the Te-Moak Tribe.

    378. On December 10, 2020 the Plaintiff received an email from Sypolt and Dentons
         containing the 2:40 p.m. version of Dentons-Sypolt billing statements that is almost
         a mirror image of the two subsequent versions, (4:16 p.m. and 4:20 p.m.), and the

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          2:40 version includes the exact language, topics, subjects, references and items as
          the other versions, for the same services rendered and billed to the Te-Moak Tribe
          by Sypolt for the same period of time, albeit the 2:40 p.m. version stops as though
          the keyboard ceased working in mid-sentence. Ref. Exhibits II-F(4)(a)-(c).

    379. On December 11, 2020 the Plaintiff delivered to each member of the TMC a true and
         correct copy of the Dentons-Sypolt CARES Act expenditure memorandum justifying
         the payment of $200,000.00 with CARES Act funds to Den tons, and that document
         asserted that the expenditure is allowable if and only if an attorney actually works
         on CARES Act issue. The CARES Act Program expenditures deadline was set by the
         federal government as December 29, 2020 and as of December 11, 2020 Sypolt and
         Dentons failed to perform legitimate or actual services related to the Tribe's CARES
         Act Programs on behalf of the Te-Moak Tribe, as shown and reflected in all three (2)
         versions of the billing statement submitted on December 9-10, 2020. Id.

   380. On December 11, 2020 at a TMC meeting conducted via the internet and other
        electronic means through the Lucent Technologies POP 100 Gigabyte data switch in
        Salt Lake City, Utah, Uoseph Holley was in a Utah hospital), after review and
        discussion of the Dentons justification memoranda for the CARES Act expenditure,
        ($200,000.00), the TMC agreed and authorized the execution of two (2) new
        contracts with Dentons. Resolution 20-TM-139 states that Dentons will receive
        "$200,000.00" from CARES Act federal funds, as a security retainer, "for legal
        services on behalf of the Te-Moak Tribe specific to the use of CARES Act funding and
        expenditure." Sypolt received the $200,000.00 payment to Dentons on or about
        December 16, 2020 and left on a month long vacation December 18, 2020 and the
        federal CARES Act expenditure deadline was December 29, 2020.

   381. On December 11, 2020 at a TMC meeting conducted via the internet and other
        electronic means through the Lucent Technologies POP 100 Gigabyte data switch in
        Salt Lake City, Utah, Uoseph Holley was in a Utah hospital), the TMC agreed to the
        execution of the second contract with Dentons. Resolution 20-TM-140 states that
        Dentons will receive "$300,000.00 to be expended from the RAMAH Account," held
        at Zions bank and NSB, to perform the following legal services for the Te-Moak Tribe:

            a. "(1) research and drafting of documents to create and establish a Te-Moak
               Court System of Original and Appellate Jurisdiction;"
            b. (2) research and drafting of new and updated Te-Moak Legal Civil Code;
            c. "(3) research and drafting of new and updated Te-Moak Rules of Civil
               Procedure;"

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              d. "(4) research and drafting of new and updated Rules of Criminal Code;"
              e. "(5) research and drafting of new and updated Rules of Criminal Procedure;"
              f. "(6) Work with the Te-Moak Council to attract new economic development to
                 the Tribe;"
              g. "(7) Initial Investigation and Presentation of Te-Moak Water Rights (Initial
                 Stage);"
              h. "(8) Initial Investigation and Presentation of Ruby Valley Treaty Rights
                 (Initial Stage);"
              i. "(9) Recruiting and Hiring of Qualified Tribal Court Personnel;"
              j. "(10) Input from Council Members and Continued Amendment of Te-Moak
                 Constitution;" and
              k. "(11) Daily availability for minor day-to-day questions," and authorizing
                 Chairman Holley to affix his signature and the language failed to allow for
                 retroactivity of the services, payment or billing.

    382. On information or belief Juan Arevalo, as the Vice Chairman and J. Ross Docksey, as
         Dentons partner, signed and executed the Dentons agreements pursuant to TM C
         Resolutions 20-TM-139 and 140. As of December 18, 2020 Dentons received three
         (3) checks from the Te-Moak Tribe totaling $627,000.00 for legal services in four (4)
         months. Ref. Exhibit III-C(2). Dentons, Sypolt, Skibine, Sibbison and Chad Smith
         knew or should have known the two (2) exclusive, constitutional qualifications for a
         Te-Moak judge and the removal procedures under the Te-Moak Constitution.

    383. On December 11, 2020 at a TMC meeting conducted via the internet and other
         electronic means through the Lucent Technologies POP 100 Gigabyte data switch in
         Salt Lake City, Utah, Uoseph Holley was in a Utah hospital), Sypolt stated to the TMC
         that completion of all matters related to the Court system will take Sypolt and
         Den tons 2 months and that it will take 1 year to complete the necessary work
         related to the Tribe's Water rights. As of March 1, 2022 the Te-Moak court system
         and water rights issues are incomplete, and the water rights issues for the tribe
         remain in the same condition as March 2021, unsettled and unresolved.

    384. On December 11, 2020 the TMC voted to approve and accept the CARES Act
         justification expenditure memorandum provided by Sypolt and Dentons in support
         of payment with CARES Act federal funds pursuant to Resolution 20-TM-143.

    385. On December 11, 2020 Scott Sypolt, an attorney with Dentons, sent the Plaintiff a
         text message via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake
         City, Utah that states "[y]ou and Joe [Holley] are Great Leaders!"
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    386. On December 11, 2020 Davis Gonzalez and David Carrera demanded that Sypolt
         provide a detailed billing statement for all legal services and expenditures since July
         2020 because both Dentons and Sypolt failed to provide Council with a detailed
         hourly billing statement. Larry Yeager and Juan Arevalo agreed that the TMC
         needed an itemized billing statement from Sypolt, to the Plaintiff, who in turn was
         directed to relay the same to each Council member when received from Den tons and
         Sypolt. The Plaintiff again transmitted copies of the documents the Plaintiff
         received from Sypolt, (December 9-10, 2020), informing the TMC of the same and
         describing the Plaintiffs attempts to work with Sypolt on multiple occasions to get
         resolution, compliance or compromise with the billing issues.

    387. On December 11, 2020 the Plaintiff received a text message from Sypolt stating "just
         got off the phone with Governor Sisolak, please call me." Exhibit III-D(9): Sypolt-
         Biers Text. During a subsequent call Sypolt stated that Steve Sisolak re-affirmed
         prior material terms entered into between Sypolt, Dentons, Sisolak and Ford
         regarding the NCE outlined during the October and November 2020 discussions
         between the same individuals: Governor Sisolak agreed to enter into a new
         Cannabis Compact with the Te-Moak Tribe named as the proper party because Davis
         Gonzalez falsified material information in the existing Compact: that Sypolt needed
         funding from the Tribe for Sisolak and others to "grease the wheel and make sure
         this goes through quickly: "that "the Darian Stanford and SCS's owners agreed to
         pay the Tribe its taxes" based off the sale and distribution of a controlled substance
         at Newe Cannabis "if the Council changes the cannabis law then SCS will agree to
         continue to donate significant amounts to the Governor and his friends, who are our
         friends, so we can continue. This is a great day for the Tribe:" and that Dentons kept
         "Utah's former Attorney General on board and he's now the Utah Governor and he
         also happens to be good friends with Nevada's Attorney General who also worked
         for Dentons, so I will be working with them both." The Plaintiff contends that during
         this discussion Sypolt, Sisolak and Ford agreed to continue the AS agreement, plan
         and scheme to terminate the Plaintiffs employment to preserve and protect the
         continuation of the NCE.

    388. On December 12 and 13, 2020 Davis Gonzalez began distributing $1,000.00 cash
         derived or originating from the sale of marijuana at the retail store - Newe Cannabis,
         to each eligible Elko Band member who resided on Elko Band Colony and who
         personally appeared on federal, tribal land in Elko. EBC, not EBCE, expended a total
         amount of $399,000.00 during this process to a reported 399 Elko Band members.
         Plaintiff personally appeared at the EBC on December 13, 2020 to have Juan Arevalo

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          sign unrelated checks for Te-Moak EBC members, SCS representatives and NCC
          members were personally counting the cash proceeds, (after the 'partner's share'
          had been deducted), and pursuant to A6 the claimed EBCE half share net amount
          equaled $420,000.00, ( 50%-50%), from that amount $399,000.00 was distributed,
          in $1000 increments, leaving a remainder of $21,000.00 from the NCE proceed net
          amount.

    389. On December 14, 2020 Alice Tybo sent or transmitted a text message to the Plaintiff
         via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah that
         states "[d]id the judge [Harlan] receive Scott's filing late or is she lying? I wouldn't
         put it past her...Scott said not to worry about the judge's order. I'm not!!" Sypolt
         failed to provide timely documents or information regarding Tybo's request with
         the intent to hide Chad Smith's involvement with SCS and TT on behalf of Dentons
         and to cause a delay as a pressure technique to obtain the $500,000.0 payment.

    390. On December 15, 2020 Sypolt telephoned the Plaintiff demanding the immediate
         payment of $500,000.00 or Dentons "will withdraw," giving instructions to send the
         money to Sypolt's home address "7903 Bayview Drive; Wonder Lake, IL 60097."
         The checks were sent and delivered to that address via United States Postal Service
         express mail.

    391. On or about December 15, 2020 the Plaintiff received a copy of an endorsed CARES
         Act check for "Herbert Knight," and the check endorsement contained multiple
         names and signatures that failed to match the application signature and name.
         Plaintiff transmitted a copy of both documents to Hinton Burdick in St. George, Utah
         and authorized that firm to submit a fraud report with law enforcement.

    392. On December 16, 2020 Davis Gonzales ordered Finance Department to deposit
         $21,000.00 of ECBE cash derived or originating from the sale and distribution of a
         controlled substance, marijuana, by the NCE at the retail store-Newe Cannabis, into
         Zionsbank and NSB account for EBC. Davis Gonzalez, again without EBC
         authorization or knowledge, ordered the payment of Elko County Dispatch Bill in
         the amount of "$20,937.50" after Zions bank processed the $21,000.00 cash deposit
         via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, through
         Zionsbank/NSB and SALAL, when Davis Gonzalez failed or refused to disclose the
         actual character of the funds as unlawful cash, income or revenue to Elko County
         Dispatch. Exhibit II-B(5). The payment receipt states that the payment was drawn
         in an amount of "$20,937.50" for an "Outstanding Dispatch Bill from Te-Moak
         2018." Id: Elko Band Check Receipt #89132 (December 16, 2020).
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    393. On December 17, 2020 Bryan Bowker signed a document received by TMC on or
         about January 27, 2021 acknowledging receipt of "Resolution No. 20-TM-129"
         creating and establishing the Te-Moak Court system. Bowker, without lawful
         authority, with the intent or purpose to interfere or cause injury to the Plaintiff
         pursuant to AS, declared and invented a false legal standard requiring the BIA's
         acceptance of the Tribe's new court system. Exhibit II-C(5): see Carris LaRoque. et
         al v. Aberdeen Area Director. 29 BIA 201(1996)(8/A should avoid interpreting tribal
         law with absurd result); g,g. Cheyenne River Sioux Tribe v. Aberdeen Area Director.
         24 IBiA 55(1993)(review of tribal ordinances is an intrusion into tribal self
          governance and disapproval is permissive on{y when ordinance conflicts with Federal
          law). Bowker sent a copy of Exhibit II-C(5) to Joseph McDade.
    394. On December 18, 2020 Sypolt telephoned the Plaintiff and stated that Sypolt
         received two (2) checks, one (1) $200,000.00 check and one (1) $300,000.00 check,
         both drawn on Zions bank instruments, in the mail at his home address on behalf of
         Dentons. During this telephone call Sypolt stated that his family and Sypolt were at
         the airport leaving for the "Caribbean" for the holiday. Sypolt later stated they
         remained in the Caribbean for approximately 32 days, returning on or about January
         20, 2021. The Te-Moak Tribe's CARES Act Programs finished all primary functions
         as of December 30, 2020, except for an amount held in reserve for pending
         predetermined distribution processes, the final accounting and reconciliation
         reports.

    395. In January 2021 Juan Arevalo stated to the Plaintiff that "I got my Player's Club
         annual statement and in 2020 it said I lost over 45 thousand." Plaintiff stated "you
         didn't earn 45 grand in 2020 and you have two kids, how is it possible to spend 45
         thousand gambling?" Juan Arevalo walked away without answering. The Player's
         Card is a point based benefit recording system at the former Red Lion Inn and
         Casino, and after the purchase of the Red Lion by Maverick, a Washington entity, the
         electronic system automatically transferred the stored, accrued data for each
         account as part of the purchase agreement with the Red Lion Inn and Casino.

    396. On January 4, 2021 EBC Finance Department produced an EBC "Expanded General
         Ledger" report showing "Unposted Transactions Included In Report" for the period
         August 1, 2020 through December 31, 2020 at the direction of Susan Zuzueta, as
         approved and authorized by Davis Gonzalez. Exhibit II-B(3).

    397. On January 4, 2021 the EBC Expanded General Ledger states that expenditures were
         made referencing: "Other Enterprise," "Law Enforcement" and "RIBAO BCS-160

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          BANK GRADE Nevada State Bank Commission Expense," inter a/ia, totaling
          "$151,839.31," adjusted with a credit of"$23,396.76," resulting in a remainder of
          "$128,422.55" with a handwritten note immediately adjacent to that amount stating
          "remaining amount owed to EBC" from the NCE and SCS. Exhibit II-B(3). The
          "[o]ther Enterprise" is the NCE, and this Ledger shows that Zions bank and NSB
          knowingly received a "Commission" or that Zionsbank and NSB were knowingly
          receiving funds from the NCE by way and through expenditures at the NCC for the
          NCE. This Ledger shows NCE expenditures of cash, revenue or income derived from
          or originated from the sale of a controlled substance at the NCE retail store Newe
          Cannabis, and that EBC maintained and managed those funds, in an amount here,
          equaling $151,839.31, where that amount is absent from the other financial records
          for the NCE. Exhibit II-B(3).

    398. On January 12, 2021 Veronica Huerta personally delivered a written request from
         Davis Gonzalez and Susan Zazueta to appear before the TMC at a meeting on
         February 3, 2021 and to request reimbursement of $20,937.50 for the Elko County
         Dispatch debt. See Exhibit II-B(5).

    399. On January 12, 2021 Ms. Huerta included a letter from Davis Gonzalez and a
         payment receipt, dated December 16, 2020, that states EBC paid "$20,937.50," and
         that Elko Band sought reimbursement from the Te-Moak Tribe. Id: Elko Band
         Check Receipt #89132 and Gonzalez-Holley Letter Qanuary 12, 2021)(EBC file
         stamp 000102)(sent via USPS to BIA-WRO Glenn Shafer). The documents included in
         this mailing failed to state that money used to pay Elko County Dispatch was derived
         or originated from the sale and distribution of a controlled substance, marijuana, by
         the NCE retail store-Newe Cannabis. EBC sent notice to the BJA-WRO, which at that
         point had actual knowledge of money laundering at EBC involving the NCE. Id.

    400. The EBC request included documents showing that EBC applied for a federal grant,
         PL 638, to provide federal funds to support law enforcement services on EBC. Id.
         Ms. Huerta stated that without payment of the debt Elko Band's law enforcement
         would not have access to Emergency Management System radios. Davis Gonzalez
         stated that EBC wanted its own private law enforcement agency to police and
         protect the EBC-SC-TT assets at Newe Cannabis, for the NCE, stating that Elko Band
         actually used $100,000.00 of the cash proceeds obtained from the NCE to initially
         fund law enforcement at Elko Band. Plaintiff contends that EBC laundered
         $100,000.00 of CARES Act funding through Zions bank, NSB and SALAL, with
         $100,000.00 in NCE cash, income or revenue prior to payment or expenditure of
         $100,000.00 to EBC law enforcement.

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    401. On January 13, 2021 the NCE produced a written report, pursuant to aA1-A4, A6
          and A8 agreement, plan or scheme between SCS; EBCE; Robin Evans; Leslie Grove;
          Paul Conable; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez;
          Thalia Marin, Larry Yeager; Juan Arevalo; Darian Stanford; Kevin Clock, and others,
          that states, (after the undisclosed, pre-count 'partner's share'was reduced from the
          claimed gross income), the claimed net income for the fourth quarter 2020,
          (spanning October 1, 2020 through December 31, 2020), totaled an even
          "$1,500,000.00," with the "EBCE" half share equaling "$750,000.00" and the "SCS"
          half share equaling "$750,000.00," pursuant to A6 ("SCS 50% ECBE 50%"),
          produced and published by the NCE with the intent or purpose to violate or attempt
         to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C.
         §1344; 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and the
         Te-Moak Constitution. Article 4. sections 3. 12 and 14 and when the Plaintiff
         appeared at EBC Offices on December 13, 2020, (18 days before the end of the
         quarter), the Plaintiff found Juan Arevalo, Davis Gonzalez, and others, counting and
         distributing the cash proceeds from the fourth quarter 2020 derived or originating
         from the sale and distribution of a controlled substance, marijuana, at the retail
         store Newe Cannabis, Juan Arevalo stated that "the building is locked up because
         while we were counting the money from Newe a bag with 75 grand cash went
         missing inside," before stating that EBC one half share from the NCE for the fourth
         quarter 2020 was "1.6, 1. 7 million give or take a little." See Exhibit II-B(2). The
         total amount generated from the sale and distribution of a controlled substance,
         marijuana, at the NCE retail store Newe Cannabis in 2020 totaled about $10 million,
         and EBC distributed a total amount to EBC tribal members $399,000.00 directly,
         plus an additional $25,000.00 for tuition, ($5,000 to each student), and about
         $15,000.00 in educational supplies and equipment.

   402. On or about January 15, 2021 Joseph Holley ordered the Plaintiff to submit and sign
        a CARES Act Financial Progress Report for the fourth quarter of 2020 prepared by
        Hinton Burdick in St. George, Utah.

   403. On or about January 18, 2021 an internal audit performed by EBC revealed an
        amount of $21,000.00 was missing or unaccounted for from the total amount
        remaining after EBC-NCE December 13, 2020 distribution, ($420,000 minus
        $399,000). According to EBC under the A6 $420,000.00 represented the remainder
        of the EBC half share of the total net proceeds, money or funds, (originating from
        NCE sale and distribution of a controlled substance), after operating costs. The
        internal audit showed that the missing $21,000.00 matched the amount deposited in

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          the Zionsbank/NSB EBC-EBCE General Fund account after the December 13, 2020
          EBCE/SCS accounting of NCE profits.

    404. On January 18, 2021 Alice Tybo sent an SMS text message to the Plaintiff via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah stating "Davis
         told me he was going to go to Boise .. .I told him we need to stay with our [CARES
         Act] deadline decision. He agreed [s]aid the same thing happened at Elko Band
         when they decided to go with Elko Band affiliated, registered voters, head of
         household [f] or their distribution of the cannabis."

    405. On or about January 19, 2021 the Plaintiff reported suspected CARES Act fraud with
         the Office of Inspector General Treasury and directly to Joseph Holley that involved
         Reynolds, Walker, Sypolt and Dentons.

    406. On January 20, 2021 Alice Tybo sent an email message to the Plaintiff via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah stating "Sam:
         Thank you for all you do. You are the best person for us to have as the
         administrator, during this pandemic and troubling court times. I really appreciate
         you, your knowledge & professionalism." Exhibit 111-B(lO).

   407. On or about January 21, 2021 Davis Gonzalez informed the Plaintiff that Gonzalez
        "wasn't worried about any investigation, fuck those guys" during a discussion about
        the payment to Elko County Dispatch with cannabis cash because "I've been doing
        this shit for years and we paid for a bunch of attorneys and gave 500 grand to
        politicians. Man, we got Biden to show up here, we even got Masto and the
        Governor on our side." The Plaintiff asked Gonzalez about the letter from Aaron
        Ford and Gonzalez replied "that's nothing, I gave him 50 grand to keep supporting
        our cannabis program and that's another thing you need to stop asking Kyle
        [George] about that shit. What do you think, people don't tell me what you're
        doing?" Ref. Exhibit 11-C(4). The Plaintiff responded "I'm just doing the job I was
        hired to do and you keep signing things on behalf of the Tribe when you're not the
        Chairman of the Tribe Davis."

   408. On or about January 22, 2021 Sypolt traveled by aircraft and arrived at the airport
        in Salt Lake City, then paid for a hotel and rented a car before traveling on Interstate
        80 and arriving on federal, tribal lands on January 23, 2021. Upon Sypolt's arrival at
        Te-Moak the Plaintiff requested that Sypolt return of the Tribe's $200,000.00 in
        CARES Act funds because "the programs are over and you didn't perform any CARES
        work." Sypolt snapped back at the Plaintiff "I don't do refunds.".


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    409. On or about January 23, 2021 Elko Band Council held a public meeting to address
         the missing $21,000.00 cash from the NCE funds held or controlled at Elko Band.
         This meeting was broadcast as an electronic video signal over the internet via the
         Lucent Technologies POP 100 gigabyte data switch in Salt Lake City. After an official
         reading of the report into the public record, the Finance Clerk stated that the money
         used to pay $20,937.50 to Elko County Dispatch came from the NCE retail store
         Newe Cannabis funds or money deposited into Elko Band's General Fund at
         Zionsbank/NSB. Ref. Exhibit II-B(5). This money was commingled with federal,
         state and private funds at the direction of Davis Gonzalez, on behalf of EBCE,
         pursuant to A1-A4, A6 and AS agreement, plan or scheme with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952(Travel Act); 18 U.S.C.
         §1956(Money Laundering); 18 U.S.C. §1957(Engaged in Unlawful Monetary
         Transactions); 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4. sections 3.
         12 and 14.

    410. Davis Gonzalez admitted, without EBC approval and against tribal policy and law,
         that Gonzalez ordered the Finance Clerk to issue Check No. 89132 to Elko County
         Dispatch with cash proceeds derived or originating from the sale and distribution of
         a controlled substance, marijuana, at the NCE. See Exhibit II-B(5). Gonzalez stated
         he ordered the funds to be deposited or transferred into Zionsbank/NSB and paid or
         routed through SALAL, and an instrument was deposited in the United States Postal
         Service or transmitted electronically as an ACH via the Lucent Technologies POP
         100 gigabyte data switch in Salt Lake City, and sent to and received by Elko Central
         Dispatch, pursuant to A1-A4, A6 and AS agreement, plan or scheme with the intent
         or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341; 18 u.s.c. §1343: 18 u.s.c. §1344; 18 u.s.c. §1952; 18 u.s.c. §1956; 18 u.s.c.
         §1957: 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4. sections 3, 12 and
         14 and during the video broadcast of this meeting members of Elko Band openly
         stated "that's money laundering Davis."

    411. On or about January 25, 2021 the Plaintiff exchanged emails with Elko County
         Dispatch Operations Director Donna Holladay and held a subsequent telephone
         conversation with Ms. Hollady regarding the $20,937.50 debt and the character of
         funds used to pay that debt by EBC after Mrs. Holladay confirmed that Elko Central
         Dispatch received payment from EBC, not EBCE, in the form of an instrument drawn
         on Zionsbank/NSB. The Plaintiff informed Ms. Holladay of Mr. Gonzalez' admissions
         during the EBC January 23, 2021 meeting as published online.

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    412. On or about January 25, 2021 Plaintiff participated in a joint law enforcement
         teleconference meeting with FBI and 01 G agents regarding the CARES Act fraud
         report that Plaintiff submitted based on the discovery of evidence supporting fraud
         by officers, agents, representatives and employees of the Te-Moak Tribe, supra, and
         the Plaintiff indicated to OIG where the records and evidence were located, and as
         soon as the Plaintiff informed the agents of allegations of fraud and other criminal
         conduct associated with Jeffery Scott Sypolt and Dentons the meeting ended.

    413. On or about January 26, 2021 the Plaintiff reported suspected fraud at TMHA with
         the U.S. Housing and Urban Development Office of Inspector General related to
         TMHA financial records, practices and documents showing the impermissible
         application oflate fees and charges, investments and expenditures of federal funds
         without authorization and contrary to law.

    414. On or about January 26, 2021 the Plaintiff filed a report of suspected fraud with OIG
         Interior-BIA involving personnel, staff and employees of the Te-Moak Tribe.
         Bowker caused or assisted in causing a processing delay and/ or dismissal of this
         complaint without oversight by DOI in Washington, D.C. to prevent disclosure of the
         participation by Bowker and Joseph McDade in the NCE and assist the NCE
         continuing, including the terms of AS. As of October 1, 2021 the DOI-BIA
         implemented a new OIG and Internal Affairs policy requiring a copy of all
         complaints delivered to the Regional Offices be sent to the National Office.

    415. On or about January 27, 2021 the Plaintiff communicated with Elko City Manager
         Curtis Calder regarding the $20,937.50 debt and the character of funds used to pay
         the debt to Elko County Dispatch by Elko Band pursuant to the communications
         between the Plaintiff and Elko County Dispatch Operations Director Holladay and
         the video recording with Mr. Gonzalez' admissions as published online.

    416. On or about January 27, 2021 Davis Gonzalez, Thalia Marin, Juan Arevalo, Larry
         Yeager, LaDonna Leyva, held a public meeting with Suzanna Sandoval present and
         sitting at the EBC table. When the discussion turned to the topic of the NCE and the
         depositing of NCE funds into Zions bank, Davis Gonzalez motioned to move that topic
         into a "Closed" Meeting, barring the public from receiving information, and tribal
         members in attendance verbally objected because the Te-Moak Constitution
         requires Open Meetings. Thalia Marin agreed to hold any discussions regarding the
         NCE in a meeting closed to the public to protect the "Agreement'' with SCS from
         disclosure. EBC decisions were based on the direction and information EBC


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           members received from Steve Sisolak; Aaron Ford; ECDCC; Darian Stanford, Paul
           Conable, Sypolt and Steve Olson.

    417. On or about January 27, 2021 Juan Arevalo hand-delivered copies of the video
         recordings from the EBC January 23, 2021 meeting to the Plaintiff regarding the
         payment of $20,937.50 with cash proceeds from the NCE. Juan Arevalo routinely
         "lost" or misplaced cellular phones issued by EBC to prevent discovery or disclosure
         of the electronic data contained on each phone by Jaw enforcement.

    418. On or about January 28, 2021 Joseph Holley ordered the Plaintiff to continue
         researching the payment of $20,937.50 to Elko County Dispatch and the related debt
         to Western Shoshone Department of Public Safety, ("WSDPS"), and place the Elko
         County Dispatch debt and Elko Band request for reimbursement on the February 3,
         2021 Tribal Council Agenda. Ref. Exhibit II-C(8) at 5(1:07:58-1:09:46).

    419. On or about January 28, 2021 after the Plaintiff reported to Joseph Holley Sypolt's
         threats to use third parties to physically harm Davis Gonzalez, (an 80 year old
         Chairman of Elko Band Council and a Te-Moak Council Member), with Sypolt
         referring to Gonzalez as a "Red Apple" and stating Gonzalez is "red on the outside
         mostly white on the inside," and during that same conversation the Plaintiff
         reported Sypolt's attempted bribe of $37,000.00 in cash to the Plaintiff where Sypolt
         stated "SCS will deliver it to me and I'll give it to you if you want it, it's the Tribe's tax
         portion and nobody will know." Plaintiff reported the events to Holley stating the
         Plaintiff was tired of dealing with Sypolt, and after that meeting with Holley, Sypolt
         telephoned the Plaintiff and stated "I'm going to kick your ass the next time you get
         in my way... if we were in Chicago I'd already have you and Gonzalez' legs broken or
         you both Jocked up in jail."

    420. On or about January 28, 2021 the Plaintiff stated to Zionsbank/NSB Nicole Lewis
         that EBC was commingling federal funds with funds derived or originated from the
         sale and distribution of a controlled substance, marijuana, by the NCE.

    421. On or about February 2, 2021 the Plaintiff received an email from a member of Alice
         Tybo and Tanya Reynolds' family, Alexus Leyva, routed via the Lucent Technologies
         POP 100 Gigabyte data switch in Salt Lake City, Utah which is also the location of Ms.
         Leyva's residence. Ms. Leyva is employed in the field of behavioral science. Ms.
         Leyva stated in the email that Reynolds directed Leyva to approach the Plaintiff
         seeking CARES Act funds, and she described similar facts that were involved in other
         cases with allegations of fraud in the CARES Act where Ms. Leyva submitted


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          applications for herself and her daughter and only one application physically
          appeared in Te-Moak records, leaving Ms. Leyva's daughter without a check or
          payment. When Reynolds spoke to the Plaintiff about the Leyva case, Reynolds
          stated that the Plaintiff had "to issue her a check because her family has a bunch of
          votes and we need them for the election corning up."

    422. On or about February 2, 2021 EBC held an official meeting to discuss the payment of
         $20,937.50 with Newe Cannabis proceeds for an official debt to Elko Dispatch
         Center billing after accusations of money laundering were made against Davis
         Gonzalez. Joseph Holley and Sypolt both informed Davis Gonzalez that the Plaintiff
         reported the information to the FBI and OIG.

    423. On or about February 2, 2021 Sypolt requested to meet with the Plaintiff outside
         during a TMC meeting break Sypolt apologized "for losing my cool and yelling at
         you, we're professionals and we need to work together. If you're okay with it, Joe
         and I agree that we need you as the prosecutor in the new court system we're
         building. Will you consider it?"

    424. On February 2, 2021 Joseph Holley sent a text message to the Plaintiff inviting the
         Plaintiff to attend a meeting with Tanya Reynolds, Sypolt and Darian Stanford at JR's
         restaurant in Elko, Nevada after Stanford and Sypolt flew into Salt Lake City,
         separately, on February 1, 2021 and then drove to federal, tribal lands to finalize an
         agreement, plan or scheme to use funds derived or originating from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis to finance the new Te-Moak Court system in exchange for the nomination
         of SCS attorneys and placement of those aligned or employed by SCS into Te-Moak
         judicial and court positions. The Plaintiff declined the invitation.

   425. On February 2, 2021 after the morning meeting with Sypolt, Reynolds and Stanford,
        Joseph Holley and the Plaintiff discussed the Plaintiffs nomination for the
        prosecutor position with the Tribe. At this time the Plaintiff stated that he would
        grudgingly agree to serve temporarily as the prosecutor but that the only position
        for serious consideration by the Plaintiff was for the appellate judge otherwise the
        "Tribal Administrator is enough for me." Holley stated that he agreed that the
        appellate judge was the best position for the Plaintiff. Alice Tybo telephoned the
        Plaintiff shortly after the discussion with Holley, and when Tybo posed the same
        question the Plaintiff stated he would accept the "appellate judge position."




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    426. On February 3, 2021 Sypolt and Joseph Holley met with Darian Stanford at JR's
         restaurant in Elko, Nevada at approximately 8:00 a.m. At this meeting Sypolt, Holley
         and Stanford finalized an agreement, plan or scheme as the agents and
         representatives ofTMC; SCS; EBCE; TT and Dentons, where Sypolt agreed to
         nominate SCS agents, employees or representatives for positions in the Te-Moak
         court system as provided by Darian Stanford and SCS: Darian Stanford as the
         nominee for the appellate judge; Ramon Acosta as the Trial Court Judge; Elisa Dave
         as the Court Clerk and Tildon Smart as the Bailiff. In exchange for successful
         appointment, placement and hiring of these individuals SCS, EBCE and TT agreed to
         finance and fund the entire Te-Moak court system with cash proceeds, income or
         revenue that originated, received or were obtained or derived from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis, on behalf of the NCE, with the intent or purpose to violate or attempt to
         violate 21 U.S.C. §841, 26 U.S.C. §7201. 18 U.S.C. §1341: 18 U.S.C. §1343: 18 U.S.C.
         §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and the
         Te-Moak Constitution. Article 4. sections 3. 12 and 14 and Sypolt, Joseph Holley and
         Darian Stanford then jointly and individually agreed to expand the terms of the AS
         agreement, plan or scheme to interfere, injure or interrupt Te-Moak Tribal
         government operations and invent, create or publish false statements and artificial
         reasons or justifications to obtain the termination of the Plaintiffs employment with
         the Tribe to permit the same individuals and entities to continue the unlawful
         commercial sale and distribution of a controlled substances at the NCE, in exchange
         for unreported cash payments that were derived, received or originated from the
         unlawful sale and distribution of a controlled substance, marijuana, and Stanford
         agreed to deliver $37,000.00 to Sypolt as an initial deposit, along with the names of
         candidates for the court system, and Holley and Sypolt agreed to pre-arrange the
         votes on TMC to pre-approve the SCS nominees, with both parties agreeing to
         guarantee that the personnel selected would promise that the NCE continued its
         operations on Te-Moak land without negative adjudication.

    427. On February 3, 2021 Darian Stanford stated to Joseph Holley and Sypolt that Paul
         Conable expressed reservations about entering the agreement, plan or scheme to
         fund the Te-Moak Court system because of the Plaintiffs position and authority as
         the Te-Moak Tribal Administrator, and Sypolt stated that "we have that handled,
         don't worry about Sam he won't be here long, we will get him in as the prosecutor
         and force him out as the Administrator, then fire him as the prosecutor using his
         background against him. He's a fucking felon for Christ's sake. Have you read the
         Facebook posts about him?" Under the expanded AS agreement, plan or scheme the

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          parties agreed to nominate the Plaintiff as the prosecutor, force a conflict of interest
          and require the Plaintiff to step down as the Tribal Administrator, then terminate
          the Plaintiff as the prosecutor no later than June 2021, the time period SCS/TT
          attorneys stated they needed to fully fund the Judicial Enterprise.

    428. On February 3, 2021 Sypolt publicly stated that Sypolt submitted the Plaintiffs
         name as a nominee for the Tribal Prosecutor position stating that Sypolt performed
         a thorough background on every candidate before presenting their names to the Te-
         Moak Tribal Council guaranteeing that all were spotless, "cross[ing] every 't' and
         dotting every 'I,"' and that Sypolt "went through piles and piles of applications, made
         calls on them, [Sypolt] checked on their qualifications, did background checks," and
         submitted the Plaintiffs name "based on qualifications ... based on [his] honesty and
         integrity..." Exhibit II-C(8) at 2(42:4 7).

    429. On February 3, 2021 Sypolt stated that Sypolt verified the references and
         backgrounds for all the candidates and nominees before the meeting, and that if
         "anybody got even one black mark, [Sypolt] took [them] out. ..They all had
         backgrounds on them... " Exhibit Il-C(8) at 9 (05:14:46).

    430. On February 3, 2021 at 9:02 a.m. Alice Tybo sent a text message to the Plaintiff via
         Lucent Technologies POP 100 Gigabyte data switch located in Salt Lake City, Utah
         that stated "Sent to Joe: Joe question for Scott. Darrian is the attorney for Elko
         Band's Cannabis? How can this not be a conflict of interest? Can we consider
         someone like Sam who knows our constitution inside and out as the appeal[s] court
         judge?" The Plaintiff witnessed Sypolt inside Holley office frantically scribbling
         notes where dozens of variously colored sticky tab notes were laying around as
         though a blizzard deposited them, handing them out for Holley to read and repeat
         during this meeting broadcast via telephone and the internet.

    431. On February 3, 2021 the Te-Moak Tribal Council held a meeting where Sypolt
         claimed that he "completed" all the tasks and work identified in the Te-Moak-
         Dentons Agreements when he knew or should have known that statement was
         materially false, supra. Exhibit II-C(8) at 2-4 (48:19, 49:12-49:37); ref. Resolution
         20-TM-60 Engagement Agreement Ouly 22, 2020); Exhibit III-C(3)(c): Exhibit III-
         C(3)(d). The Chairman and the Plaintiff immediately refuted and challenged
         Sypolts' assertion as untrue or false. See Exhibit II-C(8) at 3 (48:25 - 49:00)("No
         you didn't Scott'' and Holley: "I didn't get an update).




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    432. On February 3, 2021 Sypolt publicly stated to the TMC "you all are sovereign, so if
         there's a Oudicial] conflict you don't have to waive the conflict ...you have total
         control over the judge." Exhibit II-C(8) at 12(5:31:55).

    433. The Te-Moak Constitution. Article 4 and Article 8. section 2 states that "the
         executive and legislative powers of the Tribe shall be vested in a Tribal Council. .
         .and in the Band Councils," and that "[a]ll judicial powers of the Tribe shall vest in
         the Judicial Branch," and as approved by the United States the Te-Moak Law and
         Order Code states that "[t]he Supreme Court Judge shall be responsible for the
         administration of the Court, the assignment of cases, and the management of the
         Court's calendar and business." 87-0RD-TM-03, 1-3-16(0).

    434. On February 3, 2021 no Te-Moak tribal law existed that will allow the TMC to recall,
         remove or terminate a judge for any reason.

    435. On February 3, 2021 Alice Tybo publicly stated "Darian [Stanford] has a conflict
         because he works with Elko cannabis .. .I think the two we really need to get filled
         today are the judge of general counsel and then the Supreme Court Appellate, and so
         I know that we also have another name that can be an appellate court, and that is
         Sam Biers. He can also be a judge in the appellate court...Mr. Biers is more than
         qualified to be our appellate court judge." Exhibit II-C(8) at 12 (5:32:55).

    436. On February 3, 2021 Sypolt publicly stated "I'm here just to make recommendations
         ... the choice is your's with Sam...you need to have the court... the core of the court
         picked today per your constitution, and that is the judge of original jurisdiction, the
         judge of appellate jurisdiction." Exhibit II-C(8) at 13(5:34:46).

    437. On February 3, 2021 Sypolt publicly stated "I have a ton of experience in this ... and
         I've spent a lot of time interviewing these people.. .I really thoroughly vetted all of
         these people, my only loyalty is, is, to the Te-Moak Courts." Exhibit Il-C(8) at 13-14
         (5:37:52)(emphasis added).

    438. On February 3, 2021 Davis Gonzalez and Scott Sypolt publicly stated that Darian
         Stanford is not employed as an attorney for Elko Band, that Darian Stanford is a
         "partner" with EBC-EBCE, and then Sypolt stated that "this is the way I was
         instructed to do it, so I'm just following the orders given to me," and if the TMC
         "doesn't like" the appointed judges "for whatever reason," the TMC has "the power
         per [the Te-Moak] constitution to recall them." Exhibit II-C(8) at 15(5:43:42 -
         5:44:48) (Davis Gonzalez: "Darian . . .he don't work for Elko {Band], he's a partner to
         Elko" and Sypolt: "You're right he's a partner with Elko, he doesn't work for Elko").

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    439. On February 3, 2021 Sypolt publicly stated to the TMC "getting back to the court
         system, you have every legal right as a sovereign nation to have your own court
         system. Your Te-Moak Constitution, Article 8 sections 1, 2, 3 and 4 give[s] you
         that right, and the constatation, the Constitution of the United States Article 1
         section 8 and Article 1 section 2 clause 3 is the legal authority... you also have the
         power to declare the regulations in 25 CFR part 11 are no longer, no longer apply to
         the Tribe, which means our CFR court is gone. You all have asked me to create a
         legal pathway whereby you could create your own tribal court system. Ah, I
         have done that. We have crossed every "T" and dotted every "I" and then I was
         asked to look into candidates for the positions of judge of original jurisdiction,
         judge of appellate jurisdiction, the tribal clerk, Bailiff, prosecuting attorney
         and public defender, which are, which is the core basis of any court system.
         So, I went through piles and piles of applications, made calls on them, I
         checked on their qualifications, did background checks, and I was asked to
         submit 2 names. . . These names were submitted based on qualifications, based
         upon their familiarity with tribal court systems, based upon their honesty and
         integrity, their background education..." Exhibit 11-C(S) at 2-3(42:47).

    440. On February 3, 2021 Sypolt stated to the TMC "the purpose of today is for the new
         business for, regarding the new tribal court system.... every 'T' has been crossed,
         every 'I' has been dotted and you all are prepared to have your own tribal court
         system ..." Exhibit 11-C(S) at 5 (52:30 and 53:33).

    441. On February 3, 2021 Joseph Holley publicly stated to the TMC "let's go on to new
         business "Request to Appoint (1) Appellate Court Judge; (1) Tribal Court Judge
         each separately for an initial appointment term pursuant to the Constitution
         of the Te-Moak Tribe of Western Shoshone Indians of Nevada Article 8 with
         individual candidates who are at least 30 years of age and of good moral
         character ..."' Exhibit 11-C(S) at 6-7(5:02:07).

    442. On February 3, 2021 Sypolt publicly stated to the Te-Moak Tribal Council "[y]ou
         always have the ability if for some reason Council doesn't like them you can
         remove them. You have the right to remove the judges ... I was asked out of
         the big list in each category to supply two names and a little bit about each of
         them which I've done. I'll go over with them, with you and since you've hired
         me do this and I have expertise in this area. I'll tell you whom I recommended
         and tell you why, and then the choice is yours." Exhibit 11-C(S) at 8(5:11:11).



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    443. On February 3, 2021 Sypolt publicly stated to the TMC "the judge of supreme court
         appellate jurisdiction I have two names one is Chadwick Smith, who was the
         chairman of the Cherokee Nation, know him extremely well ... second choice is
         Darian Stanford who many of you know, Darian was a chief judge at McDermitt and
         was also involved with Reno Sparks as many of you know, he started off as an
         adversary to the Te-Moak Council . .. The next category is prosecuting
         attorney. I have two names one is Sam Biers, whom you all know well. I'm
         sure you know his qualifications and the other is Ann Laughlin ... , I actually
         took the time to call these groups and talk to them and anybody that got even one
         black mark I, I took out of the category. They all had backgrounds on them and
         again, this is an objective and impartial group ..." Exhibit II-C(8) at 9(5:14:46).

    444. On February 3, 2021 Sypolt publicly stated to the TMC "Darian [Stanford] is
         employed by the cannabis company that is involved with Elko Band and if a
         cannabis case ever arose and it went to the appellate level. .. he would recuse
         himself and then we could bring in someone like Chadwick Smith ..." Exhibit II-C(8)
         at 10(5:22:11).

    445. On February 3, 2021 Joseph Holley publicly stated "remember these Uudges] that
         we have to put on for three years, so the contract is going to be for three years. That
         doesn't mean we have to keep them for three years because we can vote them back
         out in a month if that's what it takes after we get the court up and running." Exhibit
         II-C(8) at 10(5:23:58).

    446. On February 3, 2021 Sypolt publicly stated to the TMC "you all have a process for
         the judges that you can recall them .. .I'll write into the contract. .. that the Council
         hires them at-will." Exhibit II-C(8) at 10-11(5:24:12). Judges are not employed at-
         will under Te-Moak tribal law and Sypolt failed to produce any written contract for
         the Plaintiff as a judge.

    447. On February 3, 2021 Sypolt publicly stated that "the normal rate in Nevada per day
         for a judge is 1500." Exhibit II-C(8) at 12(5:29:37); ref. Exhibit 11-C(lO).

    448. On February 3, 2021 Robert Brady publicly stated to the TMC that "[Sypolt] said
         their background checks were done, but I don't have any of that documentation
         saying their done .. .if we do appoint somebody we can't just get rid of them just as
         easy as we appointed them because we do have to follow that constitution for
         removing the judge, and we have to follow article four section eight and it's pretty



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           much the same steps to remove the tribal chairperson." Exhibit 11-C(S) at
           16(05:48:15).

    449. On February 3, 2021 Sypolt, as an attorney with Dentons, stated "Bryan Bowker
         actually worked with one of the partners at Dentons and when I showed this
         [December 17, 2020 Bowker Letter] to the Denton's team they were outraged. First
         of all, he, he doesn't, he doesn't base his decision, every lawyer and every judge has
         to base their decision on some kind of existing authority meaning in either case law
         or a statute. This guy doesn't cite anything. What he says is, he bases it all on hey
         we have an ongoing mediation, that has been going on by the way for three and a
         half years. When I showed that to Dentons they thought that was the most
         outrageous thing. Mediation takes three months not three and a half years, they
         thought you were being abused and neglected by these people so he has absolutely
         no legal grounds whatsoever. 1wrote a response to this and it is extremely clear
         that you all are a sovereign nation and under your Constitution and under the US
         Constitution and under 25 CFR 11.104 you have the right to do whatever you want
         to do and the Council made their decision they wanted their own tribal court."
         Exhibit 11-C(S) at 16-17(05:49:39); ref. Exhibit II-C(5). Skibine wrote the response
         and appeal to the December 17, 2020 Bowker Letter pursuant to 43 C.F.R. §900.170-
         Zl, not Sypolt. Id.

    450. On February 3, 2021 Sypolt, as an attorney with Dentons, stated "[o]ne of our
         partners [Skibine] that I had mentioned he wrote a large part of the CFR code, so he
         knows this better than anybody." Exhibit 11-C(S) at 23(06:12:30).

    451. On February 3, 2021 Juan Arevalo publicly requested from Sypolt, as the Tribe's
         attorney for Dentons "in pursuance to the contract that [the judges will] sign for
         three years, is there a clause in their stating that .. the risk of them you know, losing
         their positions is ultimately the Te-Moak Tribe's decision right so that they aren't,
         they are aware of that, that if they don't perform at the level of the Te-Moak Tribe
         wants that they will be removed immediately. Is there something in there that
         protects the Te-Moak Tribe in case that happens?" Exhibit 11-C(S) at 19(05:59:46).

    452. On February 3, 2021 Sypolt publicly stated, in response to Juan Arevalo's question
         regarding the contractual term permitting removal of the two appointed judges that
         day, "[a]bsolutely, absolutely. It follows your constitution to the 'T."' Id. at 06:00:15.

    453. At no point forward from Sypolt's February 3, 2021 public statement related to a
         contractual term authorizing removal or recall did Sypolt or Dentons produce a

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          contract for the Plaintiff that included any term, under the constitution, allowing for
          the removal of a judge without adhering to the removal process found in Article 8 of
          the Tribe's Constitution.

    454. From August 1982 forward, the Te-Moak Constitution states that the only way to
         remove or recall a judge after appointment is by the filing of a lawful petition and
         then holding a special election, there is no statement or provision allowing the
         Tribal Council to remove or recall a judge after an appointment is made by contract,
         motion, ordinance or resolution. Te-Moak Constitution. Article 8. section 6("[a]
         judge shall be unseated from office only in the manner set forth in Section 8 ofArticle
         4"); itg. Article 4. Section 8(recall occurs by filing of valid petition signed by at least
         25% of the registered voters of the Tribe or by at least two-thirds (2/3) of the
         registered voters of any Band" an election is set and then "if at least fifty percent
         (50%) of all the registered voters of the Tribe cast a vote and more than fifty percent
         (50%) of those voting in the election favor such a recall ... the office [is] vacant").

    455. On February 3, 2021 Juan Arevalo stated Arevalo didn't want "a judge from across
         the United States that nobody knows, because let's be honest no matter what in the
         history of, of the tribe, any judge every Council has had a problem with the judge. It
         doesn't matter. It's because of the way they rule and that's a fact. Anyway a judge,
         any time a judge ruled not in the, in the, in your favor, it's an automatic removal. So
         it's always going to be a problem no matter." Exhibit II-C(8) at 22(06:10:28).

    456. On February 3, 2021 Sypolt, an attorney at Dentons, publicly stated".. .you all came
         to me and, myself and Dentons, please I know most people have looked up
         Dentons, we're the largest law firm in the world. We're the top Native
         American law practice in the country, the vast majority of our people in this
         practice are former high ranking BIA people, former our high ranking
         Department oflnterior people. We have former Presidents. We have former
         Governors. We have former Senators. I mean the people who really know
         what they're doing and what they're talking about and so all this has been run,
         not just through me, but, but through them as well." Id. at 23(06:12:30).

    457. On February 3, 2021 Andrea Woods publicly stated "when we hired Scott we hired
         him because of his expertise, and then when we talked about selecting these people
         we have no idea where to get these people. We relied on Scott to get these people
         and he already did their background checks which takes a long time and it's
         already done. He, we relied on his expertise in selecting these people. Why
         should we question Scott when he's our lawyer and we rely on him to do these

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          things for us. And, that's what we hired him for so we should go on what he has
          selected of all these people in the United States. Some don't come from this area we
          could get 'em from clear back East, but no we got some within this area that know
          Nevada tribal law, so why should we question all these people when we can get their
          profile? Yeah, I guess you could say their background check, their resume and read
          it that way ...so we relied on Scott to make these legal choices and our behalf." Id. at
          23(06:14:00).

    458. On February 3, 2021 Davis Gonzalez publicly stated "Joe I'd like to, I gotta to tell
         you guys because I'm, I've known about this for a long time and I got to tell you
         about it. These guys like Elisa Dave clerk from McDermitt, Ramon Custer,
         Acosta, whatever her name was, and, and Tilden Smart, those all came from
         Darian. He was telling me that, he was telling me that those from the
         McDermitt court system and they're having a fight up there ...That's what he told
         me." Id. at 24(06:16:20 and 06:17:14).

    459. On February 3, 2021 Sypolt publicly stated to the TMC in response to Davis
         Gonzalez informing the Council about Darian Stanford's involvement in the selection
         of the appointees that day and protect the agreement with SCS and TT "that's not the
         truth statement. That's not a true statement, they're not all from Darian... That's
         not a true statement at all." Id. at 24(06:17:06 and 06:17:16).

    460. On February 3, 2021 the Plaintiff and Alice Tybo sent text messages via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah regarding the
         Plaintiffs appointment The Plaintiff informed Alice Tybo "[t]he Council already
         ordered my background and the FBI gave 100 percent clear," and Alice Tybo replied
         "Yep ...Voting on you!! Congratulations!! Congratulations!!"Ref. Exhibit JJI-B(l)-(3).

    461. On February 3, 2021 David Carrera tendered a motion to appoint the Plaintiff as the
         appellate judge, with Chairman Holley then reading the official motion into the
         record as "Dave made a motion to hire Sam Biers as the appellate judge by
         Resolution 21-TM-29." Exhibit 11-C(B) at 26(6:25:37). As read into the record, and
         as the actual official action of the Te-Moak Tribal Council, did not include a condition
         requiring Scott Sypolt to perform an additional or any background investigation
         related to the Plaintiff. Exhibit 11-C(B) at 26(06:24:23 through 06:26:20). The
         motion carried by a vote of 5 Yes, 3 No and 1 Abstention. Larry Yeager voted against
         the Plaintiff without recusal even after previously signing a sworn statement
         expressing a bias against the Plaintiff that also admitted that an SCS and EBCE
         employee falsified statements to interfere with tribal government operations and

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          caused the Council to consider termination of the Plaintiff. 1d; see also, Exhibit III-
          A(4). Immediately prior to the February 3, 2021 meeting Davis Gonzalez, as EBC
          Chairman, ordered and directed all EBC members to vote no on the motion to
          appoint the Plaintiff as the appellate judge.

    462. On February 3, 2021 after the TMC Meeting adjourned for the day, the Plaintiff
         stopped at the open door entrance to Tanya Reynolds' office and heard her in a
         heightened tone, facing Joseph Holley with her back to the Plaintiff, "what the fuck
         Joe? I thought you and Scott had a plan to get rid of him, now he's the goddamn
         judge?" Plaintiff stood behind Reynolds waiting for her to stop talking to announce
         Plaintiffs presence and inform Holley that Sypolt wanted him in the adjacent room.

    463. On February 3, 2021 the TMC enacted Resolution 21-TM-23 establishing a budget
         and authorized line item expenditures for the court and court personnel, thereafter
         vesting the Plaintiff with the sole responsibility to administer the court's financial
         business as the Supreme Court appellate judge. Joseph Holley, as the Chairman, and
         Alice Tybo, as the Vice Chairman, opened an account at Zionsbank/NSB and
         authorized the issuance of a VISA credit card through Zions bank, issued in the name
         of the "Te-Moak Administrative Office of the Courts" and failed or refused to provide
         any information to the Plaintiff, as the appellate court judge related to these
         accounts and for all times after issuance entered an agreement with Zions bank to
         deny the Plaintiff access to these accounts.

    464. On February 3, 2021 the TMC held a public meeting where Joseph Holley ordered
         the Plaintiff to present information related to Davis Gonzalez' admission tendering
         payment for a debt to Elko County Dispatch, in the amount of$20,937.50, with cash
         originating from the sale of a controlled substance, against Tribal law, and any
         related liability issues, after Davis Gonzalez requested Te-Moak reimburse Elko
         Band for the expenditure as an attempt to further launder the money through a
         secondary fraudulent payment. Plaintiff stated that the debt was over three (3)
         years old, past the Tribe's civil law statute of limitation, and now the personal
         responsibility of Gonzalez who failed to previously pay the debt.

   465. On February 3, 2021 the TMC ordered the Plaintiff to provide additional information
        on the reimbursement for the $20,937.50 debt to Elko County Dispatch issue to the
        TMC the following day, February 4, 2021, and include a presentation with the video
        recording showing Davis Gonzalez admitting to the source of funds that EBC sought
        reimbursement originated from the NCE, after Davis Gonzalez denied making that
        statement at the recorded February 3, 2021 Te-Moak meeting.

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    466. On or about February 3, 2021 at a public TMC Meeting, where the Council discussed
         dissolving the TMHA Board for good cause, Robin Evans appeared telephonically to
         address the Te-Moak Council on the matter. Evans stated that she was invited to
         speak by Council member Davis Gonzalez, and Evans again accused the Plaintiff of
         being unprofessional and that the Plaintiff was causing problems with the NCE. In
         response the Plaintiff informed the TMC that Ms. Evans does not work for the Tribe
         or Housing, she is a private contractor employed by Elko Band and that Evans lacks
         any personal knowledge since the Plaintiff trespassed her in February 2020 after
         she gave Chairman Holley false information regarding the Plaintiff and the Te-Moak
         SORNO Grant. Joseph Holley ended Evans' discussion.

    46 7. Based on the tribal documents that the Plaintiff reviewed as the Tribal
          Administrator, Robin Evans and her company RAE Solutions LLC are employed by
          Elko Band, South Fork Band and Wells Band to write bid proposals for federal and
          state funds, using account and business information related to EBCE and RAE
          Solutions, and that Evans includes qualification language in advertisements and
          solicitations for the most economically lucrative bids, termed Request For
          Proposals, ("RFP"), that favor the respective Band's selection of her firm RAE
          Solutions LLC, a defunct Nevada business entity. Once the Band is awarded the
          contract, the Band hires RAE Solutions LLC and then after Evans is paid Evans gives
          a kick-back or percentage of the federal or state award to select Band Council
          members, some of those funds are then laundered through accounts associated with
          Newe Cannabis, EBCE and SCS.

    468. On November 16, 2020 Alice Tybo sent an email to the Plaintiff stating she received
         the following message from "Robin Evans" as "'Just following up to see if Chairman
         Holly and/or the Temoke Council scheduled a date for me and UNR reps to kickoff
         the USDA Business Development and Analysis Grant for the Bands/Tribe? Once we
         kickoff via phone with the Te-Moak council we can then schedule workshops with
         each of the bands (2 workshops per band over next couple months). The end result
         will enable each band to apply for $3-4 million in construction funding for your
         various developments."' Alice Tybo reported that Robin Evans would receive a
         "significant amount" from "each Band" if the awards went through and the Te-Moak
         "Council granted her request." At the Council meeting in 2020 Robin Evans
         attempted to blame the Plaintiff for interfering in the process because the Plaintiff
         requested documentation, as required by tribal law, that supported the claims made
         by Evans related to transparency for RAE Solutions and EBCE funding and
         payments.

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    469. On or about February 4, 2021 the Plaintiff displayed the public video and audio
         recording of the Cannabis meeting held January 23, 2021 at EBC where Davis
         Gonzales admitted to directing his Finance Clerk to issue the check and mail it to
         Elko Central Dispatch with NCE cannabis funds deposited in the EBC General Fund
         account at Zionsbank, commingled with federal, state and private funds, without the
         prior approval of the EBC. That video recording included a discussion regarding a
         report of missing money from the December 13, 2020 SCS Elko/Newe/EBCE final
         accounting at the Elko Band Distribution. Alice Tybo stated on the record that Davis
         Gonzalez "lied" to the TMC and the Tribe about this transaction.

    470. On February 4, 2021 Sypolt sent an email via Lucent Technologies POP 100 Gigabyte
         data switch in Salt Lake City, Utah from a Dentons address and copied to Scott
         Sypolt's personal email address, regarding "PL 95-133" by addressing the Plaintiff as
         "Justice Biers!" and that email then stated "[d]o you trust the local newspaper?"

    471. On or about February 5, 2021 the Plaintiff telephoned Zionsbank/NSB Nicole Lewis
         giving notice of the possibility of forgery of the Plaintiffs signature and the
         commingling of cash proceeds derived or originating from the sale and distribution
         of a controlled substance, marijuana, by the NCE at EBC, after the Plaintiff viewed
         the January 23, 2021 Elko Band meeting where Davis Gonzalez admitted to
         commingling the NCE cash proceeds with federal, state and private funds held by
         Zionsbank/NSB for the Elko Band.

    472. On February 8, 2021 Davis Gonzalez published and republished statements
         regarding the Plaintiff as a 'convicted felon' and 'liar' that Gonzalez transmitted by
         an email over the internet via Lucent Technologies POP 100 Gigabyte data switch in
         Salt Lake City, Utah to each members of the Plaintiffs employer-the Te-Moak Tribal
         Council, the tribal community and tribal administrators across the country in
         retaliation againstthe Plaintiff for reporting the NCE-EBC money laundering scheme
         and displaying the video recording of Davis Gonzalez admitting to complicity in the
         sale and distribution of a controlled substance, and the financial matters of the NCE,
         SCS, TT and EBCE to authorities as required by law.

    473. On or about February 8, 2021 Sypolt and Joseph Holley authorized, approved and
         authored a statement published in the Elko Daily Free Press declaring the newly
         appointed "Appellate Judge Sam Biers" for the Te-Moak Tribe.

    474. On February 8, 2021 the Plaintiff received a copy of a document entitled "Notice of
         Appeal" signed by Skibine, directed to Bryan Bowker, (citing "25 C.F.R. 11.104"),


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          that contained a statement"[ o]n behalf of the Te-Moak Tribe... I write this appeal,"
          asserting that Dentons was "not aware of the existence of any other interested party
          as defined in 25 C.F.R. 2.2." Exhibit III-C(S). This same document acknowledged the
          Tribe's creation and establishment of the Te-Moak Tribe's Court system, by way of
          "Resolution 20-TM-129 ... readopting the Tribe's 1987 Law and Order Code, in
          accordance with the Tribe's Constitution" that included a copy of 20-TM-129 as
          "(Exh. 3)," and Skibine then referenced a pending mediation action and a fictitious
          legal standard as asserted by Skibine's former subordinate, Bryan Bowker. Id.
          Skibine, and Dentons, knew or should have known that the Plaintiff, as the Te-Moak
          Supreme Court Judge, was an interested party under Te-Moak tribal law.

    4 75. On February 7, 2021 Sypolt, an attorney with Dentons, sent the Plaintiff a text
          message, via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
          Utah that states"... [w]e need to monitor Facebook and respond to these idiots on a
          regular basis. Ifwe don't the tide of criticism will continue to rise. Do you know a
          Steve McDade?"

    476. On February 8, 2021 Sypolt arranged for a meeting with Elko County and Elko City
         leaders and managers, including the Mayor, Commissioners and Sheriff to introduce
         the new Court personnel and judges. The Elko County Undersheriff contacted the
         Plaintiff and asked if the "BIA appellate judge was coming" to the event. The
         Plaintiff, unaware of the event, stated that a federal judge was not appearing
         because the Plaintiff was the Tribe's new appellate judge. The Elko City Mayor,
         Reece Keener, telephoned the Plaintiff to inquire why the Plaintiff was not attending
         the event, and the Plaintiff replied "because I was not informed an event was
         scheduled."

    477. On or about February 10, 2021 Sypolt and Joseph Holley authorized, approved and
         authored a statement published in the Vegas Publicity declaring the newly
         appointed "Appellate Judge Sam Biers" for the Te-Moak Tribe.

    478. On or about February 10, 2021 Sypolt and Joseph Holley authorized, approved and
         authored a statement published in the Pahrump Valley Times declaring the newly
         appointed "Appellate Judge Sam Biers" for the Te-Moak Tribe.

    479. On February 10, 2021 Sypolt, an attorney with Dentons, sent the Plaintiff a text
         message, via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
         Utah that states "[a]lmost all of the attacks are on you. They must be stopped
         immediately!! 1. Vivian Ottawa 2. Steve McDade 3. Davis Gonzalez." The Plaintiff


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           replied "ok, TM [Te-Moak] has a prosecutor, tribal attorney and trial judge with
           staff." Sypolt telephoned the Plaintiff and stated "you need to have a staff member
           sit and monitor Facebook and respond to these attacks, we can't let this go on."
           Plaintiff replied "I refuse to govern by social media and certainly the world's largest
           law firm can handle three people on social media." Sypolt hung up on the Plaintiff.

    480. On or about February 11, 2021 the Plaintiff communicated with Alexus Leyva after
         reviewing the documentation that Leyva submitted and the Plaintiff determined
         that someone had removed her daughter's documents from the Administration's
         filing folders and computer log, and that a check would issue because the TMC
         approved this action after the Plaintiff continued to report associated wrongdoing.

    481. On February 17, 2021 Sypolt stated to the Plaintiff and court personnel that the TMC
         ordered Sypolt to perform a background investigation on the Plaintiff when no
         official action existed to support or authorize this statement, claim or action.

    482. On or about February 17, 2021 the Plaintiff confronted Sypolt stating "there is no
         official action by the Council authorizing you to perform any investigation, you said
         that you already did an investigation, and you will cease your actions now that I am
         sworn in as the Supreme Court judge." Sypolt argued that the TMC ordered him to
         do it, and the Plaintiff reminded Sypolt "there is no official action giving you any
         authority to perform a background on me. Any more intrusions by you will be
         considered an invasion of my privacy." Sypolt stated 'Tm the Attorney General for
         this Tribe I can look into anyone's background."

    483. On or about February 22, 2021 Sypolt contacted Plaintiffs staff member, Finance
         Clerk Krystle Ward, and Sypolt ordered Ward to issue a check request without first
         obtaining TMC approval and without the Plaintiffs knowledge or approval when
         both the TMC and Plaintiffs approval are necessary before the issuance of a check.

    484.   On or about February 22, 2021 Plaintiff delivered a Notice of Claim and Preserve
           Evidence to Davis Gonzalez stating that Gonzalez:
                  published false, defamatory, scurrilous and slanderous
                  statements regarding the [Plaintiff] ...joined with [Gonzalez']
                  prior statements regarding [Plaintiffs] race, culture and
                  ethnicity in a discriminatory, negative context related to
                  [Plaintiffs] employment, and [Gonzalez'] conduct, acts and
                  omissions shall serve as evidence to show [Gonzalez'] intent,
                  plan and/or purpose to deprive [the Plaintiffs] constitutional


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                  rights pursuant to 42 U.S.C. §§1981: 1982: 1983 and 1985,
                  inter alia. Please pay particular attention to section 1985
                  subsection(l) as it relates to preventing a judicial officer from
                  performing duties; subsection (2) Obstruction of Justice and
                  (3)Depriving Persons of Rights or Privileges... Perhaps this
                  would be a good time for you to review your United States and
                  Te-Moak Constitutions, as well as your oath, to remind yourself
                  what you swore to uphold. See Constitution of the Te-Moak
                  Tribe. Art. 7 sec.6 ('faithfully and impartially'); Art. 9. sec. l(h)
                  ('deny to any person within [the Tribe's] jurisdiction the equal
                  protection of the laws or deprive any person ofliberty or
                  property without due process oflaws') ... [Plaintiff] hereby
                  Demand[s] that you, (including your agents, representatives
                  and associates), Cease and Desist and immediately issue a
                  written retraction related to any and all references to 'criminal
                  history' associated with my name. . .

    485. Davis Gonzalez, acting pursuant to an A1-A6 and A8 agreement, plan or scheme
         with SCS; ECBE; Steve Sisolak; Aaron Ford; Darian Stanford; Paul Conable; Robin
         Evans; Leslie Grove; Kevin Clock; Thalia Marin; Juan Arevalo; Larry Yeager, and
         others, published and republished false and defamatory publications and
         statements regarding the Plaintiff stating that the Plaintiff is a "felon" to obtain the
         removal of the Plaintiff as the Te-Moak Tribal Administrator and appellate judge
         based on the Plaintiffs race, color, ethnic or national origin in retaliation against the
         Plaintiff reporting criminal conduct and to protect the continuation of the NCE and
         the distribution of cash proceeds from that enterprise to the individuals and entities
         as parties to the agreements, plans and schemes with the intent or purpose to
         violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201. 18 U.S.C. §1341; 18
         u.s.c. §1343: 18 u.s.c. §1344; 18 u.s.c. §1952; 18 u.s.c. §1956: 18 u.s.c. §1957: 15
         U.S.C. §§1. 2; 31 U.S.C. §5138(h); 18 U.S.C. § 1960 et seq. and the Te-Moak
         Constitution, Article 4. sections 3. 4 and 12; Article 7. section 6: Article 8. sections 4
         and 6: and Article 9. section 1.

    486. On February 22, 2021 Sypolt sent or transmitted a text message to the Plaintiff via
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
         acknowledging the Plaintiffs authority under Te-Moak law as the Supreme Court
         Judge that states "[p]lease send me a complete list of the documents you need from
         the Tribal Court personnel. I will gather them and then submit them to you. This

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         will allow us to keep of (sic) separation of powers between the Te-Moak Court
         personnel & Te-Moak Administration... I will have the individual contracts to you
         this week ... Remember all are independent contractors with the possible exception
         of Elisa Dave."

   487. Ramon Acosta and the Plaintiff were both appointed to judicial offices on February
        2, 2021 and thereafter Sypolt stated to the TMC that both J Acosta and the Plaintiff
        were contract employees, where no Te-Moak legal authority existed to support this
        claim. The Plaintiff stated to Sypolt "I will not sign any contract just because
        [Sypolt] want[s] me too."

   488. On February 23, 2021 Krystle Ward, Te-Moak Finance Clerk, stated to the Plaintiff
        during a telephone call that Sypolt ordered her to sign a check request form, after
        signing it she stated that she realized the Plaintiff must first grant authorization, and
        Ward withheld issuance until the Plaintiff returned to work. Ref. Check Request
        Ramon Acosta (February 22, 2021). When Ward informed Sypolt that the Plaintiff
        must authorize the request and that Ward refused to issue a check, Sypolt
        threatened Ms. Ward with termination and Tanya Reynolds began to intentionally
        target Ward with adverse discriminatory conduct in the workplace based on Ward's
        race, color, ethnicity or creed. At the time Krystle Ward and Colby Boykin were non-
        Native employees of the Tribe.

   489. On or about February 24, 2021 Davis Gonzalez publicly acknowledged receipt of the
        February 22, 2021 Notice of Claim stating "are you trying to scare me with that
        Notice of your's?" Plaintiff replied "no Davis, but you know that you can't publish
        false statements about me, especially to retaliate or force me out of my job."

   490. On February 24, 2021 at a Te-Moak Tribal Council Meeting each member of the TMC
        received a copy of Joseph Holley's Annual Performance Appraisal concerning the
        Plaintiff as the Te-Moak Tribal Administrator. Joseph Holley read his findings into
        the record before Te-Moak Council members gave their individual assessments
        regarding the Plaintiffs performance. See. Exhibit III-B(9): Te-Moak Performance
        Plan and Evaluation Report RE Biers. (February 19, 2021).

   491. On February 24, 2021 Joseph Holley stated "I've done a one year review on Sam.
        There's very little that you can say that's wrong with Sam other than what goes
        on a day-to-day basis at work. Communication to some of his staff is lacking in
        sorts and I can understand because he's got a lot more stuff going on with the
        court now that were movin forward with it All the, the stuff in front of you

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          that he does every day tryin to gather us up a packet to proceed down that
          path, he does an awesome job of, of taking care ofus. The, the sad picture is
          gonna come, what are we going to do down the path? You know he's been,
          now he's accepted the Supreme Court for the ... How are we, what are we gonna
          do ... We're gonna be in a lot of trouble." Exhibit II-C(9) at 3(00:33:45); g,g. at
          3(00:33:46 and 00:33:47)(Carrera and 'Iybo confirm "Appellate"); Exhibit lll-B(9).

    492. On February 24, 2021 Alice Tybo stated "I'd like to talk a little bit about Sam and
         that is that I don't know how we could have gotten through this COVID thing
         and CARES Act funding without him. He was so on top of it. He kept us so ..
         .there were times like, 'another Resolution, really Sam?' You know, but in the
         long run it's gonna save us." Exhibit II-C(9) at 3(00:34:50).

    493. On February 24, 2021 David Carrera stated in response to the Plaintiffs
         performance evaluation as the Tribal Administrator "[t]hat's what l like." Exhibit II-
         C(9) at 3(00:35:19); ref. Exhibit lll-B(9).

    494. On February 24, 2021 Joseph Holley stated"... one he's the judge. I don't want any
         push back because legally he is the judge," and Alice Tybo responded in the
         affirmative "mnhmn." Exhibit II-C(9) at 3(00:35:43).

    495. On February 24, 2021 Joseph Holley stated "I mean, there's nothing wrong with
         what Sam is doing. I can't find any flaws other than you know what we do with
         him day-to-day and I address them with him on the sheet, and we talked about
         it, you know, from here out, how are we gonna be if Sam is missing we're
         gonna be missing a lot of information. You know somebody else stepping in to
         take his shoes is, it's gonna be hard to re-train 'em and gettin this much
         information in front of you an for us to make fair and adequate calls." Exhibit
         ll-C(9) at 4(00:37:29).

    496. On February 24, 2021 Alice Tybo stated that the Plaintiff"can still be our
         administrator ... for number one we're not gonna have anything go to the appellate
         court for at least another six months." Exhibit ll-C(9) at 4(00:38:30).

   497. On February 24, 2021 Joseph Holley stated "[t]o get someone to mirror what Sam
        does is going to be really hard to find no matter what we do," and Paula Garcia
        agreed with Joseph Holley's statement regarding the Plaintiffs performance
        "[y]eah." Exhibit ll-C(9) at 4(00:39:27 through 00:39:36).



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    498. On February 24, 2021 Joseph Holley stated "depending on where [the Plaintiff] goes
         and how we design this from here on out it might get a little stickly. You know we
         might not have the material that we need in front of us, we might not you know, [the
         Plaintiff] made a lot of changes for us, and it's for the good," and Alice Tybo replied
         "[r] ight," and Joseph Holley then stated that the Plaintiff "helped us, he's
         benefitted us in every way there is as far as our Administration went and as
         far as us as the Te-Moak Council. You know there's just no loose ends on how,
         how well versed he's been in guiding us to where we're at so . .." Exhibit II-C(9)
         at 4(00:39:37 through 00:39:42).

    499. On February 25, 2021 Sypolt sent an email to the Plaintiff from a Dentons' email
         account via Lucent Technologies POP 100 gigabyte data switch in Salt Lake City,
         Utah that states "Hello Crystal. Here is the signed document to employ Ramon
         Acosta as an Independent Contractor for the Te-Moak Tribe," and that electronic
         document contained a statement in the subject heading "Scanned document from
         HP ePrint user" consisting of invoices and billing statements for Ramon Acosta, no
         contract or any copy of a contract was included in or attached to the email the
         Plaintiff received from Sypolt on February 25, 2021 related to Ramon Acosta.

    500.   On February 26, 2021 the Plaintiff received an email from Alexus Leyva asking "how
           1may submit a letter to the council outlining my positive experience with you in
           figuring this out[?]"

    501. On or about February 27, 2021 the Plaintiff sent an email to Alexus Leyva, in Salt
         Lake City, Utah informing her that checks were being processed and mailed, and
         reminding Ms. Leyva of her right to inform the TMC and "describe the positive and
         negative experiences with the staff." Ms. Leyva telephoned the Plaintiff and stated
         that her experiences with the Plaintiff were uncommon in tribal government
         because the Plaintiff listened to her concerns, investigated the matter and provided
         clearly understood information in a manner Ms. Leyva felt was exemplary. Ms.
         Leyva stated she would write a letter to the TMC stating the same.

    502. After the Plaintiff and Ms. Leyva communicated on February 27, 2021, her relative,
         Tanya Reynolds contacted Ms. Leyva at the instruction of Sypolt and demanded
         Leyva refrain from sending any positive comments regarding the Plaintiff to the
         TMC because it would interfere in the AS agreement, plan or scheme to terminate
         the Plaintiff and Reynolds' and Holley's plans to get re-elected to tribal office.




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    503. On or about February 27, 2021 Sypolt sent or transmitted an email from a Dentons
         account and Sypolt's personal email account that contained electronic copies of the
         invoices for all of the SCS Te-Moak Court personnel, (excluding the Plaintiff), to
         Darian Stanford via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake
         City, Utah pursuant to the February 2, 2021 agreement between Darian Stanford;
         Paul Conable; Steve Olson; Kevin Clock; Elliot Parris; Dentons; Skibine; Chadwick
         Smith; Joseph Holley and Scott Sypolt, on behalf ofTMC, SCS and TT, to use SCS and
         TT money to fund and finance the entire Te-Moak Court system in exchange for the
         placement of SCS-TT employees and judicial decisions allowing the continuation of
         the NCE to sell and distribute a controlled substance, marijuana. After receipt of the
         email and invoices by Darian Stanford, Paul Conable, Steve Olson, Darian Stanford,
         Kevin Clock and Elliot Parris agreed that no payment to support or fund the Te-
         Moak Courts will occur due to the TMC rejection of Darian Stanford's nomination as
         the Te-Moak appellate judge on February 3, 2021. Darian Stanford telephoned
         Sypolt and relayed the substance of that agreement to Sypolt.

    504. On or about February 28, 2021 Sypolt and Joseph Holley agreed with Darian
         Stanford; Davis Gonzalez; David Carrera; Andrea Woods; Alice Tybo; Tanya
         Reynolds; Paul Conable; Steve Olson; Kevin Clock; Elliot Parris; Chadwick Smith, and
         others, to unite and work together to remove the Plaintiff as the appellate judge and
         Tribal Administrator, and thereafter replace the Plaintiff with Darian Stanford or
         another judicial candidate favorable to the continuation of the NCE pursuant to A1-
         A6 an AB. See 42 U.S.C. §§2000e-2 and 2000e-3(barring discrimination and
         retaliation for opposing unlawful employment practices); 15 U.S.C. §§1. 2.

    505. On March 1, 2021 the Plaintiff received an email from Sypolt that included an
         invoice for Te-Moak Judge Ramon Acosta totaling $7620.17 as a claimed debt owed
         to J. Acosta. The Plaintiff informed Sypolt that the charges were not authorized by
         the Te-Moak Tribal Council and therefore payment was denied. Sypolt stated that
         he made promises and if they aren't kept "some very important people are going to
         get nasty," whom the Plaintiff believed the threat referenced Governor Sisolak,
         Attorney General Ford and the attorneys at SCS and Tonkon Torp.

    506. On March 1, 2021 Sypolt transmitted or sent an email to the Plaintiffs judicial email
         (tm.sup.ct.1@gmail.com), from a Dentons email account that stated "[h]ere are all
         the invoices for Ramon up [to] and included the March 5th Court Date," for a total of
         "$7,620.17," that included attachments consisting of various invoices and a check
         request signed by Joseph Holley on "3-5-2021," four (4) days before March 5, 2021.


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    507. On or about March 1, 2021, again without Plaintiff's prior knowledge or permission,
         Sypolt again approached Plaintiff's staff to demand the staff issue a check request
         authorizing a check for payment in the amount of $7620.17 or "we won't have a
         court on the 5th."

    508. On or about March 1, 2021 USA Nicholas Trutanich resigned from the U.S. Attorney
         position in Nevada and took an employment position with FOX News as the
         Executive Vice President of Litigation.

    509. On March 1, 2021 Sypolt requested thatthe Plaintiff transmit a copy of the enacted
         version of the Tribe's Law and Order Code by facsimile to Dentons Partner Skibine,
         ("(202) 496-7756"), because Sypolt couldn't figure out how to send a large file via
         email or drop box and Den tons refused or failed to assign a paralegal or legal
         assistant for Sypolt.

    510. On March 2, 2021 the Plaintiff informed Sypolt that Sypolt could send electronic files
         containing the newly drafted amendments to Te-Moak Law and Order Code from
         Illinois to the Office Depot in Nevada and that business would then print the files
         prior to Sypolt's arrival at the Dentons' Office in Salt Lake City, Utah. Sypolt stated he
         would send these electronic files after "they are reviewed by Dentons."

    511. On or about March 2, 2021 Sypolt and the Plaintiff communicated via telephone
         after the Plaintiff learned Sypolt again attempted to direct Te-Moak staff to perform
         at the direction of Sypolt without the Plaintiff's involvement. During this
         conversation on or about March 2, 2021 Sypolt again threatened to "kick" Plaintiff's
         "ass," and threatened the loss of Plaintiff's job, after which the Plaintiff informed
         Joseph Holley and Alice Tybo, then the staff, ofSypolts' threats and misconduct.

    512. On March 3, 2021 Scott Sypolt, an attorney with Dentons, sent the Plaintiff a text
         message via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
         Utah that states "[p]lease FAX that La[w] & Order Code to Skibine. He never
         received it." The Plaintiff sent Sypolt a picture of the failed FAX receipt.

    513. On March 3, 2021 Sypolt, Dentons and Skibine entered a Notice of Appearance in the
         pending Mediation case at the U.S. OHA on behalf of the Te-Moak Tribe, (Docket No.
         ISDA 2017-01), without informing the Plaintiff or the Te-Moak Supreme Court, as
         necessary parties, when Sypolt, Skibine and Den tons were not authorized to
         represent the Te-Moak Supreme Court. All of the proceedings before the United
         States Office of Hearings and Appeals were held or conducted through the Salt Lake


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          City, Utah offices for the Mediator, Kelly Latimer, Dentons, the U.S. Solicitor General
          and DOI-ALJ Heffernan.

    514. On March 4, 2021 the Te-Moak Council enacted Resolution 21-TM-43 authorizing
         payment of wages for each judge, (the Plaintiff and Judge Acosta), based on the legal
         advice of Dentons and Sypolt, at a rate of "$1200.00 per Court appearance, up to
         $1,000.00 per month for outside work needed, plus lodging, per diem and mileage
         per month," when tribal law required the setting of wages for judges "at the time of
         his appointment," not a month after appointment. 87-0RD-TM-03. 1-3-17(A): (tg.
         Te-Moak Constitution. Article 8. sec. 5("judges shall receive for their services,
         compensation which shall not be diminished"). Sypolt intentionally advised setting
         judicial pay and time restrictions at a minimum to permit Sypolt to perform judicial
         functions at a rate of$765.00 per hour. See 15 U.S.C. §§1. 2. Sypolt failed to advise,
         reasonably investigate or complete necessary wage rate research pursuant to Te-
         Moak law requiring wages to be set at the time of appointment, not a month later.

    515. On March 4, 2021 the TMC granted the Plaintiff permission to discuss court and
         court personnel matters, including payment related matters, with newly appointed
         and hired court personnel Acosta, Smart, Dave and Laughlin to secure their
         continued employment and attendance the following day, March 5, 2021 the first
         day of court for the Te-Moak Tribe, after the Plaintiff reported to Council that
         Acosta, Smart, Dave and Laughlin all intended to resign due to the level of
         misconduct Sypolt direct toward each individually, with Ms. Laughlin stating she
         thought "I got PTSD after Scott [Sypolt] screamed and yelled at me over the phone
         so many times, I was shaking even after he hung up."

   516. On March 4 and 5, 2021 Te-Moak Court staff individually communicated to the
        Plaintiff that Sypolt ordered all support staff, including the prosecutor, to transmit
        all filings to Sypolt before any filing was sent to the judges, with Sypolt stating that
        he was the "Attorney General for the Tribe." When the Plaintiff met with all of the
        court personnel on March 5, 2021 each staff member separately stated that Sypolt
        demanded their invoices and then sent an email with their invoices to Darian
        Stanford because "SCS is paying your salaries and everything for the court," using
        Sypolt's rocketmail email account and CC'g the staff, excluding the Plaintiff.

   517. On March 4, 2021 the TMC enacted Resolution 21-TM-44 creating the
        Administrative Office of the Courts, accepting the 2021 Judicial Services Start Up
        Budget ($111,381.00) and transferring "$54,000.00 from the Nevada State Bank
        'RAMAH' Account," with authorization granted to the Chairman and Vice Chairman

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          "to open a Credit Card account specifically for the Administrative Office of the
          Courts." Thereafter, Zionsbank and NSB mutually maintained assets, funds and
          credit for the Te-Moak Administrative Office of the Courts.

    518. On March 4, 2021 during a TMC meeting Joseph Holley gave a positive review of the
         Plaintiffs performance evaluation and several Council members gave their positive
         impressions of the Plaintiff as the Tribal Administrator. Sypolt falsely claimed there
         is a potential conflict of interest with the Plaintiff serving as the Tribal
         Administrator and the Supreme Court Justice, and then presented a draft copy of the
         Law and Order Code, the work product of Ramon Acosta and a paralegal.

    519. On or about March 4, 2020 prior to the TMC meeting Sypolt stated to the court staff,
         individual Council members and J. Acosta that the Plaintiff is a "felon," and "a
         criminal," announcing Sypolt's "embarrassment for the court." See 42 U.S.C.
         §§2000e-2 and 2000e-3 (barring discrimination and retaliation for opposing unlawful
         employment practices).

    520. On March 4, 2021 at the TMC meeting Sypolt stated that the Plaintiff should be
         excluded from the prior appointment to appellate court judicial position because the
         Plaintiff lacked a state issued bar license. Plaintiff reminded Sypolt of the Dentons'
         sanctioned September 10, 2020 memorandum that state Jaw no longer applied to
         the Te-Moak Tribe, that the Tribe paid Sypolt and Dentons to produce that
         document, and that the only constitutional qualifications for a judicial appointment
         are over "30" and "good moral character." Plaintiff stated that the draft Code
         presented by Sypolt and Dentons that day referenced non-existent clauses and non-
         existent Resolutions, "like Res. No. 21-TM-000," as constituting official action by the
         Tribe, and that at one point the draft Sypolt submitted abrogated tribal sovereignty
         back to state law. Plaintiff then asked the Chairman if the Council would then and
         there issue a license to practice law on Te-Moak lands to legitimatize the court
         system for the following individuals until the Court operations began: Ramon
         Acosta; Sam Biers; Anne Laughlin and Scott Sypolt, and the Te-Moak Council agreed
         and granted the licenses by majority vote.

    521. On March 4, 2021 Juan Arevalo submitted his resignation to his seat on the TMC and
         the TMC accepted that resignation byway of Te-Moak Resolution 21-TM-38.

    522. On March 5, 2021 the Plaintiff, Ramon Acosta, Elise Dave, Tildon Smart and Anne
         Laughlin attended the first session of the Te-Moak Tribal Court. Once court



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          adjourned, the Plaintiff answered the court staffs questions with information
          authorized pursuant to the permission granted to the Plaintiff by the TMC.

    523. On March 5, 2021 each member of the court staff individually stated to the Plaintiff
         that Scott Sypolt was verbally harassing them at their homes, including emotionally
         and verbally berating Laughlin with calls late at night. Sypolt demanded separately
         from each Te-Moak court staff member loyalty to Sypolt while claiming that the
         Plaintiff was a criminal and an ex-felon as Sypolt sought to gain the support from the
         court personnel to remove the Plaintiff through adverse employment action. See 42
         U.S.C. §§2000e-2 and 2000e-3.

    524. On March 5, 2021 each court staff member recounted to the Plaintiff a list of
         promises that Sypolt made to each of them and the Plaintiff assured each staff
         member that their wages were approved, and then each court staff member
         individual stated that Sypolt instructed them to transmit copies of all
         communications, filings and orders for Sypolt's pre-authorization and review before
         publication or filing with the court. J. Acosta stated on that day that he wrote and
         drafted the new amendments to the Te-Moak Law and Order Code presented by
         Sypolt, and that Sypolt then had an elderly paralegal "in North Chicago type up"
         Acosta' work Sypolt stated that "Dentons will take credit" for drafting the new
         amendments to the Te-Moak Law and Order Code and pay Acosta "on the backend."

    525. On March 5, 2021 the Plaintiff informed Sypolt and the court staff that Sypolt was
         thereafter barred from communicating with court personnel regarding the business
         and administration of the courts without a court order.

    526. On or about March 8, 2021 the Plaintiff held a mandatory Te-Moak Office staff
         meeting as directed by Holley. At this meeting Reynolds admitted to possessing,
         obtaining and publicly disseminating confidential personnel records, and Reynolds
         admitted that Alice Tybo and Duane Garcia provided Reynolds with restricted
         information before attacking all the non-Native American staff for being non-Native
         American. See N.R.S. §205.463: Privacy Act (5 U.S.C. §552 et seg.): 42 U.S.C.
         §13925(b)(2); 2 C.F.R. §200.207 and §200.338: Resolution 03-TM-13)(crimina/ act
         to release private confidential information without authorization).

    527. On March 8, 2021 the Plaintiff instructed the Te-Moak Recording Secretary, Colby
         Boykin, to set a meeting with Sypolt to review all of the 15 completed contractual
         obligations Sypolt stated that he fully completed to Council on February 24, 2021 as
         compared to the billing statements submitted on December 10, 2020.


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    528. On March 9, 2021 at 11:03 a.m. Sypolt sent a text message to the Plaintiff, via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah that states
         "[p]lease call me. Very important. Let's have you and Joe [Holley] on the line."

    529. On March 9, 2021 at 12:47 p.m. Sypolt sent a text message to the Plaintiff via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah that states "I
         need your birth date and social [security number] in order to complete the
         Background check the Council asked me to run."

    530. On March 9, 2021 at 12:48 p.m. Joseph Holley sent a text message to the Plaintiff via
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah that states
         "Scott [Sypolt] wants your birthday & social [security number]."

    531. For the period between July 1, 2020 and March 10, 2021 the TM never voted to
         approve official Council action granting the authorization, instruction, direction or
         order to or for Sypolt to conduct a background investigation or background check
         on the Plaintiff. The Plaintiff refused to grant Sypolt authorization to possess, use,
         release of disseminate the Plaintiffs personal, confidential information, and Sypolt,
         as an attorney with Dentons, intentionally released, disclosed and disseminated the
         Plaintiffs birth date, social security number, credit history and falsified background
         information, pursuant to AS agreement, plan or scheme with Sisolak; Ford; Holley;
         Reynolds; Stanford; Tybo; Garcia; Gonzalez; Carrera; Marin; Marla McDade; Joseph
         McDade and Kristen Hevener to violate or attempt to violate the civil and criminal
         provisions ofN.R.S. §205.463; Resolution 20-TM-132: Privacy Act. (5 U.S.C. §552 et
         seq.): 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and §200.338; Resolution 03-TM-
         13(crimina1 act to release private confidential information without authorization).

    532. On March 10, 2021 the Plaintiff received an email chain of wire communications
         between J. Acosta and Sypolt sent to all Te-Moak Court personnel, wherein Sypolt is
         disparaging J. Acosta as a sitting judge before attempting to blame J. Acosta for
         attacking Plaintiffs character, where Sypolt "expressed [Acosta's] concerns over
         [the] selection of Samuel Biers as the Supreme Court Tribal Judge ... [a]fter careful
         review the Council has made a definitive choice to keep Mr. Biers as their selection."

    533. On March 10, 2021 the Plaintiff, acting as the appellate judge for the Te-Moak
         Supreme Court, issued a sealed order regarding the custody and care of documents
         and evidence, "as directed by United States Department of Justice Federal Bureau of
         Investigations Andrew Melville and the agents of the United States Office of the
         Inspector General-Treasury... and as may be necessary to preserve[] the


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          'administration of justice' and 'welfare' of the Tribe." See Exhibit I-B(2): Sealed
          Order at 1 (March 10, 2021).

    534. On March 10, 2021 the TMC instructed Colby Boykin to have Ms. Sakala, the Te-
         Moak Receptionist, post an advertisement online, and to make sure a log was made
         recording the event as the TMC recessed. Ms. Boykin returned stating that the task
         was completed by Sakala. At the conclusion of the meeting, the Plaintiff received
         notices from tribal members that the online post suddenly disappeared, and when
         the Plaintiff examined the computer log the prior entry no longer existed.

    535. On March 10, 2021 the Plaintiff asked Ms. Sakala about the missing log, and Sakala
         remained adamant that the post was published online, with the log entry, and
         offered the handwritten version. Then, Ms. Sakala confronted the Plaintiff with a list
         of accusations against the Plaintiff stating the Plaintiff "treated her differently," and
         that the Plaintiff was negligent in his job duties related to the preparation of
         documents for the TM C. The Plaintiff informed Ms. Sakala that as an employee on
         probation falsely substituting her decisions for that of the TMC and the Plaintiff
         constituted insubordination and she was relieved of her position. It was then that
         Ms. Sakala stated she was "told" by Reynolds and Walker "to say these things, I did
         not mean them Sam," before Ms. Sakala recited the entire events.

    536. According to Ms. Sakala, on March 10, 2021 while the TMC held a meeting Tanya
         Reynolds and Alfreda Walker kept Ms. Sakala behind locked doors. During that
         locked door meeting, Ms. Sakala stated that Reynolds and Walker, (acting on the
         instructions ofSypolt and Holley pursuant to the Al-AS agreement, plan or scheme),
         coached Sakala on how to interfere with the Plaintiffs job performance and to
         inform the TMC that the Plaintiff discriminated against Sakala due to Ms. Sakala's
         race, culture or nationality. See 42 U.S.C. §§2000e-2 and 2000e-3.

    537. On March 10, 2021 the Plaintiff, Reynolds, Boykin and Walker discussed the events
         that day. Reynolds and Walker admitted to coaching Sakala to present a false racial
         discrimination claim against the Plaintiff after the Plaintiff informed them that Ms.
         Sakala was terminated. Walker admitted that Reynolds and Holley instructed
         Walker to perform tasks without authorization for the expenditure of federal funds
         and without the Plaintiffs knowledge. Reynolds and Walker admitted they both
         gained access to confidential, personnel records and disseminated confidential
         information into the public to retaliate against the Plaintiff, without authorization,
         specifically releasing information regarding Boykin, Ward and the Plaintiff. See 42
         U.S.C. §§2000e-2 and 2000e-3 (barring discrimination and retaliation for opposing

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          unlawful employment practices); 15 U.S.C. §§1. 2; N.R.S. §205.463; Resolution 20-TM-
          132; Privacy Act. (5 U.S.C. §552 et seq.); 42 U.S.C. §13925(b)(2); 2 C.F.R. §200.207
          and §200.338: Resolution 03-TM-13(criminal act to release private confidential
          information without authorization). Reynolds yelled and screamed at the Plaintiff
          making additional admissions that Alice Tybo provided Reynolds with confidential,
          personnel information regarding Boykin, Ward and the Plaintiff from the locked
          personnel files. Walker and Reynolds agreed to accept responsibility for the
          admissions and events if the Plaintiff agreed to re-hire Ms. Sakala. Id.

    538. On March 10, 2021 the Plaintiff met with Ms. Sakala and explained what transpired
         with Reynolds, Walker and Boykin, and the Plaintiff apologized to Ms. Sakala and
         offered to assist Ms. Sakala with the process to file a grievance, including against the
         Plaintiff, and the Plaintiff rescinded the termination immediately. Ms. Sakala stated
         that the responsibility rested with "Tanya and Alfreda, not you Sam." Ms. Sakala
         resumed her job at the Te-Moak Offices.

    539. On March 11, 2021 the Plaintiff received a written complaint against Tanya
         Reynolds and Alfreda Walker from the Te-Moak Recording Secretary, Colby Boykin,
         stating "[d] ue to the events that transpired after the Council meeting yesterday
         3/10/21, it has come to my attention that there is a hostile work environment in the
         office due to two employees attitudes toward me and my position with Te-Moak,
         making me feel discriminated against and not welcome," and this was sent to Joseph
         Holley, Reynolds' paramour, as the Chairman of the Tribe.

    540. On March 11, 2021 the Plaintiff requested that Hinton-Burdick collect all internal
         information, documents and records related to Tanya Reynolds' performance as the
         EPA Director for Te-Moak, supplementing the prior request and then provide a
         summary report to the Plaintiff.

    541. On or about March 13, 2021 the Plaintiff was notified that an alarm was triggered at
         the Te-Moak Administration Office building located at 525 Sunset Street by Vivint
         Security and Enrollment Director Sharla Dick The Plaintiff contacted BIA Dispatch
         and gave notice of Plaintiffs estimated time of arrival, and BIA Dispatch stated to
         the Plaintiff that BIA Officer Dux Lopez was enroute to the scene. A visual
         inspection revealed that someone entered the West side door, which was now open,
         and Officer Lopez attempted to prove that the door opened by the wind, and that
         exercise failed to produce results supporting the conclusion. The Plaintiff reset the
         alarm and locked the doors after Officer Lopez and the Plaintiff exited the building.


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    542. On March 15, 2021 when the Plaintiff entered the Te-Moak Office building and
         entered the Plaintiffs Tribal Administrator Office a small item on the floor caught
         the Plaintiffs attention because the Plaintiff vacuumed the floors throughout the
         building as the last person to leave on Friday and this item was not present when
         the Plaintiff Jocked the building after all staff left on Friday for the work week This
         item was a SIM card registered to Alfreda Walker through the Choice Broadband
         cellular phone company in Ely, Nevada. Since the break-in on March 13, 2021 some
         of the Plaintiffs passwords and CARES Act investigation folders were noticeably
         missing, and Plaintiff believes Alfreda Walker broke into the Plaintiffs office and
         stole the material at the direction, instruction or advice of and/or with the
         assistance of Tanya Reynolds, Joseph Holley and Alice Tybo to eliminate evidence
         implicating Tanya Reynolds and Alfreda Walker to CARES Act fraud.

    543. On March 15, 2021 Joseph Holley affixed his signature as the Chairman of the Te-
         Moak Tribe to a document entitled "MEMORANDUM" that states:

                 I grant the Tribal Administrator, Samuel L. Biers, paid administrative leave
                 for the following dates and times: March 15, 2021 (5 hours); March 16-19,
                 2021 (25.5 hours) and March 29, 2021 (8 hours). Mr. Biers will be on
                 bereavement leave for the loss of an immediate family member for the period
                 March 19, 2021 through March 29, 2021 and he will be using his sick leave
                 totaling 40 hours for that week as allowed by policy. Exhibit III-B(7)
                 (document was openly displayed in the Te-Moak Offices, with copies sent to all
                 staff and council members via email, including a hard-copy placed in each TMC
                 member's mailbox before the Plaintiff was absent on leave).
    544. On March 15, 2021 EBC accepted Juan Arevalo's resignation from the TMC, eleven
         days after Arevalo's verbal resignation to the TMC by way of Elko Band Council
         Resolution 2021-EBC-15.

    545. On or about March 15, 2021 the Plaintiff reviewed federal forms received from
         Hinton-Burdick and then verified through the federal government secured website
         Grant Solutions that Tanya Reynolds submitted falsified federal documents with the
         intent or purpose to defraud the federal government. See 18 U.S.C. §§1000 and
         1001. The United States' Grant Solutions data base revealed that Tanya Reynolds
         affixed her electronic signature as the authorized representative for the Te-Moak
         Tribe and Tanya Reynolds affixed her electronic signature asserting that Reynolds
         was the "Chairman" of the Te-Moak Tribe, dated on or about January 14, 2021, a
         time when Reynolds was neither authorized or the Chairman of the Tribe.

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   546. On or about March 15, 2021 Alice Tybo invited the Plaintiff to her home on the
        South Fork Indian Reservation to discuss the fact that Holley refused to answer
        Plaintiffs phone calls or communicate with the Plaintiff, and to confirm the filing of
        reports related to misconduct involving Sypolt and Reynolds, her sister.

   547. On March 16, 2021 the Plaintiff gave physical custody of the Tribal Administration
        files, folders and documents, the password book and USB drives to Joseph Holley
        before the Plaintiff left on bereavement leave, and Holley asked "what am I
        supposed to do with this, you know I don't know anything about all this shit?"

   548. On or about March 16, 2021 the Te-Moak Finance Clerk, Krystle Ward, stated that
        she was resigning because of Tanya Reynolds' public admission that Reynolds
        gained access to Mrs. Ward's personnel records and publicly disseminated that
        information and also because Tanya Reynolds continued to use disparaging terms
        and hostile language at or related to Mrs. Ward on the basis of Ward's race, color,
        culture or nationality. The Plaintiff asked Mrs. Ward to allow the Plaintiff an
        opportunity to address the matter and withhold her decision until the following day.

   549. On or about March 17, 2021 the Te-Moak Finance Clerk, Krystle Ward, stated that
        she was resigning from her position with Te-Moak since Tanya Reynolds continued
        to openly call Mrs. Ward a "white bitch" and a "diabo bitch" in the office and because
        of Tanya Reynolds' public admission that Tanya Reynolds unlawfully gained access
        to Ward's personnel records and disseminated that information in a harmful
        manner to other staff and public. Ms. Ward provided the Plaintiff with a simple
        resignation letter, stating she did not want any more confrontation with Reynolds.

   550. On or about March 17, 2021 the Plaintiff reported criminal conduct and fraud with
        the U.S. Environmental Protection Agency Office of Inspector General and the FBI
        specifically related to Tanya Reynolds' filing and signing federal forms under
        penalty of perjury as the "Chairman" and as "Authorized Representative" when both
        statements were materially false and untrue. After reviewing the prior disciplinary
        action for insubordination and all the material concerning Tanya Reynolds, the
        Plaintiff decided to terminate Tanya Reynolds' employment with Te-Moak for cause.

   551. On March 18, 2021 Te-Moak Recording Secretary, Colby Boykin, submitted a lengthy
        written complaint, dated March 10, 2021, re-stating facts and events that transpired
        with Tanya Reynolds, Alfreda Walker, Sybil Sakala and the Plaintiff on March 8 and
        10, 2021 where Reynolds and Walker publicly admitted to gaining unlawful and
        unauthorized access to confidential, personnel records, making sexual references

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           toward the Plaintiff, making abusive and racists comments toward all non-Native
           Americans on the job, and then releasing and disseminating the contents of the
           personnel records and information, unlawfully accessed and obtained, into the
           public to cause harm against Mr. Boykin, Mrs. Ward and the Plaintiff. Ms. Boykin
           resigned as a result of Reynolds and Walkers' conduct at the workplace.

     552. On or about March 18, 2021 the Plaintiff prepared a lengthy termination packet of
          nearly 30 pages of supporting documents, including Boykin's complaint, and the
          Plaintiff instructed Te-Moak Law Enforcement Officer Ruben Ramirez to personally
          serve Tanya Reynolds when she entered the building that day. Officer Ramirez
          stated that service was effectuated on Tanya Reynolds at approximately 8:10 a.m.
          that day and that Reynolds screamed profanities while running up and down the
          hallways stating that her termination was the fault of the "white bitches" and "that
          mother fucking diabo Biers" while slamming doors for an extended period of time.
          That morning Tanya Reynolds communicated with Sypolt, via telephone and email,
          and during these communications Sypolt gave Tanya Reynolds legal advice and
          assurances that Biers' would be "dealt with, terminated," and that Tanya Reynolds
          would get her "job back with back pay" because Tanya Reynolds was the Chairman's
          paramour, as part of AS.

     553. On or about March 19, 2021 the Plaintiff reported to US Treasury OIG and FBI
          known criminal conduct at Te-Moak involving federal funds and threats against
          Plaintiffs life and other acts of retaliation by Sypolt, Holley, Tybo, Garcia, Carrera,
          Gonzalez, and others, against the Plaintiff. See 42 U.S.C. §2000e et seq. and 18 U.S.C.
          §§1503:1510:1512-13.

     554. The TMC claimed that it held a meeting on or about March 19, 2021 where Joseph
          Holley; Paula Garcia; Alice Tybo; Duane Garcia, Sr; Andrea Woods; David Carrera
          and Davis Gonzalez attended and pursuant to the advice of Sypolt, agreed to
          terminate the Plaintiff as the Te-Moak Tribal Administrator, to seek the
          reinstatement of Tanya Reynolds, (with back pay, benefits and interest), and to
          remove the Plaintiff as the Te-Moak Supreme Court Judge in direct conflict with
          existing law, pursuant to an A1-A6 agreement, plan or scheme. See 42 U.S.C.
          §§2000e-2 and 2000e-3(barring discrimination and retaliation for opposing unlawful
          employment practices). The motion passed to remove the Plaintiff as the judge and
          terminate the Plaintiff as the Tribal Administrator shown by Resolution 21-TM-50.
          The Council reinstated Tanya Reynolds, (the sister ofAlice Tybo and sister-in-law to
          Duane Garcia, Sr., when neither abstained from the vote), with backpay using federal
          funds, vacation and sick leave after Sypolt offered one (1) page of the termination
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          packet produced by the Plaintiff, with Sypolt falsely stating that Colby Boykin failed
          to file "any complaint against Tanya" and that the Plaintiff denied Reynolds' right to
          due process.

    555. On March 19, 2021 Sypolt, as an attorney for Dentons and employed to represent
         the Tribe, stated via a cellular phone broadcast over Lucent Technologies POP 100
         Gigabyte data switch in Salt Lake City, Utah that Sypolt represented Tanya Reynolds,
         a discharged Te-Moak employee, and then advised the TMC to terminate the Plaintiff
         as the Tribal Administrator because the Plaintiff reported fraud or criminal conduct
         and because the Plaintiff terminated Holley's paramour, Reynolds, pursuant to a A1-
         A6 agreement, plan or scheme. 42 U.S.C. §2000e-3.

    556. On March 19, 2021 Sypolt, as an attorney for Dentons, falsely stated via cellular
         phone broadcast over Lucent Technologies POP 100 Gigabyte data switch in Salt
         Lake City, Utah that the TMC held, possessed or retained unfettered authority to
         recall and remove the Plaintiff as a judge by Resolution, and that the original
         Resolution appointing the Plaintiff contained a condition that the Plaintiff
         successfully passing a background investigation, (Sypolt claimed he performed or
         paid for a recent background investigation using the Plaintiffs date of birth and social
         security number obtained and used without the Plaintiffs consent), Sypolt advised the
         TMC that day to remove, fire and terminate the Plaintiff as "a convicted felon in two
         different states," pursuant to AS and retaliate against the Plaintiff. See 42 U.S.C.
         §§2000e-2 and 2000e-3(barring discrimination and retaliation for opposing unlawful
         employment practices); 15 U.S.C. §§1. 2; N.R.S. §205.463; Resolution 20-TM-132:
         Privacy Act. (5 U.S.C. §552 et seq.); 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and
         §200.338; Resolution 03-TM-13(crimina1 act to release private confidential
         information without authorization).

    557. At the March 19, 2021 Sypolt, as the attorney for Dentons representing the Tribe,
         stated via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
         cellular telephone connection with the TMC, was asked by the TMC why didn't Sam
         get a due process to appear and why didn't he get to respond when "everyone
         knows he wouldn't submit just a one (1) page document" to terminate a staff
         member, especially not Joe's girlfriend, and Sypolt stated "because he's white, he's
         on tribal land and this Council doesn't have to follow federal law because you all are
         sovereign." See Te-Moak Personnel. Part IV at 6("insure[J equal opportunity in
         recruitment and selection... disciplinary action and all other related personnel
         procedures and practices in accordance with the Indian Self Determination and
         Education Assistance Act, P. L. 93-638. . .Section 7, the Civil Rights Act; amended by P.L.

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          92-621, Section 703"); Part X(A)-(C)(3) at 18-19(all employees are entitled to due
          process); see also. Te-Moak Constitution. Art. 9. section 1(a) and (h)("[t]he Tribe..
          .shall not . . .[deny the right] to petition for redress ofgrievances... [nor] [d]eny to any
          person within its jurisdiction the equal protection ofits laws or deprive any person of
          libert;y or propert;y without due process"); e,g. 42 U.S.C. §§2000e-2 and 2000e-3.

    558. The enacted version of Resolution 21-TM-50 terminated the Plaintiff as the Tribal
         Administrator that included a date of March 19, 2021, without affording the Plaintiff
         any due process nor any prior Notice. when Joseph Holley; Alice Tybo; Duane Garcia,
         Sr; Andrea Woods; David Carrera; Sypolt; Skibine; Dentons and Davis Gonzalez
         knew or should have known that the Plaintiff was in Michigan on bereavement leave
         from March 19 through March 30, 2021, and then the Plaintiff remained on
         mandatory COVID quarantine until April 5, 2021. Id; u. Exhibit III-B(7). Resolution
         21-TM-50 states "by way and through a majority vote of the Te-Moak Tribal Council,
         permanently and immediately terminates Samuel Lee Biers as the Te-Moak Tribal
         Administrator..." See 42 U.S.C. §§2000e-2 and 2000e-3; and 18 U.S.C. §§1503:
         1510: 1512-13. The Plaintiff received a copy of Resolution 21-TM-50 in July 2021.

    559. On or about March 20. 2021 Hinton-Burdick confirmed with the Plaintiff during a
         telephone call that a check in the amount of $7620.17 was signed and authorized by
         Joseph Holley and Alice Tybo for payment of Sypolt' s self-generated authorization
         and payment request for J. Acosta in excess of the amount authorized by Resolution
         21-TM-43. During the telephone calls with R. McKay Hall and Stacy Richardson
         throughout the week of March 20. 2021 both stated the TMC did not give notice of
         termination regarding the Plaintiff.

    560. On or about March 23, 2021 FBI and OIG Agents conducted an interview with the
         Plaintiff who reported allegations of fraud, waste and corruption involving: Joseph
         Holley; Alice Tybo; Tanya Reynolds and Scott Sypolt. During this interview the
         Plaintiff reiterated the threats against the Plaintiff, and the Plaintiff requested
         Whistleblower protection. Agents stated that because of the complaints and the
         information that the Plaintiff provided, the Plaintiff was protected under the
         Whistle blower Act and that agents would look into the threats. See 42 U.S.C. §2000e
         et seq. and 18 U.S.C. §§1503: 1510: 1512-13.

    561. On or about March 24. 2021 the FBI sent an email to the Plaintiff related to the
         Whistleblower Act and the Plaintiffs status as a Whistleblower after the March 23,
         2021 conference due to Plaintiffs filing of OIG/FBI reports and providing the
         Plaintiff with Whistleblower Act information. Exhibit III-D(5); ref. 5 U.S.C. '[2302(b).

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    562. On or about March 25, 2021 Elisa Dave, Te-Moak Tribal Court Administrator and
         Court Clerk, sent an email chain of communications consisting of approximately
         nine (9) pages from an exchange to and from the email addresses of Scott Sypolt and
         newly appointed Judge Ramon Acosta. See Exhibit 111-D(4). The Sypolt-Acosta email
         messages included abusive, unethical and unprofessional statements by Sypolt that
         related to J. Acosta, as an attorney working for Dentons on behalf of the Te-Moak
         Tribe. Id. This email exchange was CC'd to Dentons managing attorney J. Ross
         Docksey, all TMC members, Ramon Acosta and the Plaintiff, by Elisa Dave, at
         Plaintiff's direction as the Te-Moak Supreme Court Judge. M.

    563. In the email exchange that Sypolt sent to J. Acosta on Dentons' letterhead as
         Denton's attorney assigned to represent the Tribe, (dated March 10, 2021), Sypolt
         falsely blamed J. Acosta for Sypolt's public declaration that the Plaintiff is a felon,
         who must be removed from judicial office, an accusation that J. Acosta refuted
         entirely, and in response to that refutation, Sypolt stated that J. Acosta's "work
         product is horrible and you are a clown in front of a crowd. Id. You are the most
         unethical, manipulative a-hole I have ever met." Id. J. Acosta replied to Sypolt "I did
         not threaten to quit because of Sam, I threatened to quit because of you. I did not
         have a choice and I like Sam. I just questioned the code. You became unhinged,
         again ...To be clear, I was not your choice, I was the tribal council's choice, as was
         Elisa and the others." Id. Dentons, Skibine, Docksey and Sibbison ratified Sypolt's
         conduct as Dentons' conduct by tacit agreement or approval when Dentons failed to
         intervene, re-assign a supervising attorney to the Tribe or take disciplinary action
         against Sypolt.

    564. On or about March 29, 2021 the TMC convened a "Closed" Meeting in Battle
         Mountain without notice or due process to the Plaintiff, where Joseph Holley; Alice
         Tybo; Duane Garcia, Sr; Andrea Woods; Clifton Oppenhein; Robert Brady; David
         Carrera and Davis Gonzalez attended this meeting to correct the motion and official
         action from March 19, 2021 as it related to the termination of the Plaintiff. Sypolt
         and Alice Tybo demanded that the windows were blacked out with blankets, all
         recording and phones turned off, no notes were allowed to be taken, including who
         made the motion or second, with Andrea Woods only recording the vote total itself.
         See 42 U.S.C. §§2000e-2 and 2000e-3: 18 U.S.C. §§1503: 1510: 1512-13.

    565. On or about March 29, 2021 Sypolt directed the Te-Moak Tribal Council, through
         Joseph Holley, to hold and conduct a Council meeting without proper Notice of the
         meeting; without any due process or notice to the Plaintiff; without a Recording
         Secretary present; without any audio or manual recording including voting and with
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          blankets draped over the windows. Joseph Holley; Alice Tybo; Duane Garcia, Sr;
          Andrea Woods; Clifton Oppenhein; David Carrera and Davis Gonzalez agreed to
          backdate Resolution 21-TM-50 to March 19· 2021 to correctthe motion by removing
          the termination of the Plaintiff as a judge.

    566. On March 29, 2021 Sypolt, as the attorney for Dentons, stated via cellular phone
         broadcast over Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
         Utah to the Te-Moak Tribal Council that Plaintiff released confidential information
         from a "Closed Council Meeting" held on March 4, 2021 without authorization when
         at the March 4, 2021 Closed meeting the Council specifically authorized the Plaintiff
         to release the information to newly hired court personnel.

    567. On or about March 29, 2021, as a sub-recipient of federal funding Dentons'
         representative Sypolt assailed the Plaintiffs race, color, culture, class or ethnicity in
         an intentionally false and derogatory manner to obstruct, hinder or prevent the
         Plaintiff from exercising his constitutional rights to employment, travel, contract,
         equal protection, due process and to be free from excessive force by the government
         with the intent or purpose to violate or attempt to violate 42 U.S.C. §§2000e-2 and
         2000e-3; and 18 U.S.C. §§1503: 1510: 1512-13.

    568. On or about March 29, 2021 Sypolt offered a draft document to the TMC for
         consideration as notice of termination to the Plaintiff as the Te-Moak Tribal
         Administrator, and the TMC rejected that document as wholly deficient under the
         "Te-Moak Personnel Policy." At this TMC meeting and pursuant to an agreement,
         plan or scheme to continue the NCE and its operations entered into between, by or
         with SCS, TT and EBCE, Defendants Skibine; Sypolt; Davis Gonzalez; Alice Tybo;
         Joseph Holley; David Carrera; Duane Garcia, Sr; Andrea Woods; Sibbison; Joseph
         McDade; Adela Morrison; Steve Sisolak; Aaron Ford; Thalia Marin; Darian Stanford;
         Steve Olson; Paul Conable, and others, agreed to terminate the Plaintiff from
         employment with the Tribe as a result that will permit the Defendants and entities
         to receive, transfer and exchange unreported cash proceeds from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store with the
         intent or purpose to violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201, 18
         u.s.c. §1341; 18 u.s.c. §1343; 18 u.s.c. §1344; 18 u.s.c. §1952; 18 u.s.c. §1956; 18
         U.S.C. §1957; 31 U.S.C. §5138(h); 18 U.S.C. § 1960 and the Te-Moak Constitution,
         Article 4. sections 3. 4 and 12. and to then unlawfully attempt to terminate the
         Plaintiff as the Te-Moak Supreme Court judge in retaliation for the Plaintiff
         reporting the criminal conduct related to and associated with the NCE without
         affording the Plaintiff due process and equal protection rights, among other rights,
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          as required by the Te-Moak Constitution. Article 9 and the U.S. Constitution. Amend.
          5 and 14: Article 1. sec. 10. cl. 5: Article 2. section 2; Article 4. sec. 2. cl. 1 and Article
          ~- See also. 18 U.S.C. §§1503: 1510: 1512-13

    569. On or about March 30, 2021 at an EBC Public Meeting Davis Gonzales celebrated the
         enactment of Resolution 21-TM-50 by stating to the public, in violation offederal
         and tribal law regarding Privacy, Personnel and Confidential Records, that "Te-Moak
         terminated Sam Biers as the Administrator." See 42 U.S.C. §§2000e-2 and 2000e-
         J.(barring discrimination and retaliation for opposing unlawful employment
         practices); 15 U.S.C. §§1. 2; N.R.S. §205.463; Resolution 20-TM-132; Privacy Act.(~
         U.S.C. §552 et seq.); 42 U.S.C. §13925(b)(2); 2 C.F.R. §200.207 and §200.338;
         Resolution 03-TM-13(criminal act to release private confidential information without
         authorization). Defendant Gonzalez made no reference to the Plaintiff being
         terminated as a judge at this time.

    570. On or before March 29, 2021 Sypolt; Skibine; Dentons; Joseph Holley; Alice Tybo;
         Duane Garcia, Sr; Andrea Woods; Paula Garcia; Clifton Oppenhein; David Carrera
         and Davis Gonzalez failed to give actual notice related to any proceeding, hearing or
         event related to the Plaintiffs termination. Id.

    571. On or about March 30, 2021 Elwood Mose telephoned the Plaintiff and stated that
         Alice Tybo publicly stated by voice, text and email to tribal members and tribal
         officials that "Te-Moak fired Sam as the Administrator and judge." Id.

    572. On or about March 31, 2021, while on COVID-19 leave as required by Te-Moak
         policy, the Plaintiff received an alert from Well Fargo Bank informing the Petitioner
         that a deposit was made by the Te-Moak Tribe, and on review the amount
         approximately matched the Plaintiffs total accrued vacation, overtime and regular
         time owed to the Plaintiff from the Te-Moak Tribe as the Tribal Administrator.

    573. On or about April 2, 2021 the Plaintiff transmitted a large packet of information, by
         email, via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
         including over 20 pages of documents supporting Tanya Reynolds' Discharge,
         entitled Plaintiffs "Grievance," that included statements and attachments
         supporting allegations of Dentons assigned attorney Sypolt's misconduct, fraud,
         criminal conduct and misrepresentations to the TMC and Dentons US Partner J. Ross
         Docksey that included the following statements:




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            a. Scott Sypolt provided "legal counsel to a discharged [Te-Moak] employee
               [Tanya Reynolds] with instructions to assert a failure to give [Reynolds] due
               process;"
            b. Scott "Sypolt sought and obtained [Plaintiffs] termination from [the Te-
               Moak] Council without. ..a written statement or allegation, without providing
               a time to respond or any opportunity to know the date, time and place to
               respond, you know, the basic requirements of due process;"
            c. Plaintiffs "termination is the result of [Plaintiff] fulfilling the legal duty to
               report fraud and other wrongful acts, while addressing racist and unlawful
               conduct by staff members that failed to compliment [their] family members
               on this Council;"
            d. Plaintiff "was never given notice of any of the false allegations presented to
               Council supporting [Plaintiffs] termination, as reiterated by Mr. Sypolt on or
               about March 27, 2021 at a Closed Meeting held in Battle Mountain, without a
               recording secretary, without any electronic or video recording, where a
               poorly written termination letter authored by Mr. Sypolt was rejected ...for
               being wholly deficient;"
            e. Scott Sypolt's "presentment of only one (1) page of a large discharge packet
               as though a complete representation of what Ms. Reynolds received from
               [Plaintiff] to hide criminal conduct and terminate [Plaintiff];"
            f. Assisting Reynolds "to receive[] backpay consisting of federal funds" by
               falsifying "government records" is probably a criminal act itself;
            g. Tanya Reynolds, the paramour of the married Council Chairman Joseph
               Holley, "without Council knowledge or official action authorizing the
               submission, without [Plaintiffs] knowledge or official authorization
               regarding the submission, under penalty of a federal felony, Ms. Reynolds
               affixed her electronic signature to an application for federal funding, (totaling
               $150,000.00) ...on grants.gov, as the 'Chairman' of the Te-Moak Tribe of
               Western Shoshone Indians of Nevada on or about January 14, 2021 ... Ms.
               Reynolds was neither authorized nor the Chairman at the time of
               submission;"
            h. "Reynolds admitted in front of witnesses to having a closed door meeting
               with Sybil Sakala on March 5, 2021 coaching [Sakala] to believe [the Plaintiff]
               was a racist, (Reynolds also admitted to openly criticizing two other staff
               members for being 'white' and a 'diabo') then Reynolds admitted to gaining
               unlawful access to employee's confidential payroll information and then



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                admitted to unlawfully disclosing that information ...while criticizing that
                employee for being 'white;"'
             i. "For an extensive period of time between September and November 202[0]
                Ms. Reynolds turned in time sheets," while failing to respond, report or
                perform "to which Hinton Burdick provided a statement of events with
                supporting documentation," plus Plaintiffs review, determined that
                "Reynolds was turning in time for work not performed;"
            j. "At the February 3, 2021 [Council] meeting, attorney Scott Sypolt claimed he
                completed all the tasks assigned to him under the two (2) [Den tons]
                agreements, about 15 tasks, and that he sent all of the work product to me.
                On the record I immediately refuted that statement," and despite email, fax
                and Sypolt's physical presence at Tribal offices, from July 2020 through
                March 18, 2021, Sypolt failed to submit "any work product" beyond a poorly
                written "NRS legal memo," "the Apportionment Ordinance," and a draft
                Resolution so poorly written that Council "rejected [it] as deficient," so of the
                15 assigned and three (3) submitted, one was rejected and the remaining two
                were prepared by others;"
            k. Judge Acosta prepared the Law and Order Code, which Scott Sypolt then
                stated "would be taking credit for the work product and pay Judge Acosta on
                the 'backend,' for that work," and "Mr. Sypolt submitted a bill to Te-Moak for
                the entire work on the Apportionment Ordinance when he knew that Mr.
                McEwen and I performed the work. This then opened a bag of more
                problems as it appears that Mr. Sypolt disclosed privileged information to
                another attorney not employed by Te-Moak, without authorization by the
                entire Council and then attempted to direct me to work with Cameron
                McEwen a serious legal issue arose;"
            I. Terry "Cameron McEwen was introduced to [Plaintiff] by Scott Sypolt in July
                2020 as "the attorney who will be working with me and who will appear at
                every monthly Council meeting to represent the Tribe and this will show
                people that Dentons is the powerhouse firm representing the Tribe," except
                one of the Dentons Agreements contains Mr. McEwen's name as a party to a
                prior contract and McEwen stated to the Plaintiff that McEwen is '"Assistant
                Attorney General for the State of Alabama,' in the funeral division ...and that
                "Dentons has not hired me, they have not given me an offer to hire me and I
                haven't even had an interview with Dentons yet. It would be highly unethical
                for me to provide the Tribe legal advice and I don't know why Mr. Sypolt put
                me in this position, but I respectfully cannot assist the Tribe at this time;"'


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            m. Scott Sypolt informed the Council that Den tons' legal services billing
               constituted "attorney-client privilege" barring any disclosure to the entire
               Council, Plaintiff as the Administrator and the CPA firm;
            n. Following the Plaintiffs demand that Scott Sypolt return "$200,000.00 in
               CARES Act funding" based on Sypolt and Dentons' own memoranda justifying
               expenditures for attorney fees "and that [Sypolt] would not have direct
               access to confidential court case information (Mr. Sypolt has been advocating
               for 17!)1 removal as not only the Tribal Administrator, but also as the Appellate
               Judge for the Tribe while he serves as the attorney representing the Tribe
               despite a conflict Sypolt has with a member of the Council and Ms. Reynolds), at
               a time when I occupied those positions, those employment[ )positions
               formed an integral part of his client, whom he is sworn to represent;"
            o. "Pursuant to the applicable Constitutional provisions and the subsequent
               resolutions and oaths of office, Judge Acosta and I were "appointed," as
               judges, with a minimum initial term of three (3) years, and Mr. Sypolt's
               claims to the contrary are, at best, disingenuous. See Te-Moak Resolutions
               21-TM-27 through 31, 37 (Obligating Funds and Identifying Court Personnel)
               and 42 ("Appointment");~- Resolution 21-TM-43(Court Personnel Wage
               Rates); also, Resolution 21-TM-44(establishing Administrative Office of Court
               and Funding);" Ref. Exhibit III-B(B): Oath of Office Samuel L. Biers.
            p. "My duty to report was and is fulfilled, and when I last spoke with the Vice
               Chairwoman I insisted that the retaliation cease, instead it has increased
               against me. The information referenced by Mr. Sypolt regarding the alleged
               release of Closed Meeting information to specific individuals leading to my
               alleged termination stem from Council's specific direction regarding that
               release, of which this information is memorialized in the record as the
               contents of Resolution 21-TM-43, a public document. Throughout my tenure,
               even as recent as March 5, 2021, this Council and Mr. Sypolt praised my
               performance publicly, then I learned that Mr. Sypolt advocated for my
               removal as Tribal Administrator and Appellate Judge to hide the illegality
               and unethical conduct I fought against:"
            q. Sypolt's "challenge to my performance, resulting in my termination, lead by
               the attorney of record by the Tribe against a sitting staff member who
               answers directly to and executes the direction of the Tribal Council, is so
               abhorrent to many legal principles, especially when whistle blower
               protections bar such conduct, that it defies logic and law'"



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             r. "... from the statements and emails that Mr. Sypolt's opposition to
                [Plaintiff's] occupying the office of Appellate Judge, by assisting others and
                asserting falsehoods regarding [the Plaintiff], is meant to preserve a personal
                interest of Mr. Sypolt's derived from the Cannabis enterprises ... Sypolt
                submitted invoices for wages associated with the Court personnel for
                payment to Darian Stanford without Council knowledge or approval, and the
                submission occurred after this Council directly instructed Mr. Sypolt that Mr.
                Stanford does not work for the Te-Moak Tribe. Mr. Sypolt claimed to have
                already ran an NClC report on [Plaintiff], when that would require an
                appropriate law enforcement authorization under the CJlS regulations and
                Council authorization. At the time of the claim, Council did not authorize this
                action and therefore any inquiry would be a serious infringement, if not
                criminal conduct, by someone unlawfully gaining access to NCIC. In turn I
                provided a copy of my FBI Background history showing no arrests, no
                convictions;" Ref. Exhibits 11-E(l)-(4).
            s. Plaintiff "objected and reported the conduct of Mr. Sypolt which has ranged
                from calling Mr. Gonzales a Red Apple and when [Plaintiff] stated that
                [Plaintiff] was unfamiliar with that term, Mr. Sypolt said "only red on the
                outside, mostly white on the inside." Mr. Sypolt has screamed and yelled at
                [the Plaintiff], court personnel and the other judge, even other
                attorneys. During the last meeting, Mr. Sypolt made several threats against
                Mr. Gonzales physical health and safety, and this required [Plaintiff] to
                promptly separate myself from Mr. Sypolt completely and report the conduct,
                which I did;"
            t. "The independent, supporting documentation also collaborates [Plaintiffs]
                claims that Ms. Reynolds, and others, implemented a plan to disparage [the
                Plaintiff] and label [Plaintiff] as a racist and Ms. Reynolds admitted to gaining
                unlawful access to confidential personnel records belonging to "white" staff
                members and disclosing that information," and "that Mr. Holley and Ms.
                Reynolds' relationship, along with Mr. Sypolt's conduct and my reporting of
                wrongdoing and criminal conduct, serve as the bases for the Council's
                decision to terminate me as the Tribal Administrator;"
            u. Because "the Council failed or refused to provide for the health, safety and
                welfare of non-native people on Tribal lands, failed to report or take lawful
                action and opted to retaliate against [Plaintiff] for reporting criminal and
                wrongful conduct by staff, and because [the Plaintiff has] yet to receive notice
                of termination, (/am currently on leave pursuant to policy requiring seven


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                  days quarantine after leaving the state), this email also serves as a report of
                  alleged unlawful conduct with supporting documentation, previously altered
                  prior to presentment to the Council," submitted by "Hon. Samuel L. Biers
                  Judge Te-Moak Supreme Court. ..."

    574. On April 2, 2021 a copy of the Plaintiffs "Grievance" and supporting documents
         were transmitted to the United States Department of Justice, Federal Bureau of
         Investigations as part of the ongoing Whistleblower investigations at OIG-Treasury,
         OIG-HUD and OIG-EPA.

    575. On or about April 7, 2021 the TMC held a Closed Meeting and voted to adopt
         Resolution 21-TM-50 seeking to terminate and remove the Plaintiff as the Supreme
         Court Judge for the Tribe. See Te-Moak Constitution. Art. 8. sec. 6(a)(recall judge
         same as Art 4, Sec. 8); g,g. Art. 4. Sec. B("recalled ... only [if a]valid petition signed [by
         all] the registered voters of the Tribe or by at least two-thirds (2/3) of the registered
         voters of any Band" then set an Election where if "at least fifty percent (50%) of all the
         registered voters ofthe Tribe case a vote and more than fifty percent (50%) of those
         voting .. Javor recall" a judge is removed). Sypolt falsely advised the TMC Resolution
         21-TM-50 constituted a permissible, constitutional method ofremoval with the
         intent to violate tribal law. Sypolt failed to inform or competently advise the TMC
         that the recorded vote lacked a legally sufficient number ofTMC members to
         constitute a legal quorum, six "6" members present when 7 were required. See
         Exhibit Resolution 21-TM-50 (vote 5-0-0 with the Chairman equals 6 present out of a
         total members 12). The TMC erroneously convening a meeting without a quorum,
         thereby nullifying the official action as unconstitutional. See Te-Moak Constitution.
         Art. 4. sec. l 9(c) ("[n]o meeting shall commence until a quorum is present. A quorum
          shall consist of a majority of the membership of the Council including the presiding
          officer").
    576. During the April 7, 2021 TMC Meeting Sypolt provided the TMC with an erroneous
         legal opinion on the process to remove an appointed judge by falsely stating that the
         Council merely extended an "offer" of employment to Plaintiff as the Te-Moak
         Supreme Court Judge, and that the Council was free to "rescind that offer" at any
         time by firing the Plaintiff as a judge with the enactment of a Resolution without
         notice to the Plaintiff. Ref. Exhibit 11-C(ll)U. Frias stating Sypolt's bad advice).

    577. On or about April 7, 2021 Sypolt "ordered" the TMC to "delete" the email sent by the
         Plaintiff entitled "Grievance" because it "destroyed the attorney-client privilege."
         TMC members Brady and Gonzalez refused to follow Sypolt's demand with Gonzalez
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          stating that Sypolt doesn't "get to tell the Council what to do" and that Sypolt has "no
          way of knowing when or if any email is deleted."

    578. On or about April 7, 2021 Sypolt, communicating with the Council by cellular phone,
         via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah stated
         again in support of Plaintiffs termination as a judge that Sypolt performed a
         thorough "background investigation" on the Plaintiff, and then stated that Sypolt
         also performed a background investigation on all of the EBC members sitting on Te-
         Moak Sypolt stated to Gonzalez and Brady that Sypolt identified and knew
         "everyone you talk to and associate with."

    579. On or about April 7, 2021 the TMC accepted Thalia Marin as a TMC Member after
         Joseph Holley and Sypolt agreed to waive a pending prosecution against Marin for
         felony embezzlement offenses if Thalia Marin agreed to vote on TMC as directed by
         Sypolt and Holley, even if Marin's vote negatively affects EBC. At the March 4 and 5
         Council meetings Holley directed the submission of affidavits and referral of the
         Marin matter to Anne Laughlin for prosecution. Marin agreed with the terms set by
         Sypolt and Holley and was seated on TMC.

    580. On April 13, 2021 Darian Stanford traveled from Beaverton, Oregon to Te-Moak
         Territory carrying and transporting NCE cash, pursuant to a A1-A6 and AB
         agreement, plan or scheme, with the intent or purpose to deliver a sealed package
         containing $29,960.00 in NCE cash that was obtained or derived from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store- Newe
         Cannabis, routed through the EBCE account at SALAL, and hand-delivered to Joseph
         Holley, representing the falsely claimed 5% Te-Moak Cannabis Sales Tax applied to
         the first quarter 202150% share of the NCE cash proceeds. On behalf of SCS and TT,
         Joseph Holley, Sypolt and Darian Stanford agreed to produce an audio-video
         recording of the transaction, including the completion of the receipt Darian
         Stanford finished the transaction then appeared at Newe Cannabis and took
         possession of $600,000.00 in cash, and then Stanford carried and transported that
         sum of NCE cash, revenue or income obtained or derived from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store-Newe
         Cannabis back to Portland, Oregon before depositing the money into SALAL and
         other financial institutions on behalf of SCS, TT and the personal accounts of
         Conable, Olson, Stanford and others.

    581. On the April 14, 2021 Sharla Dick recorded the transaction involving Sypolt, Holley
         and Stanford counting and transferring the NCE cash proceeds on her cellular

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          phone. The audio video recording shows, records or displays Joseph Holley, Darian
          Stanford, Jeffery Scott Sypolt, Tanya Reynolds and Alfreda Walker interacting and
          discussing the transaction on April 14, 2021 where Darian Stanford and Joseph
          Holley opened the package and hand-counted the cash from the package while being
          videotaped. Sypolt states on the video "this is the 5% tax. He's [Darian] gonna
          deliver it, count it and then seal it so we have an official record. Darian is going to
          sign-off on the amount, and Joe's gonna sign-off on the amount and will be put back
          in the bag and sealed so when it's reopened by the whole [Te-Moak Tribal] Council
          it'll be the exact same number." Joseph Holley asked Jeffery Scott Sypolt "so what
          we got is thirty thousand right?" Darian Stanford stated "that's right," and Sypolt
          replied "Yep." During the hand-counting process Darian Stanford observed one (1)
          stack was short claiming "there's a 40 that's short there, I'm going to pay that out
          myself. Does somebody have a full one that I can get reimbursed," as he placed one
          (1) $100.00 bill from his personal assets into a RICO stack of$400.00 and removing
          $60 dollars. Sypolt stated "I'm glad that we counted it."

    582. On the video recording Sypolt states "so we have verification of $30,000.00 that
         exchanged from Darian Stanford to the Te-Moak Tribe on, what is today, April the
         14th 2021. ..you [Darian] write the amount that was delivered on such and such
         date, and have Joe sign off and then have the two (2) witnesses." Darian Stanford
         states "yep, all that's perfect Scott... let me write a thousand on here." Sypolt then
         states "ifwe could print it out [receipt] so, and then just sign your name [Darian]
         and Joe signed it, and that shows the exchange, then we have the two witnesses, and
         we'll even put the time. It's 4:22 p.m." Joseph Holley then handed the resealed
         package containing the revenue, income or cash proceeds to Alfreda Walker who
         states "this wouldn't even put a dent in what I owe, it would help a little bit." Darian
         Stanford then instructed Alfreda Walker and Sharla Dick to sign as witnesses
         because "it's just a tax receipt for stuff and we can copy both of these as the first of
         many," before holding up a black transport bag Stanford carried or transported the
         package of revenue, income or cash in from Oregon "I didn't realize there was a
         'Church Cannabis Company."' Church Cannabis Company sells retail marijuana in
         California, Michigan, Massachusetts and Nevada.

    583. On April 14, 2021 a copy of the signed and witnessed receipt shown or displayed on
         the video recording was copied, reproduced and delivered to, Joseph Holley, Sypolt
         and Darian Stanford. See Exhibit 11-B(l0): Te-Moak Cannabis Tax and Cash Receipt
         (April 14, 2021). A copy of that receipt was then circulated by Joseph Holley to EBC



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             and the TMC, and the Plaintiff received a copy of the April 14, 2021 receipt from
             Suzanna Sandoval and Juan Arevalo in July 2021.

       584. As of April 14, 2021 no lawfully enacted Te-Moak Cannabis Sales Tax law existed
            and no cannabis tax rate in any form was ever officially approved by the TMC. The
            EBCE half share from the total gross revenue, income or cash proceeds from the sale
            and distribution of a controlled substance, marijuana, at the NCE retail store - Newe
            Cannabis, during the first quarter of 2021, as reported to the Plaintiff by Juan
            Arevalo, totaled just over $1,503,000.00, where if the claimed 5% Te-Moak Tax Rate
            existed would require a payment of over $75,000.00, leaving over $45,000.00
            unaccounted for by Darian Stanford, Sypolt and Holley on April 14, 2021. Sypolt and
            Holley took the $45,000.00, with the assistance and approval of Darian Stanford,
            prior to the delivery of the $29,960.00 that day, and in the rush failed to accurately
            remit $30,000.00 as intended.

       585. The April to June 2021 quarterly accounting report at the NCE retail store - Newe
            Cannabis, pursuant to an Al-A4 agreement, plan or scheme with Robin Evans;
            Leslie Grove; Paul Conable; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo;
            Davis Gonzalez; Thalia Marin, Larry Yeager; Darian Stanford; Kevin Clock, and
            others, acting on behalf of EBCE, SCS, TT, IBSC, RAE and TMC agreed and conspired
            to use the Greenbits software system and generate, create or produce sales and
            accounting information regarding the sale and distribution of a controlled
            substance, marijuana, at the NCE retail store - Newe Cannabis, and that quarterly
            report states: Net Cash Proceeds from the unlawful sale of cannabis: $2,904,309.45.
            See Sales Report-Newe Cannabis, Quarterly Update at 1 (April 1, 202112:00 a.m. -
            June 30, 202111:59 p.m.). 3 Robin Evans; Leslie Grove; Davis Gonzalez; Darian
            Stanford, Paul Conable and Kevin Clock further conspired and agreed with Elliot
            Parris to show or state in the Update report the total amount of tax revenue
            collected for the second quarter 2021 as: $345,341.54 ($189,187.76 Excise Tax and
            $156,153.87 Sales Tax). During this same period of time the Tribe held a permanent
            state exemption from taxes, and even ifNRS 372A.290(1)-(2) applied, the tax
            amount owed and should have collected would equal: $290,430.95, not
            $345,341.45, a difference of$54,910.59. The numbers and figures in this Update
            report fail to match the mathematical computations, accounting figures or numbers


   3
    Greenbits Update Report printed July 12, 2021by Juan Arevalo . Elliott Parris controls the algorithm in the
   Greenbits software for SCS and TT as the CFO or Financial specialist, where Parris intentionally alters the reporting
   criteria to show in some reports given to EBC a reduction of true sales by 33%.

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          sent via email to Kevin Clock and Eli Parris on July 14, 2021 by SCS/EBCE/IBSC
          Adriana "Audrey" Hernandez.

    586. On or about April 15, 2021 in furtherance of and pursuant to any A1-A4 agreement,
         plan or scheme with or between Robin Evans; Leslie Grove; Paul Conable; Steve
         Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry
         Yeager; Darian Stanford; Elliot Parris; Kevin Clock, and others, agreed and conspired
         to generate, create or produce a written report regarding the sale and distribution
         of a controlled substance, marijuana, at the NCE retail store - Newe Cannabis, (after
         the unreported and undisclosed, pre-count 'partner's share' was subtracted, deducted
         or reduced from the gross income amount), that reports and states that the claimed
         net income for the first quarter of 2021, (spanning January 1, 2021 through March
         31, 2021), totaled an even "$1,200,000.00," with the "EBCE" half share equaling
         "$600,000.00" and the "SCS" half share equaling "$600,000.00" pursuant to M ("SCS
         50% ECBE 50%"), with the intent or purpose to violate or attempt to violate 21
         u.s.c. §841. 26 u.s.c. §7201. 18 u.s.c. §1341: 18 u.s.c. §1343; 18 u.s.c. §1344; 18
         U.S.C. §1952; 18 U.S.C. §1956: 18 U.S.C. §1957; 18 U.S.C. § 1960 and the Te-Moak
         Constitution. Article 4. sections 3. 12 and 14 when, during the same period of time,
         the NCC stated, claimed or reported to EBC Chairman Davis Gonzalez that the total
         gross revenue or income derived, received or originating from the sale and
         distribution of a controlled substance, marijuana, involving the NCE for the first
         quarter 2021 was "just over 2.4 million," dollars. See Exhibit IJ-B(2).

    587. On April 29, 2021 Steve McDade personally appeared at the Plaintiffs place of abode,
         while the Plaintiff was absent, and blocked the entrance with his motor vehicle until
         BIA Officer Lopez appeared who then directed Steve McDade to remove himself
         from the premises.

    588. In May 2021 Juan Arevalo stated to the Plaintiff that SCS; Darian Stanford; Davis
         Gonzalez and Paul Conable arranged for the delivery of regular payments of
         unreported cash to elected officials in Nevada from the sale of cannabis involving
         the NCE to secure favorable political and legal decisions for the NCE and EBC, and
         that Arevalo was offered $15,000 in January 2019 as the Vice Chairman to vote in
         favor of Cannabis at EBC and TMC Meetings, and that Thalia Marin, Davis Gonzalez,
         Ladonna Leyva and Larry Yeager were offered and received similar amounts as
         unreported cash proceeds each quarter out of the 'partner's share' from the sale of a
         controlled substance in exchange for favorable votes on the EBC. Arevalo claimed
         that he rejected the $15,000 offer, stating that he was "worth at least $25,000.00"
         before Arevalo stated that he maintained a Connex Box with extensive
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          documentation implicating Davis Gonzalez in a "bribery scam that paid the
          Governor and a bunch of other people with the Cannabis money and if he comes at
          me I'm gonna fuck that little rat-faced weasel." See 18 U.S.C. §1961(1) (A): 18 U.S.C.
          §§1503. 1510 and 1512.

    589. On May 3, 2021 the Plaintiff was served with a TRO as a sitting judge and officer of
         the Te-Moak Tribe, that issued in favor of Steve McDade based on perjured
         testimony at an ex pa rte hearing that occurred when the Plaintiff was on
         bereavement leave in Michigan. Ref. Exhibit III-B(7). At this time and during his
         term of office, the Plaintiff was draped with sovereign and judicial immunity from
         civil liability. See Randall v. Brigham. 74 U.S. 523, 537(1869); Bradley v. Fisher. 80
         U.S. 335, 351 (1872); Pierson v. Ray. 386 U.S. 547 (1967)(absent clear language
         Congress did not abrogate absolute judicial civil immunity);~- Hutto v. Finney. 437
         U.S. 678, 700(1978)(suits brought against individual officers for injunctive relief are
         for all practical purposes suits against the [Tribe] itself .. ").

    590. On May 5, 2021 the TMC reported that it hired and appointed two (2) new judges
         based on the legal advice and counsel of Dentons and Sypolt's false statements,
         reports and claims that the TMC "removed" the Plaintiff. At this meeting Sypolt
         proposed that the Tribe provide Sypolt with funding, and Sypolt will then purchase
         land in Wendover and open another cannabis dispensary to sell and distribute a
         controlled substance and "capture the market in Utah" as part of the NCE.

    591. On or about May 5, 2021 at a TMC Meeting David Carrera entered the meeting and
         stated "hey Davis [Gonzalez] thanks for all of the cannabis cash."

    592. On May 14, 2021 acting Te-Moak Tribal Administrator Sharla Dick left a voice
         message with the Plaintiff asking the Plaintiff to call the Te-Moak Office regarding
         passwords and keys. Earlier that day the Plaintiff received an email notification that
         Plaintiffs accesses to federal databases were rescinded and terminated by Holley.
         Pursuant to any AS agreement Holley, Tybo, Reynolds, Walker and Sypolt
         authorized or approved to change, alter and edit the Plaintiffs security access which
         precluded the Plaintiff from performing critical tasks such as submit timely
         applications for funding and contract submissions as a judge.

    593. On May 16, 2021 the Plaintiff placed the office keys into the office mailbox located
         on the outside of the building located on federal, tribal land outside the front door at
         525 Sunset Street.



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    594. On May 19, 2021 Sharla Dick verbally confirmed receipt of the keys directly with the
         Plaintiff.

    595. On May 20, 2021 TMC Member and Elko Band Council Member Robert Brady
         drafted, signed and delivered a document to the TMC, Dentons and Sypolt
         addressing the unlawful conduct and false, defamatory statements by Holley,
         Gonzalez, Sypolt, Tybo, Garcia and Carrera related to the Plaintiff holding office as
         the Te-Moak appellate judge. See Exhibit III-A(6). This document states:

                 Per the Constitution, Samuel L. Biers was 'appointed' into office as the
                 Appellate Judge legally set forth by a resolution pursuant to the powers
                 granted in the Constitution and, [at] the time he was 'to be removed' Mr.
                 Biers was already in office as the Appellate Judge ... [t]he Te-Moak Tribal
                 Council was misled by Scott Sypolt, Attorney[,] to the fact that they [Te-Moak
                 Tribal Council] had the authority to remove Mr. Biers by way of Resolution,
                 however the Council in fact, HAS ABSOLUTELY NO AUTHORITY to remove a
                 judge that has been seated Per the Constitution of the Te-Moak Tribe which
                 is the Supreme Law of the Land which spells out the process for removing a
                 seated Judge of the Te-Moak Tribe of Western Shoshone Indians of Nevada
                 and any such action against the process set forth in the Constitution would be
                 deemed illegal if contested in Court. Exhibit III-A(6): Brady Memoranda RE
                 Court and Judge Biers. (dated stamp received by Te-Moak Tribal Council May
                 20, 2021 at 11:24 a.m. Log No. 001073).

    596. On May 18, 2021 the Te-Moak Tribal Council approved holding in reserve
         "$1,813,068.03 from the" American Rescue Plan Act funding that the Tribe received
         from the United States by Resolution 21-TM-70.

    597. On May 21, 2021 the United States Department of the Treasury deposited
         "$13,148,881.89" American Rescue Plan Act, ("ARPA"), funds into the Te-Moak Tribe
         account at Zionsbank and NSB with $2,629,776.37 transferred from that total
         amount, equally, to each of the four (4) Bands.

    598. On May 27, 2021 the Te-Moak Tribal Council authorized payment of"$1,000.00 a
         week every week" to Joseph Holley "until the end of his term [October 12, 2021]," by
         Resolution 21-TM-73. Holley continued to receive this amount after his term.

    599. On May 27, 2021 Joseph Holley and Alice Tybo authorized the transfer of
         $2,629,776.37 from the Tribe's ARPA funding amount held by Zionsbank, (Account
         ending in "[*]791), to the South Fork Band. Duane Garcia, Sr; Alice Tybo; Tanya

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          Reynolds and Tyler Reynolds, (Tanya Reynold's son), as the South Fork Council,
          authorized the expenditure of $6500.00 to each of the 200 South Fork tribal
          members for a total expenditure of $1,300,000.00, leaving a remaining unaccounted
          balance of: $1,329,776.37, where a portion of that amount transferred to Western
          Shoshone Descendants of Ruby Valley bank accounts; Tanya Reynolds' personal
          bank accounts; Joseph and Yolanda McDade; Alice Tybo; Joseph Holley; Duane
          Garcia, Sr; and Sypolt.

    600. On May 28, 2021 the Plaintiff verified with the Illinois State Bar Association the
         license and malpractice insurance status related to Jeffery Scott Sypolt as an
         attorney with Dentons and received a copy of a government record from Illinois that
         states Sypolt "reported that he/she has malpractice coverage" that coverage
         remained current "as of the date of registration... (2021)."

    601. On May 28, 2021 the Te-Moak Tribe received a letter signed by David Carrera that
         states "Battle Mountain Band Council accepts the American Rescue Plan Act funding
         2021, please send funding to Wells Fargo account number -[*******]212," with a
         routing number, and the Te-Moak Tribe transferred by wire $2,629,776.37 into the
         Wells Fargo Account identified by Carrera. Band Council Business of this nature
         requires a formal, written and sealed Resolution, not a letter. This Wells Fargo
         account is the same account and number that Carrera transferred or deposited cash,
         revenue or income received or derived from the sale and distribution of a controlled
         substance, marijuana, at the NCE retail store Newe Cannabis, as delivered by or from
         Joseph Holley, Sypolt or Darian Stanford in May, June, July and August 2021. Over
         the course of months, Carrera transferred more than $250,000.00 into and from
         "Wells Fargo account number -[*******]212" and into and from Carrera's personal
         Wells Fargo Bank account or accounts, routed through Wade Cicrich at WJC
         Financials, and both WJC and Carrera failed or refused to inform Wells Fargo Bank
         that funds deposited originated or were derived from the unlawful sale and
         distribution of a controlled substance, marijuana, involving the NCE with the intent
         or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341: 18 u.s.c. §1343; 18 u.s.c. §1344; 18 u.s.c. §1952; 18 u.s.c. §1956:18 u.s.c.
         §1957: 18 U.S.C. § 1960 and Te-Moak Constitution. Article 4. sections 3. 12 and 14.

    602. On May 31, 2021 EBCE; EBC; NCC; SCS; Suzanna Sandoval and Susan Zuzueta agreed
         to submit a Monthly Finance Report for the period of May 2021 pursuant to an A1-
         A4 and A6 and AB agreement, plan or scheme with and between Robin Evans; Leslie
         Grove; Paul Conable; Sypolt; Duane Garcia, Sr; Joseph Holley; David Carrera; Alice

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          Tybo; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia
          Marin, Larry Yeager; Darian Stanford; Kevin Clock, and others, who agreed and
          conspired to create, generate, produce and publish this report related to the
          continuation of operations and business regarding the sale and distribution of a
          controlled substance, marijuana, at the NCE retail store Newe Cannabis and related
          businesses with the intent or purpose to violate or attempt to violate federal, state
          and tribal law. See Exhibit II-B(9): May 2021 at 1. This report states that the
          ending gross account balance for the month of April is "$1,959,258.13" when in May
          the only expenditure totaled $1650.00, stating a net total for May as
          "$1,960. 908.13," when if expended the amount should not have been added as
          shown and equal "$1,960,908.13." Id; see also, Exhibit II-B(9): June 2021 at
          1(ending balance for the month ofJune 2021 is "$1,959.258.13']; c.f. Exhibit JJ-B(6) at
          1( total "$2,904,309.45"). The mathematical computations related to the NCE are
          falsified and fraudulent by each successive report or statement, the sales figures,
          numbers and reports all show conflicting totals and amounts. This monthly report
          states three (3) related Financial Programs existed at EBC that received Newe
          Cannabis cash or funds that originated or were derived from the sale and
          distribution of a controlled substance, marijuana, involving the NCE, and those
          amounts were deposited or transferred into Zionsbank and SALAL for each
          Program's Newe Cash Monthly Balance figures and coded as: "EBC-GF-80"(Elko
          Band Council General Fund-Program 80)("$1,516,571.24"); "EBC-15"(Elko Band
          Council - Program 15) ("$325,669.00"); "NCC-5"(Newe Cannabis Commission -
          Program 5)("$117,017.89"). See Exhibit JJ-B(9).

    603. On or about June 2, 2021 at a TMC Meeting on federal, tribal land Joseph Holley;
         Alice Tybo; Duane Garcia, Sr; Andrea Woods; Clifton Oppenhein; Thalia Marin; David
         Carrera and Davis Gonzalez officiated with Sypolt in attendance, as an attorney for
         Dentons, and Sypolt again stated that the TM C's prior actions by motion and
         resolution to terminate and remove the Plaintiff as the Te-Moak Supreme Court
         Judge remained lawful after receiving Brady's memoranda on the issue. On this day
         Sypolt stated to the TMC that Sypolt's contacts in law enforcement at the US DOJ and
         Illinois confirmed that Biers is a convicted felon, further stating that the Plaintiff is a
         bad guy, you don't want him as a judge. On this date Sypolt stated that the TMC
         ordered Sypolt to perform an "NCIC Background investigation of Biers," after
         Plaintiffs appointment and Sypolt's results concluded that Biers' history shows a
         "lack of good moral character." TMC then voted to terminate the Plaintiff as the Te-
         Moak Supreme Court Judge. Council then voted to grant Holley a wage of $50.00 per
         hour from federal funds for a 40 hour work week at a time when Holley reportedly

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          worked a full time job at Marigold Mines in Lovelock, Nevada. Thalia Marin; David
          Carrera; Alice Tybo; Duane Garcia, Sr; Clifton Oppenhein; Andrea Woods and Davis
          Gonzales knew or should have known that Holley was committing fraud to obtain
          federal funds at the time they voted to approve these actions.

    604. On June 3, 2021 Joseph Holley called a mandatory meeting with the Te-Moak
         Administration staff, and TMC members stating that the Te-Moak Tribe appointed a
         new trial court judge "Carrie Frias." At this meeting Joseph Holley stated that the
         TMC terminated the Plaintiff as the appellate judge. EBC and TMC Member Thalia
         Marin asked Sypolt and Joseph Holley what strategy the TMC had in place "when
         Sam Biers challenges his illegal termination as the judge?"

    605. On June 4, 2021 Sypolt introduced the newly hired Trial Court Judge, Carrie Frias,
         afterAlice Tybo; Joseph Holley; Davis Gonzalez; Thalia Marin; David Carrera and
         Andrea Woods, and others, voted to hire and appoint Carrie Frias. At the time of
         Frias' appointment Joseph Holley; Alice Tybo; Duane Garcia, Sr; Andrea Woods;
         Clifton Oppenhein; Thalia Marin; David Carrera; Davis Gonzalez and Sypolt knew
         that the appellate court position was held by the Plaintiff, and as a result these
         Defendants failed to appoint an individual to the appellate court at this time.

    606. On June 4, 2021 as part ofa plan to disrupt the new court system, Davis Gonzalez
         opened the locked TMC doors to allow Steve McDade entry and Steve McDade stated
         "I thought you weren't going to let me in. I got something today." Steve McDade
         walked past Sypolt and stated to J. Frias the substance of Steve McDade's earlier
         email to J. Frias regarding the validity of her appointment At this time Sypolt
         verbally engaged with McDade, stating that McDade previously attempted to ignite
         himself on fire after dosing himself in gasoline. As the video tape recording displays
         that day, Steve McDade kicked Sypolt in the crotch before punching Sypolt in the
         head and kicking Sypolt as he lay on the ground until both were restrained. While
         Steve McDade was restrained, Scott Sypolt got up and then struck McDade. A
         publicly viewable video recording of the altercation was published online via Reddit
         under the account name "SBerryofChaos92."

    607. On June 6, 2021 Sypolt, as an attorney ofDentons, instructed, directed or advised
         Joseph Holley, Alice Tybo and Tanya Reynolds to draft, sign, fax and mail a
         statement regarding the Plaintiff to the Nevada Employment Security Division with
         the intent or purpose to violate or attempt to violate federal, state and tribal law.
         See Exhibit III-B(11)-(12)(June 7, 2021). See 42 U.S.C. §§2000e-2 and 2000e-
          "J.(barring discrimination and retaliation for opposing unlawful employment

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          practices); N.R.S. §205.463; Resolution 20-TM-132; Privacy Act. (5 U.S.C. §552 et
          seq.); 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and §200.338; Resolution 03-TM-
          13 (criminal act to release private confidential information without authorization).
          Pursuant to the AS agreement, plan or scheme, Sypolt contacted Nevada Attorney
          General Aaron Ford, released the Plaintiffs protected information to Ford, and
          Sypolt requested that Ford use his office and authority to file criminal charges
          against the Plaintiff for submitting an unemployment claim, to deny the Plaintiffs
          claim and to open an investigation against the Plaintiff for criminal charges by
          Nevada for impersonating a judge, to preserve the prior agreement, plan or scheme
         to continue the sale and distribution of a controlled substance, marijuana, at the
         retail store Newe Cannabis and continue the flow or distribution of unreported cash
         from the NCE to Sisolak, Ford and other Nevada politicians. Id. Aaron Ford, (who
         Sypolt earlier claimed worked for Dentons), agreed to violate the law and launched an
         investigation seeking the criminal prosecution of the Plaintiff based on the Plaintiffs
         private, confidential and personal information unlawfully released to Ford and
         DETR by Holley, Reynolds and Sypolt. Sypolt informed Ford that the Plaintiff is a
         "felon, he's scum," when Sypolt, Holley, Ford and Reynolds release of the Plaintiffs
         information constituted a felony act. Id.

   608. On June 7, 2021 Sypolt, Tanya Reynolds and Alice Tybo co-authored and drafted a
        response to Nevada DETR that falsely states the Plaintiff stole "highly confidential
        notes and recordings," and "disseminat[ed] said information... to unauthorized third
        parties," and Joseph Holley affixed his signature to this document as authorized by
        Davis Gonzalez; David Carrera; Thalia Marin; Andrea Woods; Alice Tybo; Duane
        Garcia, Sr., and others, when no privilege existed or applied to permit these
        Defendant to violate the law. Exhibit IJJ-B(ll)-(12): see 42 U.S.C. §§2000e-2 and
        2000e-3(barring discrimination and retaliation for opposing unlawful employment
        practices); 15 U.S.C. §§1. 2: N.R.S. §205.463; Resolution 20-TM-132; Privacy Act. (.5.
        U.S.C. §552 et seq.): 42 U.S.C. §13925(1:!)(2): 2 C.F.R. §200.207 and §200.338;
        Resolution 03-TM-13(criminal act to release private confidential information without
        authorization); ref. Exhibit I-8(2).

   609. The June 7, 2021 the Nevada DETR document falsely states, pursuant to the AS
        agreement, plan or scheme, that the Plaintiff claimed "he was a licensed attorney in
        Nevada" and that the Plaintiff was "fired as a temporary magistrate for concealing
        information and fabricating his birth date on his application regarding [sic] position
        of magistrate," and this document attached a copy of Resolution 21-TM-50 along
        with false, defamatory opinion material regarding the Plaintiff gleaned from the

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          internet. See Exhibit III-B(ll)-(12). Sworn testimony from Tuwana Capers, during
          a civil trial at the United State District Court for the Middle District of North
          Carolina, reveals that Ms. Capers admitted to inserting the erroneous birth date onto
          the Plaintiffs former employment records. Ref. Transcript. Vol. 3, p.12, Ln. 9-14;
          p.18, Ln.9-24 and p.25 Ln.1-3 (Biers v. Cline. Case No. 1:12CV375)(April 5, 2017).

    610. On or about June 7, 2021 Joseph Holley states in the Nevada DETR document that
         the Plaintiff earned "$84,833.89" for the period May 23, 2021 to May 21, 2022 as the
         Tribal Administrator, and that document failed to disclose that the Plaintiff was
         terminated for: properly terminating Tanya Reynolds; submitting and filing
         complaints with the United States Offices oflnspectors General and FBI against
         Reynolds, Dentons and Sypolt; and filing complaints or reports against the operation
         of Newe Cannabis in violation of tribal, state and federal law. Exhibit III-B(ll). See
         42 U.S.C. §§2000e-2 and 2000e-3 (barring discrimination and retaliation for opposing
         unlawful employment practices); 15 U.S.C. §§1. 2; N.R.S. §205.463: Resolution 20-TM-
         ill; Privacy Act. (5 U.S.C. §552 et seq.); 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207
         and §200.338; Resolution 03-TM-13(criminal act to release private confidential
         information without authorization). At no point in time did the Plaintiff ever state,
         claim or assert to the Te-Moak Tribal Council or any employee, agent or
         representative of the Tribe that the Plaintiff held or possessed a license to practice
         law in any state. Exhibit III-A(5): ref. Exhibit III-B(ll). The Plaintiff never asserted,
         stated or claimed that the Plaintiff worked as a federal prosecutor in Utah. Id. The
         Plaintiff was never "fired" as a magistrate judge, and the Plaintiff was never fired or
         terminated "for concealing information and fabricating his birth date on his
         application." Exhibit III-B(ll): see also. Exhibit 1-B(l) and ,r,r104 and 609, supra.

    611. On June 7, 2021 at 4:12 p.m., (PST), Tanya Reynolds sent or transmitted, or cause
         the sending or transmission of electronic copies of the Nevada DETR documents, (8
         pages), at the instruction, direction or advice of Sypolt, Darian Stanford and
         Chadwick Smith pursuant to the AS agreement, plan or scheme with or between
         SCS; EBCE; Robin Evans, RAE Solutions; Leslie Grove, IBSC; Paul Conable; Steve
         Sisolak; Joseph Holley; Duane Garcia, Sr; Alice Tybo; Sypolt; David Carrera; Aaron
         Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry Yeager; Darian
         Stanford; Kevin Clock, and others, related to maintaining or continuing the sale and
         distribution of a controlled substance, marijuana, at the retail store Newe Cannabis
         and other related locations, via wire transmission by way of the internet and/ or
         telephone signal to: Nevada Employment Security Division -Adjudication Division
         (775) 684-0338. Exhibit III-B(12); see 42 U.S.C. §§2000e-2 and 2000e-3(barring

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           discrimination and retaliation for opposing unlawful employment practices); 15 U.S.C.
           §§1. 2: N.R.S. §205.463: Resolution 20-TM-132: Privacy Act. (5 U.S.C. §552 et seq.);
           42 U.S.C. §13925(.b)(2): 2 C.F.R. §200.207 and §200.338: Resolution 03-TM-
           13(criminal act to release private confidential information without authorization).

    612.    On June 7, 2021 at 4:20 p.m., (PST), Tanya Reynolds sent or transmitted, or cause
           the sending or transmission of electronic copies of the Nevada DETR documents, (8
           pages), at the instruction, direction or advice of Sypolt, Darian Stanford and
           Chadwick Smith pursuant to the AS agreement, plan or scheme with or between
           SCS; EBCE; Robin Evans, RAE Solutions; Leslie Grove, IBSC; Paul Conable; Steve
           Sisolak; Joseph Holley; Duane Garcia, Sr; Alice Tybo; Sypolt; David Carrera; Aaron
           Ford; Steve Olson: Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry Yeager: Darian
           Stanford; Kevin Clock, and others, related to maintaining or continuing the sale and
           distribution of a controlled substance, marijuana, at the retail store Newe Cannabis
           and other related locations, via wire transmission by way of the internet and/ or
           telephone signal to: Nevada Employment Security Division -Adjudication Division
           (702) 486-7987. See Exhibit III-B(12).

    613.   On June 8, 2021 Sypolt verbally threatened TMC members from EBC to follow the
           planned voting structure and meeting agenda that Sypolt, Holley and Tybo
           published and created or as Sypolt stated, they would make their "lives a living hell,
           because [Sypolt] did a background investigation into all the Elko Band Council
           members," specifically targeting Robert Brady and his friends demanding that Brady
           withdraw the letter about Council's reasons firing the Plaintiff as the judge.

    614.   As of June 8, 2020 Sypolt, acting on behalf of Dentons, performed a background
           investigation consisting of gossip and opinions found on the internet, Facebook,
           Twitter and lnstagram, when after receiving substantial payment and outlining
           substantial billing statements for work related to the "Law and Order Code," that
           states eligibility "require[s] a background investigation [for each judge] similar to
           which is required of police officers, [that] shall be on file ..." Without authorization
           to perform a background investigation, Sypolt, Skibine, Docksey, Sibbison and
           Dentons performed or accepted a background investigation consisting of Face book,
           Instagram and Twitter opinions against the FBI background report regarding the
           Plaintiff on file at Te-Moak and these Defendants released personal, confidential
           information regarding the Plaintiff to Chadwick Smith, Anne Laughlin, Ramon
           Acosta, Wendall Hayes, Joseph McDade, Angelea Mendez, Jessica Montcalm, and
           others, with the intent or purpose to violate or attempt to violate federal, state and
           tribal law. Ref. Exhibits 11-E(l)-(3): see 42 U.S.C. §§2000e-2 and 2000e-3(barring

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           discrimination and retaliation for opposing unlawful employment practices); 15 U.S.C.
           §§1. 2: N.R.S. §205.463: Resolution 20-TM-132: Privacy Act. (5 U.S.C. §552 et seq.);
           42 U.S.C. §13925(l:!)(2): 2 C.F.R. §200.207 and §200.338: Resolution 03-TM-
           13(criminal act to release private confidential information without authorization).

    615.   On or about September 10, 2021 Felix Ike stated to the Plaintiff that in January 2021
           Steve McDade actively suborned perjury from Susan Jones by repeatedly demanding
           that Jones submit a false affidavit and testify against the Plaintiff in support of Marci
           Villegas false statement and McDade's' TRO against the Plaintiff in the BIA CFR court
           and Susan Jones refused to lie under oath for Steve McDade.

    616. On June 11, 2021 Dentons terminated the employment relationship with Sypolt
         after receiving a copy of the Reddit audio-video recording from Steve McDade that
         showed Sypolt physically fighting Steve McDade on June 4, 2021 at the Tribal Court
         hearing before J. Frias.

    617. On June 11, 2021 the TMC consisted of Joseph Holley; Alice Tybo; Larry Yeager:
          Davis Gonzalez; Thalia Marin; Andrea Woods; Duane Garcia, Sr; Paula Garcia and
          David Carrera who voted based on information, statements and advice from Sypolt
          and Dentons, to remove the Plaintiff, by Resolution 21-TM-83. "as the Te-Moak
          Tribal Court Appellate Judge," and stating "that any Resolutions adopted appointing,
          hiring or having the involvement of Sam Biers as the Te-Moak Tribal Court Appellate
          Judge are null and void," pursuant to the A1-A5 andA6 agreement plan or scheme
          with or between TT; SCS; EBCE; Sypolt; Dentons; Skibine; Joseph McDade; Robin
          Evans, RAE Solutions; Leslie Grove, IBSC; Paul Conable; Steve Sisolak; Aaron Ford;
          Steve Olson: Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry Yeager; ECDCC;
          Darian Stanford; Kevin Clock, and others, to protect and continue the sale and
         distribution of a controlled substance, marijuana, involving or related to the NCE
         retail store Newe Cannabis and other related businesses, and to continue the
         unreported transportation, transfer and delivery or cash from that enterprise to the
         named individuals and entities, and to retaliate against the Plaintiff for opposing the
         enterprise on legal grounds, reporting criminal conduct and fraud at the Te-Moak
         Tribe, filing a complaint against Sypolt and terminating the paramour of Joseph
         Holley, when the named individuals knew or should have known that a Resolution
         will not remove or recall a judge after that judge's appointment as stated in the Te-
         Moak Constitution, Article 8: Robert Brady's May 20. 2021 Memoranda: Exhibit III-
         C(4)(c)(performed extensive research on this issue) and the prior statements given
         to the TMC by Sypolt, Dentons and the Plaintiff on this issue.


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    618. On June 15, 2021 the Plaintiff contacted Sibbison, a partner at Dentons, by telephone
         and Sib bison confirmed that Sypolt was terminated as of June 11, 2021 based on the
         video, and in response to Plaintiffs question regarding" ...who Dentons is
         representing," Sibbison stated that Dentons will withdraw its representation for the
         Tribe and that she was unaware of multiple written agreements that Sypolt drafted
         for the Te-Moak Tribe, and Sib bison stated that Sypolt was not a partner and that
         only partners were permitted to charge $7 65 an hour or more as a matter of policy
         at Dentons law firm. Sibbison stated to the Plaintiff that his "Grievance" was not
         received by her office and that if that document was delivered to "Docksey, that's a
         problem."

    619. On June 16, 2021 EBC accepted the resignation of Robert Brady from his seat on the
         TMC by way and through Elko Band Council Resolution 2021-EBC-27.

    620. On or about June 17, 2021 the Plaintiff and Davis Gonzalez communicated with each
         other regarding Sypolt, and during this conversation Davis Gonzalez informed the
         Plaintiff that Gonzalez had recently contacted Dentons' partner Sib bison who
         confirmed to Gonzalez that Sypolt was terminated and that Dentons included a
         notation on Sypolt's file stating "Do Not Rehire." The Plaintiff reiterated the
         substance of a similar conversation Plaintiff held with Sib bison to Gonzalez, and at
         that time Gonzalez informed the Plaintiff that the attorneys for SCS and TT "took
         over the Council and Newe," operating the businesses "without Elko Band's
         approval, they work for Sypolt and Joe now."

    621. On or about June 25, 2021 the Plaintiff received a copy of the Zionsbank/NSB VISA
         credit card statement, for the account ending in "[*]032," in the United States Postal
         Service mailbox for the Te-Moak Supreme Court showing a total available credit
         amount of $5,000.00 and expenditures totaling $110.30 that the Plaintiff did not
         authorize, and the statement demanded payment to an address in Salt Lake City,
         Utah. Plaintiff contacted Zionsbank regarding the status of this account and credit
         card, and Zions bank stated the Plaintiff did not have access to information on the
         account. After that call to Zions bank an unknown person or persons changed to
         billing address at Zionsbank from the Te-Moak Supreme Court address to an
         unknown address for this account and credit card without the Plaintiffs knowledge,
         authorization or consent, and a USPS agent informed the Plaintiff that Alice Tybo
         had been picking up the mail for the Supreme Court at Box 867 claiming she was the
         "Council."



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    622. On or about June 27, 2021 Sypolt stated to the TMC that Sypolt was "still employed
         with Dentons," and Sypolt directed the TMC to alter or edit the original Resolution
         21-TM-29 to include language rendering the Plaintiffs appointment conditioned on
         a background investigation.

    623. On June 28, 2021 Davis Gonzalez contacted the Plaintiff to request a telephone
         number for Skibine or Sib bison to confirm the employment status of Sypolt with
         Dentons after Sypolt's statement to the TMC.

    624. On June 30, 2021 EBCE; EBC; NCC; SCS; Suzanna Sandoval and Susan Zuzueta agreed
         to submit a Monthly Finance Report for the period of June 2021 pursuant to an A1-
         A4 and A6 and AB agreement, plan or scheme with and between Robin Evans; Leslie
         Grove; Paul Conable; Sypolt; Duane Garcia, Sr; Joseph Holley; David Carrera; Alice
         Tybo; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia
         Marin, Larry Yeager; Darian Stanford; Kevin Clock, and others, who agreed and
         conspired to create, generate, produce and publish this report related to the
         continuation of operations and business regarding the sale and distribution of a
         controlled substance, marijuana, at the NCE retail store Newe Cannabis and related
         businesses with the intent or purpose to violate or attempt to violate federal, state
         and tribal law. See Exhibit II-B(9): June 2021 at 1. This report states that the ending
         balance for the month of June 2021 is "$1, 959.258.13" minus monthly expenditures
         totaling $900.00, then states a monthly ending total balance for June 2021 as
         "$1,958,358.13." Id.

    625. For all relevant periods Zions bank, and its subsidiaries and board members,
         knowingly received, transferred and accepted proceeds, income, cash or revenue
         that was derived or originated from the sale and distribution of a controlled
         substance, marijuana, in California, Oregon, Nevada and Washington routed through
         NSB and other financial institutions before arriving at Zions bank's central location
         in Utah with the intent or purpose of violating or attempting to violate 21 U.S.C.
         §841, 26 U.S.C. §7201, 18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C. §1344;18 U.S.C.
         §1952: 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 et seq. and
         Zionsbank/NSB, Nicole Lewis, Ashley Dewey and Brent Waite agreed and acted
         pursuant to the A1-A4, and especially the AS agreement, plan or scheme to cause
         injury to the Plaintiff and preserve the continuity of the revenue, income or cash
         proceeds originating from the sale and distribution of a controlled substance,
         marijuana, transferred or deposited into Zionsbank and its subsidiaries.



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    626. In or about June 2021 the Plaintiff communicated with the FBI. The Plaintiff was
         informed at that time that all law enforcement agents in Nevada were instructed by
         the AUSA in Reno that pursuant to an internal DOJ-AUSA policy that no arrests were
         allowed based solely on probable cause, that the AUSA directed all federal law
         enforcement agents in the area to obtain an indictment or only arrest individuals for
         serious crimes committed in their presence, any arrest made on probable cause
         without an indictment would be dismissed with prejudice by the United States
         Attorney's Office as it relates to tribal marijuana operations and businesses.

    627. For the period of June 12, 2021 through September 1, 2021 Dentons, by way and
         through Skibine, Sib bison and Chadwick Smith, pursuant to A5 agreement, plan or
         scheme, that Bowker and Joseph McDade agreed to enter, and who continued to
         assist and provide legal advice to Sypolt, Holley, Tybo and Reynolds to remove the
         Plaintiff from judicial office without due process or adhering to the proper and
         lawful tribal method, process or procedure to remove or recall a judge. Dentons
         assisted in the drafting of a settlement agreement with the U.S. DOI/BIA Office of
         Hearings and Appeals regarding a reassumption of a judicial services contract in
         2017 at the same time that Bowker and Skibine held private non-public meetings
         regarding this process, to obtain a complete release of liability for all prior acts
         involving Bowker, the BIA and McDade, and to obtain the resulting settlement
         agreement. For all relevant times Dentons, Skibine, Bowker, Joseph Holley and
         Sypolt falsified information contained in documents stating that the Plaintiff, as the
         sole Te-Moak Supreme Court Judge, lacked any authority or interest in the
         proceedings, in contradiction to known authority and requirements under the Te-
         Moak Law and Order Code. 1-3-16(D) that states the Supreme Court Judge retains
         all authority to manage the business of the Te-Moak Court system.

    628. On July 12, 2021 Juan Arevalo and the Plaintiff communicated via telephone, and
         Arevalo informed the Plaintiff that Arevalo had a packet of documents that would be
         "helpful," in an upcoming lawsuit against "Gonzalez and SCS." The Plaintiff met
         Sandoval at the Te-Moak Administration Building, who hand-delivered a packet of
         documents to the Plaintiff"from Juan." That packet contained a copy of Te-Moak
         Exhibit IJ-A(2): Exhibit I -A(3): Exhibit III-B(l); Newe Cannabis Funds Request
         Policy; Exhibit 11-A(S). and related records. For all times prior to this date Joseph
         Holley; Alice Tybo; Thalia Marin; David Carrera; Duane Garcia, Sr; Andrea Woods;
         and Davis Gonzalez failed or refused to provide, deliver or give the Plaintiff actual
         notice of termination as the Tribal Administrator as shown in Resolution 21-TM-50.



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    629. On July 6, 2021 EBCE; EBC; NCC; SCS and Susan Zuzueta created, generated,
         produced and published a document consisting of data, reports and information for
         the second quarter 2021 entitled the Newe Cannabis Profit and Loss Statement (July
         6, 2021), at the direction and under the supervision of Davis Gonzalez; Kevin Clock;
         Paul Conable; Steve Olson; Darian Stanford, and others, with the knowledge,
         participation and advice of Sypolt, Chadwick Smith and Joseph Holley, pursuant to
         an A1-A4, A6 and A8 agreement, plan or scheme with or between Robin Evans;
         Leslie Grove; Paul Conable; Sypolt; Duane Garcia, Sr; Joseph Holley; David Carrera;
         Alice Tybo; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez;
         Thalia Marin, Larry Yeager; Darian Stanford; Kevin Clock, and others, related to and
         regarding the sale and distribution of a controlled substance, marijuana, at the NCE
         retail store Newe Cannabis and related businesses. See Exhibit II-B(7).

    630. Exhibit II-B(7). as published for July 2021, states the following information
         representing data for the claimed second quarter 2021:

                 (1) Total "Sales $2,904,306.78;" "Tips $42,815.00;" and "ATM" Revenue
                 "$7, 712.50;" stating a total quarterly "Income" amount of "$2, 954,834.28;"

                 (2) Cost of Goods and Services, "COGS," total expenditures "Product MMJ
                 [acronym for Medical Marijuana] $885, 700.00;" "Product- Apparel
                 $2,457.00;" and "Delivery to SALAL $275,000.00," that states a total
                 quarterly expenditure amount reported for Cost of Goods and Services as
                 "$1,143,157.00;"

                (3) "Expenses Administrative "$30,000.00;" "Advertising and Marketing
                $10,638.00;" "Bank Fees $2,202.04;" "Contractors $41,256.23;" "Insurance
                (G/L and W/C [General Liability and Workers Compensation]) $13,611.64;"
                "Professional Services $17,585. 73;" "Meals/Entertainment $6,984. 77;"
                "Rentals $9,224.12;" "Repairs/Maintenance $224.84;" "Office Supplies
                $21,043.81;" "Payroll Taxes $44,275.43;" "Payroll Fees $2,057.20;"
                "Postage $131.90;" "Travel and Lodging $2,560.59;" "Subscriptions
                $14,155.48;" "Utilities $2,185.42;" "Wages $180,348.68;" that states a total
                quarterly "Expense" amount of"$308,487.36" and an amount of
                "$1,413,189.90" for division by Elko Band and SCS under the Agreement.

   631. The Update Report submitted to Kevin Clock and Elliot Parris on July 14, 2021 by
        Adriana Hernandez states the NCE SCS one half share amount for the quarter
        equaled "$1,401,093.89" or a difference of$12,096.01, and the reporting difference


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          between the Newe P & L total sales for the quarter and the total sales reported by
          the Greenbits quarterly report ("$2,904,309.98") is $3.02. See Exhibit II-B(6). (7)
          and (12).

    632. The Newe P & L states "$7,712.50" was generated or received by the ATM for this
         period, while the Update Report on July 14, 2021 states "$135,088.60" was received
         or generated by the same ATM, and the Greenbits quarterly report states "$0.00"
         was generated or received by the same ATM for the same period. The same ATM
         referenced is located inside the Newe Cannabis facility.

    633. The Newe P & L states that the NCE expended "$275,000.00" on transportation and
         delivery of cash to "SALAL" Credit Union in Seattle, Washington from the Te-Moak
         Territory through Utah, Idaho and Oregon using Empyreal and GardaWorld
         Armored Transportation services, pursuant to an A1-A4, A6 and AS agreement,
         plan or scheme with or between SCS; TT; EBCE; Zions bank; NSB; Davis Gonzalez;
         Paul Conable; Darian Stanford; Thalia Marin; Juan Arevalo; Joseph Delarosa; Kevin
         Clock; Steve Olson; Elliot Parris, and others, who agreed to falsify or misrepresent
         information or statements contained within financial records and documents
         related to the actual characteristic, source or legal status of these funds to Empyreal,
         or GardaWorld Armored Transportation, by including statements in these financial
         records and documents that the funds were derived from a lawful and legitimate
         tribal business related to EBC, Elko Band Authority and EBCE, not Newe Cannabis, to
         continue transferring and depositing cash proceeds derived or originating from the
         sale and distribution of a controlled substance, marijuana, at the NCE retail store
         Newe Cannabis with the intent or purpose to violate or attempt to violate 21 U.S.C.
         §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C. §1344; 18 U.S.C.
         §1952; 18 U.S.C. §1956; 18 U.S.C. §1957;18 U.S.C. § 1960 and the Te-Moak
         Constitution, Article 4. sections 3. 12 and 14 and thereafter the same Defendant
         individuals and entities executed a plan, scheme or agreement, AS, to interfere or
         interrupt Tribal government operations managed and administered by the Plaintiff
         and to implement, devise or invent false or artificial reasons or justifications to
         obtain the termination of the Plaintiffs office and employment with the Tribe;
         deprive the Plaintiffs right to practice law and serve as a witness and judge,
         including discrimination against the Plaintiff on the basis of race, ethnicity and
         culture to permit the same individuals and entities to continue the unlawful
         commercial sale and distribution of a controlled substance, marijuana, at the NCE
         retail store Newe Cannabis, and continue to generate unreported revenue or income
         for the parties to each agreement.

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    634. The Empyreal Deposit and Bag Slip shows that it transported "$1,033,000.00" in July
         2021, not "$100k" and not "$725,000.00" as stated, claimed and recorded in the
         document entitled Elko Band Colony Enterprise Distribution Tracker that claimed
         the amount constituted and represented EBC-EBCE's "50%" share pursuant to A6.
         See Exhibit II-B(13): Exhibit II-B(8): Distribution Tracker: !tg. Exhibit II-B(12).

    635. The Newe P & L states expenditures were made by the NCE for "Insurance;" "Payroll
         Taxes;" "Postage;" "Bank Fees;" and "Travel." Exhibit II-B(7). The Newe P & L
         document states an amount of "$44,275.43" was paid for "Payroll Taxes," and for the
         same period of time involving the same enterprise or business the Greenbits Sales
         Report fails to state, disclose or show any "Payroll Tax" expenditures and states a
         total amount of"$345,341.54" was paid in sales and excise taxes, when the Tribe is
         exempt from Nevada sales taxes. Id;~- II-B(6). The Newe Profit & Loss Statement
         fails to disclose, state or show any expenditure for taxes for the same period of time
         for the same enterprise and business. Id. EBCE financial records for the same
         period states it expended $1,541,644.38 in total for Cost of Goods and Services plus
         Expenses, when Newe P & L states $1,451,644.38, a $90,000.00 difference in
         reporting between EBCE and Newe P & L for the same enterprise or business for the
         same period of time. Id.

    636. For the same period, (2 nd Quarter 2021), the EBC-EBCE Distribution Log records a
         total net income amount of "$1,450,000.00;" Newe P & L states a total net income
         amount of"$1,413,189.90;" and Greenbits sales software accounting states a total
         net income amount of"$2,558,968.55." Exhibit II-B(2). II-B(6) and II-B(7). EBCE
         states a total net income amount of"$1,413,189.30" (total gross revenue
         "$2,954,834.28" minus "$1,514,644.38") and then EBCE subtracted its "Working
         Capital $86,182.49" from its "Cash Position $1,536,182.49" to create a "50%" share
         for a "Distribution Amount [of] $1,450,000.00" to EBC-EBCE. Id.

    637. It appears that on or about July 14, 2021 Davis Gonzalez and Paul Conable affixed
         their respective signature to the EBCE Distribution Tracker that states and discloses
         the exchange, transfer and collection of revenue, income or cash proceeds from the
         unlawful sale and distribution of a controlled substance, marijuana, at the NCE retail
         store Newe Cannabis, between EBCE, EBC, SCS and TT, with the intent or purpose to
         violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341: 18
         U.S.C. §1343(Wire Fraud); 18 U.S.C. §1344(Financial Institution Fraud); 18 U.S.C.
         §1952(Travel Act): 18 U.S.C. §1956(Money Laundering); 18 U.S.C. §1957(Engaged in
         Unlawful Monetary Transactions); 18 U.S.C. § 1960 and the Te-Moak Constitution.
         Article 4. sections 3. 12 and 14. See Exhibit II-B(8).
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    638. On or about July 14, 2021 Davis Gonzalez; Juan Arevalo; Larry Yeager; Thalia Marin;
         Susan Zuzueta; EBCE and NCC produced and transmitted a document entitled
         "Distribution Log" that itemized each quarter of income or revenue as an accounting
         of revenue, income or cash proceeds derived or originating from the sale of a
         controlled substance, at Newe Cannabis, as reported by EBCE and SCS, for the first
         year of operation of the NCE, beginning with the first quarter July 2020 until July
         2021, that stated, disclosed, reported or revealed a net income amount of
         "$6,650,000.00," where each quarter stated an exact, rounded off number, a result of
         skimming the exact change amount from the reported sales figures and transferring
         that amount directly to personnel, staff, officers and employees as an undisclosed
         'tip' or windfall. Exhibit II-B(2). The actual total gross revenue, when rounded off,
         was $10,000,000.00 for the first three (3) quarters of 2020, resulting in the
         skimming of $3,350,000.00 as the unreported 'partner's share' used to pay Sisolak,
         Masto, Ford, Garrand, ECDCC, Chadwick Smith, Skibine, Joseph McDade, and others,
         in exchange for political and legal assistance, support and information to continue
         the NCE.

    639. The Newe P & L document states a "COGS" for MMJ as "$865,700.00" for the second
         quarter of 2021 and a total of "$2,904,306.76" as derived, received or originating
         from the sale of a controlled substance, marijuana, at the NCE. Exhibit II-B(7).

    640. The NCE sells its marijuana at an average retail price of $20.00 per gram, and
         dividing that amount into "$865,700.00" equals approximately 145,216 grams of
         marijuana sold during the period, or about 326 lbs. sold during the second quarter
         of 2021 that generating "$2,904,306.76" in total sales.

    641. The Nevada Department of Taxation states in its 2020 survey of wholesale prices
         charged in the state, (29,878 transactions), as authorized pursuant to NCCR 1.095.
         that the median "Fair Market Value at Wholesale" price for marijuana purchases in
         Nevada, beginning January 1, 2021, was $2,100.00 per pound of marijuana, and the
         minimum price was set at $322 per pound. Ref. Fair Market Value at Wholesale of
         Marijuana Nevada Department of Taxation (2021). Multiplying $2,100 by the 326
         pounds sold at Newe Cannabis is $689,285.00, or alternatively multiplying 326 by
         $322, the minimum wholesale price, equals $8372.00, resulting in a regulatory price
         range for the NCE. Where the Tribe retains a permanent Nevada tax exemption and
         under the Agreement between EBCE and SCS, the total fair market price for 326
         pounds to $585,892.25, not $865,700.00 a difference of $279,807.75 that is
         unaccounted for in the financial documents. SCS, EBCE and TT failed or refused to
         produce, state, generate or submit actual sales invoices or accounting showing the
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          actual amount paid to producers, wholesalers or even copies of test results as
          required by their own agreements, policies and regulations. SCS, SCI, CS! and TT
          own or control the tribal marijuana production facilities, using non-disclosure
          agreements), that claim to produce 15,000 lbs. of marijuana per month and sell the
          marijuana to tribal competitors under similar regimes and agreements as with the
          NCE. See 15 U.S.C. §§1. 2 and 13(a). (d) and (e).

    642. On July 14, 2012 Adriana Hernandez who resides on Te-Moak Tribal land and who
         was for all relevant times related to this action employed by SCS, IBSC and EBCE,
         authored, drafted and transmitted an email from accounting@newecannabis.com.
          [an account established, created and set up far Hernandez by Robin Evans, RAE
          Solutions, and Leslie Grove, IBSC), and Hernandez then sent that email to Kevin Clock
          and Elliot Parris, via Lucent Technologies POP 100 Gigabyte data switch located in
          Salt Lake City, Utah then routed to Oregon and Idaho, when Kevin Clock and Elliot
          Parris continued to use an email address associated with a defunct and closed
          business entity, Cascade Strategic Investments, (CS!), and the email by Hernandez
          states: "Here is the Ending Balance as of today 7/14/2021 Actual Cash Count:
          $1,401,093.89 Wells Fargo ATM Balance: $135,088.60 $100K is schedule to be
          picked up today." See Exhibit II-B(12): Hernandez Email; g,g. Exhibit III-C(lO):

    643. The total difference between the Green bits Sales Report. ("Net Tender Breakdown
         $2,904,309.98"), and the amount stated by Hernandez, ("Actual Cash Count:
         $1,401,093.89"), is $1,503,215.11 for the same reporting period, a number that fails
         to match the stated "50%" A6 share when the NCE states the "Distribution Amount
         [of] $1,450,000.00." .!.d; also. Exhibit II-B(6): A6; Exhibit II-B(2).

    644. Kevin Clock; Elliot Parris; Paul Conable; Darian Stanford; Steve Olson asserted and
         stated to Suzanna Sandoval; LaDonna Leyva; Davis Gonzalez; Thalia Marin; Juan
         Arevalo; Larry Yeager, and others, that the "ATM revenue belongs to SCS, not ECBE,
         EBC or NCC because it's our machine." EBCE; EBC; SCS states and reported
         "Cashless ATM $0.00" as ATM revenue for the same period contained in the Exhibit
         II-B(6) at 1 (April 1, 202112:00 a.m. - June 30, 202111:59 p.m.).

    645. EBCE; EBC; NCC; TT; SCS by way and through Davis Gonzalez; Kevin Clock; Paul
         Conable; Steve Olson; Darian Stanford; Larry Yeager; Juan Arevalo; and Thalia
         Marin, pursuant to an Al-A4, A6 and AB agreement, plan or scheme, hired and paid
         Empyreal Logistics to schedule and pick up cash revenue, income or proceeds from
         the NCE retail store Newe Cannabis in an amount of"$100K," through Ms.
         Hernandez, using GardaWorld Armored Transportation services to drive the cash

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          income or revenue proceeds from federal, tribal lands through Utah, Idaho, Oregon
          and Washington to SALAL in Seattle Washington. See Exhibits II-B(12) and (13).

    646. For all relevant times to this action Darian Stanford, Elliott Parris and Kevin Clock
          continue to use an email addresses associated with or for Cascade Strategic
         Investments, a defunct, dissolved and closed Oregon business entity that dissolved
         as an Oregon corporation on May 31, 2018. See Exhibit III-C(lO): Exhibit II-B(12):
         .e.g. Exhibit III-C(9). CS! listed Paul Conable's Tonkon Torp Administrative Services
         LLC as its Registered Agent that lists or identifies the business address associated
         with Cascade Strategic Investments as: 888 SW 5th Avenue, Suite 1600; Portland,
         Oregon 97204, also the address for Tonkon Torp. Id.

    647. On July 15, 2021 the NCE produced, generated and published a written report,
         pursuant to any A1-A4, A6 and A8 agreement, plan or scheme with or between SCS;
         EBCE; Robin Evans; Chadwick Smith; Scott Sypolt; Leslie Grove; Paul Conable; Steve
         Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia Marin, Larry
         Yeager; Darian Stanford; Kevin Clock, and others, related to the sale and distribution
         ofa controlled substance, marijuana, at the NCE retail store Newe Cannabis, that
         states the total net income for the second quarter 2021, (spanning April 1, 2021
         through June 30, 2021), is an even "$1,450,000.00," with the "EBCE" half share
         equaling "$725,000.00" and the "SCS" half share equaling "$725,000.00" pursuant to
         A6. ("SCS 50% ECBE 50%"), with the intent or purpose to violate or attempt to
         violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C.
         §1344: 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957: 18 U.S.C. § 1960 and the
         Te-Moak Constitution. Article 4. sections 3. 12 and 14 when NCC representative
         Marin stated, claimed and reported to EBC Chairman Davis Gonzalez that the total
         revenue or income generated, received or derived from the sale and distribution of a
         controlled substance, marijuana, involving the NCE for the second quarter of 2021
         was "$2 million and some change." See Exhibit II-B(2).

    648. On or about July 15, 2021 Darian Stanford traveled to Nevada from Oregon and met
         with Kevin Clock; Davis Gonzalez; Larry Yeager; Thalia Marin, and after that meeting
         Darian Stanford hand-delivered $37,000.00 (USO) in cash, that was derived,
         received or originated from the sale and distribution of a controlled substance,
         marijuana, at the NCE retail store Newe Cannabis, directly to Joseph Holley who
         took possession, custody or control of the cash as payment for a claimed 5% Te-
         Moak Tribal Cannabis Sales tax for the 3rd quarter 2020 income when no duly
         enacted law, rule or regulation existed authorizing the collection or assessment of


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          any 5% Te-Moak Tribal Cannabis tax that applied or related to the sale or
          distribution of marijuana with the Te-Moak Tribe.

    649. Between July 15, 2021 and July 16, 2021 Joseph Holley expended, transferred or
         deposited approximately $7,000.00 into Te-Moak tribal bank accounts at Zionsbank
         containing federal funds obtained by way and through federal contract and grant
         awards for Te-Moak Tribal Programs administered under: Bureau of Indian Affairs -
         Aid to Tribal Government; U.S. DOJ -SO RNA; Environmental Protection Agency and
         United States Health and Human Services-Indian Health Services.

    650. On or about July 16, 2021 Joseph Holley; David Carrera; Davis Gonzalez; Duane
         Garcia; and Alice Tybo attended a meeting held on federal, tribal land at a building
         purchased, constructed and maintained with federal funds located at: 511 Sunset
         Street; Elko, Nevada. Therein Joseph Holley ordered Te-Moak employees Sharla
         Dick and Alfreda Walker to act as witnesses to the hand-counting of the $30,000.00
         in cash by Joseph Holley; David Carrera; Davis Gonzalez; Duane Garcia; and Alice
         Tybo. On this date Joseph Holley communicated with Hinton-Burdick CPA, R. McKay
         Hall, regarding the disposition of the funds. At the time, Holley indicated to Hall that
         Holley spent "about $10,000.00," and that the remainder was "locked in a safe at Te-
         Moak." Hall advised Holley that because the funds originated or were derived from
         the sale of marijuana, that "cash cannot be deposited into" or commingled with
         federal funds associated with the tribe in its tribal bank accounts. Joseph Holley
         terminated the communication with McKay Hall and then distributed the remainder
         of the cash, equally, in an amount of $5,000.00, to himself; David Carrera; Davis
         Gonzalez; Duane Garcia; and Alice Tybo, and $2,500.00 each to Sharla Dick and
         Alfreda Walker. Sypolt; Joseph Holley; David Carrera; Davis Gonzalez; Duane Garcia;
         and Alice Tybo agreed to pay newly hired Tribal Trial Judge Carrie Frias and
         Prosecutor Sherry Harris an aggregate amount of $6,500.00 to conduct hearings in
         favor of the Te-Moak Tribal Council.

    651. On July 22, 2021 the Te-Moak Supreme Court issued an Order declaring as
         unconstitutional and void all actions by the TMC that stemmed from any Council
         meeting held or conducted as "Closed Meetings," and declaring that "Resolution 21-
         TM-83 is unconstitutional, a legal nullity and is immediately voided" because under
         the Te-Moak Constitution "[n]o Ordinance, Resolution or Motion shall rise to the
         level of being superior to the Constitution of the Te-Moak Tribe... [t]he proper
         process is to Amend the Constitution or follow the Recall procedures as dictated by
         the Constitution," to remove an appointed judge. Ref. Order. In re Te-Moak Tribal
         Council Resolution 21-TM-83, (Case No. 2021-TM-SC-OOl)Guly 22, 2021).

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    652. On July 27, 2021 Suzanna Sandoval prepared, drafted and submitted an official
         document referenced as the TMC "Special Open Meeting" Minutes related to a
         meeting held on July 27, 2021, when there was no "Open Meeting" on that date, and
         Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr.; Paula Garcia; Davis
         Gonzalez; Thalia Marin; Andrea Woods and Larry Yeager were present at this
         meeting and who acted without lawful authority, and that document contained the
         following statements:

             a. "Scott Sypolt informed the Council that the Department of Interior agreed to
                help fund the Te-Moak Tribal Courts... Te-Moak was involved with
                mediation ... [and] Joseph Holley, Juan Arevalo, Alice Tybo and Andrea
                Woods were selected," as the Te-Moak representatives for the settlement
                agreement, and "Te-Moak would have to agree to the mediation settlement. ..
                BIA agrees to formally recognize the Te-Moak Tribal Court... [where]
                Chairman Holley and Vice Chair Tybo would be identified as authorizing
                signatory for Te-Moak on the Agreement [pursuant to] Resolution 21-TM-94
                and sign the Agreement for the Court;" Exhibit II-C(7)
             b. Scott Sypolt "discussed the removal of Elko Band from the Te-Moak Tribe to
                operate as a separate Sovereign entity per Davis's (sic) request ... Scott
                briefly talked about amending the Constitution to remove Elko Band ... [n]ow
                is the time to move on matters in Indian Country. The Biden Administration
                is recognizing Tribal Sovereignty and the Department of Interior is led by
                Deb Haaland who is an enrolled member of the Laguna Pueblo;" M;
             c. Scott Sypolt "provided an amendment to the Law-and-Order code. This
                ordinance needs to be updated. It would strengthen the laws for the Tribe..
                .Suzanna will work on getting the amendment drafted for Council review;" Id;
             d. The Plaintiff "is acting on behalf of the Te-Moak Courts without authorization
                to do so. Scott [Sypolt] said [the Plaintiff] is creating havoc by making
                inaccurate statements about Scott. Davis then asked Scott to verify if he is
                currently employed by Dentons. Scott informed Davis that [Sypolt] is aware
                of the calls that [Davis], Robert Brady, Steve McDade and Sam Biers have
                made to Dentons. Denton[s] provided a statement to Chairman Holley
                indicat[ing] that Denton[s] has not released information to the above-
                mentioned individuals. . .Davis then informed Scott that Sam Biers ..
                .informed [Davis] of the matters....Scott then asked Davis why he would
                believe or trust Sam when [Plaintiff] has shown himself to be untrustworthy.
                [Plaintiff's] background check came back unfavorable, [Plaintiff] informed
                Te-Moak that he had a license to practice Lawin the State of Nevada which

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                 was proven false. Sam took records from the Te-Moak Tribe that were
                 confidential and not his property to take, so he could cause problems for the
                 Te-Moak Tribe. Now all of a sudden Sam is the reason of truth and honesty..
                 .Alice [Tybo] says the Tribe should take action to notify the public that Sam
                 Biers is not affiliated with the Te-Moak Tribe or the Te-Moak Tribal Courts.
                 Sam has not been able to be served notice. Suzanna did provide [Plaintiff] a
                 copy of the Resolution removing him as the appellate Judge, but [Plaintiff]
                 still refuses to stop identifying himself as a Judge for the Te-Moak Tribal
                 Courts. Alice Tybo motions to post public notice in the Elko Daily Free Press,
                 Reno Gazette, Salt Lake Tribune and Times-News Idaho as official notice to
                 Sam Biers. A letter shall also be written and sent out to all Band Councils and
                 Government agencies as notice that Sam Biers is not associated with Te-
                 Moak or the Tribal Courts. Thalia Marin seconds the motion. Vote 7 FOR, 1
                 AGAINST (Davis Gonzalez), 0 ABSTENTIONS;" Id; g,g. Exhibit III-B(16)
              e. Hinton Burdick's CPA R. McKay Hall attended the meeting held on July 27,
                 2021 to discuss "financial services," with the Council. Id.

    653. During the period of time that Dentons represented the Te-Moak Tribe, Sypolt;
         Joseph Holley; Alice Tybo; Tanya Reynolds; Thalia Marin; Suzanna Sandoval; Juan
         Arevalo; Larry Yeager; David Carrera; Andrea Woods; and Davis Gonzalez acted
         pursuant to any Al-A4, A6 or A8 agreement, plan or scheme with or between Aaron
         Ford, Steve Sisolak; SCS; EBCE; Darian Stanford; Steve Olson; Paul Conable; Joseph
         McDade; Skibine and Chadwick Smith, to pay or fund, with the income, revenue or
         cash proceeds that were derived, received or originated from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis and related businesses, with the intent or purpose to violate or attempt to
         violate 21 U.S.C. §841. 26 U.S.C. §7201.18 U.S.C. §1341: 18 U.S.C. §1343; 18 U.S.C.
         §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and the
         Te-Moak Constitution. Article 4. sections 3. 12 and 14 and pursuant to AS
         agreement, scheme and plan to fund the publication of a "PUBLIC NOTICE,"
         beginning on July 30, and successively on July 31 through "August 3, 4, 5, 6, 7, 10, 11,
         12, 2021" to publish this Notice in newspapers across the Western United States and
         in various online publications, viewable internationally, via Lucent Technologies
         POP 100 Gigabyte data switch in Salt Lake City, Utah that states the Plaintiff "is not
         affiliated with the Te-Moak Tribal Court," that "as the Appellate Judge" the Plaintiffs
         appointment was conditioned on a "background check" that the Defendants
         mutually agreed and determined that the Plaintiff failed to "meet the qualification


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          requirements as specified in the Constitution," and that "Resolution No. 21-TM-83"
          voided the Plaintiffs judicial office, revoking "the offer for Appellate Judge," and
          further states that the Plaintiff lacked "any authority or affiliation as it relates to the
          Te-Moak Tribe of Western Shoshone Indians of Nevada or Te-Moak Tribal Courts."
          See Exhibit III-B(16) and 1[652, supra; ref. Exhibit III-A(7).

    654. Each and every publication in the Salt Lake Tribune (10 publications), Reno Gazette
         (10 publications), Elko Daily Free Press (10 publications), Twin Falls (10
         publications), and republication on Facebook, that contained the Plaintiffs personal,
         confidential information by Joseph Holley; Alice Tybo; Tanya Reynolds; Thalia
         Marin; Suzanna Sandoval; Juan Arevalo; Larry Yeager; David Carrera; Andrea
         Woods; and Davis Gonzalez, who Aaron Ford, Steve Sisolak; Sypolt; Darian Stanford;
         Steve Olson; Paul Conable; Joseph McDade; George Skibine and Chadwick Smith
         agreed and conspired with to publish, release and fund the publication and release,
         (pursuant to an AS agreement, plan or scheme), constituted a separate criminal,
         felony act under N.R.S. §205.463. See Exhibit III-B(16) and 1[652 supra; e.g. 42 U.S.C.
         §§2000e-2 and 2000e-3(barring discrimination and retaliation for opposing unlawful
         employment practices); 15 U.S.C. §§1. 2: Resolution 20-TM-132; Privacy Act. (5 U.S.C.
         §552 et seg.); 42 U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and §200.338; Resolution
         03-TM-13(crimina1 act to release private confidential information without
         authorization).

    655. On July 30, 2021 the Plaintiff transmitted copies of official government documents
         offering to settle as a minimum payment for a debt to the Plaintiff for services
         performed as the Te-Moak Supreme Court appellate judge, pursuant to the Tribe's
         constitutional mandate, directly to the Tribe's accountants, Hinton-Burdick, located
         in St. George, Utah. This email included copies of Te-Moak Resolution 21-TM-37
         (Identifying Administrative Office of the Court Personnel and Obligation of Funds);
         Resolution 21-TM-23(Creation of Line Items and Court Budget); Resolution 21-TM-
         29 (Appointment ofSamuel L. Biers Supreme Court Appellate Judge); Resolution 21-
         TM-44(Creation ofAdministrative Office of the Court) and Resolution 21-TM-23
         (Approving Court Personnel Contracts). The Plaintiff previously provided detailed
         accounting, time-reporting and invoices to the Te-Moak Tribe and its Council, and
         thereafter Hinton-Burdick received orders and instructions from Joseph Holley;
         Alice Tybo; Duane Garcia, Sr; Thalia Marin; Davis Gonzalez; Andrea Woods and
         Sypolt, without lawful authority, with the intent or purpose to violate federal and
         tribal law to deny any payment and refuse to communicate or answer the Plaintiffs
         communications related to the debt.

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       656. As of July 30, 2021 all other Te-Moak court personnel were paid in full, some more
            than allowed by law, and the Plaintiff remained the only member of the Te-Moak
            Judicial Branch, who did not receive one penny for services performed as the
            individual legally responsible to manage the business of the Court. See U.S. Const.
            Amend, 13.

       657. On July 30, 2022 Bryan Bowker, pursuant to any Al-A6 agreement, plan or scheme
            with or between Dentons; Skibine; Chadwick Smith; Darian Stanford; Sypolt; Paul
            Conable; Steve Sisolak; Aaron Ford; Joseph McDade and Joseph Holley affixed a
            digital electronic signature onto a document entitled "Settlement Agreement"
            related to the Te-Moak Tribal Court System and a judicial services contract, Contract
            No. AV15AV00203, dismissing "JSDA 2017-01" and releasing Bowker and McDade
            from all liability, without the knowledge, consent or participation of the Plaintiff. At
            the time Bowker knew or should have known that the Plaintiff was the Te-Moak
            Supreme Court Judge, and pursuant to the legal authority granted to the Plaintiff, as
            approved by the United States, the Plaintiff's office remained a necessary party to
            the proceedings. 4 See Exhibit I-B(5): Settlement Agreement. Bryan Bowker retired
            on or about October 15, 2021.

       658. On August 1, 2021 Darian Stanford, after travelling across, on or along interstate
            highways, bridges and roads constructed or maintain with or by federal funds,
            hand-delivered a package containing $30,000.00 (USO), consisting of income,
            revenue or cash proceeds that originated from the sale and distribution of a
            controlled substance, marijuana, at the NCE retail store Newe Cannabis or related
            businesses, and Darian Stanford physically delivered that container or package
            containing the $30,000 in cash to Joseph Holley.

       659. On August 2, 2021 the Plaintiff and former Te-Moak prosecutor, Sherry Harris, and
            Tribal Judge, Carrie Frias, communicated via email regarding the termination of
            Sypolt from Dentons on June 11, 2021; identified the false and defamatory
            statements by Sypolt regarding the Plaintiff; providing copies of Te-Moak legislative
            enactments; and the Plaintiff provided documentation to support the Plaintiff's
            lawful appointment to the bench, including the contact information for Skibine and
            Sib bison as partners at Dentons to verify Sypolt's status. Ms. Harris responded,
            thanking the Plaintiff, and Harris stated that she was unaware Sypolt was
            terminated by Dentons. Dentons and Sypolt continued to deceive by failing to give
            notice to legal professionals or to falsely claim Sypolt remained with Dentons

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       The Plaintiff received a copy of the Settlement Agreement via FOIA on March 25, 2022.

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          related to the representation of the Tribe, and preserve the NCE. In the carbon copy,
          the name Isidra Russell appeared as the clerk of the court, and as of that date and all
          times before Sypolt; Holley; Garcia; Tybo; Woods; Marin; Gonzalez and Carrera
          failed to inform the Plaintiff, as the Chief Tribal Judge, or Te-Moak Tribal members
          that Ms. Russell was hired as the clerk.

    660. On August 3, 2021 Dentons, byway of its partner Skibine, filed a notice of
         withdrawal of representation for the Te-Moak Tribe with the U.S. Solicitor General
         Christopher A Reudas-Salt Lake City, Utah. Sypolt, George Skibine, Reudas and the
         Te-Moak Tribal Council failed or refused to provide any documentation showing a
         withdrawal of legal representation, or information related to the Settlement of Case
         No. ISDA 2017-01/lADR that directly or indirectly affected the operation and
         business of the Te-Moak Court system to the Plaintiff. Ref. Dentons Letter of
         Withdrawal as Counsel for the Te-Moak Tribe. United States Department of Interior-
         Office of Hearings and Appeals (August 3, 2021); see also. Exhibits II-F(3)(a)-
         @(identifying Jeffery Scott Sypolt); see also. Notice of Entry of Appearance on
         Behalf of Te-Moak Tribe of Western Shoshone Indians of Nevada. United States
         Department of Interior-Office of Hearings and Appeals, (Case No. ISDA 2017-
         0l)(March 23, 2021).

    661. On August 4, 2021 the Plaintiff sent an email to the TMC, with a copy to each
         respective Band Council Administrator, that stated and refuted the assertions by
         members of the TM C claiming that the Plaintiffs judicial appointment was
         conditional as an offer to hire, as published and republished in the media, mail and
         wire by the members of the TMC.

    662. On August 6, 2021 Joseph Holley; Duane Garcia, Sr; Davis Gonzalez and David
         Carrera held a meeting at the Te-Moak Diabetes Building, (a building constructed,
         maintained and funded with federal tax dollars), located on federal, tribal land at 511
         Sunset Street; Elko, Nevada where Joseph Holley stated that Joseph Holley
         authorized the expenditure of$7,931.74 from the original $30,000.00 cash that
         Holley received from Darian Stanford, upon delivery, and that the total cash amount
         of $30,000.00 represented a 5% sales tax on the total income from sales of
         marijuana at "Newe Cannabis" for a past amount from the second quarter 2021
         when, according to the Greenbits sales report, that 5% amount equaled $75,001.00
         for that quarter. Ref. Exhibit II-B(6): e._g. Exhibit 11-B(ll).

    663. On August 6, 2021 Joseph Holley; Duane Garcia, Sr; Davis Gonzalez and David
         Carrera separately affixed their signatures after they hand-counted the NCE cash

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          Joseph Holley received from Darian Stanford before making a written entry onto a
          document entitled "Cash Count Receipt August 6, 2021" as prepared in advance by
          Tanya Reynolds and Alfreda Walker that states: "Payment Received $30,000.00;"
          "Deductions: $7931.74;" "Total Cash: $22,068.25;" "Name;" "Area Representing;"
          "Date;" "Amount Verified;" and "Signature." Exhibit 11-B(ll): Te-Moak Cash Count
          Receipt (August 6, 2021). Joseph Holley ordered two (2) employees of Te-Moak,
          Sharla Dick and Jennifer Knight, to act as witnesses and separately hand-count the
          cash before affixing their signatures verifying the process and amounts. Id. Once
          the money was verified and the signatures affixed, Joseph Holley dismissed the
          employees and split the money: David Carrera received $5,000.00; Davis Gonzalez
          received $5,000.00; Joseph Holley received $5,000.00 and Duane Garcia Sr. received
          $5,000.00 with the remainder deposited into Zions bank and NSB.

    664. On or about August 6, 2021 Clifton Oppenhein and Julia Oppenhein submitted their
         resignation from the TMC. Joseph Holley, Alice Tybo, David Carrera and Sypolt
         agreed to hold both resignations without recordation until after the upcoming
         October 2021 Election "in case we need their votes."

    665. On August 9, 2021 Sypolt, Joseph Holley, Alice Tybo, Davis Gonzalez, Duane Garcia,
         Sr., David Carrera and Andrea Woods authorized a judicial services Settlement
         Agreement without the Plaintiffs knowledge as the Te-Moak Supreme Court Judge
         in a case before the U.S. Office of Hearings and Appeals, Docket No. JSDA 2017-01.

    666. On August 18, 2021 the Plaintiff, as the Te-Moak Supreme Court Judge, sent an email
         to Sypolt; Joseph Holley; Duane Garcia, Sr; Davis Gonzalez; Alice Tybo; Andrea
         Woods; David Carrera, and others, that states:

                 Once the Tribal Council created the Court System and then appointed
                 the judges and personnel, according to the Constitution and Ordinance
                 87-0RD-TM-03 (Approved by the United States July 17, 1989) the
                 Supreme Court Judge is expressly granted the exclusive power over
                 the administration of justice and business of the Tribal Courts, not the
                 Tribal Council. . . Please take a minute and review Article 8 of the
                 Constitution of the Te-Moak Tribe of Western Shoshone Indians of Nevada...
                 Mr. Sypolt is permanently DISBARRED and his license is REVOKED.

    667. On August 18, 2021 the Plaintiff sent an email to Sypolt; Joseph Holley; Duane
         Garcia, Sr; Davis Gonzalez; Alice Tybo; Andrea Woods; David Carrera, and others,
         that states: "[t]o validate that claim that Mr. Sypolt was no longer employed with

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          Dentons, please find a copy of the automatic reply I received from Dentons today 'no
          longer with the firm' which occurred on or about June 11, 2021."

    668. On August 18, 2021 the Plaintiff sent an email to Sypolt, Holley, Garcia, Gonzalez,
         Tybo, Woods, Carrera, and others, containing an automatic reply message that the
         Plaintiff received from Dentons' email server that states:
                 The email you sent cannot be delivered to Jeffery Scott Sypolt,
                 who is no longer with the firm. If you would like to speak with
                 someone at Dentons, you may contact Heather Sib bison at
                 + 1 202 408 6439 or heather.sibbison@dentons.com

    669. On August 19, 2021 the Plaintiff sent an email to Sypolt; Joseph Holley; Duane
         Garcia, Sr; Davis Gonzalez; Alice Tybo; Andrea Woods; David Carrera, and others,
         demanding Defendants cease and desist publicly identifying the Plaintiff as a felon,
         stating that the Plaintiff is not a Te-Moak judge and that the Plaintiff falsified or stole
         Te-Moak government records. In the Plaintiffs August 19, 2021 email the Plaintiff
         identified the Plaintiffs FBI Background report and Joseph Holley's official written
         statement of January 17, 2020 accepting the FBI report, exonerating and clearing
         the Plaintiff on this issue, finding no criminal history. Ref. Exhibit III-B(l)-(3). The
         Plaintiff demanded that Sypolt; Joseph Holley; Duane Garcia, Sr; Davis Gonzalez;
         Alice Tybo; Andrea Woods; David Carrera retract the Public Notices containing the
         false statements regarding the Plaintiff published in the Salt Lake Tribune, Reno
         Gazette, Elko Daily, Twin Falls and on Facebook, to the public and to government
         agencies and officers.

    670. On or about August 19, 2021 Alice Tybo, Sypolt, Joseph Holley and Tanya Reynolds
         used the Plaintiffs confidential and personnel records, (birth date and social security
         number), to gain unauthorized access to the Plaintiffs gmail account associated with
         the Te-Moak Supreme Court, locking the Plaintiff out of that account for three (3)
         days.

    671. On or about August 19, 2021 Alice Tybo, Sypolt, Joseph Holley and Tanya Reynolds,
         with other unknown individuals, used the Plaintiffs confidential and personnel
         records, (birth date and social security number), to gain unauthorized access to the
         Plaintiffs credit reports or information, obtaining private information regarding the
         Plaintiffs auto loan and disseminating that information to the public. As a result of
         the non-payment of the Plaintiffs wages as the judge and the wrongful termination
         of the Plaintiff as the Tribal Administrator, the Plaintiff notified the loan carrier,

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          Santander, of default and to voluntarily repossess the vehicle to mitigate damages.
          Sypolt, Tybo, Holley and Reynolds, agreed to communicate with Santander and
          communicated with Santander, as the Plaintiffs loan service company, and
          published a public, joint statement that the Plaintiff "has a stolen vehicle," the same
          vehicle subject to the default, and also communicated with Santander and law
          enforcement requesting the arrest of the Plaintiff for possession of a stolen motor
          vehicle.

    672. On August 19, 2021 Alice Tybo, Duane Garcia, Sr; Tanya Reynolds and Cheryl Mose,
         with the aid and assistance of Joseph McDade and Bryan Bowker, caused the
         transmission of a document to the United States Department of Treasury that states
         "[t]he South Fork Band Council is 100% dependent upon the Federal Government.
         The monies received from government agencies are obligated for specific uses," and
         then demanded that the U.S. "immediately cease and desist in any attempts to
         recover the debt," then totaling over $850,000.00 where Alice Tybo, Duane Garcia
         Sr, Tanya Reynolds, Tyler Reynolds and Cheryl Mose, misappropriated and
         fraudulently spent those "obligated" funds for personal use through series
         transactions funneling the funds through programs that appeared legitimate, and in
         Mose's instance at the local casino, and with the assistance of Bowker's brother-in-
         law, Glen Shafer, who failed to timely report the fraud as the agency official with
         authority, Reynolds, Garcia, Tybo and Mose continued spending federal funds on
         personal use unabated for years, taking vacations, purchasing property, such as
         cattle and hay, then converting those items into personal assets. Joseph McDade
         assisted this group in South Fork by stalling legal processes until periods of repose
         expired, and assisted Bowker to prevent federal officials beyond the Region from
         gaining knowledge of the tribal conflicts and McDade's interference in internal tribal
         and election disputes, (precluded by McDade's office as a legal matter). In exchange,
         the Band's Council representatives, Tanya Reynolds, Tyler Reynolds, Alice Tybo and
         Duane Garcia Sr, (all related), continued to allow McDade to hold a land assignment
         in the same geographical area as his agency authority, (otherwise in conflict with
         McDade's position at the BIA), continue to exercise natural resource rights on
         federal land under McDade's supervision, along with the misappropriation offederal
         funds and equipment, and abuse of authority with the support of Band Council and
         Joseph McDade and Bowker agreed to influence or interfere with the BIA CFR Court
         processes in select cases favoring the tribal faction in power, and if any opposition
         arose, McDade manipulated local BIA Law enforcement officials and tribal officials
         with threats of lost employment or restriction of government program funds,
         evidenced by McDade's help in the disbarment of the Plaintiff without due process.

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    673. The Plaintiff reported allegations of misconduct related to Joseph McDade, and
         others, to the Bryan Bowker, and the Plaintiff learned that Bowker failed or refused
         to report the misconduct beyond the Regional Office, in part to protect Shafer's
         employment The Plaintiff reported extensive allegations of criminal conduct to BIA
         OJS Internal Affairs and OIG, with OJS in turn informing McDade and others of the
         allegations, who in turn retaliated against witnesses and victims. Several adult
         tribal members contacted the Plaintiff to report several violent sexual offenses
         against them when they were children by a former BIA-ENA law enforcement officer
         and former tribal official. Lt. Anderson and Joseph McDade informed the alleged
         perpetrator who in turn threatened the families of the witness victims, effectively
         silencing those individuals from making further reports. Reportedly, the alleged
         perpetrator, as a then BIA Law enforcement officer, raped and beat a child so bad
         that the officer threw her into a water filled ditch believing she died, and left the
         scene, only to learn that child survived and was in the hospital. While she was in the
         hospital this individual reportedly threatened members of her family with arrest
         and violence as a BIA law enforcement officer to silence her and her family from
         making an official report. The entire family moved outside of the state days later.

    67 4. Under the supervisory authority of Joseph McDade and Bryan Bowker the Plaintiff
          reported instances where BIA OJS incarcerated individual defendants, in one case,
          over 30 days without an arraignment when the legal standard is within 72 hours,
          and McDade received a report of every tribal member incarcerated each day as a
          matter of policy. OJS internal affairs took no action against McDade or others
          involved, and as a result Bowker recommended a promotion for the internal affairs
          officer the Plaintiff reported the allegations related to the unlawful incarceration,
          and that agent became Special Agent in Charge for the Region. Joseph McDade
          arranged with the BIA CFR Court to refile the charges against that individual
          without addressing the unlawful incarceration.

    675. On or about August 20, 2021 the Plaintiff and David Carrera communicated via the
         telephone about the extensive false and defamatory publications in the Salt Lake
         Tribune concerning the Plaintiff, and Carrera stated that Joseph Holley, Alice Tybo,
         Duane Garcia Sr, David Carrera, Andrea Woods and Davis Gonzalez were advised by
         their "bar licensed attorney Scott Sypolt to publish the Public Notices in the
         newspaper, so we listen to him, not you Sam." Ref. Exhibit JII-B(16). David Carrera
         confirmed and verified to the Plaintiff that Carrera's May and June 2021 public
         statements to the Tribal Council thanking Davis Gonzalez for the "'Cannabis money"'
         actually occurred. Prior to this conversation with Carrera, Davis Gonzalez stated to

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          the Plaintiff in July 2021 that Elko Band did not pay or authorize payment to
          Carrera, when Gonzalez stated that Darian Stanford and Paul Conable paid Carrera,
          Holley, Tybo, Garcia with cash proceeds from the NCE retail store Newe Cannabis,
          from the 'partner's share,' agreeing to pay Carrera, Holley, Tybo and Garcia each an
          amount of $5,000.00 per month and disguise the payments as the Tribe's 5% sale
          tax and that Holley, Carrera, Tybo, Garcia and Marin agreed to support the NCE by
          building a court system with judges and staff favorable to NCE with the help of
          Chadwick Smith, Darian Stanford, Joseph McDade, Wendall Hayes and Sypolt.

    676. On August 20, 2021 Hinton Burdick produced a written financial record entitled
         "Final - All Programs Budgets," that included a Financial Summary for the Reporting
         Period up to and including August 20, 2021 for all Te-Moak Contracts and Grants.
         See Exhibit II-B(15): Te-Moak Final Report (August 2021). In that report are
         individual spreadsheets that state and detail the Te-Moak expenditures and income
         amounts up to that date. Id. This Final Report fails to include any budget or
         program for the $13 million in aid from the federal ARPA that Te-Moak received,
         however there is a report for the ARPA-FRF Program 15 (state ARPA grant) for "$2,
         629,776.39" that reports a total expenditure amount of"$56,003.19" with a note
         "[n]eed a budget for new program." Id. The SORNA Program received "$150,000.00"
         in federal funds October 1, 2020 and to date expended "$72,134.36." Id.

    677. All federal grant awards to the Tribe require legislative enactment, approval of a
         program, statement of work, narrative and budget prior to expenditures. For all
         times Juan Arevalo was unqualified to serve as Te-Moak SORNO law enforcement
         officer because the Te-Moak SORNO law requires a POST certified law enforcement
         officer and Arevalo lacked the credentials and education to serve as a POST certified
         law enforcement officer.

    678. The Final Report SO RNA section states that for the period of May 2021 through
         August 2021 Juan Arevalo received as salary and wages federal grant funds
         administered under the U.S. DOJ SMART SO RNA Program, and then ARPA federal
         funding, as authorized by Joseph Holley and Alice Tybo. M; see also, Exhibit I-C(9).

    679. On or about September 9, 2021 Arevalo, Sypolt and Holley stated that the SORNA
         Program lacked funding, then requested additional funding, and the TMC approved
         transferring income or revenue received from the claimed cannabis sales taxation
         amount derived or originating from the sale and distribution of a controlled
         substance, marijuana, at the NCE, in addition to authorizing the impermissible
         reallocation of ARPA federal funds into the SORNO Program.

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    680. Following the October 25, 2021 elections, where the results show the people
         refused to re-elect Holley and Gonzalez, on or about November 17, 2021 Tybo,
         Marin, Gonzalez, Garcia, Carrera, Woods authorized Holley to sign Resolution 21-
         TM-124 approving the transfer and expenditure of federal ARPA funds, totaling
         $75,000.00, into the SORNO program, inter alia, when that transfer is not only
         impermissible under Treasury rules, it is unlawful because Holley, Marin, Tybo,
         Gonzalez, Garcia, Woods and Carrera lacked all legal authority to expend any federal
         funds at that point due to the election removing his authority. Exhibit I-C(9). Joseph
         McDade attempted to interfere in the election and sanction these actions by Holley,
         Gonzalez and Arevalo by allowing these Defendants to remain in office and continue
         disguising or hiding their criminal complicity, and McDade's, with the NCE. See Del
         Rosa v. Acting Pacific Regional Director. 51 !BIA 317,320 n6 (2010)(the BIA lacks
         power "to serve as arbiter of a tribal dispute'). As the Te-Moak Supreme Court Judge
         the Plaintiff issued a decision governing certain 2021 pre-election matters on
         December 28, 2021 that validated the elections in South Fork and Elko.

    681. The Final Report states and shows expenditures of federal grant funds, via Indirect
         (the federally accepted annual percentage rate is deducted from all other federal
         grant funds and programs and deposited into Indirect for expenditure on
         Administrative costs to manage the other programs-33.82%), for an "Administrator"
         covering the period of April 1, 2022 through June 1, 2022 in an amount of
         "$22,212.45" when no Administrator was employed at Te-Moak Exhibit ll-B(15).
         During this time, Diabetes Director, Alfreda Walker, and the Enrollment Director,
         Sharla Dick, performed the "acting" Administrator duties while simultaneously
         drawing a 40 hour paycheck through the federal grant award !HS Diabetes and BIA
         ATTG Enrollment funds.

    682. The Final Report states and shows that the Te-Moak Tribe expended federal grant
         funds in an amount of $1528.80 in postage costs for the 2 nd and 3rd quarters of the
         fiscal year, when for Fiscal Year 2020, at the height of COVID-19 when the tribe
         mailed CARES Act checks, applications and individual mailings to the 2450 tribal
         members costing $555.85 in postage costs from Indirect, or roughly 36% was spent
         in one year, FY20, of the total amount expended in one quarter FY21 on postage. Id.
         The same period, 2QFY21 Holley et al instituted and conducted a mailing campaign
         against the Plaintiff using the United States Postal Service. The Final Report states
         and shows that Indirect is in the negative "$11,303.87" on August 20, 2021. Id.

    683. The Final Report states and shows that all programs, (except some rent expenditures
         in the Diabetes Program as discussed infra), applied the TMC approved rate of$.90

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              per square foot rental amount for expenditures of federal funds for the FY21 period.
              Id. Resolution 21-TM-124 approved an expenditure of $550,000.00 of ARPA federal
             funds for rent to the Tribe when the FY21 expenditure for space rent for all
             programs in the Te-Moak Office Building at 525 Sunset totaled $7961.42. 5 Exhibit 1-
             .c.(2)_. The buildings are constructed, maintained and renovated with federal funds,
             then federal funds are charged against the same space for use inside the buildings,
             and in December 2021 $16,000.00 expended on new furnace, $24,000.00 on a piece
             of heavy equipment, only to have Holley extricate the TMC and staff from that
             building the same week. Davis Gonzalez, Adela Morrison, Holley and Sypolt then
             authorized the TMHA Board to issue a quit claim deed against the building at 525
             Sunset where no prior deed existed to quit claim.

       684. The Final Report states and shows that the Te-Moak Diabetes Program Category
            view of expenditures "Personnel" (2 FTE and 1 PTE) spent a total year to date
            amount totaling "$63,794.06;" "Supplies" incurred a total cost spent "$41,184.94," or
            19% of direct cost expended year to date; and "Other" expended a total year to date
            amount "$101,919.07" or 47% of the entire program, where a significant number of
            the expenditures listed under "Other" lack justification or valid documentation as
            required by the grantor. 6 Exhibit II-B(15).

       685. The Final Report states and shows that during the Plaintiffs administration of the
            CARES Act, the Administration expended at a total amount of $36,400.00 on Hazard
            Stipends covering 11 Council Members and 10 staff members for the period July
            2020 through December 2020, while for the period July 2021 through November 17,
            2021 Holley expended almost $250,000.00 on Hazard Pay stipends from ARPA
            federal funds, under Resolution 21-TM-124. on the same staff and Council. See
            Exhibit II-B(15): c.f. Exhibit I-C(9). In at least one instance, the TMC retroactively
            agreed and paid an employee who was not employed during the relevant period.

       686. On August 23, 2021 the Plaintiff transmitted a simultaneous email to the editors at
            major media outlets in Salt Lake City, Reno, Twin Falls and Elko, related to Exhibit
            III-B(16). containing the following statement:


   5
     Te-Moak Diabetes Program, administered with U.S. HHS-I HS federal funds, paid to each of the four (4) bands
   during the Plaintiff term of office as the Administrator, over $3,000.00 per month to Elko Band without a valid
   lease, or any lease, covering a building constructed with federal funds issued to Te-Moak, not Elko Band. The
   Plaintiff refused to authorize the expenditure. The Final Report states that all four Bands combined received from
   Diabetes IHS $21,829.01 for space rent. See Exhibit 11-B(lS).
   6
     Diabetes Grant Budget Period is based on a calendar year, (January 1 to December 31), not Fiscal year (October 1
   to September 30).

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          the Te-Moak Supreme Court, and the Mediator, Kelly Latimer, submitted a joint
          notification of that settlement agreement to ADR Judge Heffernan regarding Docket
          No. ISDA 2017-01. Administrative Law Judge Heffernan is a former subordinate to
          Skibine and Sibbison.

    690. On September 3, 2021 the Plaintiff sent and transmitted a Claim and Demand for
         Payment to Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr; Davis
         Gonzalez; Andrea Woods, and others, with a copy sent to Bryan Bowker, Kyle
         Clayton, Jim James, Delores Miller, Jacqueline Ruley and April Gromadzki at the
         Bureau of Indian Affairs OIG that included a copy of the April 14, 2021 Holley-
         Stanford Cannabis Receipt, Reynolds' false or fraudulent federal applications for
         federal funds, and a claim that Sypolt failed to inform the BIA and OHA during the
         settlement proceedings of Sypolt's disbarment and termination at Dentons while
         continuing to represent the Tribe in association with Skibine and Dentons.

    691. On September 8, 2021 the Plaintiff communicated with Governor Jenelle Roybal, and
         Lt. Governor Rafaela Sanchez, of the Pojoaque Pueblo in New Mexico. Exhibit III-
         J2QJ.. The Governor, Lt. Governor and the Plaintiff discussed claims made by
         Stanford and Sypolt, who personally appeared in New Mexico, stating that Sypolt
         and Stanford represented a marijuana company "Planet 13 Holdings," and proposed
         representing the Pueblo People in a joint marijuana business venture, and provided
         the Te-Moak Tribe as a reference. Id.

    692. On September 8, 2021 the Plaintiff refused to give Mr. Sypolt or Mr. Stanford a
         reference to the Pueblo, and the Plaintiff communicated directly with Planet 13
         Holdings attorney Leighton Koehler who stated that neither Darian Stanford nor
         Sypolt were ever employed by or with Planet 13 Holdings. During this conversation
         Mr. Koehler requested to speak with the Governor and Lt. Governor of the Pojoaque
         Pueblo and seek to enjoin Stanford and Sypolt. The Plaintiff relayed the information
         to the Pojoaque Pueblo Governor and Lt. Governor who thanked the Plaintiff "for
         being so honest helping Native people."

    693. On September 9, 2021 Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr.;
         Thalia Marin; held a meeting, partly funded with federal funds and the cash income,
         revenue or proceeds originating, received or derived from the sale and distribution
         of a controlled substance, marijuana, at Newe Cannabis, routed through SALAL;
         Zions bank; NSB and Wells Fargo Bank, pursuant to an A1-A4, A6 and A8 agreement,
         plan or scheme with or between SCS; EBCE; Robin Evans; Leslie Grove; Paul
         Conable; Chadwick Smith; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo;

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          Skibine; Larry Yeager; Darian Stanford; Kevin Clock, and others, related to and
          regarding the sale and distribution of a controlled substance, marijuana, at Newe
          Cannabis, who agreed to issue, publish or produce an official government record to
          support the execution of the terms of Al-A4, A6 and A8 agreement, plan or scheme
          that states:

             a. "a quorum was present," where the document stated the "Tribal Council is
                composed of twelve (12) members of whom 6 were present. .. and the
                foregoing Resolution as adopted... by a vote of 5 in favor; 0 against; 1
                Abstaining," and when simple math and tribal law require 7 present to
                constitute a quorum;
             b. "a motion was properly made and seconded to hire Scott Sypolt as a
                Consultant to be paid of ARP [American Rescue Plan Act] funds, and as
                General Counsel to help policy and procedures for the Te-Moak Law & Order
                Code;"
             c. "a second motion was made...to fund Scott Sypolt as a Consultant and as
                General Counsel in the amount of three hundred and ninety-thousand dollars
                in the form of a retainer to pay for future legal services, and to pay for past
                legal services performed by Mr. Sypolt in writing policies and procedures for
                the Law & Order Code for the Te-Moak Tribe from June 30 th of 2021 through
                September 8, 2021, and at the hourly rate of five hundred dollars per hour,"
                when written out the amount is for an expenditure of $90,300.00, not
                $390,000.00 as paid, and ARPA precludes retroactive expenditures as stated
                and claimed in this document. Resolution 21-TM-111.

    694. On September 9, 2021 Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr.;
         Thalia Marin; held a meeting, partly funded with federal funds and cash, income or
         revenue proceeds originating from the sale and distribution of a controlled
         substance at Newe Cannabis, routed through SALAL; Zionsbank; NSB and Wells
         Fargo Bank, pursuant to the AS agreement, plan or scheme with or between SCS;
         EBCE; TT; Robin Evans, RAE Solutions; Sypolt; Skibine; Dentons; Leslie Grove, IBSC;
         Paul Conable; Chadwick Smith; Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo;
         Davis Gonzalez; Thalia Marin, Larry Yeager; Darian Stanford; Kevin Clock, and
         others, and who then issued, published or produced an official government record
         to support the execution of the terms of Al-A4, A6 and A8 agreement, plan or
         scheme, that was published, submitted and mailed as an official government record,
         (Resolution 21-TM-112), that states:


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            a. "UNEQUIVOCAL CONDEMNATION OF SAMUEL LEE BIERS FOR
               FRAUDULENT REPRESENTING HIMSELF TO BE A JUSTICE OF THE TE-MOAK
               SUPREME COURT AND AN OFFICIAL TRIBAL DECLARATION THAT BIERS IS
               NOT A JUSTICE OF THE TE-MOAK SUPREME COURT AND DOES NOT
               REPRESENT THE TE-MOAK TRIBE OF WESTERN SHOSHONE INDIANS OF
               NEVADA IN ANY CAPACITY;"
            b. "[O]n or about February of 2020 SAMUEL LEE BIERS ("BIERS") was
               nominated to become a Tribal Judge for the Te-Moak Tribe... a federally
               recognized Indian Tribe, which offer expired in June of 2021, subject to the
               positive outcome of Biers' background check and proof of good moral
               character;"
            c. "BIERS falsified his legal background by telling the Te-Moak Tribal Chairman
               Joseph Holley and other individuals that he was a licensed attorney and in
               good standing in the States of Nevada, Utah and North Carolina. BIERS also
               told Chairman Holley that he was formerly a prosecution attorney in Utah
               and that he had practiced extensively before the World Court in the Hague;"
            d. "[T]he Te-Moak Law and Order Code requires that a judicial candidate be
               licensed in at least one state jurisdiction and the Te-Moak Constitution
               requires a judicial candidate be of good moral character;"
            e. "Tribal investigation of BIERS' it was discovered that BIERS falsified his
               entire legal background and that he was not a licensed :;ittorney in good
               standing in the State of Nevada ... Utah nor was he ever a prosecuting
               attorney in said State; that he was not a licensed attorney ...in North
               Carolina; and that no evidence was discovered or provided that he ever
               practiced before the World Court in the Hague;"
            f. "[B]ecause of BIERS' fraudulent misrepresentations regarding his legal
               background the Te-Moak Council. .. sent multiple notices of these fraudulent
               misrepresentations to BIERS (who failed to respond to Council) and made
               the official determination that BIERS lacked a good moral character and that
               BIERS used subterfuge to gain the nomination of Tribal Judge;"
            g. "[O]n or about March 5, 2020 it was discovered by the Te-Moak Council that
               BIERS knowingly stole and disseminated information from the Council that
               was known to be highly sensitive and confidential, thereby, harming the
               attempted formation of the new Te-Moak Tribal Court;"
            h. "[B]ased upon these official findings, the Te-Moak Council immediately
               condemned BIERS ...and permanently removed him from the position ofTe-
               Moak Tribal Judge and in a separate Resolution, No. 20-TM-49, unanimously


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               condemned BIERS for theft and dissemination of sensitive and confidential
               information;"
            i. "BIERS continues to falsely impersonate himself (sic) as a judicial officer of
               the Te-Moak Tribal Court in violation of Nevada Code Title 15 NRS 199.430
               'Impersonation of Officer,' and continues to falsely misrepresent himself as a
               Te-Moak Supreme Court Tribal Judge;"
            j. "BIERS negatively impacts the Te-Moak Tribe and creates confusion and
               chaos by his wrongful representations that he is a judicial officer of the Te-
               Moak Courts," citing a newspaper article as factual support for this claim; ref.
               Exhibit III-B(16)
            k "... hereby condemns SAMUEL LEE BIERS for his lies and subterfuge to attain
               a Te-Moak judicial position and further states that BIERS is not a Justice of
               the Te-Moak Supreme Court and does not represent the Te-Moak Tribe in
               any capacity, and that any representations by BIERS to the contrary are
               fraudulent and untrue;"
            I. "...hereby requests the Federal Bureau of Investigations, the Bureau of
               Indian Affairs Police, and the District Attorney for Elko County, Nevada to
               investigate BIERS for criminal actions involving the impersonation of a
               judicial officer and other crimes arising out of his wrongful impersonation of
               a judicial officer of the Te-Moak Tribal Court and to punish him accordingly
               including banishment from all lands on the Te-Moak Reservation and
               enjoining [the Plaintiff] from usurping a judicial position of the Te-Moak
               Tribe."

   695. Resolution 21-TM-112 included language stating that the Council "permanently
        removed," the Plaintiff as the Te-Moak Tribal Judge and cited "Resolution 20-TM-49"
        in support. Resolution 20-TM-49 authorized the distribution of CARES Act funds,
        and failed to include any language or statement related to the Plaintiffs employment
        with the Te-Moak Tribe.

   696. The FBI, BIA-OJS and Nevada law enforcement agencies reviewed the government
        records, tribal law and transcripts related to the Plaintiffs appointment as the Te-
        Moak Supreme Court Judge, investigated and refused to prosecute the Plaintiff. The
        Plaintiff is legally the Te-Moak Supreme Court Judge.

   697. On or about September 9, 2021 Sypolt submitted "Invoice /01" as a demand for
        payment in an amount of"$390,000 [as a] Retainer for legal services per Resolution


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         passed by Te-Moak Tribal Council on September 9, 2021 and per Retainer
         Agreement signed by Chairman Joseph Holley on September 9, 2021. .. MAKE CHECK
         PAYABLE TO: Scott Sypolt MAIL CHECK TO: 7903 Bayview Road Wonder Lake,
         Illinois 60097." Exhibit III-C(6).

   698. On or about September 10, 2021 Joseph Holley; Alice Tybo; David Carrera; Duane
        Garcia, Sr.; Thalia Marin publicly published and transmitted copies of Resolution 21-
        TM-111 and 112 after receiving individual payments consisting of cash proceeds
        from the sale and distribution of a controlled substance, marijuana, at the NCE retail
        store Newe Cannabis, pursuant to an agreement, plan or scheme with or between
        SCS; TT; EBCE; Robin Evans; Leslie Grove; Paul Conable; Skibine; Chadwick Smith;
        Steve Sisolak; Aaron Ford; Steve Olson; Juan Arevalo; Davis Gonzalez; Thalia Marin,
        Larry Yeager; Darian Stanford; Kevin Clock, and others, who agreed through written
        contracts and agreements with SALAL to keep, maintain, manage, transmit, deposit
        or retain records, information and documents related to cash proceeds originating,
        received or derived from the sale and distribution of a controlled substance,
        marijuana, related to the NCE, that were sent or published via the United States
        Postal Service, facsimile transmissions and via Lucent Technologies POP 100
        Gigabyte data switch located in Salt Lake City, Utah over the internet, email and by
        other electronic means, with the intent or purpose to violate or attempt to violate 21
        u.s.c. §841. 26 u.s.c. §7201. 18 u.s.c. §1341; 18 u.s.c. §1343; 18 u.s.c. §1344; 18
        U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and the Te-Moak
        Constitution. Article 4. sections 3. 12 and 14.

   699. On or about September 10, 2021 Suzanna Sandoval resigned from her position as
        the Te-Moak Tribal Administrator and acting Te-Moak Recording Secretary.

   700. On September 11, 2021 Suzanna Sandoval drafted and published via the internet a
        letter to the public stating that Sypolt, the "Tribal Attorney.. .fought an enrolled
        member of the Tribe.. .is hand picking Tribal Court Judges... [Sypolt was] paid over
        a Million dollars and has done nothing for the Tribe but hurt our people. Court cases
        have been delayed and he thinks its no big deal[] Violating the civil rights of our
        people."

   701. On or about September 24, 2021 the Plaintiff met with Elwood Mose, at which time
        Mr. Mose stated that on or about September 23, 2021 the Tribal Council appointed
        him as the Te-Moak Election Board Chairman and that he swore into office Morgan
        Currey as a Te-Moak Trial Court Judge and Wendall Hayes as the Te-Moak appellate
        judge. Ref. Exhibits JJ-C(3) and ,r,r708, 710, infra. The Plaintiff asked Mose who

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         swore Mose into office because neither the Plaintiff nor BIA Magistrate Harlan
         performed that act, and Mose replied "nobody." Plaintiff stated that the oaths for
         Mose, Currey and Hayes would be materially defective, with the Resolution for
         Hayes void because only one (1) appellate judge is permitted under tribal law. Mose
         then informed the Plaintiff that "Tanya, Scott and Joe's Council," on the advice and
         approval of "Joe McDade," agreed to publish a Notice in newspapers across the
         Western United States and online via Lucent Technologies POP 100 Gigabyte data
         switch in Salt Lake City, Utah, stating that the Plaintiff "is not affiliated with the Te-
         Moak Tribal Court," that the Plaintiff, although appointed "as the Appellate Judge,"
         the appointment was conditioned on a "background check," claiming that the
         Plaintiff "does not meet the qualification requirements as specified in the
         Constitution," and that "Resolution No. 21-TM-83" declared and voided the
         Plaintiff's judicial office, revoking "the offer for Appellate Judge," further claiming
         the Plaintiff lacks "any authority or affiliation as it relates to the Te-Moak Tribe of
         Western Shoshone Indians of Nevada or Te-Moak Tribal Courts." Ref. Exhibit III-
         B(13)-(16). Mose stated to the Plaintiff that Joseph Holley and Sypolt arranged for
         the "cannabis money" to pay for these publications with the "cannabis attorney." Id.

   702. On or about September 12, 2021 Sypolt; Chadwick Smith; Darian Stanford; Paul
        Conable; Skibine and Joseph McDade, agreed to communicate with Zionsbank, Brent
        Waite, in Salt Lake City, Utah and engaged in a series of communications with Brent
        Waite, stating that the Plaintiff is a felon, not a judge for the Te-Moak Tribe directing
        Waite and Zionsbank to deny access to the Te-Moak Administrative Office of the
        Court accounts and account information to the Plaintiff with the intent or purpose to
        violate or attempt to violate federal law related to the sale and distribution of a
        controlled substance, marijuana, and to conceal the financial transactions related to
        the operation and management of the NCE. Joseph McDade; Bowker; Sypolt; Darian
        Stanford; Paul Conable; Skibine; Brent Waite received money or funds, directly or
        indirectly, that originated or were derived from the sale and distribution of a
        controlled substance, marijuana, at the NCE retail store Newe Cannabis and related
        businesses, and Joseph McDade; Sypolt; Darian Stanford; Paul Conable; Skibine;
        Brent Waite received money or funds, directly or indirectly, that originated or were
        derived from the fraudulent misappropriation of federal grant funds earmarked for
        specific use, where Brent Waite authorized Nicole Lewis to permit Joseph Holley
        and Alice Tybo to pay Sypolt $390,000 without application of lawful processes or
        procedures, to wit: Resolution 21-TM-111 and the related Check Request failed to
        show a lawful quorum, vote and requisite signatures. Exhibit III-C(6).


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   703. On September 13, 2021 Joseph Holley signed a document entitled "CHECK
        REQUEST" as the sole authorizing agent when a minimum of two (2) signatures
        were required before processing and issuance, and without identifying or indicating
        the source of federal funds or Te-Moak Program and Account number associated
        with the expenditure of federal funds as required according to Te-Moak Policy. See
        Exhibit III-C(6): Check Request-Sypolt (September 23, 2021).

   704. On September 15, 2021 at 11:23 a.m. Sypolt drafted and transmitted an email "from
        [Sypolt's] Verizon, Samsung Galaxy smartphone" via Lucent Technologies POP 100
        Gigabyte data switch in Salt Lake City, Utah using Sypolt's personal email address
        (scottsypolt@rocketmail.com) to Alice Tybo (personal email address) and Joseph
        McDade (personal email address), regarding an ongoing BIA CFR court case, "I
        talked to Joe about this last night. Exhibit III-C(7). Today we are filing an Appeal
        which will freeze the Status Quo as it existed BEFORE the Order was issued." Id; ref.
        18 U.S.C. §§1503 and 1510(obstruction through corrupt means). This September 15,
        2021 email from Sypolt was copied to Joseph Holley; Duane Garcia; Andrea Woods;
        David Carrera and Chadwick Smith (using multiple email addresses for Smith), and
        others. Id.

   705. Sypolt and Chadwick Smith maintained, established and conducted impermissible
        ex pa rte communications with United States BIA Superintendent Joseph McDade
        regarding an ongoing Cannabis lawsuit involving Newe Cannabis, (tribal members
        were challenging the lawfulness of the NCEJ, filed in the BIA CFR Court, using private
        email messaging and cellular phone communications from Illinois and Oklahoma via
        Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah to
        McDade in Nevada whereby McDade agreed to influence or interfere and then
        influenced or interfered with the decisions of the BIA CFR Courts in favor of the
        continuation of the NCE Newe Cannabis after SCS; Sypolt and Darian Stanford
        tendered, transferred or made cash payments commingled with federal funds,
        directly or indirectly, to Joseph McDade and to BIA CFR magistrates funneled
        through Chadwick Smith, Charles Tripp and Harlan Law in Oklahoma where those
        funds originated or were derived from the sale and distribution of a controlled
        substance, marijuana, involving the NCE with the intent or purpose to violate or
        attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343;
        18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §§1503 and 1510(obstruction through
        corrupt means); 18 U.S.C. §1956: 18 U.S.C. §1957; 18 U.S.C. § 1960 and §1962. and
        the Te-Moak Constitution, Article 4. sections 3. 12 and 14.



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   706. Sypolt; Joseph Holley; Darian Stanford; Skibine; Paul Conable; Davis Gonzalez; Juan
        Arevalo; David Carrera; Alice Tybo; Duane Garcia, Sr; Tanya Reynolds and Angelea
        Mendez agreed, as part of the NCE, to pay Chadwick Smith for legal services, and
        paid Chadwick Smith for legal services, with federal funds and cash, income,
        revenue or proceeds that originated or were derived from the sale and distribution
        of a controlled substance, marijuana, at the NCE retail store Newe Cannabis, and
        related businesses, where the funds were fraudulently wired to and from Sypolt's
        financial institution and via SCS; EBCE and Te-Moak Tribal accounts held at or
        serviced by Wells Fargo Bank; Zions bank; NSB and SALAL with the intent or
        purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
        §1341; 18 U.S.C. §1343; 18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §§1503 and
        1510: 18 U.S.C. §1956(Money Laundering); 18 U.S.C. §1957; 18 U.S.C. § 1960 and
        §1962 and the Te-Moak Constitution. Article 4. sections 3. 12 and 14.

   707. Chadwick Smith is an advocate for racial supremacy, previously espousing an
        amendment to the Cherokee Constitution restricting citizenship only to those with
        "Indian blood" or "by blood" when that language went against the Cherokee Nation's
        Treaty and federal law, which resulted in the expulsion of thousands of Cherokee
        freedmen, former slaves of the Nation. Subsequently, in 2021 the Cherokee
        Supreme Court rejected this amendment and all laws that flowed from it. Chadwick
        Smith previously fought to retain the leadership position of the Cherokee Nation
        past the term of office Smith was elected to serve.

   708. On September 23, 2021 Elwood Mose, pursuant to an A1-A6 and AB agreement,
        plan or scheme with or between Joseph Holley; Alice Tybo; Chadwick Smith; Sypolt;
        Duane Garcia, Sr; Thalia Marin, Wendall Hayes and Larry Yeager, and other
        unnamed individuals, signed a document entitled Te-Moak Appellate Court Judge
        Oath of Office as the officer who administered the oath of office, and Susan Jones
        affixed her signature as a witness attesting to the signature of Wendall Hayes as the
        "Te-Moak Supreme/Appellate Court Judge" when the signature for Wendall Hayes
        above Jones' and Mose's signatures was blank Exhibit II-C(3)(September 23, 2021).
        Mose lacked legal authority to administer the oath on this date as his oath of office
        was not executed until September 29, 2021, and Mose's oath was initially left blank,
        later signed by J. Currey who was not authorized to give an oath. Id; g,g. Te-Moak
        Constitution. Article 7. Section 6("ChiefJudge" shall administer and then officer "shall
        take [the oath] . . .prior to assuming the duties").

   709. On September 26, 2021 Steve McDade published a statement on Facebook that the
        Plaintiff is a white supremacist.
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   710. For the period September 23, 2021 through September 29, 2021 Te-Moak tribal law
        states that only the Chief Tribal Judge, (Supreme Court), "shall" administer oaths,
        unless that judge is absent, then and only then is the Tribal Election Board Chairman
        permitted to administer an oath, where the term of office for each member of the
        Te-Moak Election Board begins and ends when that Board member's term of office
        as a member on the Band Election Committee begins and ends, yet at no time before
        taking the oath. lg; see Election Ordinance 13-15-l(c)(Tribal Election Board term of
        office "shall be for the duration of his term of office on the Band Election Committee").
        The oath for Mr. Mose's seat on the Band Committee stated that term began
        "September 25, 2021," this date is two (2) days after Mr. Mose signed the empty
        oath for Hayes and two (2) days before the claimed date that Mose assumed official
        duties. Exhibit II-C(3). The Supreme Court Judge Plaintiff was not been absent
        during this time.

   711. On or about September 30, 2021 the Plaintiff received a phone call from the State of
        Nevada DETR Attorney General investigating the Plaintiffs unemployment claim
        based on the submissions, assertions and information Nevada received by mail and
        facsimile from Joseph Holley dated June 7, 2021, resulting in the denial of
        unemployment benefits. The Plaintiff appealed the earlier DETR decision, providing
        a copy of the Sealed Order refuting the claims of Holley, and the DETR Attorney
        General, acting pursuant to an Al, AZ, A4 and AS agreement, plan or scheme
        involving Aaron Ford; SCS; TT; Sypolt; Joseph Holley; Davis Gonzalez; Sisolak;
        Skibine; Paul Conable and Darian Stanford, began a criminal investigation against
        the Plaintiff to retaliate against the Plaintiff for reporting criminal conduct related to
        the sale and distribution of a controlled substance, marijuana, at the NCE Newe
        Cannabis and continue the substantial unreported cash 'donations' to Ford, Sisolak
        and Masto involving the NCE unabated with the intent or purpose to violate or
        attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201.18 U.S.C. §1341; 18 U.S.C. §1343:
        18 U.S.C. §1344; 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960
        and §1962 and the Te-Moak Constitution, Article 4. sections 3. 12 and 14.

   712. In October 2021 EBCE Gonzalez contacted Paul Conable, and Conable stated to
        Gonzalez that he agreed on behalf of TT and SCS to transfer an amount equaling
        about $1.3 million into an EBCE bank account allowing Gonzalez, Hernandez and/or
        Leslie Grove to draw and pay funds necessary for distribution to Te-Moak Elko Band
        tribal members in November 2021, in the form of checks or instruments sent .and
        delivered through the United States Postal Service, across the United States. lg; see
        15 U.S.C. §§1-7; 12-26 and 1125: and 29 U.S.C .. §§52-53.

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   713. Wes Williams, a Nevada attorney hired by EBC in July 2020 to assist with the NCE
        Cannabis business at Newe, stated and advised Davis Gonzalez, EBCE and NCC to
        deposit cash proceeds received, derived or originating from the sale and
        distribution of a controlled substance, marijuana, into the EBCE account, then route
        to EBC General Fund at Zionsbank/NSB and commingle that money with federal
        funds and Smoke Shop income, and then withdraw necessary funds out of Elko Band
        Council's Indirect Cost and General Fund Budget accounts containing the federal
        funds to pay Williams' attorney fees, along with wages, salaries and benefits to RAE,
        Robin Evans, Adriana Hernandez, Leslie Berg, IBSC, Timothy Randolph, and others,
        without disclosing the unlawful character or source of the funds, transfers or
        deposits to federal grantors, financial institutions or the Tribe with the intent or
        purpose to violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201. 18 U.S.C.
        §1341: 18 U.S.C. §1343: 18 U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C.
        §1957: 18 U.S.C. § 1960 and §1962 and Te-Moak Constitution, Article 4. sections 3.
        12 and 14.

   714. On or about October 5, 2021 David Carrera publicly stated that he was not running
        for elected office in the October 2021 Battle Mountain Band Election and that
        Carrera was "wealthy, I don't have to work. I'm just going to invest my money and
        relax."

   715. On October 8, 2021 tribal advocate Lorraine Garcia stated that a member of Senator
        Masto's office contacted Garcia to confirm that a Band is not a Tribe in reference to
        the AZ Compact.

   716. On October 10, 2021 SALAL Business Services sent an email to Thalia Marin from
        Washington via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
        Utah routed to the data server at EBC on federal, tribal land that states "Sala! Credit
        Union - Business Account Application - Elko Band Council has been voided for the
        following reason: Envelope has expired." See Exhibit III-D(2). Marin attempted to
        open an additional SALAL business account for EBC to transfer funds originated
        from or related to the NCE as directed or advised by the ECDEE and the NCE.

   717. On or about October 12, 2021 EBCE, pursuant to any A1-A4, A6 andA8 agreement,
        plan or scheme with or between TT attorneys Paul Conable, Darian Stanford and
        Steve Olson; Kevin Clock; Juan Arevalo; Larry Yeager; Thalia Marin and Davis
        Gonzalez who agreed to pay or fund the publication of an electronic advertisement
        on the internet announcing an event entitled "Distribution of Funds" to be held on
        "[December] 14, 2021. .. [and December] 15, 2021," for Elko Band Tribal Members

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         where the "cash" proceeds that were received, derived or originating from the sale
         and distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis and related businesses, would be hand-delivered to individual members,
         and that when an Elko Band Tribal Member is "unable to pick up your funds on the
         dates listed, a check will be mailed to the address listed on your application" pre-
         stamped and delivered via the United States Postal Service with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952: 18 U.S.C. §1956; 18 U.S.C.
         §1957: 15 U.S.C. §§1-7.12-26 and 1125; and 29 U.S.C .. §§52-53: 18 U.S.C. § 1960 and
         §1962 and the Te-Moak Constitution. Article 4. sections 3. 12 and 14.

   718. On October 13, 2021 SCS and NCE conducted a hand-count of the revenue, income,
        cash and proceeds originating from the sale and distribution of a controlled
        substance, marijuana, at the NCE retail store Newe Cannabis, with SCS directing
        Empyreal and GardaWorld to pick up, transport and deliver an undetermined
        amount of the cash proceeds to SALAL and Zions bank. Paul Conable, Kevin Clock
        and Elliot Parris personally appeared at Newe Cannabis on October 13, 2021 to
        supervise and conduct the hand-count, delivery and transportation of cash
        proceeds, revenue or income originating from the NCE retail store Newe Cannabis.

   719. On October 14, 2021 the Plaintiff received a copy of an executed Affidavit of Robert
        Brady. (former Elko Band and Te-Moak Tribal Council member), that states under
        penalty of perjury:

                1) On February 3, 2021 the Te-Moak Tribal Council appointed the Plaintiff to
                the Te-Moak Supreme Court, "pursuant to the Te-Moak Constitution;" Exhibit
                III-A(5):
                2) Jeffery Scott Sypolt claimed to the Tribal Council on February 3, 2021 that
                Sypolt "performed and completed background investigations for all
                candidates," including "Biers," and "found no issues;" Id;
                3) On March 25, 2021 the Te-Moak Tribal Council received documents from
                the "Te-Moak Court Clerk" containing copies of emails written by Jeffery
                Scott Sypolt to the Te-Moak Trial Court Judge, Ramon Acosta, where Sypolt
                referred to J. Acosta as "'a clown,' falsely accusing Ramon of slandering Mr.
                Biers when it was Sypolt slandering Judge Biers," and that after delivery of
                these documents to the Tribal Council, "Te-Moak council members as well as
                Scott Sypolt began to make negative comments regarding Judge Biers' past;"
                Id;
                4) During "bereavement leave," and "at the direction of Scott Sypolt the

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              Te-Moak Council terminated Mr. Biers as the tribal administrator based on
              false and negative comments regarding Mr. Biers from Mr. Sypolt" and on
              "the recommendation of Scott Sypolt, then passed another resolution
              unlawfully claiming the power to remove Mr. Biers as the appellate judge;"
              Id;~- Exhibit III-B(7)
               5) Former TMC member Brady sent an email challenging the unlawful
              removal of Biers and delivered it to Tribal Chairman Joseph Holley and acting
              administrator Sharla Dick;
              6) On May 20, 2021 Robert Brady wrote and submitted a memorandum,
              with supporting documentation attached "stating that the action taken
              previously [to remove Plaintiff as a judge] by the Te-Moak Council was
              illegal;" Id; ref. Exhibit III-A(6)
              7) On May 28, 2021 the TMC addressed Brady's memorandum regarding the
              unlawful removal of the Plaintiff by setting a later date to discuss and decide
              the matter; Id;
              8) On June 2, 2021 Sypolt and Holley "ordered" Robert Brady, without
              authority, "to withdraw" his memo regarding the unlawful removal of Judge
              Biers, Brady refused, and Sypolt "then lied and told [Brady] that Biers'
              appointment was conditional on a background check," Brady challenged that
              falsehood with facts from the February 3, 2021 publicly broadcast video
              livestream showing no condition. Sypolt stated "'Mr. Biers is a felon' and 'do
              you know how embarrassing it would be to have a felon as a judge;" Id;
              9) Robert Brady challenged Sypolt's false statements regarding the Plaintiffs
              criminal status as a condition of office and Sypolt threatened Brady's
              membership on TMC, and that Sypolt recommended that TMC issue another
              "resolution" to remove Biers by "unlawfully claiming the authority to remove
              Mr. Biers from the courts as the [Te-Moak] Appellate Judge under the
              guidance of Scott Sypolt who at the time was terminated from his law firm,
              Dentons, for physically attacking a Te-Moak Tribal member;" Id;
              10) "On September 9, 2021 the Te-Moak Council adopted resolution 2021-
              TM-112 ... stating that Mr. Biers had falsified his background check and
              stated that [the Plaintiff claimed] he was a licensed attorney in Nevada; this
              however was not true as Mr. Biers never made such a claim from the
              beginning of his time as administrator...through when he was wrongfully
              terminated as the Tribal Administrator and slandered by Scott Sypolt."
              Exhibit III-A(S).



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   720. On October 15, 2021 Te-Moak Tribal Advocate and Yakima Tribal member, Lorraine
        Garcia, a person who was previously an opponent of the Plaintiff in civil court
        proceedings, submitted an affidavit under penalty of perjury that states:
           1) Lorraine Garcia "personally listened to a meeting of the Te-Moak Tribal
               Council, on or about February 3, 2021" and "[a]t that meeting the Te-Moak
               Tribal Council .. .legal counsel for the Te-Moak Tribe, Scott Sypolt, did advise
               the Te-Moak Tribal Council that if they did not agree with any decision of the
               Tribal Judge, that Judge could be immediately fired .. .I am aware that this is
               false legal advice" under the Tribe's Constitution; Exhibit III-A(7).
           2) "Samuel Biers was selected by the Te-Moak Tribal Council to be the Supreme
               Judge of the Appellate Court;" Id
           3) "On February 8, 2021 the Tribe did a press release with the Elko Daily Free
               Press announcing... the Supreme Judge of the Appellate Court, Samuel Biers;"
           4) "...viewed a posting on the Te-Moak Tribe Facebook page that show Res. No.
               21-TM-112 which is a Resolution of the Te-Moak Tribal Council ... stat[ing]
               that it is unequivocal condemnation of Samuel Lee Biers for
               fraudulently representing himself to be a Justice of the Te-Moak
               Supreme Court;"
           5) "Samuel Lee Biers has not been recalled by the members of the Te-Moak
               Tribe" as required by and under the Tribe's Constitution;
           6) "I have personally viewed press releases purportedly by the Te-Moak Tribal
               Council that falsely state that the Te-Moak Tribe is not now or has never been
               affiliated with Samuel Biers, printed in the Elko Daily Free Press;"
           7) "I have personally spoken with...Te-Moak Tribal Court, Uudge] Ramon
               Acosta, who resigned ... due to blatant interference of his duties as Trial
               Judge by Scott Sypolt;"
           8) "I have personally read a letter of resignation by [Te-Moak] Trial Judge...
               Carrie Frias, who resigned...in part due to the faulty legal advice of Attorney
               Scott Sypolt;" ref. Exhibit 11-C(ll);
           9) Te-Moak Supreme Court Judge Samuel Biers' term of six (6) years did
               "not expire[ ]" since the appointment on February 3, 2021, and at no time
               before the affidavit did the Tribe hold or conduct a recall election for Mr.
               Biers as the sole method of removal under Te-Moak Law. Exhibit III-A(7); see
               also. Exhibit III-B(8).

   721. On October 15, 2021 the Plaintiff transmitted an email with supporting documents
        to Zionsbank/NSB Nicole Lewis, (delivery acknowledged), regarding a payment of


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         $390,000.00 to Sypolt being processed at Zionsbank with federal funds held in the
         Te-Moak account at Zions bank, wherein the Plaintiff stated to Lewis that Sypolt was
         disbarred by the Te-Moak Supreme Court; that Resolution 21-TM-111 contained
         material legal defects rendering it unlawful or void; that the Plaintiff held exclusive
         authority to manage all the Te-Moak Court business; and that Sypolt continued to
         publish known falsehoods regarding the Plaintiff to Zionsbank agents stating that
         the Plaintiff is not a judge for the Te-Moak Tribe. Ref. Exhibit III-C(6).

   722. Zions bank released $390,000.00 to Sypolt, pursuant to Resolution 21-TM-111 and
        Joseph Holley's signature alone, composed of federal funds commingled with cash,
        revenue or income derived or originating from the sale and distribution of a
        controlled substance, marijuana, atthe NCE retail store Newe Cannabis, and those
        funds were sent, transmitted or delivered to Sypolt's "Law Offices" located at his
        home address: "7903 Bayview Road Wonder Lake, Illinois 60097" as identified in
        Sypolt's invoice 1/1. See Exhibit III-C(6): e..,g. Exhibit III-D(6): Zionsbank/NSB Email.

   723. On October 16, 2021 the Plaintiff sent Zions bank agent Nicole Lewis an email
        containing citations and language for tribal legal authority granting the Plaintiff
        access to the accounts and funds for the Te-Moak Court System, including a copy of
        the Tribe's Constitution, a copy of Order, In Re Te-Moak Tribal Council Resolution
        21-TM-83 (Case No. 2021-TM-SC-001, Te-Moak Supreme Court)Ouly 22, 2021), and
        a copy of the receipt of cash, revenue, income or proceeds originating or derived
        from the sale of a controlled substance, marijuana, at the NCE retail store Newe
        Cannabis, SCS and Darian Stanford to Joseph Holley from April 14, 2021.

   724. On October 18, 2021 Zionsbank agent Nicole Lewis transmitted a reply email to the
        Plaintiffs October 16 email that states "the bank will not get involved [ ]at this time.
        I have still sent all documents on to our legal department to review in case it goes to
        a level that we are pulled into." As the records show, Zions bank and NSB were
        actively involved in the issues raised by the Plaintiff contrary to Lewis' statements.

   725. On October 18, 2021 the Plaintiff transmitted a response email to Zionsbank agent
        Nicole Lewis specifically identifying material, legal defects in Resolution 21-TM-111
        that rendered it invalid under tribal law stating "NSB is bound to follow lawful
        authority to withdraw funds belonging to the Tribe[] If Resolution 21-TM-111 is not
        lawful. .. and if funds are sent by NSB to an unauthorized individual .. .is there a way
        to at least delay processing and demand clear authority to make the withdrawal?"



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    726. On October 18, 2021 Zionsbank agent Nicole Lewis replied via email to the Plaintiff
         that Lewis sent or transmitted the records, documents and information contained in
         the Plaintiff's October 18, 2021 email "to the legal department. I have been advised
         to send all future communications to them as well and not to discuss with the Tribal
         Courts at this time." Zions bank in Salt Lake City refused and denied the Plaintiff
         access to the Te-Moak Administrative Offices of the Courts accounts and information
         while granting access to individuals, such as Tammy Carrera, who were not lawfully
         entitled to receive that information and who were at all times subordinate to the
         Plaintiff's judicial authority under tribal Jaw.

    727. On October 20, 2021 EBCE and SCS agents, representatives and attorneys, Davis
         Gonzalez; Thalia Marin; Steve Olson; Adriana Hernandez; Paul Conable and Darian
         Stanford, and others, pursuant to a A1-A4, A6 or AB agreement, plan or scheme,
         agreed to hire and pay, and who hired and paid, Empyreal Logistics and GardaWorld
         Armored Transportation, (Customer ID NV210507aD), to transport $1,033,000.00
         in cash (USD), that originated or was derived from the sale and distribution of a
         controlled substance, marijuana, at the NCE retail store Newe Cannabis and related
         businesses from Te-Moak Territory through Utah, Idaho, Oregon and Washington to
         SALAL where it was deposited, transferred or transmitted into EBCE; SCS and TT
         accounts pursuant to an A1-A4, A6 or AB agreement, plan or scheme with or
         between SCS; EBCE; Davis Gonzalez; Thalia Marin; Juan Arevalo; Larry Yeager; Paul
         Conable; Chadwick Smith; Skibine; Joseph McDade; Aaron Ford; Steve Sisolak;
         Joseph Holley; Alice Tybo; Scott Sypolt; David Carrera; Duane Garcia, Sr; Joseph
         McDade; Paul Conable and Darian Stanford to sell and distribute a controlled
         substance, marijuana, distributing funds derived or originating from the sale and
         distribution of marijuana at Newe Cannabis between the parties with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201, 18 U.S.C.
         §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C.
         §1957: 18 U.S.C. § 1960 and §1962 and the Te-Moak Constitution, Article 4. sections
         3. 12 and 14. See Exhibits II-B(12) and (13).

    728. On October 22, 2021 Paul Conable, with his wife Barbara, filed a Reinstatement
         Amendment with the Oregon Secretary of State for a business entity, Andover
         Productions, Inc., where both hold an ownership interest, after depositing and/or
         investing a portion of the cash proceeds obtained, received, derived or originating
         from the sale and distribution of a controlled substance, marijuana, at the NCE retail
         store Newe Cannabis and related businesses transported the cash proceeds to
         Washington across Oregon using Empyreal Logistics and GardaWorld Armored

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          Transportation via interstate commerce over and across highways, bridges and
          roads pursuant to an A1-A4, A6 or AB agreement, plan or scheme with or between
          SCS; EBCE; Davis Gonzalez; Thalia Marin; Juan Arevalo; Larry Yeager; Chadwick
          Smith; Skibine; Joseph McDade; Aaron Ford; Steve Sisolak; Joseph Holley; Alice
          Tybo; Scott Sypolt; David Carrera; Duane Garcia, Sr; Joseph McDade; and Darian
          Stanford to sell and distribute a controlled substance, marijuana, with the intent or
          purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
          §1341: 18 U.S.C. §1343: 18 U.S.C. §1344; 18 U.S.C. §1952: 15 U.S.C. §§1-7.12-26 and
          1125; 29 U.S.C .. §§52-53: 18 U.S.C. §1956: 18 U.S.C. §1957; 18 U.S.C. § 1960 and
          §1962: Te-Moak Constitution. Article 4. sections 3. 12 and 14. See Exhibit II-B(13).

    729. Brent Waite, Zions bank and NSB agreed to unlawfully deprive the Plaintiff his
         judicial office or the Plaintiffs exercise of judicial authority, and to deny or deprive
         the Plaintiffs constitutional rights and privileges under Te-Moak Constitution.
         Article 9 and the U.S. Constitution. Amend. 5 and 14; Article 1. sec. 10. cl. 5: Article
         2. section 2; Article 4. sec. 2. cl. 1 and Article 6 and 28 U.S.C. §§1981. 1982: 1983 and
         1985 pursuant to any A2, A3, A4 and AS agreement, plan or scheme with or
         between SCS; EBCE; Davis Gonzalez; Thalia Marin; Juan Arevalo; Larry Yeager; Paul
         Conable; Chadwick Smith; Skibine; Joseph McDade; Aaron Ford; Steve Sisolak;
         Joseph Holley; Alice Tybo; Sypolt; David Carrera; Duane Garcia, Sr; Joseph McDade;
         and Darian Stanford to assist, conspire or provide material support for that
         agreement, plan or scheme to sell and distribute a controlled substance, marijuana,
         distributing funds derived or originating from the sale and distribution of marijuana
         at Newe Cannabis between the parties to the agreement, plan or scheme with the
         intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18
         U.S.C. §1341: 18 U.S.C. §1343; 18 U.S.C. §1344; 18 U.S.C. §1952: 15 U.S.C. §§1-7.12-
         26 and 1125; 29 U.S.C .. §§52-53: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960
         and §1962 and the Te-Moak Constitution. Article 4. sections 3.12 and 14. See
         Exhibit II-B(13): Deposit Slip and Bag Packing Slip. (Serial Number 19315).

   730. On October 29, 2021 Tanya Reynolds entered into an agreement, plan or scheme
        with Sypolt, Joseph Holley, Darian Stanford and Alice Tybo and purchased or
        attempted to purchase an interest in real property located at 2213 and 2215 North
        5th Street; Elko, Nevada 89801 using tribal assets commingled with cash, funds or
        money generated, derived, received or originating from the sale of a controlled
        substance involving the NCE, as stated in Resolution 21-TM-124. (November 17,
        2021) (modijj,ing "the American Rescue Plan budget and rescinding Resolution 21-TM-
        121), where the language failed to show a lawful quorum and the individuals who

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          signed that Resolution were not lawfully elected to office by tribal law following the
          end of their three (3) year constitutional term of office that resulted in a fraudulent
          transfer of federal funds totaling $550,000.00 commingled with the NCE cash at
          Zionsbank/NSB that included Tanya Reynolds' business entity Western Shoshone
          Descendants of Ruby Valley LLC, formerly ETK Enterprise, LLC.

    731. On or about November 5, 2021 checks or financial instruments drawn, drafted or
         written on a SALAL account for EBCE, (located in Seattle, Washington), in the
         amount of$1000.00 each, containing routing numbers "**427" were issued
         pursuant to the October 2021 agreement, plan or scheme between, by or with Davis
         Gonzalez and TT attorney Paul Conable, (who guaranteed in October 2021 that
         sufficient funds were timely deposited or transferred into EBCE SALAL account for the
         total distribution amount set to begin issuing on or about November 10, 2021), where
         Elko Band tribal members who submitted a timely written application were eligible
         to receive funds, (by way of a financial instrument drawn on EBCE SALAL account),
         sent or transmitted through the United States Mail and sent to individual tribal
         members routed through the USPS Central Mailing hub in Salt Lake City, Utah and
         delivered to addresses throughoutthe country. See Exhibit 11-B(14) ECBE 2021
         SALAL Check Information(November 5, 2021)(A. Hernandez).

    732. On or about November 12, 2021 SCS; EBCE; EBC and TT representatives Davis
         Gonzalez; Darian Stanford; Paul Conable; Kevin Clock; Thalia Marin; Suzanna
         Sandoval and Juan Arevalo were notified in by email and telephone by Susan
         Zuzeuta and Michelle Levy-Wakish that approximately 100 EBCE 'Distribution
         Checks' issued on November 5, 2021, (drawn on SALAL in Seattle, Washington that
         contained the account holder's name in the upper left corner "Elko Band Colony
         Enterprises; 1555 Shoshone Circle; Elko, Nevada 89801"), were returned to tribal
         members throughout the country labeled by numerous financial institutions as
         'Insufficient Funds,' ("NSF), due to an absence of sufficient funding in the EBCE
         SALAL account, and those NSF with a corresponding fee assessed against the tribal
         member who tendered the check, and all the checks contained the authorized
         signature of"A. Hernandez" a person known to be Adriana Hernandez, an employee,
         agent and representative of SCS; EBCE and IBSC. Id. Paul Conable stated to Susan
         Zuzueta and Michelle Levy-Wakish that SCS agreed to reimburse each and every
         tribal member for all costs associated with the failure to timely make the necessary
         deposit into EBCE SALAL account as agreed between Gonzalez and Conable in
         October 2021.



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    733. On November 12, 2021 the Plaintiff sent an email to Zions bank agent Nicole Lewis
         that requested "the contact information for whomever advised you to 'not discuss'
         the Te-Moak Tribal Court accounts and money held in trust at NSB," with the
         Plaintiff, as the Te-Moak Supreme Court Judge. See Exhibit Ill-D(6).

    734. On November 12, 2021 Woods or Angelea Mendez prepared, drafted and authored a
         handwritten version of the meeting minutes for a meeting held with Joseph Holley;
         Alice Tybo; Duane Garcia; David Carrera; Thalia Marin; Andrea Woods that day, and
         that document stated: "New judge Wendall Hayes... May 4 th Meeting 1.6 mil/13 mil
         Resolution 21-TM-72 May 27, 2021 ... Oath to swear in 'Elwood Mose' Te-Moak
         Election Board... 25 C.F.R.11.118B can't swear in people...mtg with BIA." Exhibit
         II-C(6): Te-Moak Closed Meeting Minutes (November 12, 2021).

    735. On November 15, 2021 Zionsbank agent Nicole Lewis replied to the Plaintiffs
         November 12, 2021 request via email "Here is the contact information for Brent. ..
         brent.waite@zionsbancorp.com." See Exhibit Ill-D(6). Brent Alan Waite is the lead
         corporate council for Zionsbank in Salt Lake City, Utah 84133. Plaintiff held a
         teleconference with Mr. Waite, Vincent Garcia, Chairman, and Vice Chairwoman
         Danena Ike, (newly elected Te-Moak Tribal Council), on or about January 11, 2022,
         and at that time Mr. Waite stated that Zions bank would not release any information
         to the Plaintiff or the new TMC related to the Te-Moak Court accounts at Zions bank.

    736. On November 16, 2021 Sypolt stated that Governor Sisolak, Senator Masto and
         Attorney General Ford agreed to work together to remove the Plaintiffs Judicial
         Authority.

    737. On November 16, 2021 at 6:15 p.m. the Elko County Democratic Central Committee,
         ("ECDCC"), held a video conference General Membership Meeting with Thalia Marin,
         Davis Gonzalez and others related to the NCE, to introduce Kim Cole as a candidate
         for Lt. Governor, to approve the ECDCC Treasurer's Report and to read and approve
         the individual Committee Reports. As recorded, John Garrard provided the ECDCC
         Diversity Report that states: "[t]he Tribal Councils have had their elections and
         leaderships have turned over. We need Democratic candidates in all spots. We need
         campaign training in Elko."

    738. Thalia Marin; Davis Gonzalez; Larry Yeager; Suzanna Sandoval, and others,
         delivered large amounts of unreported cash, income or revenue, as well as checks
         drawn on bank accounts associated with EBCE, EBC and charter associations of
         EBCE and EBC that contained cash, revenue, income or proceeds that originated or


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          were derived from the sale and distribution of a controlled substance, marijuana,
          involving the NCE, directly and indirectly, to John Garrard; ECDCC; Steve Sisolak;
          Aaron Ford; Kim Cole; Mark Amodei and Catherine Cortez Masto, and other
          unnamed politicians and staff associated with ECDCC, in exchange for political and
          legal favors and promises to allow the continuation of business operations related to
          the sale and distribution of a controlled substance, marijuana, at the NCE, that
          included promises and agreements to unlawfully deprive the Plaintiff of his judicial
          office or the Plaintiffs exercise of judicial authority, and to deny or deprive the
          Plaintiff constitutional rights and privileges under Te-Moak Constitution. Article 9
          and the U.S. Constitution. Amend. 5 and 14; Article 1. sec. 10. cl. 5; Article 2. section
          ~ Article 4. sec. 2. cl. 1 and Article 6 and 28 U.S.C. §§1981. 1982. 1983 and 1985
          pursuant to any AZ, A4, AS and A6 agreement, plan or scheme with or between SCS;
          Zions bank; Brent Waite; NSB; EBCE; Davis Gonzalez; Steve Sisolak; Aaron Ford;
          Thalia Marin; Juan Arevalo; Larry Yeager; Paul Conable; Chadwick Smith; Skibine;
          Joseph McDade; Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr; Joseph
          McDade; Paul Conable and Darian Stanford to assist, conspire or provide material
          support related to any AZ and A6 agreement, plan or scheme to sell and distribute a
          controlled substance, marijuana, distributing the funds derived or originating from
          the sale and distribution of marijuana at Newe Cannabis between the parties to an
          agreement, plan or scheme with the intent or purpose to violate or attempt to
          violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18 U.S.C. §1343: 18 U.S.C.
          §1344: 18 U.S.C. §1952: 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and §1962
          and the Te-Moak Constitution. Article 4. sections 3. 12 and 14.

    739. Davis Gonzalez reported, stated and communicated on multiple occasions that at his
         direction or under an agreement and plan with SCS; EBCE; TT; Paul Conable; Darian
         Stanford; Steve Olson; Kevin Clock and Elliot Parris, the NCE paid over "500 grand"
         in cash, income, revenue or proceeds from the sale and distribution of a controlled
         substance, marijuana, at the NCE retail store Newe Cannabis or related businesses,
         directly and indirectly, to the EDCC; Steve Sisolak; Aaron Ford; Kim Cole; Mark
         Amodei and Catherine Cortez Masto.

    740. Plaintiff alleges that payments of unreported cash, income, revenue or proceeds that
         originated or were derived from the sale and distribution of a controlled substance,
         marijuana, at the NCE, directly or indirectly to EDCC and Catherine Cortez Masto,
         resulted in Catherine Cortez Masto involvement, plans, agreement, order, advise or
         instruction to Assistant United States Attorney Sue Fahami and/or Acting United
         States Attorney Christopher Chiou to carry out, institute or execute a law

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          enforcement policy in Nevada where all federal law enforcement officers were
          compelled, in all cases involving tribal marijuana operations and businesses, to
          make arrests only after an indictment issued or a serious felony was committed in
          the presence of the federal law enforcement officer, and to dismiss all arrests that
          were effectuated on probable cause, where this policy's goal or aim was to preserve
          and protect the flow of unreported cash and non-cash proceeds originating or
          derived from the sale and distribution of a controlled substance, marijuana, in the
          State of Nevada from multiple tribal nations and government officials, directly and
          indirectly, to the campaigns and personal accounts of Catherine Cortez Masto; Mark
          Amodei; Steve Sisolak, Aaron Ford, and other unnamed staff and officials at ECDCC
          and the State Democratic Convention, or their family members and business
          entities. Masto agreed with Sisolak and Ford to submit the name of Jason Frierson to
          President Biden as a nominee, who seems to have agreed to support and continue
          the policy protecting the distribution of revenue from tribal marijuana operations
          and businesses in Nevada, California, Oregon and Washington through financial
          institutions and into the coffers of Nevada politicians.

    741. On or about November 17, 2020 Sypolt stated to the Plaintiff that "every weed store
         and grower in Nevada pays cash to the Party [Democratic] so they can continue
         doing business in the state. It's how things work The Governor and I have an
         agreement, we're good friends, so let's make some money. You and I can open our
         own store, get the tribe to purchase the land, and we'll make all the money. Fuck
         them." The Plaintiff rejected Sypolt's offer.

    742. On or about November 17, 2021 Joseph McDade and Steve McDade got into a verbal
         dispute when Joseph McDade stated that he will not recognize the 2021 tribal
         election results or "Biers" and Steve McDade stating that Joseph McDade is barred
         by the "CFR" from "interfering in election disputes."

    743. On or about November 17, 2021 Joseph Holley; Alice Tybo; David Carrera; Duane
         Garcia, Sr.; Thalia Marin asserted the legal authority to authorize the reallocation
         and distribution of American Rescue Plan Act (ARP) funds, by way and through
         Resolution 21-TM-124 that included language transferring "$75,000.00" into the
         Tribe's Sex Offender Registration and Notification Program, (at the time already
         funded by U.S. DO] Adam Walsh grant money); "$75,000.00" into the Tribe's
         Enrollment Program, (already funded by way and through the U.S. BIA Aid to Tribal
         Government grant); "$30,000.00" into the Tribe's Eyewear Program, (the Tribe's sole
         private program that is self-funded); "$231,776.37: into an unknown "Paid
         Sick/Hazard Premium" policy; "$60,000.00" into "Supplies;" "$550,000.00" into the
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          Tribe's Rent/Utilities expense budget; "$80,000.00" into the Tribal Offices' "Health
          and Safety/Janitor" services, (staff already compensated for this service and their
          performance of this service is already paid with federal grant funds); "$60,000.00" for
          Tribal "Equipment" budget, (this subject is included as an existing Tribal budgetary
          item in each of the existing Te-Moak Programs paid and funded with federal grant
          funds); "$550,000.00" for "Contractors;" and "$20,000.00" for the Tribe's
          "Transportation" services, (Transportation costs already paid from existing programs
          funded by federal grants). See Exhibit Resolution 21-TM-124.

    744. Resolution 21-TM-124 states and includes a date, votes and signatures that
         occurred after the October 25, 2021 election, where the signatories and voting
         individuals were not re-elected or who failed/refused to take office, and that
         document states Joseph Holley set the total number on the Council at 9 total
         members when on September 9, 2021 it was set at 11, (Resolution 21-TM-111), and
         minutes later on September 9, 2021 Joseph Holley stated the Council consisted of 12
         total members in Resolution 21-TM-112. Id.

    745. SCS; EBCE; Tonkon Torp; Steve Sisolak; Aaron Ford; Chadwick Smith; Darian
         Stanford; Paul Conable; Davis Gonzalez; Steve Olson; Kevin Clock and Elliot Parris
         paid and funded Joseph Holley; Alice Tybo; Joseph McDade; Chadwick Smith;
         Wendall Hayes; David Carrera; Davis Gonzalez, and others, to disrupt or interfere
         and attempt to disrupt or interfere with the Plaintiffs judicial authority pursuant to
         an AS agreement by appointing Wendall Hayes into the same judicial office as the
         Plaintiff without lawful authority, when tribal law aJiows only one (1) appellate
         judge, and funding Defendants' plan to carry out or execute an extensive plan or
         scheme to destroy the character and reputation of the Plaintiff by distributing,
         publishing, republishing, creating or authoring statements related to the Plaintiff,
         focused primarily on the Plaintiffs experience, education and ethics that arose in
         Utah, to invalidate the orders and decisions issued by the Plaintiff as the Te-Moak
         Supreme Court Judge, and to deny or deprive the Plaintiffs constitutional rights and
         privileges under Te-Moak Constitution. Article 9 and the U.S. Constitution. Amend. 5
         and 14; Article 1. sec. 10. cl. 5; Article 2. section 2; Article 4. sec. 2. cl. 1 and Article 6
         and 28 U.S.C. §§1981. 1982. 1983 and 1985 pursuant to an agreement, plan or
         scheme by, with or between SCS; EBCE; Davis Gonzalez; Thalia Marin; Juan Arevalo;
         Larry Yeager; Paul Conable; Chadwick Smith; Skibine; Joseph McDade; Aaron Ford;
         Steve Sisolak; Joseph Holley; Alice Tybo; Scott Sypolt; David Carrera; Duane Garcia,
         Sr; Joseph McDade; Paul Conable and Darian Stanford to assist, conspire or provide
         material support to execute the terms of A1-A8 agreements, plans or schemes

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          related to the sale and distribution of a controlled substance, marijuana, at the NCE
          and to distribute funds derived or originating from the sale and distribution of
          marijuana at Newe Cannabis between or among the Parties to any agreement, plan
          or scheme with the intent or purpose to violate or attempt to violate 21 U.S.C. §841.
          26 U.S.C. §7201. 18 U.S.C. §1341(Mail Fraud); 18 U.S.C. §1343(Wire Fraud); 18 U.S.C.
          §1344(Financial Institution Fraud); 18 U.S.C. §1952(Travel Act); 18 U.S.C.
          §1956(Money Laundering); 18 U.S.C. §1957(Engaged in Unlawful Monetary
          Transactions); 18 U.S.C. § 1960 and §1962 and the Te-Moak Constitution. Article 4.
          sections 3. 12 and 14.

    746. On or about November 17, 2021 Joseph Holley drafted and published a Notice, atthe
         direction, advise, authorization, instruction, agreement or approval of Sypolt;
         Chadwick Smith; Wendall Hayes; Zionsbank; NSB; Davis Gonzalez; David Carrera;
         Duane Garcia, Sr.; Tanya Reynolds; Alice Tybo, funded in part by the cash, proceeds
         or income received, derived or originating from the unlawful sale and distribution of
         a controlled substance, marijuana, at the NCE retail store Newe Cannabis, directly or
         indirectly from SCS, EBCE and TT representatives, along with misappropriated
         federal funds, and this Notice states that the Plaintiff "is no longer affiliated with the
         Te-Moak Tribe of Western Shoshone per attached resolution in any way, shape, or
         form. Any business he does in the Te-Moak Tribes' (sic) name is fraudulent. Please
         share this notice with other tribal members and employees." Exhibit III-B(13): ref.
         15 U.S.C. §§1-7.12-26 and 1125; and 29 U.S.C .. §§52-53: 18 U.S.C. § 1960 and §1962.

    747. On November 18, 2021 Elko Band Council member Suzanna Sandoval published an
         advertisement on the internet via Lucent Technologies POP 100 Gigabyte data
         switch in Salt Lake City, Utah offering to employ, hire and fill "TWO (2) VACANCIES
         ON THE NEWE CANNABIS COMMISSION" where that advertisement states each
         position or office continues for a term of 5 years. Exhibit II-A(8): ref. 15 U.S.C. §§1-7.
         12-26 and 1125: and 29 U.S.C .. §§52-53: 18 U.S.C. § 1960 and §1962.

    748. On November 20, 2021 newly elected EBC member Chauna Cota stated during a
         public meeting, broadcast over the internet via Lucent Technologies POP 100
         Gigabyte data switch in Salt Lake City, Utah that " [an SMS text message was] sent out
         by SCS, or whoever, [because] people out there have been wondering about their
         checks bouncing and I'd like to know why they're bouncing..." The SMS text
         message was authorized and directed by TT, SCS and EBCE to SALAL via its Positive
         Pay software program from Seattle Washington throughout the country to tribal
         members whose EBCE Distributions checks were identified as NSF.


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    749. On November 20, 2021 Michelle Levy-Wakish stated during a public Elko Band
         Council meeting, broadcast via the internet using Lucent Technologies POP 100
         Gigabyte data switch located in Salt Lake City, Utah "so, I'd like to actually present
         that because I spoke to Paul [Conable]. On their part, where they, in their system
         with the banking, Paul is going to rectify it and get those people to call me, and I've
         been updating them as to what's going on. They also encourage, bank fees, anyone
         who's incurred bank fees, SCS is going to pay the bank fees. So I just need the list of
         those who has, but there is plenty of money in there. It's just regarding the bank
         where they have on SCS has to approve those checks, those number of check
         deposits to be cleared."

    750. On November 20, 2021 Suzanna Sandoval stated at the November 20, 2021 public
         meeting, broadcast via the internet using Lucent Technologies POP 100 Gigabyte
         data switch located in Salt Lake City, Utah "it's like Positive Pay here [automated
         Cash Management Service used by SALAL to detect check fraud]. .. they have to go in
         and verify and approve those checks to be paid in order for those checks to clear the
         bank, which is an oversight on their part, it's not our responsibility. So, if people are
         having those issues just [go] directly to Michelle and then she can resolve it for you."
         Michelle Wakish replied "yes, and that will be resolved on Monday [November 22,
         2021] and like I said if there's any bank fees please bring it to my attention so ifl can
         get your name and all your information so that both bank fees can be taken care of
         by SCS." An Elko Band Council member asked Michelle "so some checks have
         cleared their bank?" Michelle Wakish answered "yes some have, but there was a
         batch that was wrote... that's the Positive Pay issue Suzanna was explaining."
         Councilwoman Dana Lopez asked "Michelle, so how close are [we] to getting all the
         checks out to the People?" Michelle Wakish answered "the deadline on the
         application is December 10th ••• they are getting them, the accountant for the
         Cannabis [Adriana Hernandez] is having to handwrite all the checks. So she has her
         regular job, [Newe Cannabis retail CFO] so she does them in batches so those checks
         can be mailed out. That's you know what we wait for is to help on that stuff. She's
         getting, the list is getting close, but we're still getting applications because the
         deadline is December 10th."

    751. SALAL in Seattle, Washington uses Positive Pay software. The SALAL website states
         that Positive Pay is an "Advanced Fraud Protection" tool used by SALAL to detect
         fraudulent activity with "check[s] and ACH transaction [s]," notifying account
         holders "alerts via email" and "SMS text messag[ing]."



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    752. Positive Pay is used at SALAL to protect the interests of SALAL against fraudulent
         activity by account holders and outside criminal actors, and by design SALAL
         specifically engages in interstate transactions involving cash, revenue, income or
         proceeds that originate or are derived from the unlawful sale and distribution of a
         controlled substance, marijuana. SALAL advertises on its website, across the
         internet and wire services that it accepts "Cannabis" funds, namely the cash
         proceeds derived or originating from the unlawful sale and distribution of a
         controlled substance, marijuana, with the intent or purpose to violate or to attempt
         to violate 21 U.S.C. §841. 26 U.S.C. §7201.18 U.S.C. §1341; 18 U.S.C. §1343; 18 U.S.C.
         §1344: 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 15 U.S.C. §§1-7.12-26 and
         1125; and 29 U.S.C .. §§52-53; and 18 U.S.C. § 1960 and §1962.

    753. On November 21, 2021, at the direction of Sypolt, Chadwick Smith and Wendall
         Hayes, in furtherance of any AZ, A4 or AS agreement, plan or scheme, Joseph Holley;
         Alice Tybo; David Carrera; Duane Garcia, Sr; Andrea Woods; Davis Gonzalez and
         Thalia Marin agreed to hand-deliver or caused the hand-delivery of a document to
         the United States Postal Service facility located at: 500 Aspen Way; Elko, Nevada
         that falsely states the Plaintiff is claiming to be a Te-Moak "Tribal Council member"
         and directing USPS to reject any claim of authority by the Plaintiff. Exhibit III-B(13).

    754. On or about November 23, 2021 EBC Finance Clerk stated that the Nevada
         Department of Taxation sent a check in the amount of $1.6 million as a refund for
         tax revenue derived from the sale and distribution of marijuana at Newe Cannabis.

    755. On or about November 29, 2021 Suzanna Sandoval stated that she did not "trust"
         Biers to swear them into office as the Chief Tribal judge because of the statements
         regarding the Plaintiff that were made, published and uttered by Holley, Sypolt,
         Stanford and Gonzalez.

    756. On November 30, 2021 EBC held a Special Public Meeting that broadcast Jive audio
         and video signals over the internet via Lucent Technologies POP 100 Gigabyte data
         switch in Salt Lake City, Utah and the audio and video signals were recorded onto
         Facebook, where Suzanna Sandoval stated "the structure of the Cannabis
         Commission [NCC] wasn't working the way it was supposed to ... the Commission
         wasn't even getting the daily amounts that were being deposited or whatever that
         you know was made each day because Elko Band said at that time they 'don't need
         that.' So like I said the whole structure we need to look at ... [and]when I came on
         board there was, it was hard to get any answers. There was so much confusion


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          about what was being pulled out, was it being deposited, what was being used here,
          what was being made worse was ..."

    757. On November 30, 2021 during a public meeting that broadcast live audio and video
         signals of that meeting over the internet via Lucent Technologies POP 100 Gigabyte
         data switch in Salt Lake City, Utah the following statements were recorded onto the
         Elko Band Council's Face book page regarding the NCE retail store Newe Cannabis:

             a. Robin Evans asked Sandoval "you're looking at MIP [accounting software
                program] so you know what you have right, you have a finance background?"
                Suzanna Sandoval replied "I don't really have a finance background, but I'm
                familiar with Elko Band's Budgets... "

             b. Robin Evans stated "if you just let me know what it is that you want and in
                detail I can run you some detail reports and maybe we can get some more
                information that's sitting in there."

             c. Suzanna Sandoval stated"...we're talking about almost a year's worth of
                expenditures, if you stop and think about it, I know that law enforcement was
                started up with it [the cannabis money]. How much of that money was
                supposed to be used? How much did they actually use? We don't know."

             d. Tribal Member Fred Leyva asked the Council "if you are doing a forensic
                audit of it [Cannabis Business] what do you hope to gain out of it, because
                you know forensically is more of a legal kinda thing? So, if you find any
                misappropriation of funds are you looking to take people to court for this
                findings that they misused the funds if they intended it?" Suzanna Sandoval
                replied to Fred Leyva's question stating "yeah, at some point we have to stop
                what's happening someone's gotta step up." Fred Leyva then stated "I agree,
                a forensic audit is a legal thing so are you looking to press some legal thing
                against the people who may have misused these funds, is that what you're
                after?" Suzanna Sandoval replied and stated "we need to set a precedent we
                haven't held our leaders accountable for forty some years. At some point
                someone is going to have to take some responsibility. I don't think it's right
                what's happening, what's been happening. I don't know that it's happening
                at this level, but as a new Council member I want to make sure as Elko Band
                member that we're where we need to be, and if we're not, then we need to
                set some sort of standard that the next Council's gonna have to abide by and
                we have to abide by it. ..this has been ongoing and I hope we take the same

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                 approach at Te-Moak ..sitting here yesterday trying to go through those
                 proposed budgets and figure out the set-up of our current budgets, it's a huge
                 concern ... there's no money. There's no money anywhere, and to try and go
                 back and see where they were pulling money from, it's concerning...out of
                 General Fund, if they allocated anything else or equipment we need to look at
                 that because we don't know where that pulled that money from. It's not
                 showing in our budgets."

    758. On December 2, 2021 Joseph McDade transmitted an email to BIA CFR CIO Harlan
         and Wright stating that the BIA will not recognize the South Fork Band and Elko
         Band Election results. Joseph McDade determined, in conflict with legal authority
         on the issue, that these election results were "invalid" and that the BIA will not
         "recognize Biers as the judge" in furtherance of the NCE common purpose and the
         AS agreement, plan or scheme to remove the Plaintiff as a judge.

    759. On December 2, 2021 Elko Band Council Finance Department received
         communications from Catherine Cortez Masto who agreed to assist EBC obtain
         $600,000 in federal funds to develop about 185 acres of federal tribal land pursuant
         to or in furtherance of any A1-A6 agreement, plan or scheme of the NCE.

    760. On or about December 6, 2021 Suzanna Sandoval published and broadcast via
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah a written
         false statement nationwide asserting that the Plaintiff "wreaked havoc in our
         community... [and the Plaintiff] did not and does not qualify to be a Judge for the
         Tribe." See Exhibit III-D(B): Sandoval Post (December 6, 2021).

    761. On December 7, 2021 Alice Tybo publicly and falsely stated from within Te-Moak
         Territory that "Sam Biers is not authorized... he is not a judge... Sam Biers is a
         convicted felon. He cannot hold office... Sam Biers is a convicted felon...He cannot
         be a judge. He is a convicted felon. He's a felon in two different states. He's a felon
         in Minnesota. He's a felon in Nevada. He committed fraud when he failed to disclose
         to the Te-Moak Council that he was a convicted felon. That's why he's not a judge.
         He's a convicted felon in two different states. He failed to disclose. When we found
         out what he'd done, he was removed...You cannot have a convicted felon as a
         judge." Shannon Darden videotaped Alice Tybo making the public statements this
         day and then Darden distributed that videotape recording broadcast via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah to other named
         and unnamed defendants, Jaw enforcement agencies and agents, the public-at-large
         and to tribal members all over the country, after receiving cash payments and a

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          promise of continued employment with the tribe pursuant to an agreement, plan or
          scheme with or between Alice Tybo; Joseph Holley; Tanya Reynolds; Joseph
          McDade; Chadwick Smith; Wendall Hayes and Jeffery Scott Sypolt.

    762. On December 7, 2021 Alice Tybo publicly stated on a video recording broadcast via
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah "I talked
         to the BIA superintendent Ooseph McDade] who stated that we will remain as
         Council until we have new elections...and I just talked to him... we are the Council. .
         . Sam Biers is going to have federal charges brought against him [inaudible] for
         impersonating a judge... Sam Biers is not an authorized person to swear [elected
         Council members] in... He is committing fraud. He's been notified everywhere that
         he is not a judge. Sam Biers is a convicted felon and cannot hold office. He cannot
         be a judge."

    763. On December 7, 2021 Vincent Garcia publicly stated "you [Alice Tybo] and Duane
         [Garcia, Sr.] signed off on Cannabis deposits when we had a Resolution out there
         that we [the South Fork Council] were not going to be involved with any of that, you
         guys are getting kickbacks from all that payment." Alice Tybo responded, "you're
         right, I'm getting them."

    764. On December 9, 2021, pursuant to or in furtherance of any NCE A2, A4 and AS
         agreement, plan or scheme and at the direction of Sypolt; Tybo, Reynolds and
         Holley, Cheryl Mose sent an email via Lucent Technologies POP 100 Gigabyte data
         switch in Salt Lake City, Utah to government officials four (4) hours after the
         Plaintiff sent a request for a criminal referral involving Cheryl Mose, Alice Tybo,
         Duane Garcia, Sr., and Tanya Reynolds for the misappropriation of just under a
         million dollars in federal funds, and that email included a copy of Te-Moak
         Resolution 21-TM-83 and 21-TM-112 asserting the unlawful and impermissible
         removal of the Plaintiff as the judge in furtherance of the NCE common purpose.

    765. On December 16, 2021 Joseph Holley, on the advice or direction of Sypolt, McDade,
         Smith or Hayes, authorized, prepared, approved and/or affixed his signature on a
         document, (misspelling his surname), addressed to and copies sent to: "Joseph
         McDade," Bryan Bowker, Glen Shafer; Sophia Torres; Susan Zuzueta; Heather
         Martinez and Cheryl Mose-Temoke, who are all government officials the Plaintiff
         interacted with as both Judge and Tribal Administrator, and in that document
         Joseph Holley falsely states that "Sam Biers, [is] a convicted felon," that further
         accused the Plaintiff of criminal conduct and that the Plaintiff falsely asserted
         judicial authority. Exhibit II-C(2): Holley Letter. Joseph Holley then published, sent

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          and transmitted this document via the United States Postal Service, the internet and
          other electronic means via Lucent Technologies POP 100 Gigabyte data switch
          located in Salt Lake City, Utah and Joseph Holley publicly posted or caused the
          public posting of this document on federal land throughout the tribal community
          and to many different tribes throughout the Western United States (Fallon-Paiute;
          Shoshone Bannock; Otes; Goshute). Id. Alice Tybo, Angelea Mendez and Tanya
          Reynolds posted copies of this document or caused the posting of copies of this
          document on public boards and various electronic websites online throughout
          communities in Nevada and Utah. While earning wages paid with federal funds and
          after receiving cash, revenue or proceeds from the unlawful sale and distribution of
          a controlled substance, marijuana, at the NCE, Angelea Mendez, Alice Tybo and
          Tanya Reynolds then prepared copies of this document and envelopes addressed to
          United States government officials: Christopher Andres Reudas; Joseph McDade;
          Bryan Bowker; Felisa Wright; Marsha Harlan; Gerald Dixon and Jessica Montcalm.
          See Exhibit II-C(2).

    766. On December 20, 2021 Angelea Mendez, a Native American who is not enrolled or a
         part of the Te-Moak Tribe drafted and signed a letter addressed to NSB and
         Zions bank entitled "RE: Te-Moak Administration and General Fund Accounts," and
         then published, sent, transmitted and broadcast an electronic copy that letter via
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah before a
         copy of that document was sent, transmitted and published via the United States
         Postal Service to R. McKay Hall in St. George, Utah that states "Samuel Biers" is not
         "authorized on the bank card" and Mr. Biers' attempts to "conduct official business
         with [Zions bank] shall be considered fraudulent and unlawful as [he is] not [an
         official]." Exhibit III-B(14): Mendez Interference Letter.

    767. On December 27, 2021 Wendall Hayes prepared, drafted and authored a document
         entitled "INVOICE FOR and TRAVEL EXPENSES" for the period "October 13 to
         October 16, 2021" totaling "$3,000.00" that Wendall Hayes transmitted, sent or
         caused the transmission of a copy via the internet, email or other electronic means
         through the Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City,
         Utah to the personal email accounts "alicetybo@gmail.com" and
         "ihchairman1@gmail.com." Exhibit III-C(8). This document included a demand for
         payment and reimbursement from the Tribe and Sypolt amounting to "$4068.95"
         for Airfare to and from Salt Lake City Airport, a rental car to and from Salt Lake City,
         Utah, "billed to" Hayes American Express Card and directly to Scott Sypolt for a
         Court hearing and "'swearing in' of duly elected officials" during this period. Id. At

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          the time of the claimed swearing in events in this invoice Wendall Hayes lacked legal
          authority pursuant to Te-Moak law to swear in any Tribal officials. Ref. Exhibits II-
          C(3) and 'lf'lf708, 710 supra.

    768. On December 27, 2021 Angelea Mendez completed a typewritten, unsigned
         document entitled "CHECK REQUEST" seeking the payment of Wendall Hayes'
         invoice totaling "$4068.95" as the "Te-Moak Tribal Judge" from federal funds
         identified in the Tribe's Aid to Tribal Government Program, ("ATTG"), under "Acct#
         5270 Consultants" that included a notation "need address and receipts" from
         Wendall Hayes to finalize and process the request for payment. Exhibit III-C(8).

    769. On December 28, 2021 Wendall Hayes issued a document entitled: "COURT'S
         ORDER OF DECEMBER 27, 2021 GRANTING PETITIONER'S EMERGENCY
         TEMPORARY RESTRAINING ORDER," without identifying or including any lawful
         authority, and in fact this document failed to cite, include or offer any legal authority
         written anywhere within that document, and Hayes identified the Plaintiff as a party
         to that action, as part of any AS agreement, plan or scheme with or between Joseph
         Holley; Alice Tybo; David Carrera; Duane Garcia, Sr.; Thalia Marin; SCS; EBCE; TT;
         Steve Sisolak; Aaron Ford; Chadwick Smith; Darian Stanford; Paul Conable; Davis
         Gonzalez; Steve Olson; Kevin Clock; Angelea Mendez; Suzanna Sandoval and Elliot
         Parris, and the costs associated with the production and publication of this
         document was partly funded with federal funds and partly funded with the cash,
         revenue, income or proceeds received, derived or originated from the sale and
         distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis, routed through SALAL; Zionsbank and Wells Fargo Bank, as agreed and
         approved by the Defendants, and after payment was received Hayes, Mendez,
         Tammy Carrera, and others, then issued, transmitted and published this document,
         as an official government record, to maliciously prosecute the Plaintiff, and others,
         and to harass, embarrass, annoy, stalk and further deny the legal rights belonging to
         the Plaintiff as retaliation and to force the Plaintiff out of judicial office. See Exhibit
         I-B(3): Hayes Emergency Order (December 27, 2020). Wendall Hayes transmitted
         this document over the internet, email, facsimile and other electronic means via
         Lucent Technologies POP 100 Gigabyte data switch located in Salt Lake City, Utah.

    770. On December 29, 2021 Angelea Mendez, pursuant to an agreement with Chadwick
         Smith; Scott Sypolt; Joseph Holley; Alice Tybo; David Carrera; Joseph McDade; Davis
         Gonzalez; Duane Garcia, Sr; and Andrea Woods, executed pursuant to a payment
         agreement with SCS; TT; EBCE; Paul Conable; Darian Stanford; Steve Olson; Thalia
         Marin; Steve Sisolak and Aaron Ford with the intent or purpose to permanently
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          defame, destroy and discredit the character of the Plaintiff and unlawfully remove
          the Plaintiff from judicial office by drafted, sent and transmitted an email, via Lucent
          Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah from Angelea
          Mendez' "iphone" where Mendez states she was "Chairman Joseph Holley," and
          delivered that email to United States officials: Joseph McDade; Bryan Bowker; Felisa
          Wright; Marsha Harlan; Gerald Dixon and Jessica Montcalm; Tribal Leaders: Rupert
          Steele; Rodney Mike; Greg Anderson; Serrell Smokey; Ginny Hatch and all Te-Moak
          officials; Governor Sisolak's Tribal Liaison Stacy Montooth; Elko City Mayor Reece
          Keener, and then to Christopher Andres Ruedas, (United States Solicitor General in
          Salt Lake City, Utah). Exhibit IJI-B(lS). This December 29, 2021 email states:

             a. "Sam Biers is a convicted Felon in two (2) states and is a pathological liar;"
             b. Because the Plaintiff is the lawful appellate judge for the Te-Moak Tribe, the
                Tribe is "the laughing stock of Nevada" and an "embarrassment;"
             c. Plaintiffs "attempted rise to power is based on nothing but lies;"
             d. Plaintiff" claimed to be a licensed lawyer in Nevada but this is a lie;"
             e. Plaintiff "claimed to be a licensed lawyer in Utah but this is a lie;"
             f. Plaintiff "claimed to be a Federal Prosecutor in Utah but this is a lie;"
             g. Plaintiff"is a pathological liar;"
             h. "We know that Sam hid his multiple felony convictions;"
             i. Plaintiff "is a convicted felon in both Michigan and in Nevada;"
             j. "...google Samuel Lee Biers Magistrate Durham North Carolina, you will see
                that Sam's pathological lying has a long and consistent history;"
             k. "It is black and white that Sam Biers is of rotten moral character;"
             I. "Sam Biers is clearly not qualified to be a Te-Moak Supreme Court Judge or
                any judge for that matter;"
             m. "Sam Biers does not meet the requirements of our Te-Moak Constitution and
                therefore will never be recognized as a Supreme Court Judge of Te-Moak
                Tribe." Id.

    771. On or about December 30, 2021 SCS and TT attorneys Paul Conable, Darian Stanford
         and Steve Olson, with representatives Kevin Clock and Elliott Parris, authorized and
         participated in the counting of the cash, revenue, income or proceeds derived or
         originating from the unlawful sale of a controlled substance, marijuana, at the NCE
         retail store Newe Cannabis, to support the agreements, plans and schemes related to
         an ongoing business enterprise while on federal, tribal land that included Wells
         Fargo Bank, Zionsbank, NSB and SALAL which were used to disguise the
         transactions, money and funds and prevent disclosure of the actual source of the

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          funds, and to hide the illegal status of the money and transactions with the intent or
          purpose to violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201, 18 U.S.C.
          §1341: 18 u.s.c. §1343: 18 u.s.c. §1344: 18 u.s.c. §1952: 18 u.s.c. §1956: 18 u.s.c.
          §1957: 18 U.S.C. § 1960 and the Te-Moak Constitution. Article 4. sections 3. 12 and
          14 pursuant to an Al-A8 agreement, plan or scheme with ECBE: Steve Sisolak:
          Aaron Ford; Robin Evans; Leslie Grove; Suzanna Sandoval; Thalia Marin; Juan
          Arevalo; Larry Yeager; Davis Gonzalez; Joseph Holley; Alice Tybo; Sypolt; Chadwick
          Smith; Wendall Hayes; Brent Waite; Nicole Lewis; ECDCC; David Carrera; Duane
          Garcia, Sr; Andrea Woods, and other unnamed individuals and entities, to continue
          the operation and business transactions involving the NCE.

    772. On or about January 4, 2022 Paul Conable, Kevin Clock and Elliott Parris personally
         appeared on Te-Moak Territory to deliver EBC's one half share, pursuant to A6,
         consisting of cash proceeds, income or revenue derived or originating from the sale
         and distribution of a controlled substance, marijuana, at the NCE retail store Newe
         Cannabis, for the period October 1 through December 31, 2021. At this meeting
         Paul Conable stated that SCS and TT will no longer provide daily Headset Cannabis
         Intelligence sales reports from Newe Cannabis to EBC any longer, and that SCS will
         not release or deliver the EBC one half share of cash, revenue or income derived or
         originating from the sale of a controlled substance at the NCE retail store Newe
         Cannabis, pursuant to A6, for the 41h quarter 2021 until two (2) signatories are
         assigned to open and manage SALAL EBCE accounts, with Conable suggesting Juan
         Arevalo and Suzanna Sandoval.

    773. On or about January 5, 2022 ata public EBC Meeting a staff member noticed a
         package under a table in the conference room that contained $50,000 cash (USO)
         labeled "Newe Cannabis" where Suzanna Sandoval stated that package originated
         from the December 30, 2021 accounting of profits, cash, income and revenue from
         the unlawful sale and distribution of a controlled substance, marijuana, at Newe
         Cannabis, and Sandoval placed the package into the Elko Band Council Safe.

    774. On or about January 7, 2022 Elko Band Council Members Chauna Cota and Jay
         Allison inquired about the status of the package containing the $50,000 cash and
         Susan Zuzueta stated that package was removed and its whereabouts were
         unknown. Davis Gonzalez, Roseanna Recendiz, Thalia Marin, Nick Knight and
         Suzanna Sandoval were the only individuals with access to the safe during this
         period of time. Davis Gonzalez provided Rosanna Recendiz, Raymond Gonzalez'
         daughter, the combination to that safe. The ingress and egress to the building is
         monitored by video surveillance equipment installed by White Cloud, with the

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          electronically recorded signals broadcast via Lucent Technologies POP 100 Gigabyte
          data switch in Salt Lake City, Utah to the cellular phones and computers belonging to
          Davis Gonzalez and Thalia Marin, and others.

    775. On January 18, 2022 the Plaintiff communicated with Mediator Kelly Latimer
         regarding the status of the judicial services mediation case involving the Te-Moak
         Tribal Court system and whether Sypolt, Joseph Holley, Alice Tybo, Davis Gonzalez,
         David Carrera and Duane Garcia, Sr., informed AL) Heffernan, OHA or Mediator
         Latimer at any point in time that the Te-Moak Tribe granted a "delegation of
         constitutional authority by the Te-Moak Tribal Council effective November 23,
         2020" to the Te-Moak Supreme Court, and Latimer stated that Skibine, Sypolt and
         Holley "continued to represent throughout the proceeding that [the Tribal Council]
         had authority to enter into a settlement agreement," as shown by "Resolution 21-
         TM-94" granting Joseph "Holley 'full authority to approve and sign said Settlement
         Agreement on behalf of the Te-Moak Tribe," and that agreement "was signed on July
         27, 2021, by Chairman Joseph Holley... "' Ref. Exhibit II-C(7).

    776. On January 18, 2022 Kelly Latimer, an attorney with the United States Office of
         Hearing and Appeals, communicated with the Plaintiff via email, stating that Sypolt
         and Skibine signed and submit a federal document, as required to practice before
         the OHA, pursuant to "43 C.F.R. § 1" avowing that their individual "signature shall
         constitute his certificate: (a) That under the provision of this part and the law, he is
         authorized and qualified to represent the particular party in the matter ... [and] (d)
         That he has read the paper; that to the best of his knowledge, information, and belief
         there is good ground to support its contents; that it contains no scandalous or
         indecent matter; and that it is not interposed for delay."

    777. On January 20, 2022 at a public meeting held on federal tribal land, and broadcast
         online via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
         to multiple homes throughout the country, Suzanna Sandoval disclosed and
         disseminated Plaintiffs private and confidential personnel information to the public
         without written authorization from the Plaintiff, in violation of tribal, state and
         federal law, as required by Te-Moak Resolution 20-TM-132. (December 2, 2020),
         enacting the Te-Moak Confidential Information Policy and Procedures that
         incorporated by adoption the U.S. Privacy Act 5 U.S.C. §552 et seq.; 42 U.S.C.
         §13925(b)(2); 2 C.F.R. §200.207 and §200.338, and the Te-Moak Confidential
         Information Policy and Procedures( enacted by Resolution 03-TM-13 Ouly 2, 2003).
         See N.R.S. §205.463 (bars any release of this private, nonpublic information).


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    778. On January 24, 2022 the Plaintiff transmitted a written notice of claims to Suzanna
         Sandoval demanding Sandoval cease and desist publishing the Plaintiffs private,
         confidential information, as well as publishing, republishing or making false and
         defamatory statements regarding the Plaintiff.

    779. On January 31, 2022 Zions bank refused access to Te-Moak Tribal accounts held at
         Zions bank and NSB to the newly elected Tribal Council Chairman, Vincent Garcia,
         and the Vice Chairwoman, Danena Ike, with Nicole Lewis stating that Brent Waite
         and Zionsbank decided they will not "recognize Sam Biers as a judge or the Te-Moak
         Court." This conclusion is the intended result and product the AS agreement, plan
         or scheme, supra.

    780. On February 2, 2022 newly elected tribal officials, Chauna Cota and Jay Allison, with
         NCC Lyle Yowell, signed an affidavit avowing that on December 30, 2021, "Jay
         Allison, Juan Arevalo, Susana Sandoval, Lyle Yowell and [Chauna Cota]" were
         present at a government building within Te-Moak Territory to count and distribute
         the cash, income and revenue received, derived or originating from the unlawful
         sale and distribution of a controlled substance, marijuana, at the NCE retail store
         Newe Cannabis, (covering the period July 1, 2021 and September 30, 2021),
         pursuant to A6 and the Cash and Safe Policy. when Suzanna Sandoval offered to
         unlawfully divide "$50,000.00" in cash between the Allison, Cota, Arevalo, Yowell
         and Sandoval without disclosing the conduct to the public or disclose the amount or
         transaction in the records. Exhibit III-A(8).

    781. On February 4, 2022 attorney Wes Williams prepared, authorized, drafted and/or
         transmitted an email via Lucent Technologies POP 100 Gigabyte data switch located
         in Salt Lake City Utah from his home or office in Reno, Nevada that included an
         attached copy of an invoice that states: "01/19/2022 Telephone conferences (2)
         with Chairwoman Susanna Sandoval re: new court decision and email/invoices
         from Sam Biers. Review documents received from the Chairwoman and research
         ultra vires cases and defenses to claims by Mr. Biers." Ref. N.R.S. §205.463.

    782. On February 4, 2022 the Plaintiff transmitted via United States Postal Service two
         (2) separate Notices of Claim describing RICO Enterprise offenses, and related
         causes of action, sent to Governor Steve Sisolak and Attorney General Aaron Ford,
         addressed to the Secretary of State atthe address listed by the State of Nevada for
         service of process. Governor Sisolak received his, as Nevada state assemblymen
         openly discussed the delivery and receipt, while the Secretary of State date stamped


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          Mr. Ford's envelope "Feb 07 2022 RECEIVED," and returned the envelope unopened
          to the Plaintiff via the United States Postal Service.

    783. On February 9, 2022 the Plaintiff reported instances and allegations of bank fraud
         and wire fraud involving SCS; SALAL; EBCE; TT; Wells Fargo Bank; Davis Gonzalez,
         Thalia Marin; Darian Stanford; Steve Olson; Paul Conable and Kevin Clock to the
         United States Department of Treasury, Office of the Comptroller of Currency, based
         on the financial records showing an ATM machine is connected directly from Newe
         Cannabis via the Lucent Technologies POP 100 Gigabyte data switch in Salt Lake
         City, Utah and routing electronic payments, debits, credits and transfers of U.S.
         currency to Wells Fargo Bank, Zionsbank and SALAL in Seattle Washington.

    784. On February 9, 2022 the BIA-WRO, on behalf of the United States, issued a final
         decision pursuant to the ISDA 2017-01 Settlement Agreement finding that "the
         Tribe is no longer subject to the regulation of 25 C.F.R. Part 11 ...and jurisdiction is
         transferred ... from the Court of Indian Offenses for the Western Region (CFR Court)
         to the Tribal Court of the Te-Moak Tribe of Western Shoshone (Tribal Court) ...by
         operation of [Resolution 20-TM-129, the Law and Order Code and] 25 C.F.R. §11.104
         ...the imposition of the CFR Court no longer apply to the Tribe."

    785. On February 11, 2022 attorney Wes Williams communicated with Suzanna Sandoval
         by text message from his home or office in Reno, Nevada regarding Sandoval's prior
         submission of the Plaintiffs private, confidential records that Williams received
         from Sandoval. Ref. N.R.S. §205.463.

    786. On February 17, 2022 the Plaintiff received a text message from Te-Moak Trial
         Judge Morgan Currey, (Oklahoma), that stated it had been months since Currey
         talked to Sypolt or done any business with the Te-Moak Tribe "other than swearing
         in some officers," when under Te-Moak tribal law the trial court judge lacks the legal
         authority to administer the oath of office to tribal officials.

    787. On February 18, 2022 pursuant to an agreement with Davis Gonzalez; Juan Arevalo;
         Darian Stanford; Sypolt and Suzanna Sandoval, for the payment of Newe Cannabis
         funds, Rena Premo personally appeared at a public TMC meeting and presented
         confidential records and private information regarding the Plaintiff, previously
         obtained and publicly disclosed by Suzanna Sandoval, without lawful authority and
         without Plaintiffs written authorization or permission, as required by federal and
         tribal law, and then disseminated that information to the public. Ref. N.R.S.
         §205.463.

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    788. On February 19, 2022 the Plaintiff, acting as the Te-Moak Supreme Court Judge, sent
         an email to Tammy Carrera that stated the following:

                 As you have failed to appear for work for more than two (2) business days
                 and you failed to return the property, records and information belonging to
                 the Court as directed, therefore, the Court hereby accepts your voluntary
                 resignation under the Te-Moak Personnel Policy... Effective immediately..
                 .You, Tammy Carrera, are not employed by or with the Te-Moak Court in any
                 capacity. You will immediately secure and return all property, records and
                 information belonging to the Te-Moak Tribal Court. Ref. gen. Exhibit J-A(3).

    789. On February 21, 2022 and in furtherance of a conspiracy and agreement to continue
         the NCE and judicial enterprise, supra, Chadwick Smith sent an email via Lucent
         Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah to the Plaintiff as
         proof of service on the Plaintiff, as the Te-Moak Supreme Court Judge, naming the
         Plaintiff as a defendant in a civil action. Chadwick Smith knew or should have
         known that Plaintiff was draped with sovereign and judicial immunity from civil
         liability. See Randall v. Brigham. 74 U.S. 523, 537(1869); Bradleyv. Fisher. 80 U.S.
         335, 351 (1872); Pierson v. Ray. 386 U.S. 547 (1967)(absent clear language Congress
         did not abrogate absolute judicial civil immunity); g_,g. Hutto v. Finney. 437 U.S. 678,
         700(1978)(suits brought against individual officers for injunctive relief are for all
         practical purposes suits against the [Tribe] itself . . '1, and Chadwick Smith continued
         to retaliate against the Plaintiff, pursuant to any A3-A6 agreement, plan or scheme,
         with or between SCS; TT; EBCE; Sypolt; Wendall Hayes; Dentons; Skibine; Joseph
         McDade; Joseph Holley; Alice Tybo; David Carrera; Duane Garcia, Sr; Andrea Woods,
         and others, to deny and deprive the Plaintiffs constitutional rights.

    790. Sypolt, with others, entered into an agreement with Joseph Holley and Thalia Marin,
         who agreed to 'pardon' (prior to any conviction) Thalia Marin, for a pending
         embezzlement charge, after Sypolt and Holley directed the Plaintiff and Ruben
         Ramirez, pursuant to TMC, to submit sworn complaints in January 2021 that
         included evidence related to felony fraud against Thalia Marin. As consideration
         Holley accepted Marin's placement on the Te-Moak Council. In exchange Marin
         agreed to vote and support the issues presented by Joseph Holley at the Te-Moak
         Council, and Joseph Holley, Sypolt and Marin received cash, income, revenue or
         proceeds that originated or were derived from the unlawful sale and distribution of
         a controlled substance, marijuana, at the NCE pursuant to an agreement, plan or
         scheme with or between SCS; TT; EBCE; Davis Gonzalez; Juan Arevalo; Larry Yeager;
         Wendall Hayes; Paul Conable; Chadwick Smith; Skibine; Joseph McDade; Aaron
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          Ford; Steve Sisolak; Alice Tybo; David Carrera; Duane Garcia, Sr; Joseph McDade;
          Paul Conable and Darian Stanford to assist, conspire or provide material support for
          any agreement, plan or scheme to sell and distribute a controlled substance,
          marijuana, at the NCE retail store Newe Cannabis, and to distribute funds derived or
          originating from the sale and distribution of marijuana at Newe Cannabis between
          the members of the NCE with the intent or purpose to violate or attempt to violate
          21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341(Mail Fraud); 18 U.S.C. §1343: 18
          U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C. §1957: 18 U.S.C. § 1960 and
          §1962 and the Te-Moak Constitution. Article 4. sections 3. 12 and 14.

    791. On February 22, 2022 Angelea Mendez and Tanya Reynolds distributed, affixed and
         posted a document entitled "PUBLIC NOTICE" at the direction, advice or instruction
         of Joseph Holley in accordance with the terms of any AS agreement between Joseph
         Holley; Joseph McDade; Alice Tybo: Scott Sypolt; Wendall Hayes: Chadwick Smith:
         David Carrera; Davis Gonzalez; Duane Garcia, Sr.: Andrea Woods and Thalia Marin to
         publish, republish and disseminate this document, nationally and internationally, by
         way and through email, mail and wire, where the services and goods to produce,
         publish and disseminate this document were paid for or funded with federal money
         and revenue, income or cash originating or derived from the sale and distribution of
         a controlled substance, marijuana, at the NCE retail store Newe Cannabis, with the
         intent or purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201, 18
         U.S.C. §1341: 18 U.S.C. §1343: 18 U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18
         U.S.C. §1957: 18 U.S.C. § 1960 and §1962 and the Te-Moak Constitution. Article 4.
         sections 3. 12 and 14 where said document states thatthe Plaintiff is "not [an]
         official of the Te-Moak Tribe of Western Shoshone Indians of Nevada." Exhibit II-
         .CU)..

    792. On or about February 22, 2022 Angelea Mendez and Tanya Reynolds, with others,
         travelled across interstate highways, roads and bridges and personally delivered
         copies of the "PUBLIC NOTICE" document to the United States Postal Service at
         locations in Elko, Battle Mountain and Wells, Nevada before transmitting electronic
         copies via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
         to every vendor, business and government organization that has or had an official
         relationship with the Te-Moak Tribe or the Plaintiff, fraudulently backdating this
         document "January 1, 2022." Exhibit 11-C(l): Public Notice; Ifil. N.R.S. §205.463.

    793. In furtherance of the AS conspiracy and agreement to continue the NCE and judicial
         enterprise, on February 24, 2022 Tammy Carrera sent a notice by email via the
         Lucent Technologies POP 100 Gigabyte data switch in Salt Lake City, Utah
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          commanding the Plaintiff, as the Te-Moak Supreme Court judge, to appear as a
          defendant in a civil action before "Wendall D. Hayes, Te-Moak Chief Judge."

    794. On February 27, 2022 Joseph Holley transmitted a copy ofa document, (dated
         February 26, 2022 as signed by Wendall Hayes), consisting of an email message sent
         or transmitted via Lucent Technologies POP 100 Gigabyte data switch in Salt Lake
         City, Utah to Elko Band Police Chief William Grundy who then forwarded an
         electronic copy of that document to the Plaintiff. Wendall Hayes states in this
         document that the "United States" Bureau of Indian Affairs "recognizes Wendall
         Hayes as Chief Judge of the Te-Moak Tribal Court" and that the "United States
         government through the BIA does not recognize Samuel L. Biers as a judge or
         judicial officer in any capacity of the Te-Moak Tribal Court." See Exhibit I-B(4):
         Hayes Temporazy Order (Case No. TM CV 01-22). Joseph McDade communicated
         with Wendall Hayes, Chadwick Smith, Sypolt and Joseph Holley, pursuant to any A2,
         A4, AS agreement, plan or scheme, and agreed to support the rejection of
         recognition related to the Plaintiffs judicial office, on behalf of the United States
         when Joseph McDade was stripped of this authority on February 9, 2022 and
         repeatedly warned by BIA-WRO to stop making these statements.

    795. On March 2, 2022 the United States Bureau of Indian Affairs, Western Region, Acting
         Director Jessie Durham issued a formal decision in direct rebuke and in response to
         the unauthorized conduct of Joseph McDade, that states "[t]he [BIA-WRO] makes no
         findings or decision as to the validity ofth[e] Tribal Court or the Tribal Judge."

    796. On February 28, 2022 Wendall Hayes received income, revenue or cash proceeds,
         directly or indirectly, derived or originating from the sale and distribution of a
         controlled substance, marijuana, at the NCE retail store Newe Cannabis, where the
         NCE Defendants agreed to fund or pay Hayes to issue an Injunction against the
         Plaintiff as a sitting judge, and others, contrary to federal and tribal law, without
         service of process, and where Hayes publicly stated that the Plaintiff, by name, "is an
         arrogant white boy, a felon," and Hayes published, issued and republished the
         purported injunction pursuant to an agreement, plan or scheme with or between
         SCS; EBCE; TT; Davis Gonzalez; Thalia Marin; Paul Conable; Chadwick Smith;
         Skibine; Joseph McDade; Bryan Bowker; Aaron Ford; Steve Sisolak; Joseph Holley;
         Alice Tybo; Scott Sypolt; David Carrera; Duane Garcia, Sr; Joseph McDade and Darian
         Stanford to assist, conspire or provide material support for any agreement, plan or
         scheme to sell and distribute a controlled substance, marijuana, involving the NCE
         and to distribute funds derived or originating from the sale and distribution of
         marijuana at Newe Cannabis between or among NCE Defendants with the intent or
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          purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
          §1341: 18 U.S.C. §1343: 18 U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 18 U.S.C.
          §1957: 18 U.S.C. § 1960 and §1962 and the Te-Moak Constitution. Article 4. sections
          3. 12 and 14 in exchange Hayes agreed to preserve the continuation of the NCE and
          the ongoing fraud involving federal funds administered through the Te-Moak Tribe
          as a key component to the judicial enterprise arm of the NCE.

    797. On March 2, 2022 the Plaintiff received a text message from Te-Moak Trial Court
         Judge Morgan Currey, (Oklahoma), stating that she was sending to the Plaintiff a
         formal written "resignation" to the Plaintiff as the Te-Moak Supreme Court Judge.

    798. On or about March 2, 2022 Joseph Holley; Juan Arevalo; David Carrera; Tanya
         Reynolds; Angelea Mendez, and other unnamed individuals, appeared at the Te-
         Moak Office Building with pick-up trucks and began to empty the contents of the
         building, including the Plaintiffs private, confidential and privileged information,
         and then loaded the vehicles with the building contents and exited Te-Moak
         Territory for 825/875 Railroad Street, Elko, Nevada, non-tribal, state jurisdiction.
         Holley later appeared on a recorded video instructing all Te-Moak Tribal members
         to purchase "Life Lock" to protect their personal, private information because Holley
         has no way to protect the integrity of that information. Ref. N.R.S. §205.463.

    799. On or about March 3, 2022 Davis Gonzalez communicated with Elko Band Police
         Chief William Grundy claiming that "Judge Biers was an Appellate Judge and had no
         reason to be involved with the TPO that was issued by Judge Hayes." Exhibit III-A(7).
         Davis Gonzalez stated to Chief Grundy that Gonzalez was "present" at the February
         3, 2021 Tribal Council meeting, voted no to appoint the Plaintiff before noting that a
         motion "confirmed Judge Biers to his seat at the Te-Moak level" as the Te-Moak
         Supreme Court Appellate Judge. On March 7, 2022 Chief Grundy delivered a copy of
         his official log report on this incident by email to the Plaintiff. Id.

    800. On March 3, 2022 Davis Gonzalez stated that Joseph Holley "won't listen to anyone, I
         was there, the motion was made, I voted no, but the motion carried and they
         appointed Sam as the appellate judge. Since Sam fired Tanya nobody can get
         through to Joe and Scott."

    801. On March 10, 2022 the Plaintiff filed a formal report with federal law enforcement
         agents related to money laundering, bank fraud and wire fraud at Wells Fargo Bank,
         Zions bank, NSB and SALAL regarding the transfers, expenditures and deposits of
         income, revenue and cash proceeds derived or originated from the sale and


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          distribution of a controlled substance at Newe Cannabis pursuant to any agreement,
          plan or scheme between or with SCS; TT; ECBE; Zions bank; Brent Waite; Nicole
          Lewis; Davis Gonzalez; Thalia Marin; Juan Arevalo; Joseph Holley; Scott Sypolt;
          Chadwick Smith; Paul Conable; Kevin Clock; Darian Stanford; Elliot Parris; Tanya
          Reynolds; Alice Tybo; Duane Garcia, Sr.; Andrea Woods. Plaintiff authorized the U.S.
          Treasury Comptroller agents to notify the financial institutions of the allegations
          made by the Plaintiff after the Plaintiff informed the agents that Plaintiff already
          notified Zions bank in early 2020.

    802. On March 12, 2022 Zionsbank notified EBC that Zions bank was closing all EBC
         accounts at Zions bank within "90 days" because of activity related to money
         laundering. bank fraud and wire fraud associated with the transfers and deposits of
         revenue, income and cash proceeds received, derived or originating from the sale
         and distribution of a controlled substance at Newe Cannabis.

    803. EBCE; SCS; TT; Davis Gonzalez; Thalia Marin; Juan Arevalo; Joseph Holley; Scott
         Sypolt; Chadwick Smith; Paul Conable; Kevin Clock; Darian Stanford; Elliot Parris;
         Tanya Reynolds; Alice Tybo; Duane Garcia, Sr.; Andrea Woods and David Carrera
         entered into an agreement, plan or scheme as part of the NCE whereby Davis
         Gonzalez; Thalia Marin; Juan Arevalo; Joseph Holley; Scott Sypolt; Chadwick Smith;
         Paul Conable; Kevin Clock; Darian Stanford; Elliot Parris; Tanya Reynolds; Alice
         Tybo; Duane Garcia, Sr.; Andrea Woods and David Carrera signed and submitted
         financial documents, records, information or forms at Wells Fargo Bank, NSB,
         Zionsbank; Empyreal Logistics; GardaWorld Armored Transportation and SALAL
         that asserted, stated or claimed that the transfer or deposits of currency, money or
         funds transferred or deposited with or at Wells Fargo Bank, Zions bank; Empyreal
         Logistics; GardaWorld Armored Transportation, NSB and SALAL originated from
         lawful or legitimate tribal business operations at EBC and EBCE and failed to state,
         declare or inform Wells Fargo Bank, Empyreal Logistical and GardaWorld Armored
         Transportation in the records, forms, information or documents that the same
         revenue, income, funds or cash proceeds transferred or deposited, directly or
         indirectly, were derived or originated from the unlawful sale and distribution of a
         controlled substance, marijuana, involving the NCE with the intent or purpose to
         violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341; 18
         U.S.C. §1343; 15 U.S.C. §§1-7. 12-26 and 1125; 29 U.S.C. §§52-53; 18 U.S.C. §1344; 18
         U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and §1962 and the
         Te-Moak Constitution. Article 4. sections 3. 12 and 14.



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    804. Lyle Yowell, Thalia Maria, Rosanna Recendiz, and Joe Delarosa (the SCS
         representative from Las Vegas), served on the NCC, pursuant to an agreement, plan
         or scheme by, with or between SCS; EBCE; TT; Davis Gonzalez; Thalia Marin; Juan
         Arevalo; Larry Yeager; Paul Conable; Chadwick Smith; Skibine; Joseph McDade;
         Aaron Ford; Steve Sisolak; Joseph Holley; Alice Tybo; Scott Sypolt; David Carrera;
         Duane Garcia, Sr; Joseph McDade and Darian Stanford to engage in interstate
         commerce related to the sale and distribution of a controlled substance, marijuana,
         where TT attorneys Paul Conable; Steve Olson; Darian Stanford actually controlled
         the management of NCC (formerly Elko Band Authority), to administer the policy
         and procedures governing the NCE operations at Newe Cannabis with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C.
         §1341); 18 U.S.C. §1343; 18 U.S.C. §1344: 18 U.S.C. §1952: 18 U.S.C. §1956: 15 U.S.C.
         §§1-7.12-26 and 1125: 29 U.S.C .. §§52-53: 18 U.S.C. §1957: 18 U.S.C. § 1960 and
         §1962 and the Te-Moak Constitution. Article 4. sections 3. 12 and 14.

    805. From August 10, 2021 through March 30, 2021 Battle Mountain Band and the Te-
         Moak Tribe failed to pay a debt that arose under the E-Rate, Universal Schools and
         Libraries Program, after authorizing the payment with ARPA federal funding and
         receiving 100MB fiber optics connectivity hardware and services.

    806. On March 25, 2022 Darian Stanford telephoned Police Chief William Grundy from
         the TT Offices in Portland, Oregon and stated "Sam Biers is not a judge."

    807. On March 25, 2022 Thalia Marin personally appeared at the physical address of
         Newe Cannabis and conducted a telephone conference with Kevin Clock and Scott
         Sypolt, at which time Kevin Clock instructed Marin to obtain the store's keys to
         secure the cash inside in exchange for continued payments to tribal, government
         officials, including Marin, as those payments related to an election on April 1, 2022.

    808. Ernie Aldredge, Thalia Marian and Suzanna Sandoval formerly served on NCC and
         resigned from NCC to allow Davis Gonzalez; Paul Conable; Steve Olson and Darian
         Stanford to hold or retain authority over the funds derived or originating from the
         sale and distribution of a controlled substance, marijuana, at the NCE, without any
         legitimate control measures that would otherwise prevent fraudulent transfers or
         theft of those funds pursuant to an agreement, plan or scheme by, with or between
         SCS: EBCE: Chadwick Smith; Skibine; Joseph McDade; Aaron Ford; Steve Sisolak;
         Joseph Holley; Alice Tybo; Scott Sypolt; David Carrera; Duane Garcia, Sr; Joseph
         McDade to continue the business operation related to the unlawful sale and
         distribution of a controlled substance, marijuana, at the NCE.

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    809. Davis Gonzalez keeps a portion of his pro rata portion of the 'partner's share' of the
         cash income that originated from the unlawful sale and distribution of a controlled
         substance, marijuana, at the NCE retail store Newe Cannabis, at an unknown
         financial institution that also contains funds that Davis Gonzalez fraudulently
         skimmed off federal grant programs. Davis Gonzalez provided his brother Raymond
         Gonzalez' daughter, Rosanna Recindez, with the EBC safe combination to withdraw
         and remove NCE cash, income and revenue without proper EBC authorization. On
         March 13, 2022 Rosanna Recindez entered the EBC building, after Paul Conable
         transferred 1.4 million in cash from the NCE to EBC, and Rosanna Recindez opened
         the EBC safe to deposit the NCE money into that safe.

    810. United States Assistant Attorney Sue Fahami was exonerated as a co-conspirator
         with her ex Stephen Marich's involvement in a $3.6 million embezzlement scam
         over a ten (10) year period from the First National Bank Ely, Nevada when Fahami
         resided with Marich during that ten (10) year period. AUSA Sue Fahami was also
         involved in an U.S. Alcohol, Tobacco and Firearms Agent Whistleblower Complaint
         where it was alleged that Fahami directed agents at the US DOJ-Reno to commit
         perjury in sworn statements to federal judges involving the ATF out of Reno and
         then ordering prosecutions based on probable cause to cease, permitting arrests by
         indictments issued by the AUSA only. AUSA Fahami continues the practice here.

    811. On or about March 14, 2022 Robin Evans, representing RAE Solutions, and Leslie
         Grove, representing IBSC, each demanded $10,000.00 to perform financial analysis
         related to the NCE, and EBC approved payment to Evans and Grove for a total
         amount of $20,000.00, (USD), using commingled federal funds that included income,
         revenue or cash proceeds that, directly or indirectly, were derived or originated
         from the sale and distribution of a controlled substance, marijuana, at the NCE retail
         store Newe Cannabis, with the intent or purpose to violate or attempt to violate 21
         U.S.C. §841. 26 U.S.C. §7201. 18 U.S.C. §1341: 18 U.S.C. §1343: 15 U.S.C. §§1-7. 12-26
         and 1125: 29 U.S.C .. §§52-53; 18 U.S.C. §1344: 18 U.S.C. §1952; 18 U.S.C. §1956: 18
         U.S.C. §1957: 18 U.S.C. § 1960 and §1962 and Te-Moak Constitution. Article 4.
         sections 3. 12 and 14.

    812. Darian Stanford serves as a tribal judge at the Fort McDermitt Paiute and Shoshone
         Tribe. Darian Stanford recommended Tilden Smart; Elise Dave; Anne Laughlin;
         Carrie Frias; and Sherry Harris to court personnel positions at Te-Moak based on
         their involvement and support for the continuation of the NCE. Prior to Tilden
         Smart's nomination by Sypolt and Stanford to benefit the NCE as part of the judicial
         enterprise, in 2019 Mr. Smart was the Chairman of the McDermitt Tribe. During a

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          discussion with another McDermitt Council member who opposed the use of his
          land to cultivate marijuana for SCS being managed by Tilden Smart, it was alleged
          that Mr. Smart pushed that Council member, who fell, struck his head and died.

    813. Sypolt, Skibine and Smith recommended Morgan Currey; Angelea Mendez; Wendall
         Hayes to serve as judicial officers and personnel as part of an agreement to create a
         secondary 'judicial' or criminal justice enterprise with the intent or purpose to
         create a governmental entity that will shield, protect and ensure against the
         disclosure of the NCE activities and foster continuity of the criminal organizations
         within the Te-Moak Tribe. Morgan Currey was unaware and resigned to avoid
         complicity with Sypolt, Skibine, Hayes and Smith's unlawful activity.

    814. On March 17, 2022 the United States Bureau of Indian Affairs, Western Region,
         Acting Director Jesse Durham stated, (in response to Wendall Hayes continued false
          representation that the United States only recognizes Hayes and that the United States
          refuses to recognize the Plaintiff), "[i]t is reiterated that our interim recognition
          [March 2, 2022] of the Council [Holley Council]. ..is not a general letter of
          recognition ... and is not a final decision regarding the validity of the Tribal Court or
          the Tribal Judge."

    815. In furtherance of a conspiracy and pursuant to A1-A8 agreements to continue the
         NCE and the supporting judicial enterprise, as an apparatus of the Newe Cannabis
         enterprise, Sypolt; Robin Evans; Leslie Grove; Joseph Holley; Adela Morrison and
         Andrea Woods entered into an agreement with SCS, Darian Stanford, Paul Conable,
         Steve Olson, Kevin Clock and Elliot Parris to create and establish a new business that
         will generate income, revenue or proceeds from the unlawful sale and distribution
         of a controlled substance, marijuana, on federal, tribal lands, within the territorial
         jurisdiction of the Te-Moak Tribe, located on the Wells Band Colony.

    816. On March 16, 2022 the Plaintiff transmitted and sent an email to Zionsbank and its
         agents containing an audio-video recording that included electronic images and
         audio statements by and between individuals known to the Plaintiff as Joseph
         Holley; Darian Stanford; Scott Sypolt; Sharla Dick and Alfreda Walker, (as recorded
         on April 14, 2021), who stated, discussed and counted the income, revenue or cash
         proceeds that were derived, received or originated from the unlawful sale and
         distribution of a controlled substance, marijuana, at the NCE, with the intent or
         purpose to violate or attempt to violate 21 U.S.C. §841, 26 U.S.C. §7201. 18 U.S.C.
         §1341: 18 U.S.C. §1343; 18 U.S.C. §1344: 18 U.S.C. §1952; 18 U.S.C. §1956; 18 U.S.C.
         §1957; 18 U.S.C. § 1960 and §1962 and the Te-Moak Constitution, Article 4. sections

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          3.12 and 14 and the Plaintiff included an electronic copy of a receipt signed by
          Joseph Holley; Darian Stanford; Scott Sypolt; Sharla Dick and Alfreda Walker, along
          with copies of the Sales Report-Newe Cannabis. Quarterly Update; SCS-EBCE
          Financials: Exhibit II-A(6): Newe Cannabis Procedures: and Check Receipt #89132
          showing, stating or disclosing Zions bank, Brent Waite and Nicole Lewis'
          involvement, association, support and agreement to participate in the plan, scheme
          and agreement between and with SCS; EBCE; TT: Davis Gonzalez; Thalia Marin; Juan
          Arevalo: Larry Yeager; Paul Conable; Chadwick Smith; Skibine; Joseph McDade:
          Aaron Ford; Steve Sisolak; Joseph Holley: Alice Tybo; Scott Sypolt; David Carrera;
          Duane Garcia, Sr; Joseph McDade and Darian Stanford to engage in interstate
          commerce through the sale and distribution of a controlled substance, marijuana, at
          the NCE, where the NCE and the Parties to the agreements, plans or schemes funded
          or paid for activities and conduct intended to deprive and deny of the Plaintiffs
          constitutional rights and privileges under the Te-Moak Constitution. Article 9 and
          the U.S. Constitution. Amend. 5 and 14; Article 1. sec. 10. cl. 5; Article 2. section 2;
          Article 4. sec. 2. cl. 1 and Article 6 and 28 U.S.C. §§1981. 1982. 1983 and 1985. Ref.
          Exhibit II-B(2) and II-B(5).

    817. On March 25, 2022 three (3) teenagers were in an automobile accident on Nevada
         Highway 227 where it was alleged that law enforcement located a package from the
         NCE retail store-Newe Cannabis, (as printed by Dutchie.com), inside the vehicle
         and that the teenagers were under the influence. Ref. Exhibit II-A(9)

    818. On March 28, 2022 Joseph Holley personally appeared at Best Western Inn after
         traveling along Interstate 80 from federal, tribal land in Battle Mountain to Elko,
         Nevada to meet with the NCE, SCS representatives Clock and Spurlock who were
         delivering income, revenue, cash or proceeds from the unlawful sale and
         distribution of a controlled substance, marijuana, by the NCE retail store-Newe
         Cannabis, representing a claimed 5% tax share for the third quarter 2021 gross
         amount ($180,000.00), and that Holley allegedly took custody of a cash amount of
         approximately $27,000.00 pursuant to A2, A4 and A6 agreement, plan or scheme.

    819. On March 29, 2022 Corey Spurlock travelled to Te-Moak Territory and met with EBC
         members Allison and Cota to discuss the A1-A4, A6 and A8 agreements, plans and
         schemes, as the SCS representative and co-owner of Las Vegas Nuwu Cannabis
         operation. At this meeting Corey Spurlock stated that Joseph Holley's 5% tax
         revenue as applied to EBCE one half share for the first quarter 2022 under A6
         remained "in the safe" at Newe Cannabis.


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    820. On March 29, 2022 Corey Spurlock stated that the NCE retail store Newe Cannabis
         financial reports produced by Headset Cannabis Intelligence and Greenbits that TT
         and SCS held or retain in their custody and care, show a total gross revenue amount
         of $10 million dollars for the first three (3) quarters of 2020 and a total gross
         revenue amount of"just over $10 million dollars" for the second year of operations,
         that will end March 30, 2022, equally "about 20 million since we started."

    821. From the $20 million total revenue or income amount generated at the NCE in 2020
         and 2021, according to the terms of the A1-A3 andA6 Agreements, SCS and EBC
         were each entitled to receive an equal one half-share of the revenue, (50%-50%).
         Since April 2020, EBC distributed $399,000.00 to its 399 eligible members in cash,
         ($1,000 each), with additional, minimal amounts for tuition and education supplies
         or equipment, on or about December 13, 2020, and then on or about December 11,
         2021, after receiving 641 applications from Elko Band members, EBC distributed a
         total amount of$766,000.00 from which $125,000.00 was missing by December 30,
         2021 when that process was supervised or performed by Suzanna Sandoval and
         Thalia Marin. The Charter required each tribal member to receive one equal share,
         not each Band member exclusive of all other tribal members. Thus, according to the
         claimed distribution reports by Defendants, the Tribe received about $140,000.00
         and Elko Band members received about $1.3 million, roughly $1.5 million of a $10
         million one-half share, leaving about $8 million unaccounted for by the Defendants.

    822. On March 30, 2022 Kevin Clock personally appeared at EBC Administration Building
         after traveling from Oregon to Te-Moak Territory within the EBC and stated that SCS
         generated "about $16 million from cannabis sales at Newe in the last two years. As
         far as the taxes go at Newe, we pay the staff cash most of the time and report as little
         as possible to keep the overhead down and profits up." The business entity "Elko
         Band Authority'' was referenced for the first time on March 30, 2022 by Kevin Clock
         as separate "from Elko Band Colony Enterprise," (herein "EBA"), who stated that
         Davis Gonzalez, Fermina Stevens, Julie Cavanaugh-Bill and Thalia Marin created the
         unregistered, unlicensed and unincorporated business entity EBA in early 2019 to
         transfer payments routed through IBSC, RAE, EBC, TLC, H & R Block-Delcor; NSB,
         Great Basin and SALAL through Zionsbank-NSB in Vegas and to EBC financial
         institutions to Elko. EBC failed to enact legitimate Resolutions related to EBA.

    823. On or about April 8, 2022 Holley drafted and sent a letter to the BIA-WRO and OJS
         that states Joseph Holley does not recognize the Plaintiff as a Te-Moak Judge.



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   824. On or about April 12, 2022 the BIA-WRO Acting Director Jesse Durham sent written
        communication to BIA-OJS Joel Chino specifically stating that the BJA-WRO will not
        decide or determine whether the Plaintiff is or is not a Te-Moak Tribal Judge,
        reminding BJA-OJS of the earlier investigation and review of Te-Moak records
        related to the Plaintiffs appointment under Te-Moak law.

   825. On April 13, 2022 Paul Conable, Kevin Clock and Elliott Parris personally appeared
        at EBC after traveling from Oregon and delivered to EBC $1,400,000.00 in cash
        proceeds, income or revenue that was derived or originated from the sale and
        distribution of a controlled substance, marijuana, at the NCE retail store Newe
        Cannabis, for the period January 1, 2022 through March 31, 2022.

   826. On or about April 13, 2022 Joseph McDade falsely informed EBC members and staff,
        Rena Premo and Carla Knight, that the United States BIA issued a formal opinion
        stating that the Plaintiff is not Te-Moak tribal judge when this statement is in direct
        conflict with legal authorities and February 91h March 2nd and March 17, 2022
        published decisions from the U.S. DOI, BJA-WRO on this issue.

   827. On April 13, 2022 Alice Tybo, Angelea Mendez, Tanya Reynolds, and others, entered
        the Tribal Office Building at 525 Sunset Street within the Te-Moak Territory and.
        physically removed all of the remaining private and confidential personnel and
        government records, some of which belonged or related to the Plaintiff, then
        instructed sub-contractors to load the files, folder and boxes into vehicles that were
        then driven to an unsecure, private location at: 825/875 Railroad Street, in the City
        of Elko, a location outside of tribal jurisdiction.

   828. For all relevant times related to this action, SCS; EBC; EBCE and SALAL transmitted,
        sent or delivered, or caused the sending, transmission or delivery of, bank records,
        forms and document via the Lucent Technologies POP 100 Gigabyte data switch in
        Salt Lake City, Utah to the Elko Band Tribal Police facsimile machine located at 1550
        Silver Eagle Road; Elko, Nevada 89801. SCS writes payroll checks for NCE
        employees and staff, then requires some of those employees to cash the payroll
        checks at Newe Cannabis, charging a fee and paying those employees cash and/or
        cannabis, issuing an IRS W-2 wage statement under EBC EIN without authorization
        and without including the entire amount paid and retaining the claimed tax amount
        shown on the payroll checks as unreported income or revenue for the NCE.




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   829. Each and every named or identified Defendant herein who adhered or acted
        pursuant to or under the A2 Compact. acted under the color or authority of state
        law, custom or usage on federal Territory, Indian Country, as a state actor.

   830. Samuel L. Biers attended college at Salt Lake Community College in 1992; attended
        Weber State University from 1993-2000, receiving an Associate Degree in Criminal
        Justice, and a Baccalaureate in Criminal Justice-Forensic Science with a minor in
        Political Science/Philosophy. Professors James Gaskill, (WSU Crime Lab), and
        Political Science/Philosophy Department Chairman Rod 0. Julander gave the
        following statements regarding employment recommendations for Samuel L. Biers:
            a. Chairman Julander: "I have known Sam for 2 years and believe that he is the
                kind of person needed in public service. He is pleasant, uncomplicated and
                easy to get along with. With such an easy going personality one expects him
                to approach school in the same way. Nothing is further from the truth. He
                approaches his studies with assertiveness. There is no question that his
                academic and professional goals are the most important thing in his life. . . I
                can vouch for the ethical standards to which he holds himself. He holds the
                public trust very seriously and his personal ethics are similarly important to
                him. His work ethic is equally strong. Finally, I have watched him relate to
                people around him: faculty, students and University staff. He is universally
                liked and respected. He has excellent interpersonal skills. I recommend him
                without reservation."

            b. Professor James Gaskill: "Sam is one of my favorite students. He has been
               taking classes from me since 1995 and has completed the forensic science
               series. Most of these classes are small, lab oriented classes that allow the
               instructor to get acquainted with each of the students. I have enjoyed the
               association with Sam. He has a great deal oflife experience and brings new
               and refreshing ideas and attitudes to the classroom. He is a good student; his
               writing is well done and he is punctual and prompt with assignments. He is a
               natural leader. Students look to him for guidance and he has the ability to
               relate to a great variety of personalities. His easy going style and his quick
               sense of humor make him a fun person to be with. Sam has experience as a
               firefighter, a dispatcher and in the records area that combine to give him a
               well rounded understanding of the criminal justice area. I have found him to
               be trustworthy and dependable in all dealings I have had with him. I would
               not hesitate to recommend him for a position in law enforcement or any field
               of trust in the area of criminal justice."

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   831. Samuel L. Biers began his legal career at Utah Legal Services in Ogden, Utah as a
        Weber State University intern working under the supervision of Martin Blaustein,
        Linda Laws, Michael Bulson and Paul Olds in 1994-95 performing research and
        writing tasks related to the Utah Landlord Tenant Handbook.

   832. Samuel L. Biers first paid employment position in the criminal justice system began
        at the Third Judicial District Court, Park City as a Deputy Court Clerk for Ronald E.
        Nehring, Pat O'Brian and Stephen L. Henriod, under the guidance of Nancy L. Hilton,
        (Clerk of the Court for 22 years), who stated: "Sam Biers has truly been an asset to
        our office team. His leadership ability has greatly improved our office. His
        personality and attitude have been a joy to be around. Sam follows direction well
        and uses his creative an[d] special abilities to get the tasks done."

   833. Plaintiff resided in Utah from 1990 until 2000 and then again from 2007 through
        2010 where he worked as a Utah EMS dispatcher for the Bangerter family; operated
        a pro bono Paralegal business for disadvantaged clients; an Ironworker for Local 2 7
        in Utah; and as Utah's first District Fire Warden (Davis, Morgan and Salt Lake
        County), where the Plaintiff received accolades separately from both the Davis
        County Commission and Morgan County Commission, after serving as the Fire
        Warden in Wasatch County and liaised a Mutual Aid Agreement between the County
        and State since the 1990 Midway fatality fire. Samuel L. Biers provided testimony as
        an expert witness firefighter for the State of Utah in the Fourth Judicial District and
        authored articles on wildland fire while working for the State of Utah.

   834. The death threats against Plaintiff caused extreme anxiety. The joint campaign to
        destroy the personal and professional reputation of the Plaintiff through the
        nationwide publicity of false statements regarding the Plaintiff as funded, published
        and republished pursuant to an agreement, plan or scheme with or by SCS; EBCE;
        Davis Gonzalez; Steve McDade; Marla McDade; Joseph McDade; Scott Sypolt; Tanya
        Reynolds; Darian Stanford; Paul Conable; Steve Olson; Kevin Clock; Elliot Parris;
        Joseph Holley; Alice Tybo; Duane Garcia, Sr; Andrea Woods; Adela Morrison; Robin
        Evans; Leslie Grove; Chadwick Smith; Wendall Hayes and David Carrera resulted in
        daily, persistent emesis; loss of hair, familial association and society; insomnia and
        periods of depression; loss of employment and employability; loss of private
        identity; isolation and a withdrawal and participation in normal life activities
        previously engaged in by the Plaintiff, and the elimination from Plaintiffs
        participation in social media and nearly all social interaction and events, while
        enduring persistent and continuous threats against the Plaintiffs safety and
        employment.

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   835. Plaintiff incorporates Plaintiffs Ex Parte Motion And Memorandum In Support Of
        Emergency Temporary Injunction Or Alternatively The Setting Of Hearing For A
        Preliminary Restraining Order. including each and every allegation, attachment,
        exhibit, declaration and affidavit therein, by reference here, as though fully set forth.

                                  E.      CAUSES OF ACTION
        CLAIM ONE: (RICO) 18 U.S.C. §§1961 and 1962 et seq.- RACKETEERING
     ENTERPRISES, PREDICATE ACTS AND PATTERN AND DRUG DEALER LIABILITY
                 UNDER UTAH CODE ANNOTATED 58-37e-1 et seq.
  836.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including each attachment, citation and exhibit, and paragraphs 874 through 1016,

  infra, without waiving any claim or defense, as though fully set forth here in Section E -

  CLAIM ONE: RICO- RACKETEERING ENTERPRISE, PREDICATE ACTS AND PATTERN.

  836.   On information or belief the Defendants are considered knowing participants in an

  illegal drug market as defined by U.C.A. 58-37e-1 et seq. who, individually and jointly

  violated RICO by the acts described herein and Plaintiff was injured as a result.

  837.   On information or belief each Defendant is a "person" capable of holding legal or

  beneficial interest in property within the meaning of 18 U.S.C. §1961(3).

  838.   The Enterprise. On information or belief, as shown by way and through multiple

  written and verbal agreements, plans and schemes, Defendants, in their official and

  individual capacities, Davis Gonzalez; Juan Arevalo; Thalia Marin; LaDonna Leyva; Larry

  Yeager; Robin Evans; Leslie Grove; Darian Stanford; Paul Conable; Steve Olson; Steve

  Sisolak; Aaron Ford, on behalf of and for Elko Band Council; IBSC; RAE Solutions; SCS; TT;

  entered into an agreement or agreements with Governor Steve Sisolak and Attorney

  General Aaron Ford to create, manage, operate or establish EBCE as a criminal business, a


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   fa~ade, that formed the Newe Cannabis Enterprise, or NCE, for a common criminal purpose,

   to wit: On April 18, 2020 the NCE retail store, Newe Cannabis, engaged in the commercial

   sale and distribution of a controlled substance, marijuana, pursuant to the agreements,

   plans and schemes of the Defendants in conflict with tribal and federal law to generate

   revenue, income, cash or proceeds and to then distribute the NCE assets to the Parties of

   NCE agreements, plans or schemes and either willfully under-report or inaccurately report

   the amount of the revenue, income or cash derived from the NCE to the IRS and financial

   institutions, by way and through the use of false statements in official documents and

   record, thereby allowing distribution of unreported NCE cash to Defendants. See 21 U.S.C.

   §§841(b)(l)(A): 841(b)(l)(B): 841(b)(l)(C) and (D): 843(a)(6) and (7): 854(a): 856: 26

   u.s.c. §7201: 18 u.s.c. §1341; 18 u.s.c. §1343: 18 u.s.c. §1344: 18 u.s.c. §1952; 18 u.s.c.
  §1956; 18 U.S.C. §1957; 18 U.S.C. § 1960 and §1962 et seq: and 31 U.S.C. §§ 5311-5314e:

   5316-5331: 5332e: 12 U.S.C. §§1829b.1951-1959: 31 CPR ChptX and Part 103).

   839.   On information or belief, at the time of or after the creation of the NCE, Wells Fargo

   Bank; SALAL Credit Union; Empyreal Logistics; GardaWorld and Zionsbank agreed to join

  the NCE, and joined the NCE, directly or indirectly, to share or assist in performing any task

   or common purpose of the NCE or execute any agreement, plan or scheme in furtherance of

   the NCE common goal or purpose, as it relates to the continuation of the NCE retail store

   Newe Cannabis or its business operations, in exchange for revenue, income, cash or

   proceeds from the sale and distribution of a controlled substance, marijuana, with the

   intent to violate or attempt to violate federal law. Id.



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   840.   On information or belief, at the time of or after the creation of the NCE, Brent Waite,

   individually and on behalf of Zions bank, agreed to join the NCE, and joined the NCE, to

   share or assist in performing any task or common purpose of the NCE, (with other

   subsidiaries of Zions bank in Washington and California}, and at the direction or approval of

   Zions bank Board ordered and instructed the staff at Zions bank and Zionsbank's wholly

   owned subsidiary, NSB, to give material support and execute any agreement, plan or

   scheme necessary to further the continuation of the NCE or the NCE retail store Newe

   Cannabis business operations in exchange for revenue, income, cash or proceeds from the

   unlawful sale and distribution of a controlled substance, marijuana, with the intent to

   violate or attempt to violate federal law. Id.

   841.   On information or belief, at the time of or after the creation of the NCE Joseph

   McDade, Marla McDade and Bryan Bowker agreed, in their individual capacities, to abuse

   their federal and state government employment and join the NCE, then joined the NCE, to

   share or assist in performing any task or common purpose of the NCE and execute any

   agreement, plan or scheme in furtherance of the NCE or the NCE retail store Newe

   Cannabis business, in exchange for receiving, directly or indirectly, revenue, income, cash

   or proceeds from the sale and distribution of a controlled substance, marijuana, to violate

   or attempt to violate federal criminal law. Id.

  842.    On information orbeliefECDCC; Aaron Ford; John Garrand; Steve Sisolak;

   Catherine Cortez Masto and AUSA Sue Fahami agreed, in their official and individual

   capacities, to join the NCE, and joined the NCE, to share or assist in performing any task or

   common purpose of the NCE and execute any agreement, plan or scheme in furtherance of

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   the NCE, or to continue the NCE retail store Newe Cannabis business operations, in

   exchange for receiving income, revenue, cash or proceeds, directly or indirectly, from the

   unlawful sale and distribution of a controlled substance, marijuana, to violate or attempt

   to violate state and federal criminal law. Id.

   843.   On information or belief, Dentons US LLP, Skibine, Sypolt, Sibbison and Docksey

   agreed to join the NCE, and joined the NCE agreements, plans or schemes to share or

   assist in performing any task or common purpose of the NCE or execute any term of any

   agreement, plan or scheme in furtherance of the NCE or the NCE retail store Newe

   Cannabis business operations, in exchange for receiving, directly or indirectly, revenue,

   income, cash or proceeds from the unlawful sale and distribution of a controlled

   substance, marijuana, and where the NCE converted Dentons, Sypolt, Skibine, Sib bison

   and Docksey into perpetrators of the NCE, who in turn joined with Conable, Olson and

  Stanford, who captured SCS, SCI, CS! and TT through a pattern of racketeering activity,

   and then created or established a judicial sub-enterprise with Chadwick Smith, Tammy

   Carrera and Wendall Hayes to protect and preserve the NCE and the continuing flow of

   cash, revenue or income from the NCE to violate or attempt to violate federal, state and

  tribal law. ld.

  844.    On information or belief, the Party Defendants to any agreement, plan or scheme of

  the NCE or who subsequently joined the NCE by way of or through any agreement, plan or

   scheme, agreed to further the common goal or purpose of the NCE, infiltrated or captured

  the governing body politic of the Te-Moak Tribe, the Te-Moak Tribal Council and a

  majority of its individual members, Joseph Holley; Davis Gonzalez; Alice Tybo; Paula

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   Garcia; David Carrera; Duane Garcia, Sr.; Andrea Woods; Thalia Marin; Juan Arevalo by

   transferring or delivering funds, cash, revenue or income from the NCE as a bribe, gratuity

   or improper gift to influence individual Council members, as a corrupt practice, in

   exchange for political favors and votes, and who in turn laundered the NCE funds by

   commingling the NCE funds with federal funds in the Te-Moak Tribe's financial accounts,

   to convert the governing authority into a prize, instrument or tool of the NCE for its

   common purpose: to violate or attempt to violate tribal, state and federal law. Id; g,g. 15

   U.S.C. §§78dd-1 et seq; 18 U.S.C. §§1163. 2314 and 2315; see also. Te-Moak Constitution.

   Article 4. sections 3. 12 and 14.

   845.   Plaintiff, as the Tribal Administrator and Supreme Court Judge, reasonably and

   justifiably relied on the Defendant's false representations, false pretenses and deceptive

   communications, and the Plaintiff has been damaged as a direct and proximate result of

   the Defendant's participation in such enterprise, as alleged herein.

   846.   Predicate Act: Transportation and Receipt of Stolen Money- 18 U.S.C. §§2314 and

   2315. Defendants committed acts constituting indictable offenses under 18 U.S.C.

   §§1163: 2314. as part of or resulted from a conspiracy, infra, having devised or intended

   to devise a scheme or artifice to defraud the People of the Te-Moak Tribe, or to obtain

   money from the Tribe and the federal government by means of false or fraudulent

   pretenses, representations or promises, and from other Defendant Party members to the

   NCE, shown by Defendant's transported or caused the transportation of money having a

   value of $5,000.00 or more, in interstate commerce, that was stolen, converted or taken

   by fraud. Ref. '1['1[120; 128; 179; 184; 186; 188; 403; 580-84; 633-34; 645; 662-63; 718;

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   727-28; 803; 818-19; 821 and 825. Defendants committed acts constituting indictable

   offenses under 18 U.S.C. §2315 in that Defendants, individually and jointly, received

   money in excess of $5,000.00 that crossed a State or United States Boundary after being

   stolen, unlawfully converted or taken. Id. The Defendant's acts set forth herein were

   done intentionally, willfully and with the knowledge that the money was stolen, converted

   or taken by fraud, with the specific intent to advance the Defendants' agreements, plans,

   scheme or artifice.

  84 7.   As part of any agreement, plan or scheme alleged herein, such as described in

  1[1[140; 149; 258; 292; 395; 419; 588, inter alia, the Defendants facilitated the payment of

  bribes and improper gifts or gratuities to or attempted to bribe tribal and government

  officials to secure favorable business decisions for the benefit of the Defendants and the

  NCE, at the expense of the Plaintiff.

  848.    Predicate Act: Mail Fraud 18 U.S.C. §1341 and Schmuck v. U.S., 489 U.S. 705 (2020).

  The Defendants, jointly and individually, devised agreements, schemes and plans to

  defraud the Te-Moak Tribe, part of or resulted from a conspiracy, infra, by the

  performance of fraudulent acts and use of material misrepresentations of fact or law to

  conceal or alter the source or character of money; amounts of money; tax revenue or

  falsified tax records, information or documents; improper campaign contributions, bribes

  and gratuities; transportation of money over $5,000 across state and federal boundaries;

  false, defamatory and libelous statements.

  849.    The Defendants, jointly and individually, used the United States Postal Service to

  execute or attempt to execute the NCE agreements, plans and schemes to defraud the

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   Tribe and federal government, and Defendants performed specific fraudulent acts

   constituting material misrepresentations of fact or law, using the United States Postal

   Service, such as described in 1[1[144; 174; 187; 368; 390; 394; 399; 469; 607; 621; 682;

   697; 711; 722; 731; 750; 753 and 791.

   850.   Predicate Act: Wire Fraud 18 U.S.C. §1343 and U.S. v. Hanson. 41 F.3d 580, 583

   (10 th Cir. 1994). The Defendant's joint and individual acts or omissions to fraudulently

   obtain. transfer. steal or convert money from the Tribe, the Plaintiff. the court and the

   United States government by trick. deception and material misrepresentation of fact or

   law, pursuant to any A1-A8 agreement, plan or scheme, through the use of the telephone,

   internet, facsimile and email to facilitate, transmit, send and receive records, documents

   and information with the intent to conceal the unlawful character of the NCE money or

   income; the unlawfulness of the NCE itself; the existence of the NCE; use of a tribal EIN to

   hide tax revenue; the use of checks, instruments and IRS forms to falsify tax information

   and reporting; unreported transfers of money to political campaigns; and the legal

   relationships of Party Defendants where an affirmative duty existed to disclose; and

   create a judicial sub-enterprise that misrepresented the judicial office. title and authority

   of the Plaintiff and Defendant Hayes, whereafter Hayes entered false orders and decisions

   to further hide or conceal the agreements, plans and schemes of the NCE. Defendants

   knowingly installed a wire service connected to Lucent Technologies POP 100 Gigabyte

   data switch in Salt Lake City, Utah to conduct the wire fraud alleged herein, such as

   described in 1[1[61; 65; 84; 86; 110-11; 120; 125; 130; 144; 161; 174; 185-7; 204; 206;

   232; 250;261;273-74;327;322;332;342;354;376;377-80;410-11;468;470;472;

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   503;505-06;516;552;562-63;571;577;585;642;646;687;704-05;716;722-26;732-

   33; 735; 751-52; 758; 764; 767; 769-70; 781; 783; 789; 791;793-94 and 828, intera/ia.

   851.   Predicate Act: Financial Institution Fraud 18 U.S.C. §1344: 18 U.S.C. §§1005 and

   1006. Defendants committed acts constituting indictable offenses under 18 U.S.C. §1344

   as part of or resulted from a conspiracy, infra, having knowingly executed or attempted to

   execute any A1-A6 and A8 agreement, plan, scheme or artifice to obtain funds held under

   the custody or control of Zions bank, SALAL Credit Union, Wells Fargo Bank and Nevada

  State Bank such as described in ,r,r49; 61; 63; 115; 117; 120; 123-27; 134; 137-38; 144;

   161; 180;184-88;190;219:233;252;259;271;273-74;282-83;291;301;304;311;

   316; 326-27; 356; 361; 368; 382; 388; 390; 392; 397; 399-01; 403; 407; 410; 463; 469;

  472;483;488;506-07;559;580;601-02;625;633;635;637;641;676;681-82;697;

   702-03;706;712-13;717;731-33;738;740;745;748-54;768;783;801;803;811;816;

   820-25 and 828-29, inter alia.

  852.    Defendant Brent Waite; directing and advising Ashley Dewey and Nicole Lewis, as

   employees, representatives and agents acting on behalf of or at the direction of Zions bank

  and Nevada State Bank officers acted with the intent to deceive or defraud the Tribe, and

   its body politic TMC, EBC, the Plaintiff and the Te-Moak Supreme Court by concealing the

  true nature of the transactions and funds received and accepted by Zionsbank/NSB from

  the NCE, and Defendants. Defendants Brent Waite acted on behalf of or at the direction of

  Zions bank and Nevada State Bank officers and made or directed Dewey and Lewis to

  make false entries in books, reports and statements to conceal and prevent the disclosure

   of Defendants agreements, plans or schemes, and knowingly accepted funds transferred

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   from SALAL, Wells Fargo and Defendants consisting of income from the NCE with the

   intent to defraud the Tribe and the United States. Defendants Waite, Zions bank and NSB

   received money, profit or benefits through a series of fraudulent transactions involving

   not just the NCE, aiding the NCE in preparing, mailing and submitting financial documents

   and records containing known falsehoods. Zionsbank, Waite and NSB also engaged in the

   same practice involving similar criminal organizations throughout the Western United

   States and Zions bank subsidiaries.

   853.   Defendant SALAL employees, officers and agents Russell Rosenthal, Robert

   Schweigert, Randy Cloes and Troy Skott Pope directed, advised and instructed SALAL-SCU

   Holdings to commit acts constituting indictable offenses under 18 U.S.C. §§1343-44 and

   §1006. for the period of 2020 through the date of this action, with the intent to deceive

   the Tribe, and its body politic TMC and EBC, or their members, by misrepresenting facts

   and law asserting that the transportation of money, transfer of money by ACH or

   instrument from the unlawful sale of a controlled substance on a Territory of the United

   States, outside the State of Washington, constitutes a lawful act under federal and state

   law so long as a body politic or its members complete an application and provide copies of

   AZ and complete necessary A4 filings. SALAL employees, agents and representatives

   entered statements or entries into SALAL records and books authorizing and falsely

   claiming that the ECBE deposits and transfers originated from a legitimate and lawful

   tribal business pursuant to agreements with TT, SCS, and their attorneys, to fraudulently

   generate profits and additional income received by SALAL that otherwise belong to the

   Tribe or the United States. SALAL employees, agents and officers falsely entered or

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   advised others to enter false tax, financial and business information onto statements,

   records and documents to knowingly conceal the source and character of the funds

   accepted by SALAL, as received from Defendants, commingling those funds between

   multiple accounts at SALAL and ECBE, TT and SCS' accounts at Zions bank, and its

   subsidiaries, and then mailing by USPS and via the internet statements, entries, payments,

   reports and records to Defendants.

   854.   Defendants, jointly and individually, who subsequently joined the NCE by way of or

   through any agreement, plan or scheme, committed indictable offenses under 18 U.S.C.

   §§1163. 1341. 43-44 and §§1005-06. inter alia, when they each agreed to falsify and who

   falsified financial records and documents, claiming or stating therein that the source of

   funds, revenue, income or proceeds that originated from the NCE, directly or indirectly,

   originated from EBCE as a lawful tribal business, hidden through a series of ongoing

   financial transactions with H & R Block-Delcor; Zionsbank; NSB; Wells Fargo Bank; IBSC;

   Avan tax; TMHA; Edward Jones & Associates, and other entities and individuals, into and

   from SALAL, (operated as both a victim and perpetrator-prize association), where the

   SALAL board members conducted and ran the business affairs ofSALAL-SCU Holdings

   through a pattern of racketeering activity that included mixing the NCE funds and

   revenue with fraudulently obtained and legitimately obtained federal funds, then

   combined with the unlawful proceeds from marijuana businesses in California, Oregon,

   Nevada and Washington assisted, ratified or endorsed by and through Zionsbank, or its

   subsidiaries.



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   855.   Predicate Act: Money Laundering 18 U.S.C. §1956 Including Unlawful Money

   Transactions and Travel Act violations. Each Defendant committed acts constituting

   indictable offenses under 18 U.S.C. §§1952. 1956 and 1957 such as described in 1[1[134;

   144; 180;187-88;190;209;235;290;356;361;399-400;409-10;422;464;467;637;

   706; 745; 801 and 802, inter alia, or were part of or resulted from a conspiracy, infra,

   having devised or intended to devise a scheme or artifice by A1-A6 and AS knowing the

  property involved in the financial transactions identified herein constituted the proceeds

  and income from the unlawful sale of a controlled substance at the NCE retail store Newe

   Cannabis and fraudulently obtained federal funds, and engaged or committed acts with

  the intent to continue or carry on the NCE unlawful activity, including tax fraud, and

  knowing that the transactions with and between Defendants and SALAL; H & R Block-

  Delcor; Zionsbank; NSB; Wells Fargo Bank; EBCE; RAE Solutions; IBSC; Avantax; TMHA;

  Edward Jones & Associates were designed, in whole or in part, to conceal, hide or disguise

  money transactions derived from the NCE sales of a controlled substance having a value

  greater than $10,000.00, and Defendants traveled interstate, used the mail and the

  internet or wire service to distribute the proceeds from the NCE, promoted, managed and

  carried on the unlawful NCE activities from 2019 to the present.

  856.    Predicate Act: Obstruction and Obstruction of Criminal Investigation 18 U.S.C.

  §§1503 and 1510. Such as described in 1[1[64; 88;108; 115; 133; 140; 149; 191; 242; 249-

  52; 255; 257-58; 267; 272; 292; 325; 334-36; 339; 347; 349; 351; 353; 359; 367; 373;

  376;395;419;513;553-58;560;564;567-69;588;615;660;672;694;696;704-06;

  769; 784; 789; 835, inter alia, and as applicable here, Defendants committed acts,

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   conspired to commit acts or attempted to commit acts constituting indictable offenses

   under 18 U.S.C. §§1163, 1503 and 1510. part of or resulted from a conspiracy, infra, with

   the intent to injure or influence witnesses and parties in cases filed in the United States

   BIA-CIO and BIA-CIA that included the filing of false and fraudulent letters, documents,

   records, affidavits or declarations by Defendant attorneys, and others, to cause injury to

   the Tribe, the Plaintiff and others, using corrupt practices and endeavors, with the intent

  to obstruct or impede the administration of justice. Individual Defendants knew or

   should have known that the Plaintiff reported criminal acts to federal investigators, and

   as described herein, individual Defendants committed acts, conspired to commit acts or

   attempted to commit acts constituting bribery, obstruction, interference, delay or prevent

   OIG, FBI, ATF and BIA criminal investigations related to the NCE and fraud involving

  federal funding.

  857.    Predicate Act: Witness. Victim or Informant Tampering 18 U.S.C. §1512 and

   Retaliation Against Witness. Victim or Informant 18 U.S.C. §1513. Such as described in

  ~~117;134;140;149;211;249-52;255;257-58;267;272;292;311;329;333;340;342;

  358;419;472;485;488-89;504-05;511;519;556;553-54;558;560;564;567-69;588;

   607-08; 610-11; 613-14; 617; 654; 672-73; 711; 769; 789; 835, interalia, Defendants,

  jointly and individually, conspired to commit, agreed to commit or committed acts

  constituting indictable offenses, as part of or resulted from a conspiracy, infra, under 18

  U.S.C. §§1163. 1512 and §1513 by knowingly threaten the life and person of the Plaintiff,

  by knowingly intimidate, threaten and corruptly persuade others to threaten and

  intimidate those in opposition to the NCE and its members, with the intent to influence

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  obstruct or prevent testimony in court proceedings related to the NCE by altering,

  concealing or destroying evidence, or with the intent to hinder or prevent the Plaintiffs

  communication with federal law enforcement; and Defendants, jointly and individually,

  committed acts constituting indictable offenses under 18 U.S.C. §1513 by knowingly or

  intentionally interfering with the Plaintiffs lawful employment or livelihood, rising to the

  level ofretaliation that caused actual harm to the Plaintiff because the Plaintiff reported

  criminal conduct to federal law enforcement agencies and officers.

  858.   On information or belief, the Defendants to any agreement, plan or scheme of the

  NCE, (or who subsequently joined the NCE by way of or through any agreement, plan or

  scheme of the NCE), authorized, directed and approved the acts, conduct and omissions of

  Chadwick Smith; Wendall Hayes, Tammy Carrera and Angelea Mendez in furtherance of

  the NCE, as tools or instruments of the NCE, used to create, manage and direct a judicial

  sub-enterprise and who committed predicate acts, with other NCE Parties, sufficient to

  become a continuing pattern of racketeering activity to violate or attempt to violate tribal,

  state and federal law. See 21 U.S.C. §§841(b)(l)(A): 841(!:!)(l)(B): 841(!:!)(l)(C) and (D):

  843(a)(6) and (7): 854(a): 856: 26 U.S.C. §7201; 18 U.S.C. §§1163. 1341. 1343. 1344: 18

  U.S.C. §1952. 1956. 1957: 18 U.S.C. § 1960 and §1962 et seq: and 31 U.S.C. §§ 5311-5314e:

  5316-5331: 5332e: 12 U.S.C. §§1829b. 1951-1959: 31 CFR ChptX and Part 103).

  859.   On information or belief, the Defendant Parties to any agreement, plan or scheme

  of the NCE authorized and directed the acts and conduct of Adela Morrison, in furtherance

  of the NCE, as perpetrators, converting the TMHA into a prize and tool for the NCE to

  unlawfully invest or transfer cash, income or proceeds obtained directly or indirectly

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  from the fraudulent misappropriation, embezzlement or theft of federal funds, with

  legitimately obtained federal funds and funds, cash or income derived from or originated,

  directly or indirectly, from the NCE and unlawfully transferred, deposited or invested in

  foreign and domestic financial institutions and accounts. Id.

  860.   On information or belief, TT; SCS and CS! were operated, managed or directed by

  Paul Conable; Steve Olson; Darian Stanford; Kevin Clock and Elliot Parris within Tribal

  Territories of the United States in California, Oregon, Washington and Nevada as one

  single apparatus, extension or entity of the NCE, often under the color and authority of

  state law where the NCE practices included corruptly fixing tribal civil and criminal cases,

  organizing and operating tribal courts and criminal justice systems in such a manner to:

  1) avoid and bar prosecution or arrest of the enterprise members, and 2) arbitrarily

  arresting and prosecuting those in opposition to the enterprises, and to 3) prevent

  reporting or disclosure of the unlawful aspects of the enterprises, by incorporating

  corrupt payments to judges, legislators, lawyers and law enforcement officers by way of

  and with unreported financial incentives, gifts and payments from the NCE and other

  enterprises operated, controlled or managed by TT, SCS or its attorneys pursuant to a

  common purpose: to violate or attempt to violate state and federal law. Id; g.g. 15 U.S.C.

  §§78dd-1 et seq.

  861.   On information or belief Davis Gonzalez; Thalia Marin; Suzanna Sandoval; Juan

  Arevalo; LaDonna Leyva; and Larry Yeager ran, directed, managed, conducted and

  operated Elko Band Council and its subordinate boards, committees and organizations, in

  alternating forms, as perpetrator, victim, prize and instrument sub-enterprises of the

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  NCE, conducting the business of the body politic with a pattern of racketeering activity

  that included the misappropriation of federal funds mixed with NCE income and

  legitimately obtained federal and state funding. ld; see also. 18 U.S.C. §1163.

  862.   On information or belief Alice Tybo; Duane Garcia, Sr.; Tanya Reynolds, (with the

  assistance of Bowker, Joseph McDade), managed, operated and conducted the South Fork

  Band Council and its boards, committees and charter organizations, in alternating forms,

  as a perpetrator, victim, prize and instrument sub-enterprises of the NCE, conducting

  business as a body politic of the NCE through a series or pattern ofracketeering activity

  that included the misappropriation of federal funds mixed with NCE income and

  legitimately obtained federal and state funding, then transferred and consumed by these

  Defendant's for their personal use or gain through Zions bank and other financial

  institutions, including entities such as WSDRV. Id.

  863.   On information or belief Joseph Holley; David Carrera; Davis Gonzalez; Duane

  Garcia, Sr; Alice Tybo; Juan Arevalo; Paula Garcia; Andrea Woods; Larry Yeager, with

  others acting on their behalf, managed, operated and conducted the Te-Moak Tribal

  Council and its subordinate boards, committees and organizations, in alternating forms,

  as a perpetrator, victim, prize and instrument sub-enterprises of the NCE, conducting

  business as a body politic of the NCE through a series or pattern ofracketeering activity,

  including the delivery and receipt of payments from NCE income, as well as approving

  and authorizing the Band Councils, (and their members, subsidiaries, boards, attorneys,

  employees and representatives, including, but not limited to Den tons, Sypolt, Skibine,

  Chadwick Smith and Heather Sibbison; Robin Evans; SCS; Hinton-Burdick; Eide Bailly; WJC;

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  TMHA; Andrea Mendez; Wendall Hayes; Adela Morrison; Tanya Reynolds and WSDRV), to

  commit predicate acts sufficient to constitute a pattern of racketeering activity as

  associations-in-fact to violate or attempt to violate tribal, state and federal law. Id.

  864.   On information or belief, beginning in 2019 through the time of the filing of this

  Complaint, (2022), Defendants Davis Gonzalez; Juan Arevalo; Thalia Marin; LaDonna

  Leyva; Robin Evans; Leslie Grove; Darian Stanford; Paul Conable; Steve Olson; Steve

  Sisolak; Brent Waite; Zionsbank; SALAL; Joseph Holley; David Carrera; Alice Tybo; Duane

  Garcia, Sr; Andrea Woods; Larry Yeager; Tanya Reynolds; Nicole Lewis; Aaron Ford; Adela

  Morrison; SCS and TT, directly and indirectly, participated in a pattern of racketeering

  activity as an enterprise to violate or attempt to violate federal laws identified and

  described in paragraphs 1-835 to include: Extortion, Bribery (18 U.S.C. §666); Dealing in

  Controlled Substances; Mail Fraud (18 U.S.C. §1341 and Schmuck v. U.S .. 489 U.S. 705,

  721(2020)); 18 U.S.C. §1163: Wire Fraud(18 U.S.C. §1343 and U.S. v. Hanson. 41 F.3d 580,

  583 (10 th Cir. 1994)); Financial Institution Fraud(18 U.S.C. §§1005. 1006 and 1344);

  Obstruction ofJustice(18 U.S.C. §1503 and Roberts v. U.S., 239 F.2d 467 (9 th Cir.1956),

  Catrino v. U.S., 176 F.2d 884, 887(9th Cir. 1949) and Nye v. U.S., 137 F.2d 73(4th Cir.

  1943)); Obstruction of Criminal Investigation(18 U.S.C. §1510); Witness, Victim or

  Informant Tampering(18 U.S.C. §1512); Retaliation Against Witness, Victim or

  Informant(18 U.S.C. §1513 and 5 U.S.C. §2302(2)(Whistleblower Protection) and 41 U.S.C.

  §4714(c)): Money Laundering(18 U.S.C. §1956); Travel Act(18 U.S.C. §1952); Engaging in

  Monetary Transactions Derived from Unlawful Activity(18 U.S.C. §1957) and Attempt to

  Evade or Defeat Tax (26 U.S.C. §§7201. 7206 and 7207).

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  865.   On information or belief, beginning in 2019 through the time of the filing of this

  Complaint, (2022), Defendants Davis Gonzalez; Juan Arevalo; Thalia Marin; LaDonna

  Leyva; Robin Evans; Leslie Grove; Chadwick Smith; Wendall Hayes; Sypolt; Darian

  Stanford; Paul Conable; Steve Olson; Steve Sisolak; Brent Waite; Zionsbank; SALAL;

  Joseph Holley; David Carrera; Alice Tybo; Duane Garcia, Sr; Andrea Woods; Larry Yeager;

  Tanya Reynolds; Nicole Lewis; Aaron Ford; Adela Morrison; Elko Band Council; SCS; TT,

  and others acting on their behalf, received income, cash or proceeds directly or indirectly

  from racketeering activity or through the collection of any unlawful debt involving the

  NCE, where Defendants, individually and jointly, in their individual or official capacities,

  1) invested income, revenue or proceeds from the NCE; 2) acquired or maintained an

  interest in the NCE; 3) participated in the activities of the NCE; or 4) were employed by or

  associated with the conduct and activities of the NCE and the NCE's affairs as described in

  paragraphs 1-835, supra, including the transfer, delivery, transportation or depositing of

  funds, revenue, income or proceeds into cryptocurrency, and into the personal assets and

  accounts of children, spouses and business entities, real and fictitious, to prevent

  disclosure or discovery to violate or attempt to violate federal, state or tribal law.

  866.   On information or belief, the Plaintiff pleads in the alternative, that the Defendants

  TT; SCS; Steve Sisolak; Aaron Ford; Davis Gonzalez; Darian Stanford; Paul Conable; Steve

  Olson; Kevin Clock; Elliot Parris, and those acting on their behalf, conspired, individually

  and jointly, to form and create partnerships, associations, corporations or other business

  entities as an enterprise, and enterprises, and to participate in, be employed by or to



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  obtain or receive income derived from a pattern of racketeering activity, related to the

  enterprises, in violation of 18 U.S.C. §1962(d).

  867.   This conspiracy commenced on or about January 2019 and is ongoing, and the

  conspiracy's purpose was to divert money from the Tribe, EBCE and EBC to Defendants

  own benefit and to facilitate the payment of bribes, improper gifts and gratuities to

  elected and appointed government officials in furtherance of the conspiracy and

  enterprises.

  868.   Each Defendant to this conspiracy committed at least one act in furtherance of

  such conspiracy, including, but not limited to, misleading the Plaintiff and the Tribe the

  legality of the NCE selling and distributing a controlled substance, traveling in interstate

  and foreign commerce to manage the scheme to defraud the Plaintiff and the Tribe, and

  facilitating payment of bribes, improper gifts and gratuities, all as described herein, supra.

  869.   Even if some Defendants failed to specifically agree to harm the Plaintiff, the

  purpose of the acts and conduct they engaged in causing injury was to advance the overall

  object of the conspiracy, and the harm to Plaintiff was a reasonably foreseeable

  consequence of each act or omission by each Defendant in furtherance of the conspiracy.

  870.   On information or belief the Plaintiff, the Plaintiffs trade, profession, business

  interests and property suffered harm and injury as the direct and proximate result of the

  Defendant's violations of state, tribal and federal law; conduct associated with or related

  to the NCE, and from any associated or related pattern of racketeering activity by the NCE

  and its associations in fact, spanning the periods December 2019 through the present.



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  871.    Continuity of Conduct. Defendant's violations of state and federal law, as set forth

  herein, each of which directly and indirectly injured the Plaintiff and other market

  participants, constituted and constitutes a continuous course of conduct spanning a

  period from approximately 1993 to present, which is intended to obtain money through

  false representations, fraud, deceit and other improper and unlawful means. Thus, the

  violations, facts, events and circumstances described herein were and are a part of a

  pattern ofracketeering activity under 18 U.S.C. §§1163 and 1961(1) and (5).

  872.    On information or belief Defendants have conducted and/or participated, directly

  and indirectly, in the conduct of the affairs of the alleged enterprises through a pattern of

  racketeering activity as defined herein in violation of 18 U.S.C. §§1163 and 1962(c).

  873.    The unlawful actions and/or conduct of the Defendants, jointly and individually,

  have directly, unlawfully, and proximately caused and continue to cause injury to the

  Plaintiff and the Plaintiffs business or trade. Plaintiff seeks an award of compensation,

  among other things, plus treble damages, and recovery of all reasonable fees and costs.

          CLAIM TWO:           DEFAMATION, LIBEL AND SLANDER (U.S. Constitution·
          Privacy Right)

  87 4.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 881

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION CLAIM TWO.

  875.    On information or belief the publication and republication of public statements,

  writings and utterances by Steve McDade that the Plaintiff is a "felon," "ex-felon,"


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  "convicted felon," "criminal," "drug dealer," and "white supremacist," or similar words and

  statements regarding the Plaintiff are false, libelous and defamatory per se.

  87 6.   On information or belief the publication and republication of public statements,

  writings and utterances by Steve McDade that the Plaintiff was "fired," "removed,"

  "recalled," or "terminated" as a magistrate judge in North Carolina; that the Plaintiff

  engaged in the unlawful practice oflaw; and that the Plaintiff committed 'perjury' were

  false, libelous and defamatory per se. Steve McDade published, uttered and republished

  these statements and writing to obtain a criminal indictment against the Plaintiff, to obtain

  the exclusion of the Plaintiff from Te-Moak Territory and to cause interference with or the

  termination of the Plaintiffs employment with the Te-Moak Tribe.

  877.    On information or belief Steve McDade published and republished false and

  defamatory statements, writings and utterances regarding the Plaintiff repeatedly

  throughout the nation using streams of interstate commerce when the Plaintiff was a

  private party, a limited public official and a public official.

  878.    On information or belief Steve McDade published and republished false and

  defamatory statements and utterances that the Plaintiff was a convicted criminal and

  engaged in criminal behavior to expose the Plaintiff to public hatred, contempt, ridicule or

  obloquy to deprive the Plaintiff of public confidence or injure the Plaintiff in his occupation

  and reputation, and caused the Plaintiff to be exposed to public hatred, contempt, ridicule

  or obloquy, including threats of death, depriving the Plaintiff of public confidence and

  injured the Plaintiff in his occupation, profession and reputation.



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  879.    On information or belief Steve McDade published and republished false and

  defamatory statements, writing and utterances with actual malice, based partly on the

  Plaintiffs race, color, ethnicity or nationality. See Hogan v. Winder. et al.. 762 F.3d 1096,

  1105-10 (10 th Cir. 2014)(publication and republication ofstatements that constitute

  defamation and defamation by implication); Petersen v. Grisham. 594 F. 3d 723, 729-

  31(10th Cir. 2010)(publication offalse claims that an official "engaged in criminal" conduct

  are considered actionable per se with actual malice, and civil conspiracy allowed if alleged to

  include an agreement with an "unlawful act, or to do a lawful act by unlawful means"); g,g.

  Milkovich v. Lorain Journal Co., 497 U.S.1, 20(1990)(publication ofstatements that an

  official committed perjury in a newspaper is actionable); see also. U.S. v. Wells. 519 U.S. 482,

  505-507(1997)(Stevens,j. dissenting, false statements to courts and law enforcement lack

  1st Amendment protection); Gertz v. Robert Welch. Inc., 418 U.S. 323, 331-40(1974)

  (intentionally false statements and those containing negligent error).

  880.    On information or belief Steven McDade received actual, written notice from the

   BIA-CFR CIO Magistrate Harlan that the Plaintiff lacked any criminal record, Plaintiff was

  "not disbarred from any jurisdiction," and that no evidence existed proving McDade's false

   claims that the Plaintiff was '"forced to resign from a Magistrate position in North Carolina

  for allegedly falsifying employment documents by giving a wrong birth date,"' and

   Defendant Steve McDade continued to further defame, libel and slander the Plaintiff after

   receiving said notice. Ref. IN RE INQUIRY INTO THE TRIBAL COURT ADVOCACY OF

  SAMUEL L. BIERS. Case No. A0-02-WR-19(Court of Indian Offenses of the Western

   Region)(October 2, 2019).

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          CLAIM THREE:              DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
          Privacy Right)

  881.    The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM THREE.

  882.    On information or belief the publication and republication of public statements,

  writings and utterances by Marla McDade that the Plaintiff is a "felon," "ex-felon,"

  "convicted felon," "criminal," or similar words and statements regarding the Plaintiff were

  false, slanderous, libelous and defamatory per se.

  883.    On information or belief the publication and republication of public statements,

  writings and utterances by Marla McDade that the Plaintiff was "fired" "removed"

  "recalled" or "terminated" as a magistrate judge in North Carolina to obtain a criminal

  indictment against the Plaintiff were false and defamatory per se, and that Marla McDade

  published and republished these statements repeatedly throughout the nation using

  streams of interstate commerce when the Plaintiff was a private party, a limited public

  official and a public official.

  884.    On information or belief Marla McDade published and republished false and

  defamatory statements regarding the Plaintiff, under color or authority of state law, in her

  individual and official capacity, that included statements that the Plaintiff was a convicted

  criminal and the Plaintiff engaged in criminal behavior, to expose the Plaintiff to public

  hatred, contempt, ridicule or obloquy to deprive the Plaintiff of public confidence or injure


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  the Plaintiff in his occupation and reputation, and caused the Plaintiff to be exposed to

  public hatred, contempt, ridicule or obloquy, including threats of death, depriving the

  Plaintiff of public confidence and injured the Plaintiff in his occupation, trade, profession

  and reputation.

  885.    On information or belief Marla McDade published and republished, and conspired to

   publish and republish, false and defamatory statements regarding the Plaintiff with actual

  malice, based partly on the Plaintiffs race, color, ethnicity or nationality. See Hogan v.

  Winder. eta!.. 762 F.3d 1096, 1105-10 (10 th Cir. 2014); Petersen v. Grisham. 594 F. 3d 723,

   729-31(10 th Cir. 2010); also. 42 U.S.C. §§1981-83 and 1988; g,g. 42 U.S.C. §2000e-2.

          CLAIM FOUR:           DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
          Privacy Right)

   886.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM FOUR.

   887.   On information or belief the publication and republication of an article in the Salt

   Lake Tribune repeatedly for 10 days, by Alice Tybo, in her individual capacity, that the

   Plaintiff failed a background investigation, lacked good moral character and qualifications

   as the Te-Moak Supreme Court Judge, and that the Plaintiff lacks all authority and

   affiliations as said judge were false, libelous and defamatory per se.

   888.   On information or belief the publication and republication of public statements,

   writings and utterances by or from Alice Tybo, in her individual capacity, that the Plaintiff


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   is a "felon," "ex-felon," "convicted felon," "criminal," "drug dealer" or similar words and

   statements, regarding the Plaintiff, including false public statements that the Plaintiff was

   convicted of a felony in "Minnesota," were false and defamatory per se.

  889.    On information or belief the publication and republication of public statements,

  writings and utterances by Alice Tybo, in her individual capacity, that the Plaintiff was

   "fired," "removed," "recalled," or "terminated" as a magistrate judge in North Carolina; that

   the Plaintiff falsely claimed to be a district attorney or federal prosecutor in Utah; that the

   Plaintiff failed a federal law enforcement or similar type of background investigation; that

   the Plaintiff is not a judge or affiliated with the Te-Moak Tribe; and that the Plaintiff falsely

   'impersonated a judge' to obtain a criminal indictment or arrest of the Plaintiff were false

   and defamatory per se.

   890.   On information or belief Alice Tybo repeatedly published and republished false and

   defamatory statements, writings and utterances regarding the Plaintiff when the Plaintiff

   was a private party, a limited public official and a public official.

   891.   On information or belief Alice Tybo, in her individual and official capacity, published

   and republished these statements repeatedly throughout the nation using streams of

   interstate commerce falsely stating that the Plaintiff was a convicted criminal, and that the

   Plaintiff engaged in criminal behavior, to expose the Plaintiff to public hatred, contempt,

   ridicule or obloquy to deprive the Plaintiff of public confidence or injure the Plaintiff in his

   occupation and reputation, and caused the Plaintiff to be exposed to public hatred,

   contempt, ridicule or obloquy, depriving the Plaintiff of public confidence and injured the

   Plaintiff in his occupation, trade, profession and reputation.

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  892.    On information or belief Alice Tybo published and republished false and defamatory

  statements regarding the Plaintiff with actual malice, based partly on the Plaintiffs race,

   color, ethnicity or nationality. See Hogan. 762 F.3d at 1105-10; Grisham. 594 F. 3d at 729-

   31. Milkovich. 497 U.S. at 20; Wells. 519 U.S. at 505-507; Gertz. 418 U.S. at 331-40.

  893.    On information or belief Defendant Alice Tybo acted in her capacity as an employer

  and/or supervisor within the meaning to Title VII, through the Te-Moak Tribe as a

  recipient of state and federal funds, and who published and republished false and

  defamatory statements regarding the Plaintiff with the intent to discriminate against the

  Plaintiff because of the Plaintiffs race, color, culture, ethnicity or national origin and

  created a hostile work environment with conduct so severe that it altered the terms and

  conditions of the Plaintiffs employment. See 42 U.S.C. §§1981-83 and 1988; .e.g. 42 U.S.C.

  §2000e et seq: .e.g. Vance v. Ball State Univ., 570 U.S. 421, 427-40(2013).

          CLAIM FIVE:           DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
          Privacy Right)

  894.    The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM FIVE.

  895.    On information or belief the publication and republication of public statements,

  writings and utterances by, from or as approved by Dentons, Skibine, Chadwick Smith,

  Docksey, Hayes and Scott Sypolt, (between the period of September 2020 and August

  2021), that the Plaintiff is a "felon," "ex-felon," "convicted felon," "criminal," "drug dealer"


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  or similar words and statements repeatedly throughout the nation using streams of

  interstate commerce regarding the Plaintiff were false and defamatory per se.

  896.   On information or belief the publication and republication of public statements,

  writings and utterances by, from or as approved by Dentons, Skibine, Docksey and Scott

  Sypolt, (between the period of September 2020 and August 2021), including, but not

  limited to, the drafting and advice to publish the false statements to NV DETR using wire

  services that the Plaintiff was "fired," "removed," "recalled," or "terminated" as a magistrate

  judge in North Carolina; thatthe Plaintiff falsely during the December 2019 employment

  interview the Plaintiff claimed to be a federal prosecutor in Utah; that the Plaintiff failed a

  federal law enforcement or similar type of background investigation; that the Plaintiff is

  untrustworthy; that the Plaintiff is not a judge or affiliated with the Te-Moak Tribe; that the

  Plaintiff falsely claimed to be a licensed attorney in Utah; that the Plaintiff falsified his 'birth

  date' on employment forms; and that the Plaintiff falsely 'impersonated a judge,' used by

  these Defendants to recommend a criminal referral to prosecute the Plaintiff or to obtain

  an arrest or criminal indictment against the Plaintiff, were false and defamatory per se.

  897.   On information or belief Dentons and Sypolt published and republished false and

  defamatory statements, writings and utterances regarding the Plaintiff, repeatedly, when

  the Plaintiff was a private party, a limited public official and a public official with the

  approval and agreement of Sib bison, Skibine and Docksey.

  898.   On information or belief Sypolt and Chadwick Smith published and republished false

  and defamatory statements, writings and utterances that the Plaintiff was a convicted



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  criminal and who engaged in criminal behavior when Sypolt, Hayes and Smith were

  considered employees, agents and representatives of Dentons.

  899.   On information or belief the publication and republication of false and defamatory

  statements regarding the Plaintiff by Sypolt, Hayes, Smith and Dentons exposed the

  Plaintiff to public hatred, contempt, ridicule or obloquy, including death threats, with the

  intent to deprive the Plaintiff of public confidence or injure the Plaintiff in his occupation

  and were published with actual malice, partly based on the Plaintiffs race, color, ethnicity

  or nationality after the Plaintiff reported Sypolt and Dentons of criminal and unethical

  conduct. See Hogan. 762 F.3d at 1105-10; Grisham. 594 F. 3d at, 729-31; see also. Dunlop v.

  Carriage Carpet Co., 548 F.2d 139,147 (6'h Cir. 1977)(§215 prohibits retaliation and black-

  listing a former employee who filed a complaint related to the Act); Jtg. 29 U.S.C. §201 et seq.

  ("Fair Labor Standards Act").

  900.   On information or belief Defendants Dentons, Sypolt, Docksey and Skibine,

  individually and jointly, asserted false supervisory authority over the Plaintiff to take,

  advise or direct tangible, adverse employment actions against the Plaintiff, within the

  meaning to Title VII, and Defendants intended to discriminate against the Plaintiff because

  of the Plaintiffs race, color, culture, ethnicity or national origin and Defendants created a

  hostile work environment with conduct so severe that it altered the terms and conditions

  of the Plaintiffs employment. Id; see 42 U.S.C. §§1981-83 and 1988; Jtg. 42 U.S.C. §2000e et

  gm; Jtg. Vance v. Ball State Univ., 570 U.S. 421, 427-40(2013).

  901.   Defendants Sypolt, Smith and Skibine are directly liable to the Plaintiff because

  Defendants were negligent in remedying the discriminatory conduct where Smith, Sypolt

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  and Skibine provided legal advice to the Plaintiffs employer to take adverse, tangible

  employment action against the Plaintiff on the basis of race, color, culture, ethnicity or

  national origin, and to retaliate against the Plaintiff, resulting in the termination of the

  Plaintiff as the Tribal Administrator and loss of rights as a Judge. ill; _g,g. McGinest v. GTE

  Serv. Corp .• 360 F.3d 1103, 1119-21 (9 th Cir. 2004).

  902.   On information or belief Defendant Dentons is liable to the Plaintiff under the theory

  of respondeat superior for the willful, malicious acts, conduct and omissions of Skibine,

  Docksey, Sypolt, Smith and Sib bison, as employees of Dentons acting within the course and

  scope of their employment against the Plaintiff that Dentons ratified as the acts of Dentons

  by failing to discharge Skibine, Sypolt, Docksey, Smith or Sib bison after Plaintiff provided

  direct notice on or about April 2, 2021, or as a result of Dentons authorizing the retaliatory

  plan against the Plaintiff after the Plaintiff reported criminal conduct by Dentons to federal

  law enforcement.

  903.   Alternatively, Defendants Skibine, Sypolt, Hayes and Smith are vicariously liable for

  the additional malicious, willful, negligent and wrongful acts committed against the

  Plaintiff and intended to inflict injury on the Plaintiff out of personal malice unconnected

  with their employment by Dentons US LLP. The losses and injury to the Plaintiff in this

  regard were not reasonably foreseeable result from the conduct of Dentons employment or

  business.

  904.   Defendants Dentons, Skibine, Docksey, Hayes, Smith and/or Sibbison committed,

  advised or directed others to commit unlawful discriminatory conduct against the Plaintiff

  because the Defendants received actual notice the Plaintiff reported alleged criminal

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  conduct by Dentons employees to federal law enforcement agents, and Defendant Dentons,

  as the employer, maintained a written contract term that prohibits "corruption" or

  violations of the law, (where all partners in a law firm are presumed to know the actions and

  work-product of the other partners), and Defendant Dentons failed to exercise reasonable

  care to prevent the unlawful discriminatory conduct or the adverse employment decisions

  based on the legal advice given by Dentons' attorneys and partners. 1d; see Hogan. 762

  F.3d at 1105-10; Grisham. 594 F. 3d at 729-31.

  905.   Plaintiff was discharged and terminated from employment with the Te-Moak Tribe

  as the Tribal Administrator, and suffered a complete loss of benefits, compensation and

  wages, including Social Security benefits. The Plaintiff seeks an award of retroactive pay,

  front pay, and retirement benefits, adjusted for cost ofliving and inflation, with pre and

  post judgment interest to compensate for the lost wages, benefits and compensation up to

  the age of 70, and also mental and emotional distress as a result of the discriminatory and

  retaliatory conduct See 42 U.S.C. §2000e-5(g); Selgas v. Am. Airlines. Inc .• 104 F.3d 9, 12-

  13(1 st Cir. 1997); see also. Dunlop v. Carriage Carpet Co., 548 F.2d 139, 147 (6th Cir.

  1977) (§215 prohibits black-listing a former employee who filed a complaint related to the

  Act); g,g. 29 U.S.C. §201 et seq. ("Fair Labor Standards Act").

         CLAIM SIX:             DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
         Privacy Right)

  906.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925




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   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM SIX.

   907.   On information or belief the publication and republication of public statements,

   writings and utterances by or from Joseph Holley, in his individual and official capacity,

  that the Plaintiff is a "felon," "ex-felon," "convicted felon," "criminal," or similar words and

   statements regarding the Plaintiff, were false, libelous and defamatory per se.

   908.   On information or belief the publication and republication of public statements,

  writings and utterances by or from Joseph Holley, in his individual and official capacity,

   occurred when the Plaintiff was a private party, limited public official and public official.

   909.   On information or belief Joseph Holley, in his individual and official capacity,

   published and republished false and defamatory statements, writing and utterances, that

   the Plaintiff was a convicted criminal and who engaged in criminal behavior, to expose the

   Plaintiff to public hatred, contempt, ridicule or obloquy to deprive the Plaintiff of public

   confidence or injure the Plaintiff in his occupation and reputation, and caused the Plaintiff

   to be exposed to public hatred, contempt, ridicule or obloquy, depriving the Plaintiff of

   public confidence and injured the Plaintiff in his occupation, profession and reputation.

   910.   On information or belief Joseph Holley published and republished false and

   defamatory statements, writing and utterances regarding the Plaintiff with actual malice,

   based in part on the Plaintiffs race, color, ethnicity or nationality and to retaliate against

   the Plaintiff for reporting criminal and unethical conduct. See Hogan. 762 F.3d at 1105-10;

   Grisham. 594 F. 3d at 729-31.



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  911.   On information or belief Defendant Joseph Holley acted as an employer and/or

  supervisor within the meaning to Title VII, through the Te-Moak Tribe as a recipient of

  state and federal funds, and Joseph Holley intentionally discriminated against the Plaintiff

  in part because of the Plaintiffs race, color, culture, ethnicity or national origin and created

  a hostile work environment with conduct so severe that it altered the terms and conditions

  of the Plaintiffs employment, i.e. termination as the Tribal Administrator and a falsely

  constructed termination as the Judge. See 42 U.S.C. §§1981-83 and 1988; itg. 42 U.S.C.

  §2000e et seq;~- Vance v. Ball State Univ., 570 U.S. 421, 427-40(2013); see also, Dunlop v.

  Carriage Carpet Co., 548 F.2d 139,147 (6th Cir. 1977)(§215 prohibits retaliation and black-

  listing a former employee who filed a complaint related to the Act); U- 29 U.S.C. §201 et seq.

  ("Fair Labor Standards Act").

         CLAIM SEVEN:           DEFAMATION, LIBEL AND SLANDER (U.S. Constitution-
         Privacy Right)

  912.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM SEVEN.

  913.   On information or belief the publication and republication of public statements,

  writings and utterances by or from Angelea Mendez that the Plaintiff is a "felon," "ex-felon,"

  "convicted felon," "criminal," or similar words and statements regarding the Plaintiff; that

  the Plaintiff failed a background investigation; that the Plaintiff is not a judge or affiliated

  with the Te-Moak Tribe; that the Plaintiff falsely claimed to be a federal prosecutor in Utah;


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  that the Plaintiff falsified his 'date of birth' on employment forms; that the Plaintiff falsely

  claimed to be a licensed attorney in Utah, and that the Plaintiff was "fired," "removed"

  "recalled" or "terminated" as a magistrate judge in North Carolina to obtain a criminal

  indictment against the Plaintiff, were false and defamatory per se, and that Angelea Mendez

  published and republished these statements when the Plaintiff was a private party, limited

  public official and public official. Angelea Mendez repeatedly published and republished

  these false and defamatory statements regarding the Plaintiff, claiming that the Plaintiff

  was a convicted criminal and the Plaintiff engaged in criminal behavior to expose and

  exposed the Plaintiff to public hatred, contempt, ridicule or obloquy to deprive the Plaintiff

  of public confidence or injure the Plaintiff in his occupation and were published with actual

  malice, partly based on the Plaintiffs race, color, ethnicity or nationality. See Hogan. 762

  F.3d at 1105-10; Grisham. 594 F. 3d at 729-31.

          CLAIM EIGHT:          DEFAMATION, LIBEL AND SLANDER (U.S. Constitution·
          Privacy Right)

  914.    The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM EIGHT.

   915.   On information or belief the publication and republication of public statements,

  writings and utterances by Joseph Holley asserting that 1) the Plaintiff falsely claimed

   during the employment interview for the Tribal Administrator position to have previously

   been a federal prosecutor in Utah; 2) that the Plaintiff falsely claimed to be a licensed


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  attorney in Utah; 3) the Plaintiff failed a background investigation; 4) the Plaintiff is not a

  judge or affiliated with the Te-Moak Tribe; 5) the Plaintiff falsified his 'date of birth' on

  employment forms; and 6) that the Plaintiff was "fired," "removed" "recalled" or

  "terminated" as a magistrate judge in North Carolina to obtain a criminal indictment

  against the Plaintiff were false and defamatory per se. Joseph Holley published and

  republished these statements when the Plaintiff was a private party, limited public official

  and public official. Joseph Holley published and republished these false and defamatory

  statements repeatedly nationwide, without privilege, using streams of interstate

  commerce, regarding the Plaintiff, claiming that the Plaintiff was a convicted criminal and

  who engaged in criminal behavior, to expose and exposed the Plaintiff to public hatred,

  contempt, ridicule or obloquy to deprive the Plaintiff of public confidence or injure the

  Plaintiff in his occupation and Joseph Holley published, uttered and declared these false

  statements with actual malice, partly based on the Plaintiffs race, color, ethnicity or

  nationality. See Hogan. 762 F.3d at 1105-10; Grisham, 594 F. 3d at 729-31; see also.

  Dunlop v. Carriage Carpet Co., 548 F.2d 139, 14 7 (6 th Cir. 1977) (holding that §215 prohibits

  retaliation and black-listing a former employee who filed a complaint related to the Act); g,g.

  29 U.S.C. §201 et seq. ("Fair Labor Standards Act").

         CLAIM NINE:            DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
         Privacy Right)

  916.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925




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  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM NINE.

  917.   On information or belief the publication and republication of public statements,

  writings and utterances by Joseph McDade that the Plaintiff is a "felon," "ex-felon,"

  "convicted felon," "criminal," or similar words and statements regarding the Plaintiff, and

  that the Plaintiff was "fired" "removed" "recalled" or "terminated" as a magistrate judge in

  North Carolina, and that the Plaintiff was not and is not a lawful judge, to obtain a criminal

  indictment against the Plaintiff, were false and defamatory per se.

  918.   Defendant Joseph McDade published and republished these statements when the

  Plaintiff was a private party, limited public official and public official. Joseph McDade

  published and republished these false and defamatory statements regarding the Plaintiff

  claiming that the Plaintiff was a convicted criminal and who engaged in criminal behavior,

  to expose and exposed the Plaintiff to public hatred, contempt, ridicule or obloquy to

  deprive the Plaintiff of public confidence or injure the Plaintiff in his occupation and were

  published with actual malice, partly based on the Plaintiffs race, color, ethnicity or

  nationality. See Hogan. 762 F.3d at 1105-10; Grisham. 594 F. 3d at 729-31.

         CLAIM TEN:            DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
         Privacy Right)

  919.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM TEN.


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  920.   On information or belief the publication and republication of public statements,

  writings and utterances by or as approved by Davis Gonzalez that the Plaintiff is a "felon,"

  "ex-felon," "convicted felon," "criminal," or similar words and statements regarding the

  Plaintiff; that the Plaintiff falsely claimed to be a federal prosecutor in Utah; that the

  Plaintiff falsely claimed to be a licensed attorney in Utah, and that the Plaintiff was "fired,"

  "removed" "recalled" or "terminated" as a magistrate judge in North Carolina to obtain a

  criminal indictment against the Plaintiff were false and defamatory per se.

  921.   Defendant Davis Gonzalez published and republished these statements when the

  Plaintiff was a private party, limited public official and public official. Davis Gonzalez

  published and republished these false and defamatory statements regarding the Plaintiff

  repeatedly, nationwide, using streams of interstate commerce, claiming that the Plaintiff

  was a convicted criminal and who engaged in criminal behavior, to expose and exposed the

  Plaintiff to public hatred, contempt, ridicule or obloquy, including death threats, to deprive

  the Plaintiff of public confidence or injure the Plaintiff in his occupation and were

  published with actual malice, partly based on the Plaintiffs race, color, ethnicity or

  nationality. See Hogan. 762 F.3d at 1105-10; Grisham. 594 F. 3d at 729-31.

         CLAIM ELEVEN:          DEFAMATION, LIBEL AND SLANDER (U.S. Constitution -
         Privacy Right)

  922.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 925

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM ELEVEN.


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  923.   On information or belief the publication and republication of public statements,

  writings and utterances by or approved by David Dale Carrera asserting 1) that the Plaintiff

  is a "felon," "ex-felon," "convicted felon," "criminal," or similar words and statements

  regarding the Plaintiff; 2) the Plaintiff falsely claimed to be a federal prosecutor in Utah; 3)

  the Plaintiff failed a background investigation; 4) the Plaintiff is not a judge or affiliated

  with the Te-Moak Tribe; 5) the Plaintiff falsely claimed to be a licensed attorney in Utah; 6)

  the Plaintiff falsified his 'date of birth' on employment forms; and that the Plaintiff was

  "fired," "removed" "recalled" or "terminated" as a magistrate judge in North Carolina to

  obtain a criminal indictment against the Plaintiff were false and defamatory per se.

  924.   Defendant David Dale Carrera published and republished these statements when

  the Plaintiff was a private party, limited public official and public official. David Dale

  Carrera published and republished these false and defamatory statements regarding the

  Plaintiff repeatedly, nationwide, using streams of interstate commerce, claiming that the

  Plaintiff was a convicted criminal and who engaged in criminal behavior, to expose and

  exposed the Plaintiff to public hatred, contempt, ridicule or obloquy to deprive the Plaintiff

  of public confidence or injure the Plaintiff in his occupation and were published with actual

  malice, partly based on the Plaintiffs race, color, ethnicity or nationality. See Hogan v.

  Winder. et al.. 762 F.3d 1096, 1105-10 (10th Cir. 2014); Petersen v. Grisham. 594 F. 3d 723,

  729-31(10 th Cir. 2010).




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         CLAIM TWELVE:    42 U.S.C. §1985 CIVIL CONSPIRACY· OBSTRUCTION OF
         CRIMINAL INVESTIGATION (18 U.S.C. §1510); WITNESS, VICTIM OR
         INFORMANT TAMPERING (18 U.S.C. §1512); RETALIATION AGAINST WITNESS,
         VICTIM OR INFORMANT (18 U.S.C. §1513 AND 5 U.S.C. §2302(2)),
         (WHISTLEBLOWER PROTECTION) AND 41 U.S.C. §4712 PROHIBITING REPRISAL
         AGAINST EMPLOYEE OF FEDERAL CONTRACT GRANTEE.

  925.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 905,

  supra, including any referenced attachment, citation and exhibit, and paragraphs 933

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM TWELVE.

  926.   On information or belief Tanya Reynolds; Joseph Holley; Jeffery Scott Sypolt;

  Dentons; George Skibine; Davis Gonzalez; Alice Tybo; Chadwick Smith; David Carrera;

  Duane Garcia, Sr; Thalia Marin; Andrea Woods; Larry Yeager; Paula Garcia; Adela Morrison;

  Suzanna Sandoval, (and other unnamed individuals and entities, known and unknown),

  conspired and entered an agreement, plan or scheme with Paul Conable; Darian Stanford;

  Kevin Clock; Elliott Parris; Zions bank; Kristen Hevener; Marla McDade; Steve Sisolak;

  Aaron Ford; Nevada State Bank; Steve Olson; Bryan Bowker; Joseph McDade; Brent Waite;

  Nicole Lewis; Robin Evans; Leslie Grove; V. Heather Sib bison and J. Ross Docksey to fund

  and pay the costs and fees, using federal program funds and income, proceeds or cash from

  the NCE, directly and indirectly, to jointly and individually publish and republish

  documents, records and information, (partly based on the Plaintiff's race, color, ethnicit;y or

  nationalit;y), containing false statements regarding the Plaintiff and obtain or secure

  Plaintiffs termination, resignation, removal or constructive termination that included the




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  927.   Each Defendant committed at least one overt act in furtherance of this conspiracy.

  These acts in furtherance of the conspiracy include threatening, coercing and intimidating

  or attempting to coerce or intimidate the Plaintiff through a massive campaign publishing

  false statements about the Plaintiff nationwide; the use of NV law enforcement agents; BIA

  law enforcement officers and BIA CFR court resources to support the conspiracy; use of

  economic resources held, controlled or retained by Zions bank; and the use or assignment

  oflegal resources of Dentons US LLP; TT and SCS.

  928.   A purpose of the conspiracy was to continue the diversion and transfer of NCE

  income; conceal fraud of federal funding; maintain the status quo and to discredit or

  decrease the reliability of the Plaintiffs reports and statements given to Congressman

  Amodei; DOJ SMART Office; USA Trutanich; IRS; OJG; BIA and FBI law enforcement agents

  that disclosed criminal conduct, and an extensive criminal network, system or systems of

  fraud, theft, bribery and extortion the Plaintiff witnessed or reported that involved the

  abuse of authority, gross mismanagement, fraud or waste of federal funds, grants and

  contracts involving the co-conspirators. See 18 U.S.C. §1163.

  929.   Plaintiff was threatened, deprived of property interests and rights, injured and

  publicly humiliated from the conduct of the Parties to the conspiracy, that included

  Plaintiffs termination as the Te-Moak Tribal Administrator, personal injury to property

  interests, future employment and the denial of benefits, wages, expense reimbursement,

  costs and fees as the Te-Moak Supreme Court Judge. See 42 U.S.C. §1985: 18 U.S.C. §§1510.

  1512 and 1513: 5 U.S.C. §2302(2) and 41 U.S.C. §4712: !hg. Grisham. 594 F. 3d at 729-31;

  see also. Dunlop v. Carriage Carpet Co., 548 F.2d 139, 147 (6th Cir. 1977)(holding that§215

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  prohibits retaliation and black-listing a former employee who filed a complaint related to the

  Act); g,g. 29 U.S.C. §201 et seq. ("Fair Labor Standards Act").

  930.   On information or belief pursuant to an agreement, plan or scheme the Defendants

  Tanya Reynolds; Joseph Holley; Jeffery Scott Sypolt; Dentons; George Skibine; Davis

  Gonzalez; Alice Tybo; Chadwick Smith; David Carrera; Duane Garcia, Sr; Thalia Marin;

  Andrea Woods; Larry Yeager; Paula Garcia; Adela Morrison; Suzanna Sandoval, (and other

  unnamed individuals and entities, known and unknown), jointly and individually created and

  employed individuals in the NCE judicial sub-enterprise to further obstruct justice and

  continue as a criminal organization whereby Sherry Harris; Carrie Frias; Tammy Carrera;

  Chadwick Smith; Angelea Mendez and Wendall Hayes were hired and paid with NCE funds

  and cash to operate the judicial sub-enterprise in furtherance of the A1-A8 agreements,

  and to falsify government documents, records and reports to qualify the court personnel

  contrary to tribal law, after failing to bribe the Plaintiff with funds from the NCE. Id.

  931.   Some Defendants named here may not have agreed to harm the Plaintiff when they

  agreed to advance the overall object of the conspiracy, the purpose of the acts they

  committed or engaged in furtherance of the conspiracy made any harm or injury to the

  Plaintiff a reasonably foreseeable consequence of each Defendant's action or conduct.

  932.   The unlawful actions by each Defendant, and the Defendants jointly, directly and

  proximately caused and continue to cause harm or injuries to the Plaintiffs business, trade

  and profession, and Plaintiffs property and property interests, by the Defendants'

  conspiracy and conduct in furtherance of the conspiracy.



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         CLAIM THIRTEEN: 42 U.S.C. §§1981; 1982 AND 1983. BYWAY AND THROUGH
         42 U.S.C. §1988, DEPRIVATION OF THE EQUAL RIGHT TO MAKE AND ENFORCE
         CONTRACTS, TO SUE, BE A PARTY, GIVE EVIDENCE AND ENJOY ALL BENEFITS,
         PRIVILEGES, TERMS AND CONDITIONS OF A CONTRACTUAL RELATIONSHIP,
         WITHOUT IMPAIRMENT UNDER COLOR OF STATE LAW OR NON-
         GOVERNMENTAL DISCRIMINATION; DEPRIVATION OF THE EQUAL RIGHT TO
         INHERIT, PURCHASE, LEASE, SELL, HOLD AND CONVEY REAL AND PERSONAL
         PROPERTY; AND DEPRIVATION OF THE RIGHT TO SPEECH, PRIVACY, PUBLIC
         EMPLOYMENT, ASSOCIATION, DUE PROCESS AND TRAVEL, OR ANY
         CONSTITUIONAL PRIVILEGE OR IMMUNITY, UNDER COLOR OF ANY STATE
         LAW, CUSTOM OR USAGE.

  933.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 932.

  supra, including any referenced attachment, citation and exhibit, and paragraphs 942

  through 1016, infra, without waiving any claim or defense, as though more fully set forth

  here in Section E - CAUSE OF ACTION: CLAIM THIRTEEN.

  934.   On information or belief, Governor Steve Sisolak and Attorney General Aaron Ford,

  in their individual and official capacities, (pursuant to a common purpose of the A1, A2, A4

  and AS agreement, plan or scheme under color ofstate law, custom or usage), permitted,

  allowed, ratified and approved the nationwide, continuous dissemination and publication

  of Kristen Hevener's false affidavit from within the State of Nevada by Marla McDade,

  Joseph McDade, Kristen Hevener, Jeffery Scott Sypolt, Joseph Holley and Tanya Reynolds

  containing private, privileged and highly confidential information regarding the Plaintiff, a

  felony criminal act under N.R.S. §205.463 that bars any release of this private, nonpublic

  information.

  935.   On information or belief Sisolak and Ford agreed to violate criminal and civil law,

  agreed to not prosecute Marla McDade, J. Scott Sypolt, Joseph Holley, Tanya Reynolds,


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  Joseph McDade and Kristen Hevener to further retaliate against the Plaintiff, who for this

  time was considered a witness, victim or informant, and permit Sisolak and Ford to escape

  prosecution for bribery, extortion and public corruption related to the NCE, also a felony

  under N.R.S. §205.463. while promoting Marla McDade and Kristen Hevener in state

  government employment positions and increasing their wages, salaries and benefits.

  936.   On or information or belief Defendants herein denied, discriminated or impaired the

  Plaintiffs right to enjoy all the benefits, privileges and conditions of the contractual

  relationship with the Te-Moak Tribe, (within a Territory of the United States referred to as

  Indian Country), depriving the Plaintiff the right to own, hold, purchase or lease personal

  and real property, and the Plaintiffs right to privacy, travel and public employment and

  benefits. Defendants Sisolak and Ford approved and sanctioned the commission of felonies

  through a policy of non-prosecution on condition they receive income from the NCE

  transferred to their businesses, family members and election campaign entities. See 42

  U.S.C. §§1981-83 and 1988; .!;l,g. Grisham. 594 F. 3d at 729-31.

  937.   On information or belief, Defendants, Defendants Steve Sisolak and Aaron Ford

  Tanya Reynolds; Joseph Holley; Jeffery Scott Sypolt; Davis Gonzalez; Alice Tybo; Chadwick

  Smith; David Carrera; Duane Garcia, Sr; Thalia Marin; Andrea Woods; Larry Yeager; Paula

  Garcia; Adela Morrison; Suzanna Sandoval; Paul Conable; Darian Stanford; Kevin Clock;

  Elliott Parris; Steve Olson; Bryan Bowker; Joseph McDade; Brent Waite; Nicole Lewis;

  Robin Evans-RAE; Leslie Grove-IBSC; George Skibine; V. Heather Sibbison and J. Ross

  Docksey; Dentons US LLP and Zions bank, in their individual and official capacities,

  pursuant to a common purpose in the Al, A2, A4 and AS agreement, plan or scheme under

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   color of state law, custom or usage, agreed to intentionally discriminate against the Plaintiff

   in his employment, (managing programs receiving state and federal funds), by causing the

  termination of the Plaintiff on the basis of race, culture, nationality or ethnicity, and then

   retaliating against the Plaintiffs right to speech, as a witness, victim or informant by

   denying the Plaintiff all due process and equal rights for all times after March 18, 2021 up

   to and including the denial of unemployment benefits under color of state law, custom or

   usage to preserve and protect the flow of unreported cash or income directly and indirectly

   from the NCE to Governor Sisolak, ECDCC, Senator Masto and Attorney General Aaron Ford

   by way and through Zionsbank, Gonzalez, SALAL, Sypolt, TT and SCE, and family members,

   business associates, businesses and election campaigns. See 42 U.S.C. §§1981-83 and 1988;

   g,g. Grisham, 594 F. 3d at 729-31.

   938.   On information or belief, and pursuant to a common purpose in an Al, A2, A4 and

   A5 agreement, plan or scheme under color of state law or authority, custom or usage,

   Governor Steve Sisolak and Attorney General Aaron Ford, (in their individual and official

   capacity), ratified, permitted, allowed or approved the continuous, nationwide

   dissemination and publication of documents, information and records containing private,

   privileged, protected and highly confidential information regarding the Plaintiff by Jeffery

   Scott Sypolt; Marla McDade; Dentons US LLP; SCS; EBCE; Darian Stanford; Paul Conable;

   Kevin Clock; Davis Gonzalez; George Skibine; Chadwick Smith; Joseph Holley; Joseph

   McDade; Thalia Marin; Kristen Hevener; Andrea Woods; Adela Morrison; Alice Tybo; Duane

   Garcia, Sr; David Carrera; Tanya Reynolds; Tammy Carrera; Larry Yeager; Suzanna

   Sandoval; Angelea Mendez, and other unnamed and unknown individuals.

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   939.   These Defendants each knew or should have known that the private, privileged and

   highly confidential information regarding the Plaintiff was protected against public

   disclosure by federal, state and tribal civil and criminal law, Te-Moak Records and

   Information Retention Policy. incorporating the Privacy Act. (5 U.S.C. §552 et seq.); 42

   U.S.C. §13925(b)(2): 2 C.F.R. §200.207 and §200.338. inter alia, and supplementing the

   Tribe's Confidential Information Policy & Procedures (enacted by Resolution 03-TM-13).

   specifically the Defendant's use of the Plaintiffs birth date, social security number,

   workplace information and other identifiable information to harm the Plaintiff, to get

   access to the Plaintiffs personal information or nonpublic records or carry out any other

   unlawful purpose, including. but not limited to, depriving the Plaintiff the right to sue, give

   evidence, travel, own/lease property and retain public employment.

   940.   Plaintiffs filing of complaints and reporting criminal conduct involving Defendants"

   fraudulent expenditures of federal funding, that also included public corruption, was a

   substantial and motivating factor in each Defendant's decision to retaliate and use

   protected information and disparage the Plaintiffs reputation and character, pre and post-

   employment, and these individual Defendants acted, jointly and individually, under color of

   authority of state law pursuant to a common purpose in a Al, A2, A4 and AS agreement,

   plan or scheme, and as directed, ratified or approved by Governor Sisolak and Attorney

   General Aaron Ford, to take the adverse employment action taken against the Plaintiff that

   would deter a person of ordinary firmness from continuing to engage in protected speech.

   See. Dunlop. 548 F.2d 139, 147 (6th Cir. 1977)(prohibits black-listing a former employee who

   filed a complaint related to the Act);~- 29 U.S.C. §201 et seq. and 18 U.S.C. §1163.

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   941.   In their official and individual capacities, each Defendant's decision and conduct

   violated the Plaintiffs clearly established constitutional rights and were not objectively

   reasonable in light of the circumstances.

          CLAIM FOURTEEN: TORTIOUS INTERFERENCE WITH A BUSINESS OR
          CONTRACTUAL RELATIONSHIP UNDER COMMON LAW

   942.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 932,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 944

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM FOURTEEN.

   943.   On information or belief Defendants Brent Waite; Nicole Lewis; Zionsbank; Sypolt;

   Skibine; Wendall Hayes; Chadwick Smith; Marla McDade; Den tons; Bryan Bowker; Steve

   McDade; Joseph McDade; Robin Evans; Davis Gonzalez; Adela Morrison; EBCE; Larry

   Yeager; Joseph Holley; Thalia Marin; Alice Tybo; Duane Garcia, Sr; David Carrera; Tammy

   Carrera; Tanya Reynolds; Paul Conable; Darian Stanford; Kevin Clock; Elliott Parris; Steve

   Olson, individually and jointly, pursuant to a common purpose in a Al, AZ, A4 and A5

   agreement, plan or scheme, engaged and performed the acts and omissions described

   herein, and intentionally and with malice interfered with the Plaintiffs contractual and

   business relationships causing injury, harm or damage to the Plaintiffs business and

   contractual relationships, reduced the value of the Plaintiffs trade, business, profession

  and reputation. See. Dunlop, 548 F.2d at 147 (6th Cir.1977)(holding that§215 prohibits

  black-listing a former employee who filed a complaint related to the Act); g,g. 29 U.S.C. §201

  et seq. ("Fair Labor Standards Act").


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          CLAIM FIFTEEN:         CIVIL CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS

   944.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 932,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 949

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM FIFTEEN.

   945.   On information or belief Defendants Steve Sisolak; Aaron Ford; Marla McDade;

   Joseph McDade; Jeffery Scott Sypolt; Joseph Holley; Tanya Reynolds; Davis Gonzalez; Alice

   Tybo; Chadwick Smith; David Carrera; Duane Garcia, Sr; Thalia Marin; Andrea Woods;

   Larry Yeager; Paula Garcia; Adela Morrison; Suzanna Sandoval; Paul Conable; Darian

   Stanford; Kevin Clock; Elliott Parris; Steve Olson; Bryan Bowker; Brent Waite; Nicole

   Lewis; Robin Evans-RAE; Leslie Grove-IBSC; George Skibine; V. Heather Sib bison and J.

   Ross Docksey; Dentons and Zionsbank, acting individually and jointly in their individual

   and official capacities, pursuant to a common purpose in any Al-AB agreement, plan or

   scheme, agreed to use inducement, force, threat or intimidation and deter the Plaintiff from

   exercising or performing required tasks related to the due course of justice and the official

   duties as the Te-Moak Tribal Administrator in executing federal contract obligations, and as

   the Te-Moak Supreme Court Judge.

   946.   On information or belief these Defendants used inducement, force, threat or

   intimidation, to prevent or deter the Plaintiff from testifying freely, fully and truthfully in a

   federal court after the Plaintiff provided evidence and statements to federal law

   enforcement officers and agents regarding alleged criminal conduct involving Defendants

   that related to the NCE and at the Te-Moak Tribe where Defendants conspired and used or

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   implemented a widespread, joint campaign to publicly discredit the reliability of the

   Plaintiffs testimony and statements using force, intimidation, inducement and threats,

   supra. See 42 U.S.C. §1985; Haddle v. Garrison. 525 U.S. 121, 125 (1998); Grisham. 594 F.

   3d at 729-31; ref. 18 U.S.C. §1163.

   947.   On information or belief Defendants Steve Sisolak; Aaron Ford; Marla McDade;

   Joseph McDade; Jeffery Scott Sypolt; Joseph Holley; Tanya Reynolds; Davis Gonzalez; Alice

   Tybo; Chadwick Smith; Wendall Hayes; David Carrera; Duane Garcia, Sr; Thalia Marin;

   Andrea Woods; Larry Yeager; Paula Garcia; Adela Morrison; Suzanna Sandoval; Paul

   Conable; Darian Stanford; Kevin Clock; Elliott Parris; Steve Olson; Bryan Bowker; Joseph

   McDade; Brent Waite; Nicole Lewis; Robin Evans-RAE; Leslie Grove-IBSC; George Skibine;

   V. Heather Sibbison and J. Ross Docksey; Dentons US LLP and Zionsbank, acting

   individually and jointly in their individual and official capacities, pursuant to a common

   purpose in any A1-A8 agreement, plan or scheme conspired or agreed to deprive, or to act

   in furtherance of the object to deprive, by inducement, force, threat or intimidation, the

   Plaintiff, either directly or indirectly, the equal protection of the laws or equal privileges

   and immunities under the laws; or for the purpose of preventing or hindering the

   authorities within the Te-Moak Territory from giving or securing to all persons, including

   the Plaintiff, the equal protection of the laws, and two or more Defendants engaged and

   caused acts in furtherance of the object of the conspiracy or agreements that injured the

   Plaintiff, or Plaintiffs property interest, and deprived the Plaintiff his constitutional right or

   privilege to public employment, due process, travel, freedom without restraint, speech,

   public benefits and privacy as a citizen of the United States. lg; Dunlop. 548 F.2d at 147 (6 1h

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   Cir. 1977)(holding that §215 prohibits black-listing a former employee who filed a complaint

   related to the Act); g.g. 29 U.S.C. §201 et seq.

   948.   On information or belief and pursuant to a common purpose in any A1-A8

   agreement, plan or scheme or in furtherance of the object of the conspiracy related to any

   agreement, plan or scheme, two or more Defendants injured or harmed the Plaintiff. Id.

          COUNT SIXTEEN: ANTI-TRUST VIOLATIONS- SHERMAN ACT (15 U.S.C. §§1·
          1), CLAYTON ACT (15 U.S.C. §§12-26; 29 U.S.C. §§52-53) AND UNFAIR
          COMPETITION 15 U.S.C. §1125

   949.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 942,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 955

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM SIXTEEN.

   950.   On information or belief Defendants TT and SCS, by way and through their agents,

   employees and attorney Defendants Conable, Olson and Stanford, as a condition of entering

   and continuing a business relationship and payments of bribes, improper gifts and

   gratuities pursuant to a common purpose of any A1-A4 or A5 agreement, plan or scheme,

   unlawfully required the body politic of the Tribe and its Bands to: 1) compel EBCE to accept

   SCS and NCE ATM service fees, payment transfers and remuneration, as well as business

   equipment, software and maintenance costs without submission for bids in the open

   market, as a necessary part of the ownership agreement; 2) enter into non-disclosure

   agreements, ("NOA"), that tortiously interfered with the legal rights and duties of the

   Plaintiff in his public employment, business and contracts, (Plaintiff had a legal right to

   receive and record all official documents of the Bands and Tribe, including contracts,

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   agreements,financial records); and 3) unlawfully interfere with the Plaintiffs employment,

   business, trade or profession to the point of termination as a means to accomplish,

   maintain or continue other unlawful restraints on trade by conducting the business of

   multiple entities to unreasonably fix prices, receive compensation to fix prices, and

   suppress competition shown by the terms in A1-A4, A6 and AB, as detailed or expressed in

   the NCE's Taxation Policy; Cash Flow and Safe Policy. (plus the exclusive use ofSALALfor

   deposits, and Dutchie and Green bits for advertising and marketing) and in the written

   advertisements related to the NCE, that were of a manner or type that damaged the

   Plaintiffs professional and business reputation, hindered the Plaintiffs ability to conduct

   business and interfered with the Plaintiff employment with the Te-Moak Tribe resulting in

   unlawful termination, (AS), involving the Defendants here, (with others acting on their

   behalf), who jointly and individually served as a director or officer in two or more business

   entities engaged in simultaneous service, in whole or in part, as competitors in the market

   in violation of 15 U.S.C. §§1. 12-14. 19 and 1125.

   9 51.   On information or belief Defendants Conable, Stanford and Olson served as de facto

   directors or officers on SCS, CS!, SCI, EBCE, and other business entities, while conducting

   the business of TT with the apparent authority as a director or officer of TT, on behalf of

   the NCE, as competitors in the market in violation of 15 U.S.C. §§1. 12-14. 19 and 1125.

   952.    On information or belief Brent Waite, Steve Sisolak, Paul Conable, Steve Olson,

   Darian Stanford significantly controlled or managed the collective NCE operations, viz-a-viz

   two or more competing businesses or business interests that merged to create an unlawful

   trust, investment or holding company where, overtly or covertly, these Defendants

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   purchased, transferred or invested in assets, stocks, real property, chattels or intangibles

   with the revenue, cash, income or proceeds from the NCE in violation of 15 U.S.C. §§7 and

   12, shown by the continued use of a Cascade Strategic Investments, and the use of CS!, SCS,

   SCI and TT listing, using or identifying the same physical address in Portland, Oregon, and

   as shown by the terms of the A1-A8 agreement, plans or schemes and physical involvement
                                                                                            '
   with the EBCE financials.

   953.   On information or belief, pursuant to the terms of any A1-A4 agreement, plan or

   scheme, Defendants Sisolak; Ford; Davis Gonzalez; Thalia Marin; Juan Arevalo; Larry

   Yeager; Joseph Delarosa; Darian Stanford; Paul Conable; Steve Olson; Kevin Clock; Elliot

   Parris; Robin Evans-RAE; Leslie Grove-lBSC; SCS; EBCE and TT entered into contracts and

   combinations of contracts to conspire in the restraint of trade by monopolizing the

   unlawful sale of a controlled substance, marijuana, at the NCE retail store Newe Cannabis,

   whereby the Parties to the NCE purchased, sold and delivered goods, products and

   services in a manner that suppressed or eliminated competition in the market solely for the

   advantage of the Parties to the NCE, such as price fixing, rigging bids on contracts or failing

   to conduct bids for contracts to preserve the status quo, bribery, market allocation

   schemes, false advertising, false designation (15 U.S.C. §1125 (misleading fact related to

   origin, term, word, symbol or device as a lawful business)); market manipulation, false

   statements in marketing, extortion and tax fraud to continue the wholesale and retail

   purchases, distribution and sale of a controlled substance, marijuana; transportation of

   money, funds and a controlled substance, marijuana, across multiple jurisdictions, along, on

   and across highways, bridges and interstates; making and authorizing expenditures and

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   investments of the proceeds, revenue and income resulting or derived from or related to

   the sale and distribution of a controlled substance, marijuana; granting and denying

   legislation, authorizations and rendering adverse employment decisions; establishing rules,

   goals and policy while providing legal decisions and advice, including the planning and

   funding of the unlawful, joint campaign to destroy the Plaintiffs character and professional

   reputation with the intent and purpose to violate or attempt to violate the Plaintiffs civil

   liberties and rights: Speech, Employment, Security and Privacy.

   9 54.   On information or belief, pursuant to the terms of any Al-A4 agreement, plan or

   scheme, Defendants Sisolak; Ford; Davis Gonzalez; Thalia Marin; Juan Arevalo; Larry

   Yeager; Joseph Delarosa; Sypolt; Chadwick Smith; Darian Stanford; Paul Conable; Steve

   Olson; Kevin Clock; Elliot Parris; Robin Evans; Leslie Grove-IBSC; SCS and TT, jointly and

   individually: 1) created, established, managed and operated the NCE byway and through

   unlawful contracts or agreements; fraudulent or non-existent business entities, (EBCE,

   RAE, CS! and EBA), holding out to the world that the same entities were lawful and actually

   in existence, when unlawful, fictitious or nonexistent, imitating the NCE and retail store

   Newe Cannabis to falsify financial records and avoid tax and criminal liability; 2) published

   and produced false online advertising claims, statements and ads regarding the legality of

   Newe Cannabis, its products, existence and marketability; 3) impersonated the ownership

   of EBCE; RAE; CS!; EBA; Newe Cannabis and SCS, and falsely claiming to be the attorneys

   providing legal representation for Elko Band Council and Te-Moak Council; 4) used threats,

   fraud, bribery and coercion to maintain, control and manage the NCE, including its sub-

   enterprises and Cascade Strategic Investments; EBC/EBA; RAE; SCS and other unnamed

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   and unknown shell business entities; and/or 5) falsified information to the public,

   businesses and government officials that the Plaintiff is a felon, a convicted criminal and

   untrustworthy to preserve and protect the continuation of the NCE and destroy or injure

   the Plaintiffs marketability in his trade, profession or business, where the advertising

   related to the NCE retail store Newe Cannabis also violates section 43(a) of the Lantham

   Act. 15 U.S.C. §1125(/alse or misleading statement offact {legal business]; used in

   commercial advertising [Newe-Dutchi Packaging, billboards and website]; that deceives or

   likely deceives in a material way [lawful business]; in interstate commerce [website and

   packaging allows ordering on line with motor vehicle drive-up delivery]; that the Plaintiff

   believes caused or likely caused harm to the Plaintiffs business interest).

          CLAIM SEVENTEEN:      NEGLIGENT ACTION OR FAILURE TO PREVENT
          DEPRIVATION OF CONSTITUTIONAL RIGHTS (42 U.S.C. §1986)

   955.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 954,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 957

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM SEVENTEEN.

   956.   On information or belief Defendants Sisolak; Ford; Davis Gonzalez; Thalia Marin;

   Juan Arevalo; Larry Yeager; Joseph Delarosa; Darian Stanford; Paul Conable; Steve Olson;

   Wendall Hayes; Kevin Clock; Elliot Parris; Joseph McDade; Bryan Bowker; Joseph Holley;

   David Carrera; Chadwick Smith; Alice Tybo; Duane Garcia, Sr; Adela Morrison; Andrea

   Woods; Scott Sypolt; Tanya Reynolds; Angelea Mendez; Robin Evans-RAE; Leslie Grove-

   IBSC; SCS; Dentons; TT knew or should have known that the wrongs described in this


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   Complaint, related to 18 U.S.C. §1163 and 42 U.S.C. §1985. were about to be committed and

   had the power and legal duty to prevent or aid in preventing the commission of the wrongs

   associated with the deprivation of the Plaintiffs constitutional rights that accrued on or

   about July 21, 2021, and each Defendant refused, neglected or failed to prevent such

   wrongful acts that reasonable diligence would have prevented, causing harm to the Plaintiff

   as a result of the intentional, negligent failure of each Defendant to aid or prevent the

   deprivation of the Plaintiffs constitutional rights, as described supra.

          CLAIM EIGHTEEN:          INVASION OF PRIVACY AND VIOLATIONS OF THE
          PRIVACY ACT (5 U.S.C. §552A(G){1)(D)) - FAILURE TO COMPLY

   957.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 942,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 965

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM EIGHTEEN.

   958.   On information or belief Defendants Scott Sypolt; Dentons US LLP; George Skibine;

   Joseph Holley; Alice Tybo; Davis Gonzalez; David Carrera; Duane Garcia, Sr; Andrea Woods;

   Angelea Mendez; Tanya Reynolds; Larry Yeager; Thalia Marin; Joseph McDade; Chadwick

   Smith; and Suzanna Sandoval, and other unknown individuals, created, maintained,

   released or disseminated confidential records regarding the Plaintiff, or authorized, ratified

   or approved the release or dissemination of confidential records regarding the Plaintiff in

   retaliation for Plaintiffs exercise of his 1st Amendment rights, and Defendants obtained,

   released and disseminated personal, confidential information regarding the Plaintiff,

   including his birth date, credit history, wage and personnel information and social security


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   number in retaliation against the Plaintiff as a witness, victim or informant against the

   Defendants in exercise of the Plaintiffs 1st Amendment right to free speech and to further

   deprive the Plaintiffs Article 1. sec. 10. cl. 5 and Article 4. sec. 2. cl. 1 rights, privileges and

   immunities, the Plaintiffs right to redress grievances, due process rights and Amend. 14

   privileges and immunities.

   959.   On information or belief Te-Moak Resolution 20-TM-132 adopted the Te-Moak

   Records And Information Retention Policy that incorporated the Privacy Act. (5 U.S.C. §552

   Et Seq.); 42 U.S.C. §13925(B) (2): 2 C.F.R. §200.207 And §200.338. inter alia, and

   supplemented the Tribe's Confidential Information Policy & Procedures (Enacted By

   Resolution 03-TM-13) which criminalized the unauthorized releases of"[p]ersonnel

   information ... except by written authorization from the individual concerned."

   960.    On information or belief during the period of time that Dentons entered into an

   agreement to provide professional legal services for the Te-Moak Tribe and the Plaintiff

   was employed by Dentons' client as the Te-Moak Tribal Administrator, Dentons claimed its

   attorneys will provide "privacy and confidentiality of personal data ... [w]e will handle

   personal data you send us about you, your employees, agents, contractors and other

   individuals in accordance with data protection and privacy standards equivalent to or

   higher than those required by law." See 5 U.S.C. §552 et seq.:~- 42 U.S.C. §13925(B)(2):           z.
   C.F.R. §200.207 and §200.338: also Te-Moak Resolution 20-TM-132; Resolution 03-TM-13.

   961.   Defendants Sypolt; Skibine; Sib bison; Docksey and Chadwick Smith were employed

   by Dentons and who did unlawfully possess, obtain and release or disseminate the private,

   confidential records and information regarding the Plaintiff during the period Dentons

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   represented the Te-Moak Tribe and these Defendants failed comply with the legal

   standards, to handle or ensure the privacy laws were met or exceeded under the law. Id.

   962.   Dentons, its attorneys and partners, (Sypolt; Skibine; Sibbison, Hayes and Smith),

   failed to comply with the applicable legal standards and requirements, and Dentons failed

   to adequately supervise and train its employees, partners and attorneys, as it related to the

   privacy and confidentiality of the client's employee's records and information as required

   by the law and Dentons' Terms, and these failures or negligent acts resulted in the

   unauthorized, unlawful release and continued dissemination of the Plaintiffs private,

   confidential records and information, causing perpetual harm to the Plaintiff and the

   Plaintiffs business interests and property rights. See 5 U.S.C. §552A(G)(1)(D).

   963.   Defendants Joseph Holley; Alice Tybo; Davis Gonzalez; David Carrera; Duane Garcia,

   Sr; Andrea Woods; Angelea Mendez; Tanya Reynolds; Larry Yeager; Thalia Marin; Joseph

   McDade; Chadwick Smith; and Suzanna Sandoval failed to comply with the legal standards

   and requirements of the Tribe as it related to the privacy and confidentiality of the

   Plaintiffs records and information as required by the law, and Defendants, jointly and

   individually, unlawfully released and disseminated the Plaintiffs private, confidential

   records and information without written authorization, causing substantial harm to the

   Plaintiff and the Plaintiffs business interests and property rights. See 5 U.S.C. §552 et seq.:

   ~- 42 U.S.C. §13925(B) (2): 2 C.F.R. §200.207 and §200.338: also Te-Moak Resolution 20-

   TM-132 and Resolution 03-TM-13.

   964.   Defendants Steve Sisolak, Marla McDade, Aaron Ford, Joseph McDade and Kristen

   Hevener failed to comply with the legal standards and requirements related to the privacy

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   and confidentiality of the Plaintiffs records and information as required by the law, a

   felony criminal act under N.R.S. §205.463. and Defendants, jointly and individually,

   unlawfully released and disseminated or ratified, approved or caused the unlawful release

   and dissemination of the Plaintiffs private, confidential records and information without

   written authorization, causing perpetual, substantial harm to the Plaintiff and the Plaintiffs

   business and property interests. See 5 U.S.C. §552 et seq.;~- 42 U.S.C. §13925(B)(2): 2.

   C.F.R. §200.207 and §200.338; also Te-Moak Resolution 20-TM-132; Resolution 03-TM-13.

          CLAIM NINETEEN: 42 U.S.C. §1983 MALICIOUS PROSECUTION - ABUSE OF
          PROCESS AS A FEDERAL COMMON LAW TORT PURSUANT TO SOSA V.
          ALVAREZ-MACHAIN. 542 U.S. 692 (2004) AND 28 U.S.C. §1350 (2000) BYWAY
          AND THROUGH THE RUBY VALLEY TREATY OF 1863. ARTICLES 1-2.

   965.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 964,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 972

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E • CAUSE OF ACTION: CLAIM NINETEEN.

   966.   On information or belief the Plaintiff alleges as a novel, threshold case to extend

   existing law with a good faith argument that malicious prosecution, as included under an

   abuse of process doctrine, is a recognized principle of public international law that

   prohibits the use or exercise of a procedural instrument or right by a party to a dispute

   against the purpose that right was established to provide, and as such because malicious

   prosecution or abuse of process actions served as a base to originally create civil tort law,

   as codified from common law principle and practices, these actions apply here.




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   967.   On information or belief the Te-Moak Tribe of Western Shoshone Indians of Nevada,

   ("Tribe"), is an independent nation that recognizes only tribal members as legitimate

   'citizens' to that nation and all others are by custom and tradition deemed aliens or foreign

   nationals to the Tribe, wherein the pattern and practice of the Te-Moak Tribe, as approved

   by the United States, grants or affords rights to members of the Tribe at the exclusion of all

   others. See U.S. Const. Art. 1. Section 8 ("Congress shall have the power to regulate

   Commerce with foreign nations ... and with the Indian tribes"); g,g. Cherokee Nation v.

   Georgia. 30 U.S. (5 Pet.) 1 (1831)(/ndian Tribes are separate nations from the federal

   government, states and foreign nations); also. Worcester v. Georgia. 31 U.S. (6 Pet.) 515

   (1832)(an Native American "nation .. .is a distinct communit;y, occupying its own territory"

   and the US must treat each as a nation under "settled principles of our constitution"). Under

   the Treaty Clause, the U.S. Treaty with the Te-Moak Tribe elevated the Te-Moak nation to a

   parallel status with other foreign nations. See U.S. Const. Art. 2. Section 2. clause 2

   (President shall have the power "to make Treaties" and on execution are binding agreements

   between nations and become international law).

   968.   On information or belief in 1863 the United States entered the Treaty of Peace and

   Friendship ("Ruby Valley Treaty"), with the Te-Moak Nation, and the Parties agreed that

   deprivations of the rights of citizens of the United States within Te-Moak Indian Country

   "shall cease," and therefore, in accordance with international law, the abuse of rights and

   abuse of process is recognized as a "violation of the law of nations or a treaty with the

   United States," and, thus to preserve principles of sovereignty and comity, this creates a

   cause of action for an alien to an Indian nation. UN CLOS. Article 294(1) and Article 300. UN

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   DOC. A/CONF.62/122 21 ILM 1261(as transmitted to the United States in 1995 "[t]his article

   restates existing customary law"); also Protocol No. 11 in 1998. art. 17 of the Convention for

   the Protection of Human Rights and Fundamental Freedoms. 4 November 1950, 213

   U.N.T.S. 222, Eur. T.S. 5("Prohibition of abuse ofrights"where art.17 states nothing in the

   law shall allow or permit a "group or person any right to engage in any activit;y or perform

   any act aimed at the destruction of the rights and freedoms set forth herein"): see also.

   Convention on Rights and Duties of States. 26 December 1933, 165 L.N.T.S. 19 at art. 3

   (Montevideo Convention); e.g. Article 38(1) Statute of the International Court of

   justice(identijj,ing international conventions, customs and traditions as evidence ofgeneral

   principles oflaw recognized among civilized nations); and Case Concerning the Gabcikovo-

   Nagymaros Project (Hungaryv. Slovakia), [1997] J.C.J. Rep. 7 at para. 22     U- Weeramantry
   held under existing law among nations that the abuse of rights is a "well-established area of

   international law"); .e,g. U.S. Executive Order 13107(December 10, 1998).

   969.   On information or belief Defendants, jointly and individually acted pursuant to

   racial, cultural or ethnic discrimination as a "custom or usage" of tribal leaders (in Indian

   Country, a "Territory" of the United States) under color of authority of state law

   memorialized in A2 as sanctioned by Governor Sisolak and Attorney General Ford in

   furtherance of a criminal enterprise, and then using the BIA-CIO and judicial sub-enterprise

   of the NCE, the Defendants permanently branded the Plaintiff as convicted criminal, a felon,

   without the benefit of trial, hearing or notice to deprive the Plaintiff of his professional

   reputation, property interest in continued public employment as the Te-Moak Tribal

   Administrator and the Te-Moak Supreme Court Judge on the basis of race, color, ethnicity

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   or nationality claiming the Plaintiff is "white" inter alia, as discussed supra. 42 U.S.C.

   §§1983 and 1988; g,g. Grisham. 594 F. 3d at 729-31.

   970.    On information or belief Defendant Marla McDade; Kristen Hevener; Joseph

   McDade; Chadwick Smith; George Skibine; Angelea Mendez; Tanya Reynolds; Bryan

   Bowker and Steve McDade, agreed or conspired to file litigation, affidavits and lawsuits

   against the Plaintiff to deprive the Plaintiff his constitutional freedoms under the U.S. Const.

   Amend. 4. 5. 13 and 14: Article 1. sec. 10. cl. 5 and Article 4. sec. 2. cl. 1 (privileges and

   immunities); and, thereafter, wrongfully obtained without justification restraining orders

   against the Plaintiff, as an official and judge of the Tribe, where the lawsuits lacked legal

   and factual support, and Defendants Bowker and Joseph McDade further conspired to

   direct and instruct BIA magistrates to issue at least one restraining order when the Plaintiff

   was cloaked in sovereign and judicial immunity, after receiving notice of that immunity, to

   shield and hide the corrupt actions and conduct of Bowker and McDade; Defendants

   Chadwick Smith, George Skibine, Tanya Reynolds and other unknown individuals, who in

   turn conspired and agreed to file a lawsuit against the Plaintiff as a judge knowing the

   Plaintiff was cloaked in sovereign and judicial immunity; Defendants Steve McDade, Marla

   McDade and Joseph McDade conspired and agreed to file a lawsuit in October 2019 against

   the Plaintiff, seeking a restraining order, and the Plaintiff successfully obtained the

   termination of that action; Defendants Steve McDade; Marla McDade and Joseph McDade,

   and other unknown individuals, conspired and agreed to file actions in a federal court

   falsely accusing the Plaintiff of being a criminal, a felon, to manipulate and obtain a

   favorable result, ex pa rte, and to remove the Plaintiffs employment as a legal practitioner;

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   Defendants Steve McDade, Marla McDade and Joseph McDade agreed and conspired to

   suborn perjury from Susan Jones to support the filing of a false lawsuit against the Plaintiff

   in a federal court. These negative racial, cultural, ethnic and nationality based actions by

   Defendants were the proximate cause of the loss of the Plaintiffs employment or license as

   a legal practitioner in the federal court without due process, the loss of freedom to

   associate, travel or speak freely on matters of public concern. See Strength v. Hubert. 854

   F.2d 421,425 (11 th Cir. 1988)(quoting Shawv. Garrison, 467 F.2d 113, 120 ''freedom from

   malicious prosecution is a federal right protected by Section 1983"); see also, NAACP v. Hunt.

   891 F2d 1555, 15623 (11 th Cir.1990)(''[Plaintiff} must show that the parties 'reached an

   understanding' to deny the plaintiff his .. .rights ...[and) prove an actionable wrong to

   support the conspiracy").

   971.   On information or belief the conduct, acts and omissions, jointly and individually, of

   or by Defendants Joseph Holley; Jeffery Scott Sypolt; Dentons; George Skibine; Tanya

   Reynolds; Alice Tybo; Duane Garcia, Sr; Thalia Marin; Kristen Hevener; Wendall Hayes;

   Davis Gonzalez; David Carrera; Suzanna Sandoval; Steve Sisolak; Aaron Ford; Chadwick

   Smith; Angelea Mendez; Tammy Carrera; Marla McDade and Joseph McDade, as relates to

   false statements, affidavits, abuse of process or malicious prosecution of a state

   unemployment action; the wrongful termination as Tribal Administrator without due

   process; and unlawful abuses and malicious processes to remove the Plaintiff as a judge

   and capriciously initiate civil and criminal prosecution of the Plaintiff with state and federal

   authorities without sufficient legal cause as a means to serve and continue the goals and



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   aims of the NCE, including the distribution of unreported income from the NCE to Governor

   Sisolak and Attorney Aaron Ford, in their official and individual capacity, among others.

         CLAIM TWENTY: 42 U.S.C. §§1983 and 1985 UNLAWFUL CONFINEMENT,
   IMPRISONMENT OR CUSTODY, MALICIOUS PROSECUTION - ABUSE OF PROCESS
   PURSUANT TO WYATT V. COLE. 504 U.S.158 (1992) AND THE U.S. CONSTITUTION.
   ARTICLES 1. 4 AND 6: AND AMENDMENTS 4. 5. 13 AND 14.

   972.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 965,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 975

   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM TWENTY.

   973.   On information or belief Defendants Sisolak and Ford, directly and indirectly in their

   official and individual capacities, with other yet known individuals, instructed, directed,

   approved or authorized Defendants, (who agreed and conspired as willful participants in

  joint activity with Sisolak and Ford], Marla McDade; Sypolt; Davis Gonzalez; Joseph Holley;

   Kristen Hevener; Steve McDade; Darian Stanford; TT; SCS; Paul Conable; Kevin Clock; Elliot

   Parris; Tanya Reynolds; Alice Tybo; Duane Garcia Sr; David Carrera; George Skibine;

   Den tons; Sib bison; Andrea Woods; Wendall Hayes; Chadwick Smith; Thalia Marin; Brent

   Waite; Nicole Lewis and Zions bank, to act under the color and authority of state law,

   custom or usage within the Territory of the United States and without due process and

   against existing law effectively causing the arrest, sentencing, conviction and elimination of

   the Plaintiffs constitutional rights, placing the Plaintiff in an indefinite and perpetual state

   of custody, without so much as a hearing, rendering the Plaintiff a slave by refusing to pay

   the Plaintiffs wages, salary and benefits after receiving the benefit of the Plaintiffs labor,
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   and erasing over thirty years of the Plaintiffs work history, experience and educational

   accomplishments. See 42 U.S.C. §§1983 and 1985; ~- U.S. Const. Amend. 4. 5. 13 and 14;

   Article 1. sec. 10. cl. 5 (obligation to contract) and Article 4. sec. 2. cl. 1 (privileges and

   immunities);~- Article Yi(State Executive Officers bound by oath to support the U.S.

   Constitution and laws thereunder); see also. Wyatt v. Cole. 504 U.S. 158, 163, 164-66

   (1992) (§1983 action permitted against private parties, including attorneys and complaining

   witnesses, 'Jor unjustified harm arising out ofthe misuse ofgovernmental processes").

   97 4.   On information or belief each Defendant's conduct constituted the intentional and

   malicious prosecution of the Plaintiff, coupled with abuses oflegal processes and

   deprivation of rights against the Plaintiff at the instruction, order or approval of the State of

   Nevada Governor Steve Sisolak and Nevada Attorney General Aaron Ford, in their official

   and individual capacities, to preserve and protect the income stream obtained through a

   vast network of organized crime, based on an enterprise that misappropriates federal and

   tribal funds by fraud, trick or deception to permit or allow the commingling of money

   derived from the unlawful sale of a controlled substance, filtered through Zions bank, Wells

   Fargo and SALAL throughout the United States, where the deprivations complained of here

   resulted after termination of all prior criminal proceedings in favor of the Plaintiff. Id; Heck

   v. Humphreys. 512 U.S. 477, 486-87 (1994); also.18 U.S.C. §1163.

           CLAIM TWENTY-ONE: UNJUST ENRICHMENT PURSUANT TO HESS V.
           JOHNSTON. 163 P.3d 747, 754 (Utah App. 2007)

   975.    The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 965,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 983


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   through 1016, infra, without waiving any claim or defense, as though more fully set forth

   here in Section E - CAUSE OF ACTION: CLAIM TWENTY-ONE.

   976.   On information or belief the Plaintiff and Defendant Te-Moak Tribe entered into two

   (2) separate employment contracts at-law: 1) Te-Moak Tribal Administrator, and 2) Te-

   Moak Supreme Court Judge.

   977.   NCE and Tribe conferred direct and indirect financial benefits, in substantial

  amounts to the Defendants Holley; Marin; Garcia, Sr; D. Carrera; Tybo; Woods; Gonzalez;

  Sypolt; as former members of the governing body politic of the Tribe; its Bands,

  organization, associations and entities; or acting on their behalf pursuant to Al-A5.

  Defendants fraudulently received the financial benefits with full knowledge of the benefits,

  and the acceptance or retention of those benefits constituted an unjust enrichment at great

  detriment to the Plaintiff, requiring each and every Defendant to tender payment.

  978.    The reasonable value of the annual contract services for the Tribal Administrator

  position, pursuant to Davis v. Olson, 746 P.2d 264,269 (Ut. Ct. App. 1987), as described

  herein, is as follows:

          Year 1:          Salary- $84,833.89;
                           Lost Insurance Benefits (24% of annual salary)-$20,360.13;
                           Lost Savings Account Benefit (5%)- $4241.69;
                           Lost Vacation and Leave Benefits -$6525.68 (annual salary/52 x 4)
                    Subtotal: $115,961.39 +est.tax penalties, costs (15%) = $133,355.60

          Year 2: (COLA 3%)      Salary $87,378.90
                                 Lost Insurance Benefits (24% of annual salary)-$20, 970.94;
                                 Lost Savings Account Benefit (5%)- $4368.95;
                                 Lost Vacation and Leave Benefits -$6721.45 (annual salary/52
                                 x4)
                    Subtotal: $119,440.24 +est.tax penalties, costs (15%) = $137,356.28


                                                                                     30SIPage
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   979.   On information or belief the 2 Year income-based lost value to services as Tribal

   Administrator, at an adjusted market value, equals $270,711.88; plus interest on the

   judgment (12% or $32,485.43) and the lost value to property, i.e. credit score, late fees

   ($1346 per credit point x 212 ($285,352.00)+ $8455 fees/costs) and personal property

   loss to valuation $26,000 (2018 Audi TLX) equals: $623,004.31 x treble damages

   associated for fraud totals: $1,869,012.92 for two years unjust enrichment.

   980.   On information or belief, pursuant to Davis v. Olson, 746 P.2d 264, 269 (Ut. Ct. App.

   1987), the reasonable value of the annual contract services at-law, as described herein, for

   the Te-Moak Supreme Court Judge Position, at the approved GS-13(Step 1) wage rate,

   calculated using the U.S. Office of Personnel Management Salary Table - District of Las

   Vegas, for the year 2021 at $93,518.00 and for the year of 2022 at $96,038.00, projected

   outward for three years under a six year contract, plus denied benefits, interest and

   penalties:

          Year 1 (2021)       Salary $93,518.00
                              Lost Insurance Benefits (24% of annual salary)-$22444.32;
                              Lost Savings Account Benefit (5%)- $4675.90;
                              Lost Vacation and Leave Benefits-$7193.69 (annual salary/52
                              x4)
                 Subtotal: $127,831.01 +est.tax penalties, costs (15%) = $147,005.66

          Year 2 (2022)       Salary $96,038.00
                              Lost Insurance Benefits (24% of annual salary)-$23049.12;
                              Lost Savings Account Benefit (5%)- $4801.90;
                              Lost Vacation and Leave Benefits -$7387.54 (annual salary/52
                              x4)
                 Subtotal: $131,276.56 +est.tax penalties, costs (15%) = $150,968.04

   981.   On information or belief the 2 Year income-based lost value to services as the Te-

   Moak Supreme Court Judge, atan adjusted market value, equals $297,973.70; plus interest

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   on the judgment (12% or $35,756.84) = $333,730.54 x treble damages associated for fraud

   totals: $1,001,191.62 for two years unjust enrichment.

   982.   Alternatively, the Plaintiff requests an accounting of all profits after examination of

   all records and books, and to then apply equity and disgorge all Defendants of all profits

   derived from or originating from the NCE and the fraudulent taking of federal funds.

   F.     REQUEST FOR PRELIMINARY INJUNCTION

   983.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 975,

   supra, including any referenced attachment, citation and exhibit, without waiving any claim

   or defense, as though more fully set forth here in the Request For Preliminary Injunction.

   984.   Plaintiff will likely suffer irreparable harm or injury if Defendants, their agents,

   family members and representatives, are not restrained from:

          1) The publication and any publication and republication of any government
          document containing any false, defamatory statements regarding the Plaintiff
          claiming or stating that the Plaintiff is a felon, convicted criminal, or that the Plaintiff
          is a drug dealer, or Plaintiff was removed from any office as a judge or magistrate
          judge, or any similar false claim; and

          2) Directly or indirectly harassing, stalking or threatening the Plaintiff in any
          manner, including the continuation of unlawful conduct by Governor Sisolak and AG
          Ford and the issuance of court related process through the BIA-CIO or any Te-Moak
          pseudo-court, as identified in this lawsuit, except through legal counsel who
          represent Defendants in this lawsuit; and

          3) Officially asserting or claiming facts and information that Wendall D. Hayes is the
          Te-Moak Chief Tribal Judge, Appellate Judge, Supreme Court Judge or any other
          judicial office related to or associated with the Te-Moak Tribe and its Tribal Court
          system; and

          4) Enacting legislation, (Ordinance, Resolution or Motion), by the Te-Moak Tribal
          Council or any association thereunder that harasses, impedes, obstructs or
          interferes with the orderly operation of the Te-Moak Supreme Court or the Plaintiff.
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   985.   Plaintiff will likely suffer irreparable harm or injury if the Defendants, their agents,

   representatives and employees or any individual or entity acting on their behalf, unless

   required to:

          1) Retract and remove at Defendants' cost each and every false publication
          regarding the Plaintiff published or republished online, by email, posting and
          publication stating or claiming that the Plaintiff is a felon, convicted criminal,
          removed from office as a judge or magistrate judge, drug dealer or any similar false
          claim; and

          2) Surrender and deliver to the Plaintiff, as the Te-Moak Supreme Court Judge, any
          and all originals and copies of all documents, contracts, agreements, notices, case
          folders and files associated or related to the Te-Moak Tribal Court system; and

          3) Surrender and deliver to the Plaintiff, as the Te-Moak Supreme Court Judge, any
          and all funds, bail, bond, grant, award, money, bank and financial record, report,
          statement and account directly or indirectly related to or associated with the Te-
          Moak Tribal Courts and the Te-Moak Administrative Office of the Court; and

          4) Hire and employ 24 hour a day, 365 days a year private security detail for the
          Plaintiff until final disposition of this case, at the Defendant's collective pro rata cost,
          and require each and every Defendant to maintain a minimum of 150 foot distance
          from the Plaintiff unless in the courtroom; and

          5) Require and order Defendants Zionsbank, Nevada State Bank, SALAL, and any
          individual or entity acting on their behalf, to freeze, hold and prevent any access,
          withdrawal, distribution, payment or transfer of any amount from any account or
          fund created, opened or issued in the name of or associated by the name: Elko Band
          Colony Enterprise; Elko Band Council, Elko Band Colony or Elko Band Authority;
          Davis Gonzalez; Thalia Marin; Larry Yeager; Juan Arevalo; Cascade Strategic
          Investments; SCS Elko LLC or Sovereign Cannabis Solutions; Tonkon Torp; Paul
          Conable, Jeffery Scott Sypolt; Darian Stanford; Steve Olson; Robin Evans or RAE
          Solutions, and Leslie Berg-Grove or Integrity Business Solutions & Consulting, and to
          order Defendants Zionsbank, Nevada State Bank and SALAL to preserve all records,
          documents, statements and financial reports related to the same Defendant
          individuals and entities for the period January 2019 through trial in this case; and



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          6) Strike, rescind, nullify and void each and every official action in conflict with
          Federal and State Law, and the Te-Moak Constitution, specifically Resolutions 21-
          TM-50. 83. 94. 111. 112.120-134 and rescind, nullify and void each and every
          Resolution, Motion, Ordinance, Judgment, Agreement, Contract, Plan signed, entered
          or executed by Defendants Governor Sisolak, AG Ford and Defendants Holley, Marin,
          Gonzalez, Carrera, Woods, Duane Garcia, Sr; Arevalo; Yeager, among others, and
          then prohibit these tribal Defendants from taking any further action as the Te-Moak
          Tribal Council; and

          7) Provide an accounting, calculating the amount that the Defendants obtained or
          profited from the anti-competitive practices or anti-trust behavior, and then rescind
          all contracts, agreements and policies, ordering a sale of all assets and categories of
          assets obtained by the anti-competition RICO Defendants, divesting and disgorging
          these Defendants to satisfy any potential or actual judgment.

   986.   The injury or harm claimed herein is irreparable, ongoing and imminent based on

  the continuation of death threats, extortion and bribery, spoliation of evidence;

   interference with the orderly administration of justice; the ongoing deprivation of

   employment rights and the public harm due to the ongoing concealment, destruction and

  alteration of government documents and records. There is no adequate remedy at law.

  987.    For the same justifications asserted in the Plaintiffs motion seeking a temporary

  injunction, the balance of hardships tips sharply in favor of granting a preliminary

  injunction, there is a substantial likelihood that the Plaintiff will prevail on the merits, and

  the waiver of a bond is requested due to the unlawful removal of all financials by

  Defendants. Plaintiff requests the setting of the matter for Preliminary as soon as possible.

  G.      REQUEST FOR DECLARATORY JUDGMENT

  988.    Plaintiff respectfully requests that this court give notice and set a hearing date, and

  then issue a Declaratory Judgment pursuant to the Federal Rules of Civil Procedure Rule

  .52, and pursuant to 28 U.S.C. §§2201 and 2202 to declare the rights and privileges of the

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    Plaintiff under the United States Constitution, the Constitution of the Te-Moak Tribe of

    Western Shoshone Indians of Nevada, and laws thereunder.

    989.   The Plaintiff re-alleges and incorporates by reference paragraphs 1 through 835,

   supra, including any referenced attachment, citation and exhibit, and paragraphs 999999

   without waiving any claim or defense, as though more fully set forth here in this request for

   Declaratory Judgment.

   990.    The lawsuit filed by the Plaintiff involves an extensive deprivation of constitutional

   freedoms under the U.S. Const. Amend. 4. 5. 13 and 14: Article 1. sec. 10. cl. 5 (obligation to

   contract) and Article 4. sec. 2. cl. 1 (privileges and immunities); and this case arises

   primarily under 18 U.S.C. §1961 et seq; and 42 U.S.C. §§1981. 1982. 1983. 1985. 1986 and

   1988. and the rights granted under the Constitution of the Te-Moak Tribe of Western

   Shoshone Indians of Nevada. Article 8 and Article 9.

   991.    Defendants Joseph Holley; Jeffery Scott Sypolt; Alice Tybo; Chadwick Smith; Duane

   Garcia, Sr; Andrea Woods; Paula Garcia; Joseph McDade; Thalia Marin; Tammy Carrera;

   SCS; TT; Paul Conable; Kevin Clock; Darian Stanford and Elliot Parris continued to threaten

   the rights of the Plaintiff, as the Te-Moak Supreme Court Judge, long after tribal elections

   were held and these elections terminated most of the tribal offices Defendants previously

   held, and Defendants, jointly and individually, continue to issue proclamations, legislative

   enactments and correspondence, as though duly elected tribal officials, stating that the

   Plaintiff was removed or recalled from office by Resolution and that the Plaintiff lacks all

   authority as a Te-Moak Judge, then publishing and mailing said documents to government

   officials, and installing a puppet judge, Wendall D. Hayes, who is paid by a RICO Enterprise

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   involving the Defendants, (NCE), to issue nonsensical 'orders' as the Te-Moak Chief Tribal

   Judge, Appellate Judge and Supreme Court Judge, while falsely claiming this authority on

   behalf of the Defendants' RICO Enterprise.

   992.    Plaintiff examined multiple 'orders' from Hayes and they lack any and all reference

   to any rule, regulation, ordinance or any legal authority at all while directing law

   enforcement officers to restrain the freedoms and liberties of citizens, including the

   Plaintiff, without proper notice or hearing. Hayes is grossly incompetent.

   993.   Under existing law the Plaintiff was lawfully and duly appointed as the appellate

   judge of the Te-Moak Supreme Court for the Te-Moak Tribe of Western Shoshone Indians of

   Nevada on February 3, 2021 for a term of six (6) years, as the only supervisor and manager

   of the Te-Moak Tribal Courts and all business matters of the Tribal Courts.

   994.   Existing tribal law, as approved by the United States in 1989, dictates that there

   shall be only one (1) appellate judge on the Te-Moak Supreme Court, and that no ordinance,

   motion or resolution shall remove, terminate, fire or recall said judge where the only

   permissible means is by an Election. Constitution of the Te-Moak Tribe of Western

   Shoshone Indians of Nevada. Article 8. section 6(a)("unseated from office only" by recall

   election referencing the removal procedure outlined in Article 4, section 8). No election has

   been held by the Te-Moak Tribe to remove or recall the Plaintiff.

   995.   As according to the United States Supreme Court, the final orders and decisions of

   the Te-Moak Supreme Court are indistinguishable from authoritative weight given to

   decisions of the U.S. Supreme Court against the superiority to legislative actions and

   subordinate law, unless timely appealed and reversed by a federal court.

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                                       PRAYER FOR RELIEF

   A. STRIPPING OF OFFICIAL CHARACTER AND IMMUNITY
   996.    For all causes of action, and claims involving or alleging violations of law resulting in

   any civil cause of action, as claimed herein, and because this lawsuit names and identifies

   government officials that fails to create a suit against the government except to prove that

   the official's conduct constitutes state action, the Plaintiff respectfully requests that the

   court strip Governor Steve Sisolak, Attorney General Aaron Ford, Kristen Hevener and

   Marla McDade of their official character under Ex Parte Young, 209 U.S. 123 (1908),

   Edelman v. lordan. 415 U.S. 651 (1974), and their progeny, and grant appropriate

   prospective and equitable relief to the Plaintiff, including an injunction nullifying and

   voiding every agreement, plan and scheme related to any cause of action in this lawsuit,

   and hold each individually liable to the Plaintiff, with their personal assets subject to

   judgment.

   997.   For all causes of action identified or claimed herein, the Te-Moak Constitution

   prohibits the enactment of any law and the exercise of any official action in conflict with

   Federal Law and the Te-Moak Constitution, rendering any conflicting action a waiver by

   abrogation. See Constitution of the Te-Moak Tribe. Article 4. section 3 and section 12.

   12(a), 12(b) and 12(c). The Te-Moak Corporate Charter grants a waiver to sue the Tribe to

   recover damages for debts owed by the Tribe. See Corporate Charter of the Te-Moak Bands

   of Western Shoshone Indians of the State of Nevada. a federal corporation chartered under

   the Act of June 18.1934. (48 Stat.1934), (as amended 49 Stat. 378 on June 15, 1935). For

   the purpose of this lawsuit, involving claims of unlawful conduct in violation of Federal law

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   and Te-Moak law, and recover a damages associated with a debt owed by Te-Moak to the

    Plaintiff. The Plaintiff respectfully requests that the Court find that Te-Moak sovereign

   immunity is waived or abrogated for claims and causes of action herein as it relates to the

   Te-Moak Tribe, the Te-Moak Tribal Council and all agencies, boards, committees, officers,

   agents and representatives thereunder. Id.

   998.    For all causes of action identified or claimed herein the Plaintiff requests that that

   the court strip Defendants Joseph Holley; Davis Gonzalez; Alice Tybo; Duane Garcia, Sr;

   Tanya Reynolds; David Dale Carrera; Andrea Woods; Paula Garcia; Juan Arevalo; Suzanna

   Sandoval; Adela Morrison; Larry Yeager; Thalia Marin; Jeffery Scott Sypolt; George Skibine;

   V. Heather Sibbison; Wendall Hayes; Dentons and Chadwick Smith of their official character

   pursuant to Ex Parte Young. 209 U.S.123 (1908), Edelman v. Jordan. 415 U.S. 651 (1974),

   and their progeny, and grant appropriate prospective and equitable relief to the Plaintiff,

   including an injunction nullifying and voiding each and every Resolution, Motion,

   Ordinance, Judgment, Agreement, Plan and Scheme in conflict with Federal and state Law,

   and the Te-Moak Constitution, and hold each Defendant individually and personally liable

   to the Plaintiff, with their personal assets subject to judgment.

   999.   For all causes of action involving or alleging violations oflaw resulting in any civil

   cause of action, as claimed herein, and because this lawsuit names and identifies

   government officials that fails to create a suit against the government except to prove that

   the official's conduct constitutes government action, the Plaintiff respectfully requests that

   the court strip Bryan Bowker and Joseph McDade of their official character pursuant to Ex

   Parte Young. 209 U.S. 123 (1908), Edelman v. Jordan. 415 U.S. 651 (1974), and grant

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   appropriate prospective and equitable relief to the Plaintiff, and to thereafter hold each

   individually and personally liable to the Plaintiff, with their personal assets subject to

   judgment as a matter of law.

   B.     PIERCE THE CORPORA TE VEIL

   1000. Plaintiff re-alleges and incorporates by reference paragraphs 1- 835, supra,

   including any attachment, citation and exhibit, without waiving any claim or defense, as

   though more fully set forth here.

   1001. Pursuant to d'Elia v. Rice Dev., Inc., 2006 UT App. 416 '1[30-34 the Plaintiff requests

   an order from this Court piercing the Veil of Dentons US LLP and TT holding the individual

   members, officers, partners or directors personally liable for any judgment or liability for

   any claim or cause of action where fairness and equity provide a just result.

   1002. Pursuant to M[ v. Wilson. 2016 UT 13 (March 23, 2016) the Plaintiff requests entry

   of an order from this Court reverse veil-piercing Nevada State Bank, as Zionsbank and

   Brent Waite's artificial alter ego; SALAL, as Russel Rosenthal, Robert Schweigert, Troy Pope

   and Randy Coes' artificial alter ego; SCS, as Kevin Clock, Elliot Parris, Darian Stanford, Paul

   Conable and Steve Olsons' artificial alter ego, holding the business entity "responsible for

   the individuals' personal acts liable for any claim or cause of action where fairness and

   equity provide a just result.

   C.    EQUITABLE DISSOLUTION, DIVESTITURE. FORFEITURE OF ASSETS.
   RESCISSION AND COURT APPOINTED RECEIVER OR CONSERVATOR

   100 3. Pursuant to the Court's inherent power to grant equitable relief to prevent

   irreparable harm from unlawful conduct, Fed. R. Civ. P. Rule 64. the All Writs Act. 28 U.S.C.


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   §1651 and 18 U.S.C. §1964[a), 7 intera/ia, the Plaintiff requests equitable relief in the form

   of Dissolution, Divestiture, Forfeiture of Assets, Rescission and the appointment of a

   Receiver or Conservator. See Marshall v. Icahn. 537 F. Supp. 413 (S.D.N.Y. 1982); U.S. v.

   Barber, 476 F. Supp.182, 189 (S.D. W. Va.1979); U.S. v. Mandel, 415 F. Supp. 997, 1021 (D.

   Md. 1976)(/or the proposition that dissolution, restitution, divestiture,forfeiture as equitable

   remedies available to a private part;y under RICO).

   1004. Dissolution. Divestiture and Forfeiture of Assets. The extensive and intentional

   operation, involvement, management and control over the unlawful NCE enterprise by

   SALAL, TT, SCS, CS!, SCI and ECBE, by their officers, boards and directors, as shown herein,

   warrants and justifies Dissolution of their legal status as a business entity by order of this

   Court. Their attorneys, officers and directors knowingly and intentionally thwarted

   federal, state and tribal law to generate income from RICO enterprises using the corporate

   shield of protection, entering contracts, agreements and trusts, and then investing that

   income on behalf of or for the named entities, as well as their personal benefit. Thus, an

   order should issue where applicable rescinding all contracts, agreements and trust so

   entered or executed to prevent irreparable harm.

   1005. Defendants SALAL-SCU, TT, SCS, SCI, CS! and ECBE, and their officers, attorneys and

   directors, invested income derived from a pattern of racketeering activity or from the

   collection of an unlawful debt in an interstate enterprise, or maintained an interest or

   control in an interstate enterprise through a pattern of racketeering activity, or conspired

   or engaged in unlawful restraints on trade. Thus, where applicable an order compelling

   7
       See Pub. L. No. 91-452, 84 Stat. 922 (1970)(Statement of Findings and Purpose allows liberal construction).

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  SALAL, TT, SCS, SCI, CS! an ECBE, and their officers, attorneys and directors, to hold

  separate all assets, instruments, chattel, cryptocurrency, stocks, bonds, trusts and

   categories of assets that were derived from any income, revenue or profit from any pattern

  of racketeering activity or collection of any unlawful debt, described herein, until final

  disposition of this case at which time if the Plaintiff is successful, order these Defendants to

  divest. See Steves and Sons. Inc. v. [ELD-WEN. Inc., 2021 WL 630521 (4th Cir. February 18,

  2021)(divestiture to private party in Clayton Act suit).

  1004. All assets and categories of assets subject to divestiture, and divested by sale, should

  be forfeited to the Te-Moak Supreme Court pursuant to a Charging Order the Plaintiff

  hereby requests be issued under UCA § 48-3a-503(6), authorizing the Te-Moak Supreme

  Court, as pro tempore receiver, to enter an order of distribution, or alternatively this Court

  should appoint a receiver or temporarily appoint a conservator to retain, manage and

  control the sale of assets and categories of assets subject to divestiture.

  D.     CLAIM ONE

  1006. WHEREFORE, based on the aforementioned, the Plaintiff respectfully requests

  judgment against the Defendants and requests that this Court:

         A.     Award compensatory damages in an amount not to exceed $17,000,000.00,
                and consequential, exemplary and punitive damages to the Plaintiff in an
                amount to be determined at trial;
         B.     Rescission of all Contracts, Agreements, Policies and Bylaws associated with
                or related to the NCE;
         C.     Award all reasonable costs and fees to the Plaintiff;
         D.     Order Dissolution and Reorganization, Enjoin Defendants from engaging in
                the same or similar type of endeavor, vvith appropriate "provision(s] for the
                ••! _1_._ _    _ £ ! . • . • _____ .._ _____ • __ ,, _ _ ..J 1. __ . ! . • • __ • __          -r n T,     t"" r,       c--r n        r      II   r _ "\
                .115.11'-u VJ. .u.u.1v ......... 1. .....   p ........   .:.v.11   UJ.UA UU.JJ.11VJ.:,v.:,,   .LV   ..., ...........   ,. .... .,, ......   -.,u,.
         E.     Pre and Post judgn1ent Interest; and
         F.     Treble damages, any and all other relief the Court deems just and fair.

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   E.     CLAIMS TWO THROUGH ELEVEN

   1007. WHEREFORE, based on the aforementioned the Plaintiff respectfully requests

   judgment against each Defendant and further requests that this Court:

          A.     Award compensatory damages (actual or assumed) against each Defendant
                 individually liable in an amount not to exceed $1,896,000.00, and
                 consequential, exemplary and punitive damages to the Plaintiff in an amount
                 to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          D.     Any and all other relief the Court deems just and fair.

   F.     CLAIM TWELVE

   1008. WHEREFORE, based on the aforementioned and for damages that were foreseeable

   and the proximate cause of the Defendant's conduct, the Plaintiff respectfully requests

   judgment against the Defendants and requests that this Court:

          A.     Award compensatory damages for lost pay, lost benefits, lost future pay,
                 physical and emotional pain and suffering, distress, humiliation, loss of
                 consortium and familial association in an amount not to exceed
                 $20,000,000.00, and consequential, exemplary and punitive damages to the
                 Plaintiff in an amount to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          D.     Any and all other relief the Court deems just and fair.

   G.     CLAIM THIRTEEN

   1009. WHEREFORE, based on the aforementioned and for damages that were reasonably

  foreseeable and the proximate cause of the Defendant's conduct, the Plaintiff respectfully

  requests judgment against the Defendants and requests that this Court:

          A.     Award compensatory damages and consequential, exemplary and punitive
                 damages to the Plaintiff in an amount to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;

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   ,.     CLAIM SIXTEEN - RESTRAINTS ON TRADE AND ANTITRUST

   1012. WHEREFORE, based on the aforementioned and for damages that were reasonably

   foreseeable and the proximate cause of the Defendants conduct, the Plaintiff respectfully

   requests judgment against the Defendants and requests that this Court:

          A.     Award compensatory damages in an amount not to exceed $10,000,000.00,
                 consequential and treble damages to the Plaintiff in an amount to be
                 determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     As an alternative remedy to treble, injunctive relief to divest with an
                 accounting and Disgorgement;
          D.     Pre and Post Judgment Interest; and
          E.     Any and all other relief the Court deems just and fair.

   K.     CLAIM SEVENTEEN

   1013. WHEREFORE, based on the aforementioned and for damages that were reasonably

   foreseeable and the proximate cause of the Defendants conduct, the Plaintiff respectfully

   requests judgment against the Defendants and requests that this Court:

          A.     Award compensatory damages in an amount not to exceed $10,000,000.00,
                 consequential and treble damages to the Plaintiff in an amount to be
                 determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          E.     Any and all other relief the Court deems just and fair.

   L.     CLAIM EIGHTEEN- INVASION OF PRIVACY

   1014. WHEREFORE, based on the aforementioned and for damages that were reasonably

   foreseeable and the proximate cause of the Defendants conduct, the Plaintiff respectfully

   requests judgment against the Defendants and requests that this Court:

          A.     Award compensatory damages for harm to interest in privacy; mental
                 distress; shame, anxiety, humiliation, embarrassment; lost privacy or lost
                 exclusive use of personalty; expenses; loss of promised future contracts;

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                 reputational harm; loss of community status; loss consortium or familial
                 association; harm to business relationships, and consequential, exemplary
                 and punitive damages to the Plaintiff in an amount to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          D.     Any and all other relief the Court deems just and fair.

  M.      CLAIM NINETEEN - MALICIOUS PROSECUTION

  1015. WHEREFORE, based on the aforementioned the Plaintiff respectfully requests

  judgment against the Defendants and requests that this Court:

          A.     Award compensatory, consequential, exemplary and punitive damages to the
                 Plaintiff in an amount to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          D.     Any and all other relief the Court deems just and fair.

  N.      CLAIM TWENTY - UNLAWFUL CONFINEMENT. ABUSES

  1016. WHEREFORE, based on the aforementioned the Plaintiff respectfully requests

  judgment against the Defendants and requests that this Court:

          A.     Award compensatory, consequential, exemplary and punitive damages to the
                 Plaintiff in an amount to be determined at trial;
          B.     Award all reasonable costs and fees to the Plaintiff;
          C.     Pre and Post Judgment Interest; and
          D.     Any and all other relief the Court deems just and fair.


          For all of the aforementioned reasons, the Plaintiff respectfully requests judgment

  against Defendants as set forth herein for each claim listed and an award for the damages

  sought, enjoining future unlawful conduct, plus pre- and post-judgment interest, equitable

  relief, costs and the entry of an Order declaring that the Defendants account and hold in

  trust, as constructive trustees for the benefit of Plaintiff, all illegal profits, dissolution of



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   the business entities legal status, divestiture and disgorgement, along with any and all

   other relief the court deems just and fair.

          Plaintiff demands a jury trial.

          By my signature below, I declare under penalty of perjury that the aforementioned

  Verified Complaint is true and correct to the best ofmy knowledge, information or belief.


   RESPECTFULLY SUBMITTED:


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  Hon. Samuel L. Biers




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